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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                   )
    UNITED STATES SECURITIES                       )
    AND EXCHANGE COMMISSION,                       )
                                                   )
                         Plaintiff,                )      Civil Action No. 18-cv-5587
                                                   )
    v.                                             )      Hon. John Z. Lee
                                                   )
    EQUITYBUILD, INC., EQUITYBUILD                 )      Magistrate Judge Young B. Kim
    FINANCE, LLC, JEROME H. COHEN,                 )
    and SHAUN D. COHEN,                            )
                                                   )
                         Defendants.               )
                                                   )

                        RECEIVER’S ELEVENTH STATUS REPORT
                                  (First Quarter 2021)

         Kevin B. Duff, as the receiver (“Receiver”) for the Estate of Defendants EquityBuild, Inc.,

EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome Cohen1

and Shaun Cohen, as defined in the Order Appointing Receiver entered August 17, 2018 (Dkt. No.

16), as supplemented by Order entered March 14, 2019 (Dkt. No. 290) and Order entered February

21, 2020 (Dkt. No. 634) (collectively, the “Receivership Defendants”), and pursuant to the powers

vested in him by Order of this Court, respectfully submits this Eleventh Status Report for the

quarter ending March 31, 2021.

I.       SUMMARY OF THE OPERATIONS OF THE RECEIVER

         The Receiver, together with his legal counsel, Rachlis Duff & Peel, LLC (“RDP”),

accountants BrookWeiner, LLC (“BrookWeiner”), forensic consultant Prometheum Technologies,




1
 On December 30, 2020, Defendant Shaun Cohen reported to the Receiver that Defendant Jerome
Cohen died on November 28, 2020
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Inc. (“Prometheum”), asset management and real estate brokerage services provider SVN Chicago

Commercial, LLC (“SVN”), claims administration service provider Axos Fiduciary Services

(“Axos”) and documents vendor Avalon Legal (“Avalon”), have undertaken, without limitation,

the following activities since the submission of his Tenth Status Report (Dkt. No. 930):

        a.      Identification and Preservation of Assets

        Since the filing of his Tenth Status Report, the Receiver continued using reasonable efforts

to determine the nature, location, and value of all property interests of the Receivership

Defendants, including monies, funds, securities, credits, effects, goods, chattels, lands, premises,

leases, claims, rights, and other assets, together with all profits, interest, or other income

attributable thereto, of whatever kind, which the Receivership Defendants owned, possessed, had

a beneficial interest in, or controlled directly or indirectly.

        At the end of the First Quarter 2021, there were 49 properties in the Receivership Estate,

including the 37 one-to-four unit properties that are being marketed as a single portfolio and the

property in Houston, Texas.2 The Receiver’s primary focus has been and continues to be the

preservation, operation, maintenance, and sale of the properties within the Receivership Estate, as

well as the implementation and handling of claims administration. The Receiver also is devoting

efforts to claims asserted in state court against former EquityBuild professionals.

        As previously stated, the Receiver, in connection with his counsel, asset manager/real

estate broker, and property managers, continues to plan for cash flow needs at the properties



2
  There were 116 properties in the Receivership Estate at the inception of the Receivership, not
including a property in Plano, Texas, that Defendant Shaun Cohen had used as a residence. (See
Exhibit 6) The Receiver sold ten properties in the second quarter of 2019 (formerly reported as six
properties because five of these properties were sold together), eleven properties in the fourth
quarter of 2019, two properties in the first quarter of 2020, 17 properties in the second quarter of
2020, 12 properties in the third quarter of 2020, and 15 properties in the fourth quarter of 2020.
No property sales closed during the first quarter of 2021. (See Exhibit 1)


                                                    2
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including but not limited to the underperforming properties, to control and minimize expenditures

where possible, and to address health, safety, and other essential needs at each property. To that

end, the Receiver and his counsel have regularly communicated with the property managers to

address operational and cash needs. The Receiver and his retained professionals also have

reviewed monthly financial reporting and analyzed the cash position of the Estate. In consultation

with his asset managers, the Receiver has assessed the prudence and necessity of property

maintenance and repair work. Consistent with the Liquidation Plan filed with the Court (Dkt. No.

166), the Receiver remains committed, in accordance with the advice of his retained professionals,

the property managers, and asset management consultants, and subject to availability of funds, to

undertake capital improvements needed to address health and safety concerns, cure building code

violations, or yield increases in occupancy that would drive commensurate increases in property

value.

         As of March 31, 2021, only two properties had delinquent 2018 property taxes, 7237-43 S

Bennett Avenue in Chicago (in the amount of $26,676.703) and 1102 Bingham in Houston (in the

amount of $50,138.61). Both properties are under contract, and the Chicago property is the subject

of the Receiver’s pending Eleventh Motion to Confirm Sale (Dkt. No. 902). An additional

$37,390.75 is owed for 2019 taxes on the Houston property, and there are approximately

$31,550.73 of delinquent 2019 taxes, in total, corresponding to 1401 W. 109th Place, 7237-43 S

Bennett Avenue, and 1414-18 E. 62nd Place.

         The Receiver is maintaining casualty and liability insurance for all assets in the portfolio

and paid $29,271.16 for property insurance and $51,684.67 for general liability/umbrella insurance




3
 The Receiver’s Tenth Status Report erroneously indicated the then-current 2018 tax balance as
$28,789.54, when in fact the balance at that time was $25,789.54.


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in the First Quarter 2021. The cost of maintaining this insurance decreases, however, with each

conveyance. The Receiver is presently engaged in efforts to renew the insurance for the properties

that will remain in the portfolio when the renewals come due.

        b.     Property Sales

        No property sales closed during the First Quarter 2021, as the Receiver awaited rulings on

the Tenth and Eleventh motions to confirm sales.4 See Exhibit 1 for a listing of property sales and

net proceeds by properties since the inception of the Receivership, by closing date, property

address and gross and net proceeds. Consistent with the Court’s orders approving these sales, the

Receiver segregated the net proceeds into separate subaccounts. (Dkt. Nos. 615, 616)

        On October 5, 2020, the Receiver filed his Tenth Motion to Confirm Sales of 13 apartment

buildings and a vacant land parcel (Dkt. No. 809). Following briefing related to the objections of

certain institutional lender claimants to the sale of eight of these properties (Dkt. Nos. 820, 845,

858), the Court overruled the objections and confirmed the sale of the following eight properties

(Dkt. Nos. 964, 966):

        1.   4611-15 S Drexel Boulevard
        2.   6217-27 S Dorchester Avenue
        3.   7024-32 S Paxton Avenue
        4.   7255-57 S Euclid Avenue
        5.   1422-24 East 68th Street
        6.   2800-06 E 81st Street
        7.   4750-52 S Indiana Avenue
        8.   7840-42 S Yates Avenue

        Briefing on the Receiver’s Eleventh Motion to Confirm Sale of the property located at 7237

S Bennett Avenue was concluded during the quarter (Dkt. Nos. 902, 918, 921). The Receiver also

submitted a proposed order to the Court regarding the un-objected to Motion to Approve Use of


4
 The remainder of the Receiver’s Tenth Sales motion was granted on March 31, 2021 (Dkt. No.
964) and by Order entered April 5, 2021 (Dkt. No. 966). As of the date of this Report, the Receiver
has closed or scheduled the closings of six of the eight property sales confirmed in that Order.


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Sales Proceeds to pay property manager expenses, an administrative judgment, and an insurance

deductible, which was granted on April 30, 2021. (Dkt. 984)

       After the January 15, 2021 deadline for the submission of offers following four consecutive

weeks of advertising for public bid between December 14, 2020, and January 4, 2021, along with

other promotional efforts, the Receiver and his real estate professionals accepted a purchase and

sale offer for the following portfolio of 37 single-family residences (containing 47 total units):

       •       1017 West 102nd Street, Chicago, IL 60643
       •       1516 East 85th Place, Chicago, IL 60619
       •       2136 W 83rd Street, Chicago, IL 60620
       •       417 Oglesby Avenue, Chicago, IL 60409
       •       7922 S Luella Avenue, Chicago, IL 60617
       •       7925 S Kingston Avenue, Chicago, IL 60617
       •       7933 S Kingston Avenue, Chicago, IL 60617
       •       8030 S Marquette Avenue, Chicago, IL 60617
       •       8104 S Kingston Avenue, Chicago, IL 60617
       •       8403 S Aberdeen Street, Chicago, IL 60620
       •       8405 S Marquette Avenue, Chicago, IL 60617
       •       8529 S Rhodes Avenue, Chicago, IL 60619
       •       8800 S Ada Street, Chicago, IL 60620
       •       9212 S Parnell Avenue, Chicago, IL 60620
       •       10012 S LaSalle Avenue, Chicago, IL 60628
       •       11318 S Church Street, Chicago, IL 60643
       •       3213 S Throop Street, Chicago, IL 60608
       •       3723 W 68th Place, Chicago, IL 60629
       •       406 E 87th Place, Chicago, IL 60619
       •       61 E 92nd Street, Chicago, IL 60619
       •       6554 S Rhodes Avenue, Chicago, IL 60637
       •       6825 S Indiana Avenue, Chicago, IL 60637
       •       7210 S Vernon Avenue, Chicago, IL 60619
       •       7712 S Euclid Avenue, Chicago, IL 60649
       •       7953 S Woodlawn Avenue, Chicago, IL 60619
       •       8107 S Kingston Avenue, Chicago, IL 60617
       •       8346 S Constance Avenue, Chicago, IL 60617
       •       8432 S Essex Avenue, Chicago, IL 60617
       •       8517 S Vernon Avenue, Chicago, IL 60619
       •       2129 W 71st Street, Chicago, IL 60636
       •       9610 S Woodlawn Avenue, Chicago, IL 60628
       •       5437 S Laflin Street, Chicago, IL 60609
       •       6759 S Indiana Avenue, Chicago, IL 60637
       •       1401 W 109th Place, Chicago, IL 60643



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        •       310 E 50th Street, Chicago, IL 60615
        •       6807 S Indiana Avenue, Chicago, IL 60637
        •       1414-18 E 62nd Place, Chicago, IL 60637

        Aside from these 37 single-family residence properties for which a motion to confirm their

sales was filed on April 12, 2021 (Dkt. No. 967), the following properties had not closed as of the

filing of this report:

        •    638 North Avers (motion to confirm sale filed 3/31/21) (Dkt. No. 962)
        •    7109-19 South Calumet (the terms of a proposed letter of credit to be posted by an
             institutional lender have not been resolved and the Receiver is awaiting a response from
             the lender’s counsel)
        •    1102 Bingham (a parcel of land in Houston, Texas, containing a single-family home
             and six adjacent vacant lots, which is under contract)
        •    7237-43 South Bennett (pending ruling on 11th Motion to Confirm Sales)
        •    Four properties that are the subject of the 10th Motion to Confirm Sales, granted on
             March 31, 2021:
                      o 4611-15 S Drexel
                      o 6217-27 S Dorchester
                      o 7255-57 S Euclid
                      o 1422-24 East 68th

        Also pending is Ventus’ November 9, 2020 Motion for Return of Earnest Money Deposits

(Dkt. No. 861) to which the Receiver responded on November 24, 2020 (Dkt. No. 882).

        c.      Code Violations and Property Damage

        During the continued COVID-19 pandemic, the City’s citation of code violations has

remained low, and the administrative courts have continued to extend most hearing dates with

respect to the enforcement of code violations. During the First Quarter 2021, five new notices of

violation were issued. The Receiver was able to obtain dismissal of the EquityBuild entity in two

of these cases (8209 S Ellis and 1449 S Talman), a nominal fine was paid to resolve a third (4750

S Indiana), and two remained pending (7113 S Calumet and 7051 S Bennett).

        Only one Department of Sanitation case was heard during the quarter (4611 S Drexel),

resulting in the entry of a nonsuit order. This was a matter for which a $4,021.59 lien had been




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recorded against for which the Receiver obtained a release and moved to set aside the default

judgment.

       The Department of Administrative Hearings has not yet resumed hearings in Department

of Buildings matters, and therefore each of the hearings that were scheduled during the quarter in

pending matters was continued. During the quarter, the Receiver’s counsel received numerous

orders continuing hearings, updated its docket, and continued to work closely with the property

managers to address life and safety issues and to preserve the respective properties.

       During the quarter, the Receiver arranged inspections of properties with open housing court

litigation. Four housing court matters were heard on January 28, 2021, resulting in one dismissal

and three continuances to May 20, 2021.

       In summary, as of March 31, 2021, there were 13 known pending City of Chicago matters

involving alleged code violations. These included 3 pending City of Chicago municipal housing

court matters, 9 pending City of Chicago administrative proceedings filed by the Buildings

Department and 1 pending administrative proceeding filed by the Department of Sanitation.

Additionally, the Receiver is aware of two properties having received notices of building code

violation for which no court case has been filed.

       On April 14, 2021, an underground pipe burst at the property located at 7255 S. Euclid,

requiring excavation and repairs, the cost of which was $13,340.

       d.      Financial Reporting and Rents Restoration

       The Receiver continues to provide institutional lenders with monthly accounting relating

to rents generated by, and expenses incurred in connection with, the properties on which they assert

liens. To that end, monthly reports covering the periods of June, July, August, and September 2020




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were sent to lenders’ counsel during the quarter.5 Reports for each property include the following

information: (a) net operating income, (b) expenditures made by the Receiver for the benefit of the

property (primarily for insurance, real estate taxes, and funds sent to the property manager to cover

property management expenses not payable through operating income), (c) net income distributed

to the Receiver or to other property accounts from which funds were previously borrowed, and (d)

a computation of the cumulative amount (if any) reimbursable from each property, representing

the amount that has been expended for the benefit of the property from sources other than its

operating income.

        The aggregate amount reimbursable from sold properties (calculated as described above)

as of September 30, 2020 (the last date through which reports have been finalized) was

approximately $1,889,288. Because the balance of the rents required to be restored to properties

pursuant to Dkt. No. 223 was restored in September 20206, the Receiver will seek the Court’s

approval to reimburse the Receiver’s Account for these funds that the Receiver expended on the

sold properties.

        e.     Open Litigation

        Discovery in the matter captioned Byrd v. EquityBuild et al., Case No. 18 L 1993, Circuit

Court of Cook County closed on March 31, 2021, and the parties are awaiting a trial setting hearing

date and engaging in settlement discussions.




5
  Beginning in September 2019, the Receiver and his counsel also began generating monthly
reports for properties not encumbered by institutional debt.
6
  A small balance of $84.25 was restored in January 2021, resulting from adjustments relating to
prepaid insurance costs allocations.


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       f.      Notice of Appointment of Receiver

       The Receiver continued his efforts to notify all necessary and relevant individuals and

entities of the appointment and to protect and preserve the assets of the Receivership Estate. To

that end, as they are identified, the Receiver will continue to deliver notices to individuals or

entities that have been identified as potentially possessing property, business, books, records, or

accounts of the Receivership Defendants, or who may have retained, managed, held, insured, or

encumbered, or otherwise been involved with, any of the assets of the Receivership Defendants.

       g.      Claimant Communications

       The Receiver has provided numerous resources to keep claimants informed. To provide

basic information, the Receiver established a webpage (http://rdaplaw.net/receivership-for-

equitybuild) for claimants and other interested parties to obtain information and certain court

filings related to the Receivership Estate. A copy of this Status Report will be posted on the

Receivership web site.

       Court filings and orders are also available through PACER, which is an electronic filing

system used for submissions to the Court. Investor claimants and others seeking court filings and

orders can visit www.ilnd.uscourts.gov for information about accessing filings through PACER.

       Beyond those avenues, the Receiver continues to receive and respond to numerous emails

and voicemails from claimants and their representatives. The Receiver and his staff responded to

over 200 such inquiries during the First Quarter 2021, in addition to numerous oral and other

written communications. The Receiver will continue to work to ensure that information is

available and/or otherwise provided as quickly and completely as practicable, asks all stakeholders

and interested parties for patience during this lengthy process, and reiterates that responding to

individual inquiries depletes Receivership assets. These quarterly status reports and the Receiver’s




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other court filings remain the most efficient means of communicating information regarding the

activities of the Receivership Estate.

        h.      Control of Receivership Property and Records

        The Receiver has continued efforts to preserve all EquityBuild property and records. The

Receiver is maintaining two platforms of records and data. On October 9, 2020, the institutional

lenders submitted a plan to the Court to process the EquityBuild internal documents and make

them available to other claimants and parties. (Dkt. No. 812). Such access will involve a fee as

well as agreement regarding keeping the documents confidential. (Dkt. Nos. 911, 915)

        i.      Securing Bank and Investment Accounts

        The Receiver notified, contacted, and conferred with the banks and other financial

institutions identified as having custody or control of funds, accounts, or other assets held by, in

the name of, or for the benefit of, directly or indirectly, the Receivership Defendants. The Receiver

is still pursuing records from certain institutions.

        j.      Factual Investigation

        The Receiver and his retained professionals have continued to review and analyze the

following: (i) documents and correspondence sent to or received from the EquityBuild principals,

to whose email accounts the Receiver has access; (ii) bank records from EquityBuild and its

affiliate entities; (iii) EquityBuild documents (largely stored in cloud-based and other electronic

media, plus a limited number of hard copy records); (iv) available underlying transaction

documents received to-date from former Chicago-based EquityBuild counsel; and (v) files

produced by former EquityBuild counsel, accountants, and employees. The Receiver anticipates

that additional subpoenas will be issued in the coming months.




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       k.      Tax Issues

       The Receiver has informed investors that he cannot provide advice on tax matters.

Moreover, the Receiver and his retained professionals do not plan to issue 1099-INT’s. With

respect to valuation, loss, or other tax issues, investors and their tax advisors may wish to seek

independent tax advice and to consider IRS Rev. Proc. 2009-20 and IRS Rev. Rul. 2009-9.

       BrookWeiner was retained to perform accounting, tax, and related work in connection with

winding down the business operations of the Receivership Defendants. BrookWeiner also has

compiled monthly property statements and property spreadsheets and assisted with cash flow

analysis matters.

       l.      Accounts Established by the Receiver for the Benefit of the Receivership Estate

       The Receiver established custodial accounts at a federally insured financial institution to

hold all cash proceeds from the sale of the Receivership property. These interest-bearing checking

accounts are used by the Receiver to collect liquid assets of the Estate and to pay portfolio-related

and administrative expenses. The Receiver also established separate interest-bearing accounts to

hold funds from the sale of real estate, as directed by Court order, until such time as it becomes

appropriate to distribute such funds, upon Court approval, to the various creditors of the Estate,

including but not limited to the defrauded investors or lenders. Attached as Exhibit 2 is a schedule

reflecting the balance of funds in these property specific accounts as of March 31, 2021, with a

description of any changes to the account balance during the quarter.

II.    RECEIVER’S FUND ACCOUNTING

       The Receiver’s Standardized Fund Accounting Report (“SFAR”) for the First Quarter 2021

is attached hereto as Exhibit 3. The SFAR discloses the funds received and disbursed from the

Receivership Estate during this reporting period. As reported in the SFAR, cash on hand as of




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March 31, 2021 equaled $1,102,611.53. The information reflected in the SFAR is based on records

and information currently available to the Receiver. The Receiver and his advisors are continuing

with their evaluation and analysis.

III.   RECEIVER’S SCHEDULE OF RECEIPTS AND DISBURSEMENTS

       The Receiver’s Schedules of Receipts and Disbursements (“Schedule”) for the First

Quarter 2021 are attached hereto as Exhibit 4.         These Schedules in the aggregate reflect

$19,424.45 in total receipts and $98,694.35 in total disbursements to and from the Receiver’s (non-

property) accounts.

IV.    RECEIVERSHIP PROPERTY

       All known Receivership Property is identified and described in the Master Asset List

attached hereto as Exhibit 5. Additionally, a list of real estate that has been in the Receivership

Estate since its inception is attached as Exhibit 6, and the balance of the 89 separate interest-

bearing accounts established to hold the proceeds from sold real estate is attached as Exhibit 2.

       The Master Asset List identifies 56 checking accounts in the names of the affiliate entities

identified as Receivership Defendants, reflecting transfers of $213,249.56 to the Receiver’s

account. (See also Dkt. No. 348 at 23-24 for additional information relating to these funds.) The

Master Asset List also identifies funds in the Receiver’s account in the amount of $1,102,611.53.

(Exhibit 5). The 89 property-specific accounts holding funds from the sale of those properties

cumulatively contained $51,276,556.83 as of March 31, 2021 (Exhibit 2).

       The Master Asset List does not include funds received or recovered after March 31, 2021.

Nor does it include potentially recoverable assets for which the Receiver is still evaluating the

value, potential value, and/or ownership interests. The Receiver is in the process of evaluating

certain other types of assets that may be recoverable by the Receivership Estate.




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V.     LIQUIDATED AND UNLIQUIDATED CLAIMS HELD BY THE RECEIVERSHIP
       ESTATE

       The Receiver and his attorneys are analyzing and identifying potential claims, including,

but not limited to, potential fraudulent transfer claims and claims for aiding and abetting the fraud

of the Receivership Defendants.

       The Receiver and his retained counsel are prosecuting claims in the Circuit Court of Cook

County for professional malpractice and aiding and abetting a breach of fiduciary duty against

Rock Fusco & Connelly LLC (“Rock Fusco”), Ioana Salajanu (a former Rock Fusco attorney),

and Bregman Berbert Schwartz & Gilday LLC. No dispositive motions were filed at the pleadings

stage, and the case is currently in the discovery phase, with each of the parties having propounded

both document requests and interrogatories. The Receiver has already made a substantial

production of documents. Oral discovery has not yet commenced.

       As it relates to potential actions against claimants, and as discussed as part of the pending

motion for establishment of a claims resolution process, the Receiver anticipates that any such

claims would be brought as part of the claims dispute resolution process.

VI.    CREDITORS AND CLAIMS AGAINST THE RECEIVERSHIP ESTATE

       The identification and compilation of claims submitted in this matter has been

extraordinarily complex and time-consuming due to the unique circumstances and facts in this

case. For example, it appears that in many instances anticipated proceeds of investor-lender loans

rolled into new offerings rather than being paid off at maturity. It also appears that in some

circumstances the mortgages securing loans may have been released without investor-lenders’

knowledge or consent, allowing the Defendants to refinance the properties with new loans without

retiring the existing loans. Moreover, some investor-lenders may have been induced to exchange

secured loans for unsecured loans or equity positions through false representations. Additionally,



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claims against many properties are complicated by cross-collateralized mortgages. The claims

process has also been complicated by, among other things: (i) improperly completed proofs of

claim, (ii) claims relating to properties that were conveyed to third-parties prior to the

establishment of the Receivership; and (iii) claims lacking reference to properties, or relating

solely to what appear to be equity investment vehicles.

         During the First Quarter 2021, the Receiver continued to work on the accuracy and

completeness of its records regarding the nearly 2400 submitted claims.7 Attached hereto as

Exhibit 7 is an updated version of the Receiver’s “Master Claims Exhibit” listing, showing for

each individual claim submitted, (i) the property address or fund name, (ii) the type (e.g., property

in the Receivership Estate, a former EquityBuild property disposed of prior to the establishment

of the receivership, or an equity fund), (iii) the claimant name, (iv) the total amount claimed, (v)

the category identified by the claimant (e.g., investor-lender, equity investor, institutional lender,

trade creditor, independent contractor or other), (vi) the amount claimed to have been loaned or

invested in the particular property or fund (where it could be determined from the face of the claim

form) and (vii) the unique claim number assigned to the claim. The updated Exhibit 7 reflects

additional information provided to the Receiver by claimants since the filing of the Receiver’s last

status report.

         However, despite the claims review and analysis undertaken to date, the Receiver has not

yet been able to review all of the documents submitted with each claim form, and thus makes no




7
  Because many of the Proof of Claim (“POC”) forms submitted to the Receiver included claims
against more than one property, and many claimants submitted more than one POC for the same
claims, the most accurate measure of the total number of claims is the number of unique claims
against a particular property or fund, which total nearly 2400. About 165 of these claims, however,
are asserted against properties that are not part of the Receivership Estate, because they were sold
or otherwise disposed of before the Order Appointing Receiver was entered.


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conclusions or recommendations to the Court or to the claimants as to the validity, certainty,

eligibility, or priority of any particular claim at this time. The Receiver embarked on this further

review process during the First Quarter of 2021, and the balance of the review will occur as part

of the claims process that is discussed further below.

       The Motion To Establish A Process For Resolution Of Claims.

       During the First Quarter of 2021, the Receiver and his counsel proceeded on many fronts

in furtherance of a process for the review and resolution of claims and in response to the efforts of

certain claimants to have their claims addressed by the Court ahead of the others.

       At the Court’s direction, the Receiver worked with counsel for claimants to prepare joint

status reports, and in accordance with that directive, counsel for the Receiver held several extended

conference calls and exchanged multiple rounds of drafts of the Joint Status Reports filed on

January 22, 2021 (Dkt. No. 928) and March 5, 2021 (Dkt. No. 953). These joint reports (1)

provided outlines of the proposed process for the Court’s resolution of disputed claims, setting

forth the areas of the parties’ agreement and disagreement, (2) set forth revised drafts incorporating

the Court’s rulings and remaining disputes regarding the standard discovery requests, (3) updated

the Court on the parties’ progress relating to the transfer of claims documentation, (4) updated the

Court regarding the establishment of a database of EquityBuild documents that will be made

available to claimants, (5) updated the Court on the status of property sales, and (6) provided

information about regarding the briefing status of pending motions.

       On January 29, 2021, the Court held an additional telephonic hearings on the Receiver’s

February 28, 2020 Motion for Approval of Process for Resolution of Disputed Claims (Dkt. No.

638), which proposed a process for the orderly resolution of claims submitted to the Receiver in

this matter. The Court orally ruled on the remaining disputes related to the claims process, and




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directed the Receiver to prepare and submit a proposed global Claims Priority Resolution Process

case management order memorializing the Court's rulings. (Dkt. No. 931) The Receiver worked

with counsel for the institutional lenders, certain of the investor lenders, and the SEC to submit

two proposed orders, which were entered by the Court on February 9, 2021. (Dkt. Nos. 940 and

941)

         On February 9, 2021, all claimants were provided with notice of the Court’s Confidentiality

Order and the 14-day opt-out period. On February 25, 2021, the Receiver filed a Notice of All

Claimants Who Do Not Agree to Abide by the Terms of the Agreed Confidentiality Order. (Dkt.

No. 949) On February 26, 2021, the Receiver provided all claimants with information about the

distribution of claim forms by Avalon Legal, and Avalon began sending emails to claimants with

links to download claims documentation on March 5, 2021. Exhibit 7 to this report is sorted in

property number order and provides the unique claim number assigned to each claim. The claims

documentation provided to claimants by Avalon are grouped in folders named with the claimant’s

ID number.8 As of the date of this report, Avalon has finished sending the claims documentation

for all properties in the receivership estate.

         During the quarter, the Receiver negotiated a vendor agreement with Avalon and

participated in the extended negotiation of a vendor agreement and license with CloudNine and

TeamWerks. The Receiver also prepared the EquityBuild documents for transfer to CloudNine,




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  Note that the format of the claim numbers listed on Exhibit 7 is “PROPERTY NUMBER
[hyphen] CLAIMANT ID NO.” So, for example, the number 15-3000 refers to the claim of
claimant number 3000 against property number 15. The claim form and supporting documentation
in this example would have been sent to everyone claiming an interest in property number 15 and
would be found in a folder labeled 3000. Individual claimants may have more than one claimant
ID number if they submitted more than one proof of claim form.


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and worked to update and confirm the accuracy of claimants’ email, address, and counsel records

for use in the distribution of claim forms and the upcoming framing reports.

       By Order entered April 21, 2021, the summary claims resolution process with respect to

the first group of properties is scheduled to begin June 1, 2021. (Dkt. No. 973) This Court has

indicated that this process will be a comprehensive process where all issues will be reviewed.

Accordingly, the Receiver anticipates utilizing the claims resolution process to review all claims,

including but not limited to their validity, fairness, amount, legality and classification, as the

process is meant to be comprehensive and will allow for discovery and the like such that all matters

regarding a property can be addressed at one time in one process..

       Process for the resolution of properties without competing claims

       The Receiver and counsel for Midland Loan Services and U.S. Bank National Association

have participated in a number of conferences regarding the process for the resolution of their liens

on properties in which no other claimants have submitted a claim. The parties previously reported

to the Court that there are a total of 26 single-family properties securing Midland’s loans in this

category (two of which also have a claim submitted by the City of Chicago), and two multi-family

properties securing U.S. Bank’s loans. (Dkt. No. 953 at 3) Subsequently, however, the parties

have uncovered mortgages recorded against 14 of those 26 Midland properties and are considering

whether those properties are better addressed in the claims process ordered by the Court to give

potential lienholders notice and an opportunity to be heard.

       Finally, the Receiver repeats the following reminders regarding claims and the claims

process: Claimants may want to consider whether to hire counsel to assist them with the claims

process. Claimants do not have an obligation to retain counsel in order to participate in the claims

process, but the Receiver and his counsel cannot provide legal advice to any claimant, nor can the




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Receiver advise claimants regarding whether or not they should retain counsel. Any claimant that

choses to proceed without counsel should visit the section of the Court’s website

(www.ilnd.uscourts.gov) named “Information for People Without Lawyers (Pro Se)” which

provides useful information and also states the following: "The rules, procedures and law that

affect your case are very often hard to understand. With that in mind, you should seriously consider

trying to obtain professional legal assistance from an attorney instead of representing yourself as

a pro se party.” Claimants may also want to speak with a lawyer to assist them in determining for

themselves whether or not to retain counsel.

       All claimants have a continuing responsibility to ensure that the Receiver at all times has

current and up-to-date contact information so that the Receiver may provide important information

relating to the claims process, the claimant’s claim, or the Receivership Estate. Claimants may

provide    changes     to   or    updated      contact   information     to   the    Receiver     at

equitybuildclaims@rdaplaw.net.

VII.   PROFESSIONAL FEES AND EXPENSES

       As of March 31, 2021, there were approximately $2,064,984.47 in unpaid fees and

expenses for all professionals that have been approved by the Court, and the Receiver has

submitted applications for an additional $403,064.48 of professional fees for the third quarter of

2020 (Dkt. No. 885) and $379,388.01 for the fourth quarter of 2020 (Dkt. No. 945), both of which

remain pending. On October 26, 2020, the Court granted the Receiver’s request for a lien on the

estate assets and their proceeds to cover the Receiver’s fees and other approved Receivership

expenses that may exceed the Estate’s unencumbered funds, and indicated that the priority of the

lien will be determined as part of the claims process. (Dkt. No. 824)




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         On February 23, 2021, the Receiver filed a Motion for Approval to Pay Certain Previously

 Approved Fees and Costs and for Interim Payment of Continuing Claims Process Fees and Costs

 Pursuant to Receiver's Lien (Dkt. No. 947), and certain of the institutional lenders filed objections

 to the Receiver’s proposal on March 30, 2021 (Dkt. No. 961). The Receiver submitted a reply

 brief on April 28, 2021. (Dkt. No. 981)

         Regarding previously approved fees, the Receiver’s preparation of schedules that allocate

 previously-approved fees to specific properties in accordance with the approved allocation

 methodology took an enormous amount of effort, and the schedules were submitted to the Court

 on April 28, 2021 (Dkt. Nos. 981-1 to 981-6). The Institutional Lenders have asserted that they

 have reserved the right to review and respond to Receiver’s schedules. Regarding the process

 proposed by the Receiver for the interim payment of fees related to the claims process (Dkt. No.

 947), the Receiver desires a ruling on his proposal before the claims process commences so that

 the stakeholders will be aware of the Court’s decision moving forward and the Receiver and his

 retained professionals can be fairly compensated. As these matters involve previously approved

 fee petitions, the Receiver believes that such issues are ripe for resolution and should be resolved

 at this point for the reasons set forth in the motion and related briefs. (Dkt. No. 947, 981, 982) The

 Institutional Lenders dispute that the issue of the priority of the Receiver’s claimed lien for fees

 and costs is ripe for resolution and have opposed the Receiver’s request. (Dkt. No. 961)

 VIII. CONCLUSION

         At this time, the Receiver recommends the continuation of the Receivership for at least the

following reasons:

         1.     Preservation, maintenance, and operation of the assets in the Receivership Estate;




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       2.      The continued investigation and analysis of current assets and potentially

recoverable assets for which the Receiver is still evaluating the value, potential value, and/or

ownership interests;

       3.      The continued efforts of the Receiver to dispose of various assets of the

Receivership Estate on the best possible terms;

       4.      The continued investigation and analysis of the potential claims against the

Receivership Estate, including, but not limited to, the claims and records of investors;

       5.      The continued investigation, analysis, and recovery of potential fraudulent transfer

claims and claims against third parties;

       6.      The continued analysis and formulation, in consultation with the SEC and the

Court, of a just and fair distribution plan for the creditors of the Receivership Estate; and

       7.      The discharge of any other legal and/or appointed duties of the Receiver as

identified in the August 17, 2018 Order Appointing Receiver, or as the Court deems necessary.



Dated: April 30, 2021                                  Kevin B. Duff, Receiver

                                               By:     /s/ Michael Rachlis
                                                       Michael Rachlis (mrachlis@rdaplaw.net)
                                                       Jodi Rosen Wine (jwine@rdaplaw.net)
                                                       Rachlis Duff & Peel, LLC
                                                       542 South Dearborn Street, Suite 900
                                                       Chicago, IL 60605
                                                       Phone (312) 733-3950; Fax (312) 733-3952




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                                  CERTIFICATE OF SERVICE

        I hereby certify that I provided service of the foregoing Receiver’s Eleventh Status Report,

via ECF filing, to all counsel of record on April 30, 2021.

        I further certify that I caused true and correct copies of the foregoing to be served upon the

following individuals or entities by electronic mail:

        -       All known EquityBuild investors; and

        -       All known individuals or entities that submitted a proof of claim in this action (sent

                to the e-mail address each claimant provided on the claim form).

        I further certify that the Receiver’s Eleventh Status Report will be posted to the

Receivership webpage at: http://rdaplaw.net/receivership-for-equitybuild




                                                        /s/ Michael Rachlis

                                                        Michael Rachlis
                                                        Rachlis Duff & Peel, LLC
                                                        542 South Dearborn Street, Suite 900
                                                        Chicago, IL 60605
                                                        Phone (312) 733-3950
                                                        Fax (312) 733-3952
                                                        mrachlis@rdaplaw.net




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                        Exhibit 1
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Prop #      PROPERTY ADDRESS        CLOSING DATE       SALE PRICE        AMOUNT OF NET PROCEEDS
                                      ALL CLOSED PROPERTIES
  3      5001-05 S Drexel                  5/22/2019     $2,800,000.00                 $2,579,171.14
  9      8100 S Essex                      4/30/2019     $1,100,000.00                   $887,701.86
 11      7500-06 S Eggleston               4/26/2019       $960,000.00                   $841,038.85
 14      7549-59 S Essex                   4/26/2019     $1,175,000.00                 $1,074,337.60
 79      6160-6212 S Martin LK             4/30/2019       $785,000.00                   $532,278.72
 102     7927-29 S Essex                    5/1/2019       $175,000.00                   $141,875.84
 103     7933-35 S Essex                    5/1/2019       $175,000.00                   $142,485.14
 104     7937-39 S Essex                    5/1/2019       $175,000.00                   $141,990.37
 105     7943-45 S Essex                    5/1/2019       $175,000.00                   $136,204.61
 106     7947-49 S Essex                    5/1/2019       $175,000.00                   $142,012.95
 10      7301-09 S Stewart                 11/4/2019       $650,000.00                   $587,383.53
 62      7834 S Ellis                      11/4/2019     $1,777,000.00                 $1,655,750.17
 58      5955 S Sacramento                 11/5/2019       $570,000.00                   $497,643.46
 59      6001 S Sacramento                 11/5/2019       $435,000.00                   $379,772.49
 60      7026 Cornell                      11/6/2019     $1,110,000.00                   $918,748.46
 12      3030 E 79th                      11/12/2019       $400,000.00                   $351,680.90
 13      2909 E 78th                      11/14/2019     $1,426,000.00                 $1,276,569.01
 71      701 S 5th Avenue                  3/31/2020       $975,000.00                   $520,541.83
 77      7750 S. Muskegon                 12/18/2019       $700,000.00                   $582,979.54
 92      7748 S. Essex                    12/18/2019     $1,350,000.00                 $1,217,423.87
 75      7625 S. East End                 12/20/2019     $1,250,000.00                 $1,156,782.51
 76      7635 S. East End                 12/20/2019     $1,170,000.00                 $1,084,045.74
 15      8047 S. Manistee                   2/5/2020       $975,000.00                   $867,058.48
  5      7749 S. Yates                     4/22/2020       $925,000.00                   $785,629.17
 115     1050 8th Ave, Naples, FL          4/24/2020       $950,000.00                   $393,043.13
 65      6749 S. Merrill                   4/28/2020     $1,480,000.00                 $1,384,437.44
 112     7450 S. Luella                     5/7/2020       $278,000.00                   $211,313.61
 88      7546 S. Saginaw                   5/13/2020       $625,000.00                   $536,319.43
 95      8201 S. Kingston                  5/21/2020       $400,000.00                   $313,377.74
 63      4520 S. Drexel                    5/21/2020     $6,110,000.00                 $5,814,278.91
 96      8326-32 S Ellis Avenue
 97      8334-40 S Ellis Avenue
                                           6/11/2020     $1,610,000.00                 $1,403,225.03
 98      8342-50 S Ellis Avenue
 99      8352-58 S Ellis Avenue
  4      5450 S. Indiana Avenue            6/25/2020     $1,800,000.00                 $1,656,600.96
  6      6437 S. Kenwood Avenue            6/25/2020     $1,415,000.00                 $1,317,322.28
 50      7760 S. Coles                     6/26/2020       $260,000.00                   $188,195.94
 54      8000 S. Justine                   6/26/2020       $375,000.00                   $297,778.30
 55      8107 S. Ellis                     6/30/2020       $220,000.00                   $175,605.67
 57      8214 S. Ingleside                 6/30/2020       $350,000.00                   $267,219.19
 56      8209 S. Ellis                      7/1/2020       $375,000.00                   $308,848.22
 100     11117 S. Longwood                  7/8/2020     $1,750,000.00                 $1,599,854.81
 49      7300-04 S. St. Lawrence           7/27/2020       $330,000.00                   $283,239.84
 66      7110-16 S. Cornell                8/13/2020     $1,240,000.00                 $1,145,576.16
 93      7957-59 S. Marquette              9/21/2020       $351,000.00                   $279,775.32
 84      7051 S. Bennett                   9/23/2020       $600,000.00                   $482,797.05
 74      3074 Cheltenham                   9/24/2020     $1,060,000.00                   $960,348.38
 80      2736-44 W. 64th                   9/29/2020       $418,000.00                   $373,122.98
 110     5618-20 S. King                   9/29/2029       $646,000.00                   $584,772.08
 83      6356 S. California                9/29/2020       $375,000.00                   $312,552.66
 82      6355-59 S. Talman                 9/29/2020       $577,000.00                   $472,139.56
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78     7201 S. Constance               9/30/2020    $1,100,000.00                $951,411.73
111    6554-58 S.Vernon               10/15/2020      $576,000.00                $528,668.50
 1     1700-08 W. Juneway             10/20/2020    $2,800,000.00              $2,628,031.19
85     7201-07 S. Dorchester          10/20/2020      $495,000.00                $413,136.81
87     7508 S. Essex                  10/28/2020      $755,000.00                $690,807.52
115    431 E. 42nd                     11/5/2020       $82,500.00                 $59,375.71
91     7701-03 S. Essex               11/16/2020      $700,000.00                $641,060.09
86     7442-54 S. Calumet             11/16/2020      $565,000.00                $518,560.89
94     816-22 E. Marquette            11/18/2020      $805,000.00                $747,245.26
101    6949-59 S. Merrill              12/1/2020    $1,520,000.00              $1,404,824.55
 2     4533-47 S. Calumet              12/1/2020    $2,120,000.00              $1,969,074.99
81     4315-19 S. Michigan             12/2/2020      $850,000.00                $787,969.95
89     7600-10 S. Kingston             12/2/2020    $1,530,000.00              $1,377,207.46
90     7656-58 S. Kingston             12/2/2020      $320,000.00                $230,791.66
67     1131-41 E 79th Place           12/22/2020    $1,150,000.00              $1,055,876.12
69     6250 S Mozart Street           12/22/2020      $925,000.00                $843,372.55

                                                   $61,296,500.00             $54,110,265.91
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                        Exhibit 2
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                                                             SEC v. EquityBuild, Inc., et al.
                                                                    No. 18‐cv‐5587
                                         Balances of Funds in Property Specific Accounts as of March 31, 2021




                                                     Account Balance                                             Reason for Change (if any)
 Account Number          Account Name                                       Date of Settlement
                                                  (as of March 31, 2021)                                              1/1/21 ‐ 3/31/21
0025              7301 S Stewart Ave                         $302,861.44               11/4/2019    Interest earned, $186.63
0033              5001‐05 S Drexel                         $2,721,000.26               5/22/2019    Interest earned, $1,676.80
0041              7927‐49 S Essex                            $643,265.19                5/1/2019    Interest earned, $396.41
0058              8100‐14 S Essex                            $927,170.97               4/30/2019    Interest earned, $571.37
0066              6160‐6212 S King                           $429,121.05               4/30/2019    Interest earned, $264.45
0108              8047 S. Manistee                           $807,445.22                2/5/2020    Interest earned, $497.59
0116              5955 S. Sacramento                         $449,263.82               11/5/2019    Interest earned, $276.86
0124              6001‐05 S. Sacramento                      $327,238.22               11/5/2019    Interest earned, $201.66
0132              7026‐42 S. Cornell                         $866,509.05               11/6/2019    Interest earned, $533.99
0157              7834‐44 S. Ellis                         $1,633,538.86               11/4/2019    Interest earned, $1,006.67
0165              701‐13 S. 5th Avenue                       $615,289.09               3/31/2020    Post‐sale reconciliation from property manager,
                                                                                                    $17,164.36; interest earned, $376.94
0199              7625 S. East End                         $1,239,426.14              12/20/2019    Interest earned, $763.79
0207              7635 S. East End                         $1,046,915.54              12/20/2019    Interest earned, $645.16
0215              7748 S. Essex                            $1,184,336.53              12/18/2019    Post‐sale reconciliation from property manager,
                                                                                                    $14,481.68; interest earned, $727.96
0223              7750 S. Muskegon                           $408,790.44              12/18/2019    Interest earned, $251.92
0231              7749‐59 S. Yates                           $647,943.19               4/22/2020    Interest earned, $399.29
0249              7450 S. Luella                             $198,008.82                5/7/2020    Post‐sale reconciliation from property manager,
                                                                                                    $11,750.90; interest earned, $121.70
0256              4520‐26 S. Drexel                        $6,217,870.43               5/21/2020    Post‐sale reconciliation from property manager,
                                                                                                    $330,371.07; transfer from Receiver's account for
                                                                                                    adjustment pursuant to Order (#843) on 2d
                                                                                                    restoration motion, $59.50; interest earned,
                                                                                                    $3,824.94
0264              6749‐59 S. Merrill                       $1,407,374.84               4/28/2020    Post‐sale reconciliation from property manager,
                                                                                                    $8,274.78; transfer from Receiver's account for
                                                                                                    adjustment pursuant to Order (#843) on 2d
                                                                                                    restoration motion, $24.75; interest earned,
                                                                                                    $866.21
0272              7110 S. Cornell                          $1,167,921.10               8/13/2020    Post‐sale reconciliation from property manager,
                                                                                                    $20,521.93; interest earned, $719.17
0298              7600 S. Kingston                         $1,378,329.68               12/3/2020    Interest earned, $849.39
0306              7656 S. Kingston                          $230,979.72                12/2/2020    Interest earned, $142.34
0314              8201 S. Kingston                          $279,376.36                5/21/2020    Interest earned, $172.17
0322              8326‐58 S. Ellis                         $1,331,197.77               6/11/2020    Post‐sale reconciliation from property manager,
                                                                                                    $19,098.58; interest earned, $817.86
0330              6949‐59 S. Merrill                       $1,539,870.74               12/1/2020    Post‐sale reconciliation from property manager,
                                                                                                    $133,861.17; interest earned, $887.52
0355              7546 S. Saginaw                            $522,247.73               5/13/2020    Post‐sale reconciliation from property manager,
                                                                                                    $11,310.63; interest earned, $320.37
0363              638 N. Avers                               $327,186.86                      n/a   Payment of property management expenses,
                                                                                                    ($5,147.45); payment security installation
                                                                                                    ($3,871.03); interest earned, $204.28
0371              5450 S. Indiana                          $1,789,991.14               6/25/2020    Post‐sale reconciliation from property manager,
                                                                                                    $138,819.42; interest earned, $1,096.42

0389              6437 S. Kenwood                          $1,340,583.69               6/25/2020 Post‐sale reconciliation from property manager,
                                                                                                 $22,524.97; interest earned, $825.51
0397              7300 S. St. Lawrence                       $309,790.05               7/27/2020 Post‐sale reconciliation from property manager,
                                                                                                 $26,057.96; interest earned, $187.51
0405              7760 S. Coles                              $122,917.98               6/26/2020 Post‐sale reconciliation from property manager,
                                                                                                 $2,236.08; interest earned, $75.46
0413              8000 S. Justine                            $193,056.86               6/26/2020 Post‐sale reconciliation from property manager,
                                                                                                 $8,455.01; interest earned, $117.87
0421              8107‐09 S. Ellis                           $110,940.15               6/30/2020 Post‐sale reconciliation from property manager,
                                                                                                 $15,957.23; interest earned, $66.29
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                                                             SEC v. EquityBuild, Inc., et al.
                                                                    No. 18‐cv‐5587
                                         Balances of Funds in Property Specific Accounts as of March 31, 2021




                                                     Account Balance                                          Reason for Change (if any)
 Account Number          Account Name                                       Date of Settlement
                                                  (as of March 31, 2021)                                           1/1/21 ‐ 3/31/21
0439              8209 S. Ellis                              $263,469.26                7/1/2020 Post‐sale reconciliation from property manager,
                                                                                                 $9,965.45; interest earned, $161.07
0447              8214‐16 S. Ingleside                       $208,388.36               6/30/2020 Post‐sale reconciliation from property manager,
                                                                                                 $3,567.54; interest earned, $127.95
0454              11117 S. Longwood                        $1,690,656.27                7/8/2020 Post‐sale reconciliation from property manager,
                                                                                                 $100,524.91; interest earned, $1,028.78

0462              1700 Juneway                             $2,770,064.72              10/20/2020 Post‐sale reconciliation from property manager,
                                                                                                 $139,047.30; interest earned, $1,689.90

0470              1131‐41 E. 79th                          $1,178,017.82              12/22/2020 Post‐sale reconciliation from property manager,
                                                                                                 $121,413.27; interest earned, $656.11

0488              2736 W. 64th                               $379,736.07               9/29/2020 Post‐sale reconciliation from property manager,
                                                                                                 $4,555.74; utility refunds, $1,586.77; interest
                                                                                                 earned, $232.84
0496              3074 Cheltenham                          $1,013,455.80               9/24/2020 Interest earned, $624.54
0504              5618 S. Martin Luther King                $626,227.16                9/29/2020 Post‐sale reconciliation from property manager,
                                                                                                 $23,680.38; utility refunds, $1,100.32; interest
                                                                                                 earned, $382.61
0512              6250 S. Mozart                             $863,632.61              12/22/2020 Interest earned, $532.21
0520              6355 S. Talman                             $478,578.06               9/29/2020 Post‐sale reconciliation from property manager,
                                                                                                 $5,843.50; interest earned, $294.16
0538              6356 S. California                         $315,213.89               9/29/2020 Post‐sale reconciliation from property manager,
                                                                                                 $2,259.54; utility refunds, $8.59; interest earned,
                                                                                                 $193.95
0546              6554‐58 S. Vernon                          $529,273.55              10/15/2020 Interest earned, $326.16
0553              7051 S. Bennett                            $483,425.75               9/23/2020 Interest earned, $297.91
0561              7201 S. Constance                          $960,594.34               9/30/2020 Post‐sale reconciliation from property manager,
                                                                                                 $7,985.54; interest earned, $590.85
0579              7201‐07 S. Dorchester                      $420,874.77              10/20/2020 Post‐sale reconciliation from property manager,
                                                                                                 $3,779.88; utility refunds, $56.26; interest earned,
                                                                                                 $258.84
0587              7508 S. Essex                              $747,415.53              10/28/2020 Post‐sale reconciliation from property manager,
                                                                                                 $55,839.42; interest earned, $460.98
0595              7957 S. Marquette                          $284,483.17               9/21/2020 Post‐sale reconciliation from property manager,
                                                                                                 $4,337.58; interest earned, $174.75
0603              4533 S. Calumet                          $2,195,193.83               12/1/2020 Post‐sale reconciliation from property manager,
                                                                                                 $223,993.43; interest earned, $1,256.15

0611              1017 W. 102nd                                $4,499.08                      n/a   Interest earned, $2.77
0629              1516 E. 85th                                 $2,905.54                      n/a   Interest earned, $1.79
0637              417 Oglesby                                    $370.19                      n/a   Interest earned, $0.23
0645              7922 S. Luella                                 $200.79                      n/a   Interest earned, $0.12
0652              7925 S. Kingston                             $2,057.36                      n/a   Interest earned, $1.27
0660              8030 S. Marquette                            $1,414.99                      n/a   Interest earned, $0.88
0678              8104 S. Kingston                             $2,649.42                      n/a   Interest earned, $1.63
0686              8403 S. Aberdeen                             $2,356.04                      n/a   Interest earned, $1.46
0694              8405 S. Marquette                            $1,946.98                      n/a   Interest earned, $1.20
0702              8529 S. Rhodes                                 $936.27                      n/a   Interest earned, $0.58
0710              9212 S. Parnell                              $2,463.27                      n/a   Interest earned, $1.51
0728              10012 S. LaSalle                             $2,026.17                      n/a   Interest earned, $1.25
0736              11318 S. Church                              $1,160.70                      n/a   Interest earned, $0.72
0744              6554 S. Rhodes                               $1,087.40                      n/a   Interest earned, $0.67
0751              6825 S. Indiana                              $1,054.76                      n/a   Interest earned, $0.65
0769              7210 S. Vernon                                 $224.36                      n/a   Interest earned, $0.13
0777              7712 S. Euclid                               $1,643.26                      n/a   Interest earned, $1.01
0785              8107 S. Kingston                               $367.78                      n/a   Interest earned, $0.23
        Case: 1:18-cv-05587 Document #: 985 Filed: 04/30/21 Page 28 of 88 PageID #:32174
                                                           SEC v. EquityBuild, Inc., et al.
                                                                  No. 18‐cv‐5587
                                       Balances of Funds in Property Specific Accounts as of March 31, 2021




                                                   Account Balance                                            Reason for Change (if any)
 Account Number         Account Name                                      Date of Settlement
                                                (as of March 31, 2021)                                             1/1/21 ‐ 3/31/21
0793              8346 S. Constance                           $1,472.75                    n/a   Interest earned, $0.91
0801*             8432 S. Essex                                 $393.76                    n/a   Interest earned, $0.24
0819              8517 S. Vernon                              $1,175.21                    n/a   Interest earned, $0.73
0827              2129 W. 71st                                $1,003.31                    n/a   Interest earned, $0.62
0835              9610 S. Woodlawn                            $2,331.96                    n/a   Interest earned, $1.44
0843              1401 W. 109th                               $2,370.21                    n/a   Interest earned, $1.47
0850              1139 E. 79th                                $3,708.33                    n/a   Interest earned, $2.29
0868              4611 S. Drexel                            $43,847.49                     n/a   Interest earned, $27.02
0876              6217 S. Dorchester                        $12,834.56                     n/a   Interest earned, $7.91
0884              7255 S. Euclid                            $26,442.00                     n/a   Interest earned, $16.29
0892              7024 S. Paxton                            $45,185.20                     n/a   Interest earned, $27.84
0900              4317 S. Michigan                         $792,299.47               12/2/2020   Interest earned, $488.25
0918              7701 S. Essex                            $731,433.87              11/16/2020   Post‐sale reconciliation from property manager,
                                                                                                 $84,977.33; interest earned, $427.47
0926              816 E. Marquette                         $821,461.36              11/18/2020   Post‐sale reconciliation from property manager,
                                                                                                 $68,419.42; interest earned, $487.48
0934              1422 E. 68th                               $1,824.34                     n/a   Interest earned, $1.12
0942              2800 E. 81st                               $5,404.51                     n/a   Interest earned, $3.33
0959              4750 S. Indiana                           $13,141.16                     n/a   Interest earned, $8.10
0967              7840 S. Yates                              $8,769.49                     n/a   Interest earned, $5.40
0975              7442‐48 S. Calumet                       $540,148.27              11/16/2020   Post‐sale reconciliation from property manager,
                                                                                                 $21,100.45; interest earned, $327.08
0983              431 E. 42nd Place                         $65,485.33               11/5/2020   Insurance refund, $6,046.58; interest earned,
                                                                                                 $39.86

                  TOTAL FUNDS HELD:                     $51,276,556.83
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                        Exhibit 3
         Case: 1:18-cv-05587 Document #: 985 Filed: 04/30/21 Page 30 of 88 PageID #:32176

                    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                                   Receivership; Civil Court Docket No. 18‐cv‐05587
                                      Reporting Period 1/1/2021 to 3/31/2021

Fund Accounting (See Instructions):
                                                                             Detail        Subtotal       Grand Total
Line 1        Beginning Balance (As of 1/1/2021):                         $1,181,881.43                   $1,181,881.43
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and unliquidated assets
Line 4        Interest/Dividend Income                                         $699.45
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Net Income from Properties
Line 8        Miscellaneous ‐ Other¹                                        $18,725.00
                Total Funds Available (Line 1‐8):                                                         $1,201,305.88
              Decrease in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for receivership operations
   Line 10a Disbursements to receiver or Other Profesionals
   Line 10b Business Asset Expenses²                                        ($98,694.35)
   Line 10c Personal Asset Expenses
   Line 10d Investment Expenses
   Line 10e Third‐Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third‐Party Litigation Expenses                                             $0.00
   Line 10f Tax Administrator Fees and Bonds
  Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                              ($98,694.35)
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator……………………………………………………….….
                       Independent Distribution Consultant (IDC)…………………
                       Distribution Agent……………………….……………………………………
                       Consultants………………………………………………….…………………….
                       Legal Advisers…………………………………………………………….……..
                       Tax Advisers……………………………………………………………………….
                  2. Administrative Expenses
                  3. Miscellaneous
               Total Plan Development Expenses                                                  $0.00
  Line 11b       Distribution Plan Implementation Expenses:
                   1. Fees:
                       Fund Administrator…………..…………….…………………………
                       IDC……………………………………………………………………………..
        Case: 1:18-cv-05587 Document #: 985 Filed: 04/30/21 Page 31 of 88 PageID #:32177

                 STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                                Receivership; Civil Court Docket No. 18‐cv‐05587
                                   Reporting Period 1/1/2021 to 3/31/2021

                    Distribution Agent……………………….………………..…..………
                    Consultants………………………………………………….…………….
                    Legal Advisers………………………………………….………………………..
                    Tax Advisers……………………………………………………..………………..
                 2. Administrative Expenses
                 3. Investor identification
                    Notice/Publishing Approved Plan………………………………….
                    Claimant Identification……………………………………………………
                    Claims Processing……………………………………………………………..
                    Web Site Maintenance/Call Center……………………………….
                 4. Fund Adminstrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                   (FAIR) reporting Expenses
                 Total Plan Implementation Expenses
                 Total Disbursement for Distribution Expenses Paid by the Fund                      $0.00
Line 12     Disbursement to Court/Other:
   Line 12a     Investment Expenses/Court Registry Investment
                System (CRIS) Fees
   Line 12b     Federal Tax Payments
              Total Disbursement to Court/Others:
              Total Funds Disbursed (Lines 1‐12):                                                                 ($98,694.35)
Line 13         Ending Balance (As of 3/31/2021):                                                              $1,102,611.53
Line 14     Ending Balance of Fund ‐ Net Assets:
   Line 14a    Cash & Cash Equivalents                                                                         $1,102,611.53
   Line 14b    Investments (unliquidated Huber/Hubadex investments)
   Line 14c    Other Assets or uncleared Funds
               Total Ending Balance of Fund ‐ Net Assets                                                       $1,102,611.53




           ¹ Refund of insurance premium financing payments for sold
           properties. TOTAL: $18,725.00
           ² Insurance ($80,955.83); property utilities ($10,297.39);
           property security installations ($6,356.88); property
           management fees ($1,000.00); rent restoration adjusments
           ($84.25); TOTAL $98,694.35.




                                                               Receiver:
                                                                                           /s/ Kevin B. Duff
                                                                             (Signature)
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      STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                     Receivership; Civil Court Docket No. 18‐cv‐05587
                        Reporting Period 1/1/2021 to 3/31/2021


                                                      Kevin B. Duff, Receiver EquityBuild, Inc., et al.
                                                          (Printed Name)

                                              Date:                     April 30, 2021
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                        Exhibit 4
Case: 1:18-cv-05587 Document #: 985 Filed: 04/30/21 Page 34 of 88 PageID #:32180
                     EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0181
                                     January-March 2021
                            Schedule of Receipts and Disbursements


 Beginning Balance
 1/1/21                                                                                  $1,055,148.26

 RECEIPTS

                                   Received From                     Amount

                       1/31/2021 Interest                                     $220.92

                       2/28/2021 Interest                                     $191.82
                                 Refund of insurance installment
                        3/1/2021 payments for sold properties            $18,725.00
                       3/31/2021 Interest                                   $208.56

                                   TOTAL RECEIPTS:                                         $19,346.30

 DISBURSEMENTS

                                   Paid To                           Amount
                                   First Funding (installment on
                                   premium financing agreement -
 Wire Out              1/11/2021   GL & umbrella ins)                   ($17,228.23)
                                   Paper Street (DAWGS for 1
 Wire Out              1/19/2021   month at 7237 S Bennett)              ($1,765.80)
                                   To adjust restoration to 5751 S
 Transfer Funds        1/25/2021   Merrill                                    ($24.75)
                                   To adjust restoration to 4950 S
 Transfer Funds        1/25/2021   Drexel                                     ($59.50)
                                   First Funding (installment on
                                   premium financing agreement -
 Wire Out              1/27/2021   property ins)                        ($14,635.58)
                                   Paper Street (3 months DAWGS
 Wire Out               2/9/2021   at 7237 S Bennett)                    ($4,591.08)
                                   First Funding (installment on
                                   premium financing agreement -
 Wire Out               2/9/2021   GL & umbrella ins)                   ($17,228.23)
                                   Paper Street (utilities &
                                   management expenses at 1401
                                   W 109th ($2,915.15), 7237
 Wire Out              2/16/2021   Bennett ($5,580.72))                  ($8,495.87)
                                   WPD (management expenses -
 Wire Out              2/16/2021   1414 E 62d)                           ($1,000.00)
                                   First Funding (installment on
                                   premium financing agreement -
 Wire Out              2/26/2021   property ins)                        ($14,635.58)
                                   First Funding (installment on
                                   premium financing agreement -
 Wire Out              3/12/2021   GL & umbrella ins)                   ($17,228.21)
                                   Paper Street (utilities &
                                   management expenses at 1401
 Wire Out              3/19/2021   W 109th )                             ($1,801.52)
Case: 1:18-cv-05587 Document #: 985 Filed: 04/30/21 Page 35 of 88 PageID #:32181
                 EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0181
                                 January-March 2021
                        Schedule of Receipts and Disbursements


                            TOTAL DISBURSEMENTS:                        ($98,694.35)

                            Grand Total Cash on Hand at
                            3/31/2021:                                  $975,800.21
Case: 1:18-cv-05587 Document #: 985 Filed: 04/30/21 Page 36 of 88 PageID #:32182
                     EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0348
                                     January-March 2021
                            Schedule of Receipts and Disbursements


 Beginning Balance
 1/1/21                                                                              $126,733.17

 RECEIPTS

                                     Received From                 Amount

                           1/31/2021 Interest                               $26.92

                           2/28/2021 Interest                               $24.31
                             3/31/21 Interest                               $26.92

                                     TOTAL RECEIPTS:                                     $78.15

 DISBURSEMENTS

                                     Paid To                       Amount


                                     TOTAL DISBURSEMENTS:                                  $0.00

                                     Grand Total Cash on Hand at
                                     3/31/2021:                                      $126,811.32
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                        Exhibit 5
      Case: 1:18-cv-05587 Document #: 985 Filed: 04/30/21 Page 38 of 88 PageID #:32184



                                                    Master Asset List
                                        Receiver’s Account (as of 3/31/2021)
Institution                                Account Information               Amount
AXOS Fiduciary Services                    Checking #0181                                                         $975,800.21
AXOS Fiduciary Services                      Checking #0348                                                       $126,811.32
                                                                                                                        Total:
                                                                                                                $1,102,611.53

                                 Receivership Defendants’ Accounts
Institution      Account Information                         Current Value                           Amount Transferred
                                                                                                     to Receiver’s
                                                                                                     Account
Wells Fargo      Checking (53 accounts in the names of the                                                    $190,184.13¹
                 affiliates and affiliate entities included as
                 Receivership Defendants)
Wells Fargo      Checking (account in the names of Shaun                                                           $23,065.43²
                 Cohen and spouse)
Byline Bank      Checking (2 accounts in names of Receivership                      $21,828.73³
                 Defendants)
                                                                                                                        Total:
                                                                                                                  $213,249.56

                                   EquityBuild Real Estate Portfolio
For a list of the properties within the EquityBuild portfolio identified by property address, alternative
address (where appropriate), number of units, and owner, see Exhibit 1 to the Receiver’s First Status
Report, Docket No. 107. See also Exhibit __ hereto.

                                            Other, Non-Illinois Real Estate
Description                                                     Appraised Market Value
Single family home in Plano, Texas                                                                              ±$450,000.00

                                                                          Approximate mortgage amount: $400,000.00
                                                                         Approximate value less mortgage: $50,000.00


     ¹ This amount reflects the total value of all of the frozen bank accounts held by Wells Fargo that were transferred to
     the Receiver’s account; the final transfer was made on 1/22/20, and included as part of the Receiver’s Account as of
     3/31/20.
     ² This amount was transferred to the Receiver’s Account as of 8/27/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ³ The Receiver is investigating whether these accounts are properly included within the Receivership Estate.
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                        Exhibit 6
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                                 Master Property List



   Prop #   Property Address                            Alternative Address
      1     1700-08 Juneway Terrace
      2     4533-47 S Calumet Avenue
      3     5001 S Drexel Boulevard                     909 E 50th Street
     4      5450-52 S Indiana Avenue                    118-132 E Garfield
     5      7749-59 S Yates Boulevard
     6      6437-31 S Kenwood Avenue
     7      7109-19 S Calumet Avenue
     8      1414 & 1418 East 62nd Place
     9      8100 S Essex Avenue                         2449-2457 E. 81st St.
     10     7301-09 S Stewart Avenue
     11     7500-06 S Eggleston Avenue
     12     3030-32 E 79th Street
     13     2909-19 E 78th Street
     14     7549-59 S Essex Avenue
     15     8047-55 S Manistee Avenue
     16     1017 W 102nd Street
     17     1516 E 85th Place
     18     2136 W 83rd Street
     19     417 Oglesby Avenue
     20     7922 S Luella Avenue
     21     7925 S Kingston Avenue
     22     7933 S Kingston Avenue
     23     8030 S Marquette Avenue
     24     8104 S Kingston Avenue
     25     8403 S Aberdeen Street
     26     8405 S Marquette Avenue
     27     8529 S Rhodes Avenue
     28     8800 S Ada Street
     29     9212 S Parnell Avenue
     30     10012 S LaSalle Avenue
     31     11318 S Church Street
     32     3213 S Throop Street
     33     3723 W 68th Place
     34     406 E 87th Place
     35     61 E 92nd Street
     36     6554 S Rhodes Avenue
     37     6825 S Indiana Avenue
     38     7210 S Vernon Avenue
     39     7712 S Euclid Avenue
     40     7953 S Woodlawn Avenue
     41     8107 S Kingston Avenue
     42     8346 S Constance Avenue
     43     8432 S Essex Avenue
     44     8517 S Vernon Avenue



                                          1
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                                   Master Property List



   Prop #   Property Address                              Alternative Address
     45     2129 W 71st Street
     46     9610 S Woodlawn Avenue
     47     5437 S Laflin Street
     48     6759 S Indiana Avenue
     49     7300-04 St Lawrence Avenue
     50     7760 S Coles Avenue
     51     1401 W 109th Place
     52     310 E 50th Street
     53     6807 S Indiana Avenue
     54     8000-02 S Justine Street                      1541 E 80th Street
     55     8107-09 S Ellis Avenue
     56     8209 S Ellis Avenue
     57     8214-16 S Ingleside Avenue
     58     5955 S Sacramento Avenue                      2948-56 W 60th Street
     59     6001-05 S Sacramento Avenue                   2945-51 W 60th Street
     60     7026-42 S Cornell Avenue
     61     7237-43 S Bennett Avenue
     62     7834-44 S Ellis Avenue
     63     4520-26 S Drexel Boulevard
     64     4611-17 S Drexel Boulevard
     65     6749-59 S Merrill Avenue                      2136 East 68th Street
     66     7110 S Cornell Avenue
     67     1131-41 E 79th Place
     68     6217-27 S Dorchester Avenue                   1408-10 E. 62nd Place
     69     6250 S Mozart Avenue                          2832-36 W 63rd Street
     70     638-40 N Avers Avenue
     71     701-13 S 5th Avenue, Maywood                  414 Walnut
     72     7024-32 S Paxton Avenue
     73     7255-57 S Euclid Avenue                       1940-44 E 73rd Street
     74     3074 Cheltenham Place                         7836 S Shore Drive
     75     7625-33 S East End Avenue
     76     7635-43 S East End Avenue
     77     7750-58 S Muskegon Avenue                     2818-36 E 78th Street
     78     7201 S Constance Avenue                       1825-31 E 72nd Street
     79     6160-6212 S Martin Luther King Drive
     80     2736 W 64th Street
     81     4317-19 S Michigan Avenue
     82     6355-59 S Talman Avenue                       2616-22 W 64th Street
     83     6356 S California Avenue                      2804 W 64th Street
     84     7051 S Bennett Avenue
     85     7201-07 S Dorchester Avenue                   1401 E 72nd Street
     86     7442-48 S Calumet Avenue
     87     7508 S Essex Avenue                           2453-59 E 75th Street
     88     7546-48 S Saginaw Avenue



                                            2
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                                   Master Property List



   Prop #   Property Address                              Alternative Address
     89     7600-10 S Kingston Avenue                     2527 E 76th Street
     90     7656-58 S Kingston Avenue                     2514-20 E 77th Street
     91     7701-03 S Essex Avenue
     92     7748-52 S Essex Avenue                        2450-52 E 78th Street
     93     7953-59 S Marquette Road                      2708-10 E 80th Street
     94     816-20 E Marquette Road
     95     8201 S Kingston Avenue
     96     8326-32 S Ellis Avenue
     97     8334-40 S Ellis Avenue
     98     8342-50 S Ellis Avenue
     99     8352-58 S Ellis Avenue
    100     11117-11119 S Longwood Drive
    101     6949-59 S Merrill Avenue
    102     7927-29 S Essex Avenue
    103     7933-35 S Essex Avenue
    104     7937-39 S Essex Avenue
    105     7943-45 S Essex Avenue
    106     7947-49 S Essex Avenue
    107     1422-24 East 68th Street
    108     2800-06 E 81st Street
    109     4750-52 S Indiana Avenue
    110     5618-20 S Martin Luther King Drive
    111     6558 S Vernon Avenue                          416-24 E 66th Street
    112     7450 S Luella Avenue                          2220 East 75th Street
    113     7840-42 S Yates Avenue
    114     1050 8th Avenue, Naples, FL
    116     1102 Bingham St, Houston TX
    141     431 E. 42nd Place




                                             3
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                        Exhibit 7
                                                                                                          Master Claims List
                                                                                           SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587
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Property Number      Property Address              Alternative Address          Type                                    Claimant Name                               Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                   Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                   Category as Identified on                           Property
                                                                                                                                                                         Claim Form)

       1          1700-08 Juneway Terrace                                Estate Property       Agee Family Trust c/o Scott R. Agee                                  $            130,000.00       Investor-Lender      $    40,000.00 1-2001
       1          1700-08 Juneway Terrace                                Estate Property       Alcalli Sabat                                                        $            109,396.68       Investor-Lender                     1-786
       1          1700-08 Juneway Terrace                                Estate Property       Aluvelu Homes LLC                                                    $            169,271.00       Investor-Lender      $    20,000.00 1-879
       1          1700-08 Juneway Terrace                                Estate Property       American Estate and Trust FBO Layne Jones IRA                        $             20,699.99       Investor-Lender      $    20,000.00 1-707
       1          1700-08 Juneway Terrace                                Estate Property       Asians Investing In Real Estate LLC                                  $          1,278,402.00       Investor-Lender      $    15,000.00 1-503
       1          1700-08 Juneway Terrace                                Estate Property       Capital Investors, LLC                                               $            930,376.31       Investor-Lender      $   250,000.00 1-1490
       1          1700-08 Juneway Terrace                                Estate Property       Chuck Denton | Denton Real Estate Company Inc. 401k                  $            200,000.00       Investor-Lender      $    25,000.00 1-379
       1          1700-08 Juneway Terrace                                Estate Property       CLC Electric, Inc. (Costel Dumitrescu)                               $            108,000.00   Independent Contractor   $    36,000.00 1-1477
       1          1700-08 Juneway Terrace                                Estate Property       CLD Construction, Inc. (Doru Unchias)                                $            434,935.00   Independent Contractor   $    70,000.00 1-1454
       1          1700-08 Juneway Terrace                                Estate Property       Clearwood Funding, LLC                                               $            150,000.00       Investor-Lender      $    50,000.00 1-1276
       1          1700-08 Juneway Terrace                                Estate Property       CLOVE, LLC                                                           $             21,750.74       Investor-Lender      $     5,000.00 1-723
       1          1700-08 Juneway Terrace                                Estate Property       Coppy Properties, LLC                                                $             50,000.00       Investor-Lender      $    50,000.00 1-1381
       1          1700-08 Juneway Terrace                                Estate Property       Cross 5774 Holdings LLC - Cross Global Funding Group                 $             75,000.00       Investor-Lender      $    50,000.00 1-860
       1          1700-08 Juneway Terrace                                Estate Property       Dana Speed                                                           $            249,710.00       Investor-Lender      $    40,000.00 1-684
       1          1700-08 Juneway Terrace                                Estate Property       Danielle DeVarne                                                     $            150,000.00       Investor-Lender      $    50,000.00 1-679
       1          1700-08 Juneway Terrace                                Estate Property       David R. Trengove                                                    $            705,123.88       Investor-Lender      $    35,000.00 1-481
       1          1700-08 Juneway Terrace                                Estate Property       Dee Ann Nason                                                        $            303,965.00       Investor-Lender      $    50,000.00 1-453
       1          1700-08 Juneway Terrace                                Estate Property       Dennis & Mary Ann Hennefer                                           $            679,378.00       Investor-Lender      $    50,000.00 1-355
       1          1700-08 Juneway Terrace                                Estate Property       Elaine Sison Ernst                                                   $             95,000.00       Investor-Lender      $    30,000.00 1-1029
       1          1700-08 Juneway Terrace                                Estate Property       Elizabeth A. Monnot-Chase                                            $            107,450.00       Investor-Lender      $   105,000.00 1-1252
       1          1700-08 Juneway Terrace                                Estate Property       Evans & Associates LLC (Will Evans)                                  $             50,000.00       Investor-Lender      $    50,000.00 1-410
       1          1700-08 Juneway Terrace                                Estate Property       Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian              $              9,523.00       Investor-Lender      $     1,000.00 1-1065
                                                                                               IPLAN Group LLC)
       1          1700-08 Juneway Terrace                                Estate Property       Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)            $            30,718.00       Investor-Lender       $     9,000.00   1-1066
       1          1700-08 Juneway Terrace                                Estate Property       Gilbert D Sherman Declaration of Trust 7/30/2013                     $            60,500.00       Investor-Lender       $    50,000.00   1-92
       1          1700-08 Juneway Terrace                                Estate Property       Grace Ndungu                                                         $            45,169.81       Investor-Lender       $    50,000.00   1-609
       1          1700-08 Juneway Terrace                                Estate Property       Gregory R Scott and Gene X Erquiaga                                  $            52,333.32       Investor-Lender       $    50,000.00   1-697
       1          1700-08 Juneway Terrace                                Estate Property       Helene D Kapsky                                                      $           100,000.00       Investor-Lender       $   100,000.00   1-1149
       1          1700-08 Juneway Terrace                                Estate Property       HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                            $            26,260.28       Investor-Lender       $    24,000.00   1-1274
       1          1700-08 Juneway Terrace                                Estate Property       iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account         $            46,000.00       Investor-Lender       $    20,000.00   1-203
                                                                                               3301018
       1          1700-08 Juneway Terrace                                Estate Property       iPlanGroup Agent for Custodian FBO Charles Powell IRA                $           260,000.00       Investor-Lender                      1-413
       1          1700-08 Juneway Terrace                                Estate Property       IRA Services Trust Company CFBO Melbourne Kimsey II                  $           150,000.00        Equity Investor      $    50,000.00 1-661
       1          1700-08 Juneway Terrace                                Estate Property       Janice Burrell (iPlanGroup Agent for Custodian FBO Janice G.         $           160,543.38       Investor-Lender       $    87,000.00 1-689
                                                                                               Burrell IRA )
       1          1700-08 Juneway Terrace                                Estate Property       Jason Ragan - TSA                                                    $           128,050.00        Equity Investor      $    10,000.00   1-1133
       1          1700-08 Juneway Terrace                                Estate Property       Jason Ragan - TSA                                                    $           473,079.71        Equity Investor      $    20,000.00   1-796
       1          1700-08 Juneway Terrace                                Estate Property       Jill Meekcoms (Halverson)                                            $           113,999.92       Investor-Lender       $    50,000.00   1-548
       1          1700-08 Juneway Terrace                                Estate Property       JLO Enterprises LLC                                                  $            54,714.37       Investor-Lender       $    37,000.00   1-726
       1          1700-08 Juneway Terrace                                Estate Property       JML Roth LLC                                                         $             4,140.01       Investor-Lender       $     4,000.00   1-725
       1          1700-08 Juneway Terrace                                Estate Property       John A Martino                                                       $           100,000.00       Investor-Lender       $   100,000.00   1-1494
       1          1700-08 Juneway Terrace                                Estate Property       Juliette Farr-Barksdale & Thomas Farr                                $           323,900.00        Equity Investor      $   300,000.00   1-2074
       1          1700-08 Juneway Terrace                                Estate Property       KAMEDA INVESTMENTS, LLC (Sole Owner/Manager - Arnold                 $           220,000.00       Investor-Lender       $   100,000.00   1-121
                                                                                               Kunio Kameda)
       1          1700-08 Juneway Terrace                                Estate Property       Madison Trust Company Custodian FBO Brian Shaffer IRA Account#       $           155,625.00       Investor-Lender                        1-411
                                                                                               M1608073 and M1703059
       1          1700-08 Juneway Terrace                                Estate Property       Mark A Miller ATF Domaskin Revocable Trust Aug. 8, 2006              $           150,000.00       Investor-Lender       $   100,000.00 1-2040
       1          1700-08 Juneway Terrace                                Estate Property       May M. Akamine for Aurora Investments, LLC (assets formerly under    $           631,739.82       Investor-Lender       $   110,000.00 1-1412
                                                                                               MayREI, LLC
       1          1700-08 Juneway Terrace                                Estate Property       Melanie T. or Gary M. Gonzales                                       $           525,525.01       Investor-Lender       $   250,000.00 1-207
       1          1700-08 Juneway Terrace                                Estate Property       Michael Borgia IRA                                                   $           975,416.00       Investor-Lender       $   125,000.00 1-705
       1          1700-08 Juneway Terrace                                Estate Property       Michael C. McClane                                                   $            82,277.75       Investor-Lender                      1-941
       1          1700-08 Juneway Terrace                                Estate Property       Mona M. Leonard SD ROTH - 2692021                                    $           190,609.00        Equity Investor      $    50,000.00 1-123
       1          1700-08 Juneway Terrace                                Estate Property       Patrick Connely                                                      $            50,000.00       Investor-Lender       $    50,000.00 1-939
       1          1700-08 Juneway Terrace                                Estate Property       Paul N. Wilmesmeier                                                  $           790,185.00       Investor-Lender       $    25,000.00 1-300
       1          1700-08 Juneway Terrace                                Estate Property       Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan      $           106,000.00       Investor-Lender       $    45,000.00 1-2087
       1          1700-08 Juneway Terrace                                Estate Property       Pioneer Valley Properties LLC                                        $            50,000.00       Investor-Lender       $    50,000.00 1-878
       1          1700-08 Juneway Terrace                                Estate Property       Quest IRA Inc. FBO Rebeca E. Savory-Romero IRA Account #15528-       $           184,785.31       Investor-Lender       $    10,500.00 1-804
                                                                                               11 and #15528-21
       1          1700-08 Juneway Terrace                                Estate Property       Quest Trust Company FBO Paul Applefield Roth IRA#16413-21            $            13,500.00       Investor-Lender       $     6,500.00 1-2088
       1          1700-08 Juneway Terrace                                Estate Property       Quest Trust Company FBO Robin Applefield Roth IRA#25164-21           $            13,500.00       Investor-Lender       $     6,500.00 1-2089
       1          1700-08 Juneway Terrace                                Estate Property       R D Meredith General Contractors LLC                                 $           100,000.00       Investor-Lender       $   100,000.00 1-1138




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Property Number      Property Address               Alternative Address          Type                                    Claimant Name                             Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                  Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                  Category as Identified on                           Property
                                                                                                                                                                        Claim Form)

       1           1700-08 Juneway Terrace                                Estate Property       R.D.Meredith General Contractors LLC 401K                          $            373,617.16       Investor-Lender      $    40,000.00   1-528
       1           1700-08 Juneway Terrace                                Estate Property       Ricardo Acevedo Lopez                                              $             15,000.00       Investor-Lender      $    15,000.00   1-746
       1           1700-08 Juneway Terrace                                Estate Property       Rise Up Real Estate Group, LLC                                     $            352,258.39       Investor-Lender      $   144,046.00   1-1484
       1           1700-08 Juneway Terrace                                Estate Property       RLD Denouement Holding Company, LLC                                $             20,000.00       Investor-Lender      $    20,000.00   1-483
       1           1700-08 Juneway Terrace                                Estate Property       Robert Potter                                                      $            282,999.00       Investor-Lender      $    79,274.00   1-1389
       1           1700-08 Juneway Terrace                                Estate Property       Scott Eaton                                                        $            549,101.33       Investor-Lender      $    25,000.00   1-1470
       1           1700-08 Juneway Terrace                                Estate Property       Serva Fidem, LLC                                                   $             78,510.69       Investor-Lender      $    34,930.00   1-1425
       1           1700-08 Juneway Terrace                                Estate Property       Simon Usuga                                                        $             95,000.00       Investor-Lender      $    45,000.00   1-681
       1           1700-08 Juneway Terrace                                Estate Property       Source One Funding, LLC                                            $             51,534.99       Investor-Lender      $    50,000.00   1-691
       1           1700-08 Juneway Terrace                                Estate Property       Spectra Investments LLC/ Deborah L. Mullica                        $            579,288.00       Investor-Lender      $   110,000.00   1-1220
       1           1700-08 Juneway Terrace                                Estate Property       Steven R. Bald                                                     $            586,378.00       Investor-Lender      $    60,000.00   1-399
       1           1700-08 Juneway Terrace                                Estate Property       Teresita M. Shelton                                                $            426,513.00       Investor-Lender                       1-330
       1           1700-08 Juneway Terrace                                Estate Property       Thorofare Asset Based Lending REIT Fund IV, LLC                    $          2,698,151.51     Institutional Lender                    1-1188
       1           1700-08 Juneway Terrace                                Estate Property       Tiger Chang Investments LLC                                        $             49,000.00       Investor-Lender      $    10,000.00   1-164
       1           1700-08 Juneway Terrace                                Estate Property       Vladimir Matviishin                                                $            290,200.00       Investor-Lender      $     7,500.00   1-1294
       1           1700-08 Juneway Terrace                                Estate Property       VLADIMIR RAUL GARCIA MELIJOV                                       $            100,000.00       Investor-Lender      $   100,000.00   1-75
       1           1700-08 Juneway Terrace                                Estate Property       William H. Akins, Jr.                                              $          1,100,000.00        Equity Investor     $    20,000.00   1-2003
       1           1700-08 Juneway Terrace                                Estate Property       William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)          $          1,100,000.00       Investor-Lender      $    25,000.00   1-2003
       1           1700-08 Juneway Terrace                                Estate Property       William Hooper                                                     $             93,000.00        Equity Investor     $    54,800.00   1-278
       1           1700-08 Juneway Terrace                                Estate Property       XUWEN LIN                                                          $             58,700.00       Investor-Lender      $     8,700.00   1-648
       1           1700-08 Juneway Terrace                                Estate Property       Zahra (Nina) Mofrad                                                $             75,000.00       Investor-Lender      $    25,000.00   1-1024
       2          4533-47 S Calumet Avenue                                Estate Property       Amit Hammer                                                        $            295,980.00       Investor-Lender      $   100,000.00   2-225
       2          4533-47 S Calumet Avenue                                Estate Property       Annie Chang                                                        $            246,935.34       Investor-Lender      $    50,000.00   2-475
       2          4533-47 S Calumet Avenue                                Estate Property       Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian          $            406,000.00       Investor-Lender                       2-1347
                                                                                                ELShahawi, members
       2          4533-47 S Calumet Avenue                                Estate Property       Bauer Latoza Studio, Ltd.                                          $             30,525.00        Trade Creditor      $     3,075.00 2-885
       2          4533-47 S Calumet Avenue                                Estate Property       Bernadette Chen (Eleven St Felix St. Realty)                       $          1,000,000.00        Equity Investor     $    50,000.00 2-2012
       2          4533-47 S Calumet Avenue                                Estate Property       Bluebridge Partners Limited                                        $            791,620.17       Investor-Lender      $   100,000.00 2-727
       2          4533-47 S Calumet Avenue                                Estate Property       BMO Harris Bank N.A.                                               $          1,719,582.97     Institutional Lender                  2-1063
       2          4533-47 S Calumet Avenue                                Estate Property       Brett Burnham (                                                    $            215,335.54       Investor-Lender      $    80,000.00 2-314
                                                                                                iPlanGroup Agent for Custodian FBO Brett Burnham)
       2          4533-47 S Calumet Avenue                                Estate Property       Cecilia Wolff                                                      $            73,887.50        Investor-Lender                     2-1204
       2          4533-47 S Calumet Avenue                                Estate Property       Charles Savona                                                     $            37,145.83        Investor-Lender      $    50,000.00 2-2050
       2          4533-47 S Calumet Avenue                                Estate Property       Chuck Denton | Denton Real Estate Company Inc. 401k                $           200,000.00        Investor-Lender      $   100,000.00 2-379
       2          4533-47 S Calumet Avenue                                Estate Property       CLD Construction, Inc. (Doru Unchias)                              $           434,935.00    Independent Contractor   $    26,335.00 2-1454
       2          4533-47 S Calumet Avenue                                Estate Property       David R. Trengove                                                  $           705,123.88        Investor-Lender      $   200,000.00 2-481
       2          4533-47 S Calumet Avenue                                Estate Property       Dee Ann Nason                                                      $           303,965.00        Investor-Lender      $    50,000.00 2-453
       2          4533-47 S Calumet Avenue                                Estate Property       Dennis & Mary Ann Hennefer                                         $           679,378.00        Investor-Lender      $    52,956.00 2-355
       2          4533-47 S Calumet Avenue                                Estate Property       Double Portion Foundation                                          $            40,000.00        Investor-Lender      $    40,000.00 2-433
       2          4533-47 S Calumet Avenue                                Estate Property       Douglas Nebel and Narine Nebel                                     $           155,752.25        Investor-Lender      $    50,000.00 2-1080
       2          4533-47 S Calumet Avenue                                Estate Property       Gallowglass LLC c/o Patrick Bournes                                $           100,000.00        Investor-Lender                     2-316
       2          4533-47 S Calumet Avenue                                Estate Property       Harvey Singer                                                      $           854,387.63        Investor-Lender      $   100,000.00 2-2054
       2          4533-47 S Calumet Avenue                                Estate Property       iPlanGroup Agent for Custodian FBO Charles Powell IRA              $           260,000.00        Investor-Lender                     2-413
       2          4533-47 S Calumet Avenue                                Estate Property       iPlanGroup Agent for Custodian FBO Christopher Mora IRA Account    $            67,000.00        Investor-Lender      $    67,000.00 2-1137
                                                                                                # 3320826
       2          4533-47 S Calumet Avenue                                Estate Property       iPlanGroup Agent for Custodian FBO Joshua Mora IRA Account #       $            57,000.00       Investor-Lender       $    57,000.00 2-1176
                                                                                                3300975
       2          4533-47 S Calumet Avenue                                Estate Property       iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA       $            71,321.00       Investor-Lender       $       971.00 2-448
       2          4533-47 S Calumet Avenue                                Estate Property       IPlanGroup Agent for Custodian FBO Mark Young                      $           380,000.00       Investor-Lender       $    50,000.00 2-1446
       2          4533-47 S Calumet Avenue                                Estate Property       Joshua Paul Mora                                                   $            57,000.00       Investor-Lender                      2-1113
       2          4533-47 S Calumet Avenue                                Estate Property       Koates LLC                                                         $            85,000.00        Equity Investor      $    12,000.00 2-228
       2          4533-47 S Calumet Avenue                                Estate Property       Layne A. Hermansen                                                 $            51,000.00       Investor-Lender       $    51,000.00 2-1072
       2          4533-47 S Calumet Avenue                                Estate Property       Lorraine K Mcclane                                                 $            36,896.00       Investor-Lender                      2-1190
       2          4533-47 S Calumet Avenue                                Estate Property       Louis Liu                                                          $            37,908.57        Equity Investor      $    50,000.00 2-929
       2          4533-47 S Calumet Avenue                                Estate Property       Michael C. Jacobs                                                  $           178,833.00        Equity Investor      $    50,000.00 2-2031
       2          4533-47 S Calumet Avenue                                Estate Property       Neil R Martin                                                      $            20,991.00        Equity Investor      $    20,000.00 2-1253
       2          4533-47 S Calumet Avenue                                Estate Property       New Move Ventures Inc. (Steven Fecko)                              $           120,000.00       Investor-Lender       $    70,000.00 2-115
       2          4533-47 S Calumet Avenue                                Estate Property       Optima Property Solutions, LLC                                     $           487,209.71       Investor-Lender       $    70,000.00 2-1023
       2          4533-47 S Calumet Avenue                                Estate Property       Paul N. Wilmesmeier                                                $           790,185.00       Investor-Lender       $    25,000.00 2-300
       2          4533-47 S Calumet Avenue                                Estate Property       Provident Trust Group, LLC FBO Stephan Tang IRA                    $            71,815.00       Investor-Lender                      2-172
       2          4533-47 S Calumet Avenue                                Estate Property       Rajitha Dundigalla                                                 $            50,000.00       Investor-Lender       $    50,000.00 2-651




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                                                                                                           Master Claims List
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Property Number      Property Address               Alternative Address          Type                                    Claimant Name                                Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                     Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                     Category as Identified on                           Property
                                                                                                                                                                           Claim Form)

       2          4533-47 S Calumet Avenue                                Estate Property       Randall Sotka                                                         $           255,000.00       Investor-Lender       $   100,000.00   2-1207
       2          4533-47 S Calumet Avenue                                Estate Property       Robert Conley III                                                     $             3,187.50       Investor-Lender       $    75,000.00   2-789
       2          4533-47 S Calumet Avenue                                Estate Property       Robert Potter                                                         $           282,999.00       Investor-Lender       $     6,634.00   2-1389
       2          4533-47 S Calumet Avenue                                Estate Property       Russ Moreland                                                         $             3,000.00       Investor-Lender       $    50,000.00   2-286
       2          4533-47 S Calumet Avenue                                Estate Property       Shengjie Li and Yuye Xu                                               $           165,441.12       Investor-Lender       $    50,000.00   2-1340
       2          4533-47 S Calumet Avenue                                Estate Property       Stephen V Mancuso, Laura L Mancuso, SLM Property Investments,         $            50,000.00       Investor-Lender       $    50,000.00   2-769
                                                                                                IRA Trust Services Co. FBO SLM Property INvestments IRA
                                                                                                Account #5877315203
       2          4533-47 S Calumet Avenue                                Estate Property       Steven C Noss                                                         $            69,388.00       Investor-Lender       $    50,000.00 2-361
       2          4533-47 S Calumet Avenue                                Estate Property       Vantage Appraisals 401k Profit Sharing Plan Benef Patricia Mueller    $            81,024.17       Investor-Lender       $    55,000.00 2-1191
                                                                                                Dcd
       2          4533-47 S Calumet Avenue                                Estate Property       Vladimir Matviishin                                                   $            290,200.00      Investor-Lender       $    51,000.00   2-1294
       2          4533-47 S Calumet Avenue                                Estate Property       William Needham                                                       $            355,428.00      Investor-Lender       $   169,500.00   2-80
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Adir Hazan                                                            $            150,000.00      Investor-Lender       $    50,000.00   3-143
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Asians Investing In Real Estate LLC                                   $            415,000.00       Equity Investor      $    95,000.00   3-503
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Benjamin J Serebin                                                    $            289,736.11       Equity Investor      $   300,000.00   3-1288
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Bernadette Chen (Eleven St Felix St. Realty)                          $          1,000,000.00       Equity Investor      $   300,000.00   3-2012
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Bright Venture, LLC                                                   $            231,142.74       Equity Investor      $    50,000.00   3-84
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Bryan Corey Purkis , Trustee Vivant Ventures Trust                    $            179,250.00       Equity Investor      $   150,000.00   3-1413
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Capital Investors, LLC                                                $          1,856,942.46       Equity Investor      $   295,000.00   3-1490
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Consuelo V Needs-Medical Dictation Services, Inc.                     $             50,000.00      Investor-Lender       $    50,000.00   3-541
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Doron Reichenberg                                                     $            179,000.00      Investor-Lender       $    50,000.00   3-708
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Horst Siegrfied Filtzer Jr.                                           $             90,983.33      Investor-Lender       $   100,000.00   3-1085
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       LEVENT KESEN                                                          $            150,000.00      Investor-Lender       $    50,000.00   3-1078
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Madison Trust Company FBO Judy Newton IRA                             $            102,235.61      Investor-Lender       $    50,000.00   3-533
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Nancy Cree (Cree Capital Ventures)                                    $            300,000.00       Equity Investor      $   300,000.00   3-2014
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Rachael B Curcio                                                      $            121,092.00      Investor-Lender       $    50,000.00   3-292
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Schankman, Michael                                                    $             57,402.06      Investor-Lender       $    50,000.00   3-2052
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Scott Eaton                                                           $            549,101.33      Investor-Lender       $   100,000.00   3-1470
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Tiger Chang Investments LLC                                           $              5,000.00       Equity Investor      $     5,000.00   3-164
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       US Freedom Investments, LLC                                           $            175,500.00      Investor-Lender       $    17,000.00   3-1234
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Victor Esposito T/A 2E-LLC I am the manager member and the sole       $             50,000.00      Investor-Lender       $    50,000.00   3-308
                                                                                                member of 2E-LLC
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Victor Shaw                                                           $            296,025.03       Investor-Lender      $    50,000.00 3-1040
       3           5001 S Drexel Boulevard           909 E 50th Street    Estate Property       Wilmington Trust, National Association, As Trustee For the            $          2,879,601.67     Institutional Lender                  3-1329
                                                                                                Registered Holders of Wells Fargo Commercial Mortgage Trust 2014-
                                                                                                LC16, Commercial Mortgage Pass-Through Certificates, Series 2014-
                                                                                                LC16*
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Aksel Allouch                                                         $             50,000.00       Investor-Lender      $    50,000.00 4-90
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Alcalli Sabat                                                         $            109,396.68       Investor-Lender                     4-786
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Aluvelu Homes LLC                                                     $            169,271.00       Investor-Lender      $    20,000.00 4-879
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Anjie Comer                                                           $             25,000.00        Equity Investor                    4-612
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Annie Chang                                                           $            246,935.34       Investor-Lender      $    15,000.00 4-475
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Arthur and Dinah Bertrand                                             $          1,000,000.00       Investor-Lender      $    50,000.00 4-890
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Bancroft, Ed                                                          $            258,060.00     Investor-Lender and                   4-2008
                                                                                                                                                                                                     Equity Investor
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Bernadette Chen (Eleven St Felix St. Realty)                          $          1,000,000.00        Equity Investor     $    50,000.00   4-2012
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                        $            463,999.95       Investor-Lender      $   150,000.00   4-491
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Bluebridge Partners Limited                                           $            791,620.17       Investor-Lender      $   100,000.00   4-727
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Bonnie Young                                                          $             65,333.41       Investor-Lender      $    50,000.00   4-1223
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Bright Venture, LLC                                                   $             41,928.77       Investor-Lender      $    40,000.00   4-84
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       CLD Construction, Inc. (Doru Unchias)                                 $            434,935.00   Independent Contractor   $     2,500.00   4-1454
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       David R. Trengove                                                     $            705,123.88       Investor-Lender      $    44,266.00   4-481
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Denise Renee Wilson                                                   $             77,704.42       Investor-Lender      $    90,000.00   4-1492
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Distributive Marketing Inc.                                           $            100,000.00       Investor-Lender      $    50,000.00   4-806
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Donald Freers aka Meadows Advisors LLC                                $            198,000.00       Investor-Lender      $    48,000.00   4-72
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Douglas Nebel and Narine Nebel                                        $            155,752.25       Investor-Lender      $    65,000.00   4-1080
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Erika Dietz IRA account (Madison Trust Company Custodian FBO          $            102,666.66       Investor-Lender      $   100,000.00   4-1301
                                                                                                Erika Dietz Acct #M1612085)
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Girl Cat Capital West LLC, Valentina Salge, President                 $           212,145.00       Investor-Lender       $    50,000.00 4-350
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Graystone Realty, LLC                                                 $            52,000.01       Investor-Lender       $    50,000.00 4-1210
       4          5450-52 S Indiana Avenue           118-132 E Garfield   Estate Property       Harendra Pal                                                          $            11,165.00       Investor-Lender       $     8,932.00 4-1125




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                                                                                                            Master Claims List
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Property Number      Property Address                Alternative Address          Type                                    Claimant Name                             Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                   Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                   Category as Identified on                           Property
                                                                                                                                                                         Claim Form)

       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                          $             26,260.28     Investor-Lender      $      26,000.00   4-1274
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Howard and Doris Bybee                                             $             65,000.00     Investor-Lender      $      15,000.00   4-1039
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       IG Investment Trust                                                $             27,213.71     Investor-Lender      $      25,000.00   4-1061
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Influx Investments LLC                                             $            100,000.00     Investor-Lender      $      25,000.00   4-744
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       iPlanGroup Agent for Custodian FBO Charles Michael Anglin          $            238,889.23     Investor-Lender      $      15,000.00   4-331
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       iPlanGroup Agent for Custodian FBO Charles Powell IRA              $            260,000.00     Investor-Lender                         4-413
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA       $            110,000.00     Investor-Lender      $      10,000.00   4-829
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       IRA Services Trust Custodian FBO Ronald Stephen Klein              $            114,666.74     Investor-Lender      $      50,000.00   4-301
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       James Anthony Ande                                                 $             75,000.00     Investor-Lender      $      25,000.00   4-591
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Julie Patel                                                        $             97,038.00     Investor-Lender      $      10,000.00   4-409
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Karl R. DeKlotz                                                    $          1,586,165.90     Investor-Lender      $     150,000.00   4-1179
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Kirk Road Investments, LLC                                         $            434,195.69     Investor-Lender      $     121,855.00   4-755
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       LMJ Sales, Inc.                                                    $            559,807.34     Investor-Lender      $     100,000.00   4-1346
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Luna and Jerry Ellis                                               $             41,066.65     Investor-Lender      $      40,000.00   4-2020
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Mark DeLuca                                                        $            110,000.00     Investor-Lender      $     110,000.00   4-485
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Mark P. Mouty                                                      $            180,702.77     Investor-Lender      $      20,000.00   4-165
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       MID LLC by Carolyn Mize                                            $             53,061.25      Equity Investor     $      50,000.00   4-524
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Mike Dirnberger                                                    $             15,000.00     Investor-Lender                         4-443
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Moran Blueshtein and Upender Subramanian                           $            146,857.18     Investor-Lender      $      20,000.00   4-95
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679-01         $            159,000.00     Investor-Lender      $      10,000.00   4-315
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)    $            252,907.00     Investor-Lender      $      25,000.00   4-1365
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Optima Property Solutions, LLC                                     $            487,209.71     Investor-Lender      $     170,000.00   4-1023
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Paul Harrison                                                      $            420,331.59     Investor-Lender      $      43,098.00   4-2026
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Paul N. Wilmesmeier                                                $            790,185.00     Investor-Lender      $      25,000.00   4-300
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Petra Zoeller                                                      $            546,619.00     Investor-Lender      $      50,000.00   4-594
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Provident Trust Group F.B.O Charles Smith SoloK                    $             50,000.00     Investor-Lender      $      50,000.00   4-1198
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       R2V2 Investments LLC                                               $             88,590.47     Investor-Lender      $      20,000.00   4-842
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Robert W. Jennings                                                 $            308,632.47     Investor-Lender      $     150,000.00   4-447
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Sam Harrison                                                       $             50,000.00     Investor-Lender      $      25,000.00   4-2027
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Sandeep Kattar                                                     $             50,000.00     Investor-Lender      $      50,000.00   4-1396
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       SeaDog Properties LLC / Darrell Odum                               $            134,000.00     Investor-Lender      $      24,000.00   4-381
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Shatar Capital Inc et al                                           $          2,341,486.08   Institutional Lender                      4-1483
                                                                                                                                                                                                Investor-Lender
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Steven G. Mouty                                                    $             50,000.00     Investor-Lender      $      50,000.00 4-566
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Steven Roche                                                       $            127,821.13     Investor-Lender      $       5,000.00 4-329
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Strategic Wealth Ventures, LLC, Brian Kothman Member               $             70,866.00     Investor-Lender      $      35,655.00 4-595
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Susan Kalisiak-Tingle                                              $            469,921.00     Investor-Lender      $       9,274.00 4-1438
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Thomas F. Gordon                                                   $            200,000.00      Equity Investor     $     100,000.00 4-2023
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Timothy S Sharp                                                    $            650,000.00     Investor-Lender      $      50,000.00 4-76
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       TMAKINDE, LLC                                                      $            247,000.00     Investor-Lender      $      25,000.00 4-372
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Vartan Tarakchyan                                                  $            415,000.00      Equity Investor           $30,000.00 4-1118
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Verdell Michaux                                                    $             34,000.00      Equity Investor     $       5,000.00 4-2039
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Vivek Pingili                                                      $            150,213.00     Investor-Lender      $      30,000.00 4-522
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Vladimir Matviishin                                                $            290,200.00     Investor-Lender      $      14,000.00 4-1294
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Wanda M. Behling                                                   $             43,719.00     Investor-Lender      $      11,219.00 4-1025
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       William H. Akins, Jr.                                              $          1,100,000.00      Equity Investor     $      10,000.00 4-2003
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)          $          1,100,000.00     Investor-Lender      $      20,000.00 4-2003
       4          5450-52 S Indiana Avenue            118-132 E Garfield   Estate Property       Yin Liu, Ping Xu                                                   $            300,000.00     Investor-Lender      $     200,000.00 4-1368
       5          7749-59 S Yates Boulevard                                Estate Property       Advanta IRA Services LLC, FBO Dwight L. Plymale IRA #8006189       $             80,826.56     Investor-Lender      $      97,000.00 5-847
       5          7749-59 S Yates Boulevard                                Estate Property       Alcalli Sabat                                                      $            109,396.68     Investor-Lender                       5-786
       5          7749-59 S Yates Boulevard                                Estate Property       American Estate and Trust, LC FBO Edward J. Netzel IRA             $             10,000.00     Investor-Lender      $      10,000.00 5-1057
       5          7749-59 S Yates Boulevard                                Estate Property       Amit Hammer                                                        $            295,980.00     Investor-Lender      $      30,000.00 5-225
       5          7749-59 S Yates Boulevard                                Estate Property       Austin Capital Trust Company on behalf of Summit Trust Company,    $             77,520.06     Investor-Lender      $      25,000.00 5-1178
                                                                                                 custodian FBO David R Theil MD
       5          7749-59 S Yates Boulevard                                Estate Property       Bancroft, Ed                                                       $           258,060.00    Investor-Lender and                       5-2008
                                                                                                                                                                                                 Equity Investor
       5          7749-59 S Yates Boulevard                                Estate Property       Camano Equities, LLC (Markley, Charles)                            $            46,254.22      Investor-Lender      $      50,000.00   5-2038
       5          7749-59 S Yates Boulevard                                Estate Property       Charles P McEvoy                                                   $           438,733.33      Investor-Lender      $     100,000.00   5-232
       5          7749-59 S Yates Boulevard                                Estate Property       Clarice Recamara                                                   $            25,000.00      Investor-Lender      $      25,000.00   5-640
       5          7749-59 S Yates Boulevard                                Estate Property       Clearwood Funding, LLC                                             $           150,000.00      Investor-Lender      $      50,000.00   5-1276
       5          7749-59 S Yates Boulevard                                Estate Property       Dana Speed                                                         $           249,710.00      Investor-Lender      $     169,000.00   5-684




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                                                                                                            Master Claims List
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Property Number      Property Address                Alternative Address          Type                                    Claimant Name                            Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                  Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                  Category as Identified on                           Property
                                                                                                                                                                        Claim Form)

       5          7749-59 S Yates Boulevard                                Estate Property       David M Harris                                                    $            831,700.00     Investor-Lender      $     100,000.00   5-267
       5          7749-59 S Yates Boulevard                                Estate Property       Degenhardt, Duane A                                               $            645,000.00     Investor-Lender      $      13,385.00   5-2015
       5          7749-59 S Yates Boulevard                                Estate Property       Donald Hendrickson                                                $             10,595.99     Investor-Lender      $      10,000.00   5-945
       5          7749-59 S Yates Boulevard                                Estate Property       Doron Kermanian                                                   $             30,000.00     Investor-Lender      $      25,000.00   5-380
       5          7749-59 S Yates Boulevard                                Estate Property       Duke E. Heger and Viviana Heger                                   $            117,000.00     Investor-Lender      $      35,000.00   5-1408
       5          7749-59 S Yates Boulevard                                Estate Property       Easley Family Trust c/o Todd Easley                               $             25,000.00     Investor-Lender      $      25,000.00   5-596
       5          7749-59 S Yates Boulevard                                Estate Property       Grathia Corp                                                      $          1,184,081.00     Investor-Lender      $     149,081.00   5-1445
       5          7749-59 S Yates Boulevard                                Estate Property       iPlan Group Agent for Custodian FBO Rama Voddi Roth IRA           $             33,000.00     Investor-Lender      $      33,000.00   5-799
       5          7749-59 S Yates Boulevard                                Estate Property       iPlan Group FBO Garwood Weatherhead IRA Account # 3320844         $            184,941.00     Investor-Lender      $      13,096.00   5-1096
       5          7749-59 S Yates Boulevard                                Estate Property       iPlan Group FBO Garwood Weatherhead IRA Account # 3421004         $            184,941.00     Investor-Lender      $      16,152.00   5-1096
       5          7749-59 S Yates Boulevard                                Estate Property       iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account      $             46,000.00     Investor-Lender      $       6,000.00   5-203
                                                                                                 3301018
       5          7749-59 S Yates Boulevard                                Estate Property       iPlanGroup Agent for Custodian FBO Charles Michael Anglin         $           238,889.23      Investor-Lender      $      50,000.00 5-331
       5          7749-59 S Yates Boulevard                                Estate Property       Janice Burrell (iPlanGroup Agent for Custodian FBO Janice G.      $           160,543.38      Investor-Lender      $      50,000.00 5-689
                                                                                                 Burrell IRA )
       5          7749-59 S Yates Boulevard                                Estate Property       Jason Ragan - TSA                                                 $           327,324.29       Equity Investor     $       3,451.00   5-797
       5          7749-59 S Yates Boulevard                                Estate Property       John Bloxham                                                      $            36,374.24      Investor-Lender      $      35,000.00   5-1015
       5          7749-59 S Yates Boulevard                                Estate Property       John Witzigreuter                                                 $           200,000.00      Investor-Lender      $      50,000.00   5-729
       5          7749-59 S Yates Boulevard                                Estate Property       Joseph P. McCarthy                                                $           277,847.33      Investor-Lender      $      10,000.00   5-1367
       5          7749-59 S Yates Boulevard                                Estate Property       Julie Patel                                                       $            97,038.00      Investor-Lender      $      35,291.00   5-409
       5          7749-59 S Yates Boulevard                                Estate Property       Karen L Hendrickson                                               $            10,597.66      Investor-Lender      $      10,000.00   5-948
       5          7749-59 S Yates Boulevard                                Estate Property       Keith P Rowland and Jane E Rowland                                $            52,583.32      Investor-Lender      $      50,000.00   5-89
       5          7749-59 S Yates Boulevard                                Estate Property       Keith Randall                                                     $           250,000.00      Investor-Lender      $      70,000.00   5-1086
       5          7749-59 S Yates Boulevard                                Estate Property       Kevin & Laura Allred                                              $            61,000.00      Investor-Lender      $      50,000.00   5-452
       5          7749-59 S Yates Boulevard                                Estate Property       KKW Investments, LLC                                              $           100,033.40      Investor-Lender      $       3,000.00   5-336
       5          7749-59 S Yates Boulevard                                Estate Property       Koates LLC                                                        $            85,000.00       Equity Investor     $       3,200.00   5-228
       5          7749-59 S Yates Boulevard                                Estate Property       Legacy Trading LLC                                                $           257,000.00      Investor-Lender      $     237,000.00   5-508
       5          7749-59 S Yates Boulevard                                Estate Property       Lynn Marie Kupfer                                                 $           114,201.00      Investor-Lender      $     100,000.00   5-1319
       5          7749-59 S Yates Boulevard                                Estate Property       Madison Trust Company custodian FBO Guenter Scheel IRA            $            25,000.00      Investor-Lender      $      25,000.00   5-2073
                                                                                                 M1702087
       5          7749-59 S Yates Boulevard                                Estate Property       Manuel Camacho                                                    $           104,434.59      Investor-Lender      $      25,000.00 5-748
       5          7749-59 S Yates Boulevard                                Estate Property       Michael F Grant & L. Gretchen Grant (Michael F. Grant & L.        $           695,000.00      Investor-Lender      $      50,000.00 5-393
                                                                                                 Gretchen Grant Revocable Trust dated March 16th 2012)
       5          7749-59 S Yates Boulevard                                Estate Property       Michael Grow                                                      $           223,996.00    Investor-Lender and                       5-375
                                                                                                                                                                                                Equity Investor
       5          7749-59 S Yates Boulevard                                Estate Property       Michael Warner, Trustee of Warner Chiropractic Care Center, PC    $           203,254.00      Investor-Lender      $      24,000.00 5-78
                                                                                                 PSP
       5          7749-59 S Yates Boulevard                                Estate Property       Naveen Kwatra                                                     $             75,000.00     Investor-Lender      $      25,000.00   5-356
       5          7749-59 S Yates Boulevard                                Estate Property       Optima Property Solutions, LLC                                    $            487,209.71     Investor-Lender      $     100,000.00   5-1023
       5          7749-59 S Yates Boulevard                                Estate Property       Pat DeSantis                                                      $          2,684,539.00     Investor-Lender      $     250,000.00   5-397
       5          7749-59 S Yates Boulevard                                Estate Property       Patrick Connely                                                   $             20,000.00     Investor-Lender      $      20,000.00   5-964
       5          7749-59 S Yates Boulevard                                Estate Property       Paul Scribner                                                     $            200,000.00     Investor-Lender      $       5,500.00   5-1135
       5          7749-59 S Yates Boulevard                                Estate Property       Peter Jordan                                                      $            153,456.56     Investor-Lender      $      76,728.28   5-282
       5          7749-59 S Yates Boulevard                                Estate Property       Phillip G. Vander Kraats                                          $             80,186.82     Investor-Lender      $       1,374.00   5-628
       5          7749-59 S Yates Boulevard                                Estate Property       PNW Investments, LLC                                              $            350,000.00     Investor-Lender      $      12,000.00   5-332
       5          7749-59 S Yates Boulevard                                Estate Property       Quantum Growth Holdings LLC                                       $             15,321.00     Investor-Lender      $       5,500.00   5-354
       5          7749-59 S Yates Boulevard                                Estate Property       QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282-11 and     $             89,482.53     Investor-Lender      $      12,100.00   5-1352
                                                                                                 Acct# 25282-21
       5          7749-59 S Yates Boulevard                                Estate Property       Raymond Thompson Investment Trust LLC                             $             80,000.00     Investor-Lender      $      30,000.00   5-251
       5          7749-59 S Yates Boulevard                                Estate Property       Robert Potter                                                     $            282,999.00     Investor-Lender      $      15,000.00   5-1389
       5          7749-59 S Yates Boulevard                                Estate Property       Sam Gerber, CEO, Gerber and Associates, REI, LLC                  $            139,985.85     Investor-Lender      $      12,000.00   5-562
       5          7749-59 S Yates Boulevard                                Estate Property       Sarah Geldart                                                     $             57,200.00     Investor-Lender      $      37,500.00   5-1285
       5          7749-59 S Yates Boulevard                                Estate Property       Shatar Capital Inc et al                                          $          2,341,486.08   Institutional Lender                      5-1483
                                                                                                                                                                                               Investor-Lender
       5          7749-59 S Yates Boulevard                                Estate Property       Shlomo Zussman                                                    $            25,000.00      Investor-Lender      $      25,000.00   5-579
       5          7749-59 S Yates Boulevard                                Estate Property       Smart Technologies PSP, Nizarali Jetha - Manager                  $           106,458.35      Investor-Lender      $     100,000.00   5-1458
       5          7749-59 S Yates Boulevard                                Estate Property       Steve Weera Tonasut and Esther Kon Tonasut                        $            50,000.00       Equity Investor     $      50,000.00   5-154
       5          7749-59 S Yates Boulevard                                Estate Property       Steven G. Mouty                                                   $            50,000.00      Investor-Lender      $      50,000.00   5-821
       5          7749-59 S Yates Boulevard                                Estate Property       Strategic Wealth Ventures, LLC, Brian Kothman Member              $            70,866.00      Investor-Lender      $      23,626.00   5-595
       5          7749-59 S Yates Boulevard                                Estate Property       Susan Kalisiak-Tingle                                             $           469,921.00      Investor-Lender      $      48,226.00   5-1438
       5          7749-59 S Yates Boulevard                                Estate Property       Teena B Ploeger                                                   $            18,500.00      Investor-Lender      $      18,500.00   5-521
       5          7749-59 S Yates Boulevard                                Estate Property       Tolu Makinde                                                      $            90,000.00      Investor-Lender      $      30,000.00   5-370




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                                                                                                            Master Claims List
                                                                                             SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587
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Property Number       Property Address               Alternative Address          Type                                     Claimant Name                                Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                       Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                       Category as Identified on                           Property
                                                                                                                                                                             Claim Form)

       5          7749-59 S Yates Boulevard                                Estate Property       United Capital Properties, LLC                                         $           144,999.00      Investor-Lender      $         979.00 5-1480
       5          7749-59 S Yates Boulevard                                Estate Property       Wesley Pittman                                                         $           180,048.45      Investor-Lender      $      32,000.00 5-469
       5          7749-59 S Yates Boulevard                                Estate Property       White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina    $           127,152.37      Investor-Lender      $      50,000.00 5-537
                                                                                                 Goltsev/Goltseva), Trustees
       6          6437-31 S Kenwood Avenue                                 Estate Property       Captain Jack, LLC c/o John McDevitt                                    $             95,000.00       Equity Investor    $      75,000.00   6-2091
       6          6437-41 S Kenwood Avenue                                 Estate Property       Adir Hazan                                                             $            150,000.00      Investor-Lender     $      50,000.00   6-143
       6          6437-41 S Kenwood Avenue                                 Estate Property       Agee Family Trust c/o Scott R. Agee                                    $            130,000.00      Investor-Lender     $      15,000.00   6-2001
       6          6437-41 S Kenwood Avenue                                 Estate Property       Annie Chang                                                            $            246,935.34      Investor-Lender     $      15,500.00   6-475
       6          6437-41 S Kenwood Avenue                                 Estate Property       Asians Investing In Real Estate LLC                                    $          1,278,402.00      Investor-Lender     $      70,000.00   6-503
       6          6437-41 S Kenwood Avenue                                 Estate Property       Bancroft, Ed                                                           $            258,060.00    Investor-Lender and                      6-2008
                                                                                                                                                                                                      Equity Investor
       6          6437-41 S Kenwood Avenue                                 Estate Property       Charles P McEvoy                                                       $            438,733.33      Investor-Lender     $     112,000.00   6-232
       6          6437-41 S Kenwood Avenue                                 Estate Property       Charlotte A Hofer                                                      $            370,000.00      Investor-Lender     $      35,000.00   6-603
       6          6437-41 S Kenwood Avenue                                 Estate Property       City of Chicago                                                        $             78,479.20           Other          $       5,247.91   6-693
       6          6437-41 S Kenwood Avenue                                 Estate Property       Cosmopolitan Properties LLC, Valentina Salge, President                $            177,300.00      Investor-Lender     $     150,000.00   6-940
       6          6437-41 S Kenwood Avenue                                 Estate Property       David M Harris                                                         $            534,555.00       Equity Investor    $     200,000.00   6-267
       6          6437-41 S Kenwood Avenue                                 Estate Property       David M Williams                                                       $             44,313.83      Investor-Lender     $      24,274.00   6-415
       6          6437-41 S Kenwood Avenue                                 Estate Property       Degenhardt, Duane A                                                    $            645,000.00      Investor-Lender     $     150,000.00   6-2015
       6          6437-41 S Kenwood Avenue                                 Estate Property       Distributive Marketing Inc.                                            $            155,000.00       Equity Investor    $      50,000.00   6-806
       6          6437-41 S Kenwood Avenue                                 Estate Property       Elaine Sison Ernst                                                     $             95,000.00      Investor-Lender     $      15,000.00   6-1029
       6          6437-41 S Kenwood Avenue                                 Estate Property       Elizabeth Zeng                                                         $            148,422.77      Investor-Lender     $      25,000.00   6-872
       6          6437-41 S Kenwood Avenue                                 Estate Property       Equity Capital Resources, LLC                                          $             77,166.66      Investor-Lender     $      25,000.00   6-671
       6          6437-41 S Kenwood Avenue                                 Estate Property       Eric Schwartz                                                          $            144,153.72      Investor-Lender     $      12,000.00   6-157
       6          6437-41 S Kenwood Avenue                                 Estate Property       Freyja Partners, a California Limited Partnership                      $            179,625.00      Investor-Lender     $      50,000.00   6-1141
       6          6437-41 S Kenwood Avenue                                 Estate Property       Garwood Weatherhead                                                    $            184,941.00      Investor-Lender     $     150,000.00   6-1096
       6          6437-41 S Kenwood Avenue                                 Estate Property       Grathia Corp                                                           $          1,184,081.00      Investor-Lender     $      57,000.00   6-1445
       6          6437-41 S Kenwood Avenue                                 Estate Property       Hoang Small Trust c/o Dalano Hoang                                     $            300,000.00      Investor-Lender                        6-161
       6          6437-41 S Kenwood Avenue                                 Estate Property       John B. Allred & Glenda K. Allred                                      $          1,421,646.52   Investor-Lender and                       6-2004
                                                                                                                                                                                                      Equity Investor
       6          6437-41 S Kenwood Avenue                                 Estate Property       John Bloxham                                                           $            52,000.01       Investor-Lender     $      50,000.00 6-1018
       6          6437-41 S Kenwood Avenue                                 Estate Property       Julie Patel                                                            $            97,038.00       Investor-Lender     $      40,000.00 6-409
       6          6437-41 S Kenwood Avenue                                 Estate Property       KKW Investments, LLC                                                   $           100,033.40       Investor-Lender     $       2,000.00 6-336
       6          6437-41 S Kenwood Avenue                                 Estate Property       Madison Trust Company Agent for Custodian FBO The Jacqueline           $           623,489.57        Equity Investor                     6-163
                                                                                                 C Rowe Living Trust IRA
       6          6437-41 S Kenwood Avenue                                 Estate Property       Madison Trust Company Custodian FBO James R Robinson                   $            88,099.00      Investor-Lender      $      25,000.00 6-1406
                                                                                                 Traditional IRA Acct# 1705044
       6          6437-41 S Kenwood Avenue                                 Estate Property       Nancy Cree (Cree Capital Ventures)                                     $            725,000.00     Investor-Lender      $     250,000.00   6-2014
       6          6437-41 S Kenwood Avenue                                 Estate Property       Optima Property Solutions, LLC                                         $            487,209.71     Investor-Lender      $      30,000.00   6-1023
       6          6437-41 S Kenwood Avenue                                 Estate Property       Paul Scribner                                                          $            200,000.00     Investor-Lender      $      50,000.00   6-1135
       6          6437-41 S Kenwood Avenue                                 Estate Property       PNW Investments, LLC                                                   $            350,000.00     Investor-Lender      $      10,000.00   6-332
       6          6437-41 S Kenwood Avenue                                 Estate Property       Ramsey Stephan                                                         $             50,000.00     Investor-Lender      $       9,481.00   6-162
       6          6437-41 S Kenwood Avenue                                 Estate Property       Robert A Demick DDS PA 401K                                            $            177,678.65     Investor-Lender      $      50,000.00   6-680
       6          6437-41 S Kenwood Avenue                                 Estate Property       Robert Potter                                                          $            282,999.00     Investor-Lender      $      47,786.00   6-1389
       6          6437-41 S Kenwood Avenue                                 Estate Property       RSS TRIAD INVESTMENTS, LLC                                             $             31,400.00     Investor-Lender      $      30,000.00   6-1344
       6          6437-41 S Kenwood Avenue                                 Estate Property       Steven C Noss                                                          $             69,388.00     Investor-Lender      $      25,000.00   6-361
       6          6437-41 S Kenwood Avenue                                 Estate Property       Steven Roche                                                           $            127,821.13     Investor-Lender      $      42,319.00   6-329
       6          6437-41 S Kenwood Avenue                                 Estate Property       Susan Kalisiak-Tingle                                                  $            469,921.00     Investor-Lender      $      50,000.00   6-1438
       6          6437-41 S Kenwood Avenue                                 Estate Property       Terry L. Merrill, Sheryl R. Merrill                                    $            299,500.00     Investor-Lender      $      50,000.00   6-602
       6          6437-41 S Kenwood Avenue                                 Estate Property       Thomas F. Gordon                                                       $             85,000.00      Equity Investor     $      85,000.00   6-2023
       6          6437-41 S Kenwood Avenue                                 Estate Property       Vartan Tarakchyan                                                      $            415,000.00      Equity Investor           $70,000.00   6-1118
       7          7109-19 S Calumet Avenue                                 Estate Property       B & H Creative Investments LLC                                         $            428,533.00     Investor-Lender      $     220,000.00   7-414
       7          7109-19 S Calumet Avenue                                 Estate Property       City of Chicago                                                        $             78,479.20           Other          $      13,153.44   7-693
       7          7109-19 S Calumet Avenue                                 Estate Property       Koates LLC                                                             $             85,000.00      Equity Investor     $      12,000.00   7-228
       7          7109-19 S Calumet Avenue                                 Estate Property       Optima Property Solutions, LLC                                         $            487,209.71     Investor-Lender      $     200,000.00   7-1023
       7          7109-19 S Calumet Avenue                                 Estate Property       Pankaj Patel BDA EZ NJ VENTURES, LLC.                                  $            223,000.00     Investor-Lender      $      50,000.00   7-920
       7          7109-19 S Calumet Avenue                                 Estate Property       SHANKAR THIRUPPATHI                                                    $            100,000.00     Investor-Lender      $     100,000.00   7-718
       7          7109-19 S Calumet Avenue                                 Estate Property       The Jacqueline C Rowe Living Trust                                     $            372,417.74     Investor-Lender      $       9,000.00   7-139
       7          7109-19 S Calumet Avenue                                 Estate Property       U.S. Bank National Association, as Trustee for the Registered          $          1,691,737.07   Institutional Lender                      7-1453
                                                                                                 Holders of J.P. Morgan Chase Commercial Mortgage Securities
                                                                                                 Corp., Multifamily Mortgage Pass-Through Certificates, Series 2017-
                                                                                                 SB30
       8            1414 East 62nd Place                                   Estate Property       Bernadette Chen (Eleven St Felix St. Realty)                           $          1,000,000.00     Equity Investor      $      50,000.00 8-2012




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Property Number    Property Address             Alternative Address              Type                                    Claimant Name                             Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                  Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                  Category as Identified on                           Property
                                                                                                                                                                        Claim Form)

       8          1414 East 62nd Place                                    Estate Property       Moran Blueshtein and Upender Subramanian                           $            146,857.18       Investor-Lender      $    30,188.00   8-95
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Aaron Beauclair                                                    $             40,000.00       Investor-Lender      $    10,000.00   9-408
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Alex Breslav                                                       $            247,000.00       Investor-Lender      $    50,000.00   9-262
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Aluvelu Homes LLC                                                  $            169,271.00       Investor-Lender      $    50,000.00   9-879
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Asians Investing In Real Estate LLC                                $          1,278,402.00       Investor-Lender      $    60,000.00   9-503
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Bancroft, Ed                                                       $            258,060.00     Investor-Lender and                     9-2008
                                                                                                                                                                                                  Equity Investor
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Bernadette Chen (Eleven St Felix St. Realty)                       $          1,000,000.00        Equity Investor     $    31,619.00   9-2012
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Brian Whalley                                                      $             25,000.00       Investor-Lender      $    25,000.00   9-256
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Charlotte A Hofer                                                  $            370,000.00       Investor-Lender      $   110,000.00   9-603
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Chittima Cook and Pinsurang Tinakorn                               $             51,874.56       Investor-Lender      $    50,000.00   9-493
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Christopher Bridges                                                $             42,403.13       Investor-Lender      $    25,000.00   9-1129
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Chronicles Point LLC/Gustavo J Garcia                              $             50,000.00       Investor-Lender      $    50,000.00   9-159
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       CLC Electric, Inc. (Costel Dumitrescu)                             $            108,000.00   Independent Contractor   $    15,000.00   9-1477
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       DANIEL J MARTINEAU                                                 $            321,016.60       Investor-Lender      $   125,750.00   9-1299
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Donald Freers aka Meadows Advisors LLC                             $            198,000.00       Investor-Lender      $    95,000.00   9-72
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Edge Investments, LLC, Janet F. Turco, Owner/Member IRA            $          1,031,324.00       Investor-Lender      $   101,000.00   9-180
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Fields Loss Consultants LLC                                        $            134,618.00        Trade Creditor      $   143,618.00   9-1424
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Ganpat and FEREEDA Seunath                                         $            216,194.22       Investor-Lender      $     2,372.00   9-77
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian            $              9,523.00       Investor-Lender      $     2,990.00   9-1065
                                                                                                IPLAN Group LLC)
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)          $            30,718.00       Investor-Lender       $     7,465.00 9-1066
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Gary R. Burnham Jr. Solo 401K Trust                                $           205,608.00       Investor-Lender       $    36,000.00 9-1174
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Gene X Erquiaga                                                    $            51,749.99       Investor-Lender                      9-721
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Girl Cat Capital West LLC, Valentina Salge, President              $           212,145.00       Investor-Lender       $     8,426.00 9-350
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Henry C. Scheuller                                                 $           246,440.00       Investor-Lender                      9-868
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Hoang Small Trust c/o Dalano Hoang                                 $           300,000.00       Investor-Lender                      9-161
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       iPlanGroup Agent for Custodian FBO Charles Powell IRA              $           260,000.00       Investor-Lender                      9-413
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA       $            71,321.00       Investor-Lender       $       714.00 9-448
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA       $           110,000.00       Investor-Lender       $    50,000.00 9-829
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       James & Suzanne Mandeville                                         $           113,918.75        Equity Investor      $   110,000.00 9-785
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       James Clements                                                     $           185,910.00       Investor-Lender       $    50,000.00 9-1402
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       James M McKnight and Silma L McKnight                              $             5,546.87       Investor-Lender       $     6,000.00 9-779
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       James M McKnight and Silma L McKnight                              $           140,325.13       Investor-Lender       $    85,000.00 9-582
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       James Tutsock                                                      $           900,000.00       Investor-Lender       $    47,286.00 9-2057
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Jason Ragan - TSA                                                  $           327,324.29        Equity Investor      $     1,547.00 9-797
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Jerome B. Shaffer and Sharon Shaffer                               $           150,000.00       Investor-Lender       $   150,000.00 9-993
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       KKW Investments, LLC                                               $           100,033.40       Investor-Lender       $     5,000.00 9-336
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       LMJ Sales, Inc.                                                    $           559,807.34       Investor-Lender       $   215,127.00 9-1346
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Madison Trust Company Agent for Custodian FBO The Jacqueline       $           623,489.57        Equity Investor                     9-163
                                                                                                C Rowe Living Trust IRA
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Madison Trust Company Custodian FBO Stuart Edelman                 $           255,332.70       Investor-Lender       $   106,000.00   9-103
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Manuel Camacho                                                     $           104,434.59       Investor-Lender       $    25,000.00   9-748
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Marjorie Jean Sexton                                               $           200,000.00       Investor-Lender       $   100,000.00   9-2065
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Mark P. Mouty                                                      $           180,702.77       Investor-Lender       $    25,000.00   9-165
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Neil R Martin                                                      $            20,991.00        Equity Investor                       9-1253
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       PNW Investments, LLC                                               $           350,000.00       Investor-Lender       $    20,000.00   9-332
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Richard L. Braddock                                                $             9,526.99       Investor-Lender       $     9,250.00   9-512
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Richard L. Braddock                                                $            92,375.45       Investor-Lender       $    40,000.00   9-396
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Robert Conley III                                                                               Investor-Lender       $   325,000.00   9-277
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Robert Potter                                                      $           282,999.00       Investor-Lender       $    11,412.00   9-1389
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Sam Gerber, CEO, Gerber and Associates, REI, LLC                   $           139,985.85       Investor-Lender       $    42,000.00   9-562
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Shengjie Li and Yuye Xu                                            $           165,441.12       Investor-Lender       $   100,000.00   9-1340
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)    $           148,278.93       Investor-Lender       $    50,000.00   9-1439
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Strata Trust Company FBO David J Geldart                           $           230,621.00       Investor-Lender                        9-1010
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Teresita M. Shelton                                                $           426,513.00       Investor-Lender       $    26,513.00   9-330
       9          8100 S Essex Avenue                                     Estate Property       Thaddeus Gala (Grand Mountain)                                     $           100,000.00       Investor-Lender                        9-2070
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Therese Tibbits                                                    $            77,826.66       Investor-Lender       $    60,000.00   9-208
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Tiger Chang Investments LLC                                        $            49,000.00       Investor-Lender       $    10,000.00   9-164
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       TIMMY RINK                                                                                      Investor-Lender                        9-217
       9          8100 S Essex Avenue          2449-57 East 81st Street   Estate Property       Timothy S Sharp                                                    $           650,000.00       Investor-Lender       $    50,000.00   9-76




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Property Number       Property Address                Alternative Address              Type                                         Claimant Name                    Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                    Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                    Category as Identified on                           Property
                                                                                                                                                                          Claim Form)

       9             8100 S Essex Avenue             2449-57 East 81st Street   Estate Property       William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)      $          1,100,000.00   Investor-Lender and   $       60,000.00 9-2003
                                                                                                                                                                                                 Equity Investor
    10 to 12       7301-09 S Stewart Avenue                                     Fund                  Bright Venture, LLC                                            $           231,142.74      Equity Investor     $       52,500.00 10-84
                  7500-06 S Eggleston Avenue
                     3030-32 E 79th Street
    10 to 12       7301-09 S Stewart Avenue                                     Fund                  CLOVE, LLC                                                     $            23,920.01      Equity Investor     $       23,000.00 10-723
                  7500-06 S Eggleston Avenue
                     3030-32 E 79th Street
    10 to 12       7301-09 S Stewart Avenue                                     Fund                  Distributive Marketing Inc.                                    $           155,000.00      Equity Investor     $       50,000.00 10-806
                  7500-06 S Eggleston Avenue
                     3030-32 E 79th Street
    10 to 12       7301-09 S Stewart Avenue                                     Fund                  FIVE STAR CAPITAL GROUP, LLC                                   $           266,666.65    Investor-Lender and   $      250,000.00 10-1246
                  7500-06 S Eggleston Avenue                                                                                                                                                      Equity Investor
                     3030-32 E 79th Street
    10 to 12       7301-09 S Stewart Avenue                                     Fund                  Frank and Laura Sohm                                           $           167,893.65    Investor-Lender and   $       26,000.00 10-906
                  7500-06 S Eggleston Avenue                                                                                                                                                      Equity Investor
                     3030-32 E 79th Street
    10 to 12       7301-09 S Stewart Avenue                                     Fund                  Frank Sohm IRA                                                 $           148,664.93    Investor-Lender and   $       10,000.00 10-558
                  7500-06 S Eggleston Avenue                                                                                                                                                      Equity Investor
                     3030-32 E 79th Street
    10 to 12       7301-09 S Stewart Avenue                                     Fund                  H&W Management Company, Inc.                                   $           327,616.00      Equity Investor     $      327,616.00 10-1053
                  7500-06 S Eggleston Avenue
                     3030-32 E 79th Street
    10 to 12       7301-09 S Stewart Avenue                                     Fund                  JLO Enterprises LLC                                            $           315,002.49      Equity Investor     $      250,000.00 10-726
                  7500-06 S Eggleston Avenue
                     3030-32 E 79th Street
    10 to 12       7301-09 S Stewart Avenue                                     Fund                  JML Roth LLC                                                   $            31,200.00      Equity Investor     $       30,000.00 10-725
                  7500-06 S Eggleston Avenue
                     3030-32 E 79th Street
    10 to 12       7301-09 S Stewart Avenue                                     Fund                  LaMore, LLC (George Elmore & Marti LaTour)                     $           309,999.94      Investor-Lender     $      250,000.00 10-765
                  7500-06 S Eggleston Avenue
                     3030-32 E 79th Street
    10 to 12       7301-09 S Stewart Avenue                                     Fund                  Laura J. Sohm IRA                                              $           104,593.29    Investor-Lender and   $       14,000.00 10-970
                  7500-06 S Eggleston Avenue                                                                                                                                                      Equity Investor
                     3030-32 E 79th Street
    10 to 12       7301-09 S Stewart Avenue                                     Fund                  Madison Trust Company Custodian FBO Cynthia B. Jennings IRA    $           101,400.00      Investor-Lender     $      100,000.00 10-269
                  7500-06 S Eggleston Avenue                                                          #M1710119
                     3030-32 E 79th Street
    10 to 12       7301-09 S Stewart Avenue                                     Fund                  RLD Denouement Holding Company, LLC                            $           150,000.00      Equity Investor     $      100,000.00 10-483
                  7500-06 S Eggleston Avenue
                     3030-32 E 79th Street
    10 to 12       7301-09 S Stewart Avenue                                     Fund                  Vagmi, LLC                                                     $            55,484.91      Investor-Lender     $       50,000.00 10-1462
                  7500-06 S Eggleston Avenue
                     3030-32 E 79th Street
    10 to 12                CCF1                                                Fund                  Adir Hazan                                                     $           150,000.00      Investor-Lender     $       50,000.00   10-143
    10 to 12                CCF1                                                Fund                  Agee Family Trust c/o Scott R. Agee                            $           130,000.00       Equity Investor    $       75,000.00   10-2001
    10 to 12                CCF1                                                Fund                  Asians Investing In Real Estate LLC                            $           415,000.00       Equity Investor    $      100,000.00   10-503
    10 to 12                CCF1                                                Fund                  Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian      $           406,000.00       Equity Investor    $      300,000.00   10-1347
                                                                                                      ELShahawi, members
    10 to 12                CCF1                                                Fund                  Bernadette Chen (Eleven St Felix St. Realty)                   $          1,000,000.00      Equity Investor    $       50,000.00   10-2012
    10 to 12                CCF1                                                Fund                  Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)        $            115,000.00     Investor-Lender     $       25,000.00   10-137
    10 to 12                CCF1                                                Fund                  David E. Chambers                                              $             50,000.00     Investor-Lender     $       50,000.00   10-553
    10 to 12                CCF1                                                Fund                  Degenhardt, Duane A                                            $            645,000.00     Investor-Lender     $       50,000.00   10-2015
    10 to 12                CCF1                                                Fund                  Edge Investments, LLC, Janet F. Turco, Owner/Member IRA        $          1,031,324.00     Investor-Lender     $       70,175.00   10-180
    10 to 12                CCF1                                                Fund                  Ellen Liu                                                      $            400,000.00      Equity Investor    $      250,000.00   10-1354
    10 to 12                CCF1                                                Fund                  Francisco Fernandez                                            $            312,124.98      Equity Investor    $      250,000.00   10-1450
    10 to 12                CCF1                                                Fund                  Fredric R. Gottlieb (South Florida Realty Management &         $            433,306.00     Investor-Lender     $      100,000.00   10-1215
                                                                                                      Investments)
    10 to 12                CCF1                                                Fund                  GEGO NADLAN REALTY LLC                                         $             50,000.00     Investor-Lender     $       50,000.00   10-104
    10 to 12                CCF1                                                Fund                  Grathia Corp                                                   $          1,184,081.00     Investor-Lender     $      100,000.00   10-1445
    10 to 12                CCF1                                                Fund                  Influx Investments LLC                                         $            100,000.00      Equity Investor    $       25,000.00   10-744
    10 to 12                CCF1                                                Fund                  IPlanGroup Agent for Custodian FBO Mark Young                  $            380,000.00     Investor-Lender     $       50,000.00   10-1446
    10 to 12                CCF1                                                Fund                  Kelvin Kon                                                     $             95,000.00      Equity Investor    $       50,000.00   10-492
    10 to 12                CCF1                                                Fund                  Kennett, Victor S - Kennett Family Trust                       $            200,000.00      Equity Investor    $      200,000.00   10-2033
    10 to 12                CCF1                                                Fund                  KKW Investments, LLC                                           $            100,033.40     Investor-Lender     $        2,000.00   10-336
    10 to 12                CCF1                                                Fund                  Knickerbocker LLC                                              $            105,387.00      Equity Investor    $       55,387.00   10-2035




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Property Number    Property Address              Alternative Address          Type                                     Claimant Name                                Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                   Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                   Category as Identified on                           Property
                                                                                                                                                                         Claim Form)

    10 to 12             CCF1                                          Fund                  LMJ Sales, Inc.                                                        $           270,066.18       Equity Investor     $     100,000.00 10-1346
    10 to 12             CCF1                                          Fund                  Low Altitude, LLC                                                      $           100,000.00       Equity Investor     $     100,000.00 10-273
    10 to 12             CCF1                                          Fund                  Madison Trust Acc Nr M1707067 fbo Harry L Shaffer                      $           200,000.00    Investor-Lender and    $     100,000.00 10-2053
                                                                                                                                                                                                 Equity Investor
    10 to 12             CCF1                                          Fund                  Madison Trust Company FBO. Mehernosh Pithawalla (M1704056)             $            30,999.94      Investor-Lender      $      25,000.00   10-1087
    10 to 12             CCF1                                          Fund                  Mark A Miller ATF Domaskin Revocable Trust Aug. 8, 2006                $           150,000.00      Investor-Lender      $      50,000.00   10-2040
    10 to 12             CCF1                                          Fund                  Mark and Julie Akita                                                   $           100,000.00       Equity Investor     $     100,000.00   10-1364
    10 to 12             CCF1                                          Fund                  Mark P. Mouty                                                          $           180,702.77      Investor-Lender      $      25,000.00   10-165
    10 to 12             CCF1                                          Fund                  Mitchell Young Trust                                                   $            30,000.00      Investor-Lender      $      30,000.00   10-1456
    10 to 12             CCF1                                          Fund                  Nisha Gupta 401(K) Profit Sharing Plan & Trust                         $            92,000.00      Investor-Lender      $      75,000.00   10-1312
    10 to 12             CCF1                                          Fund                  Nisha Gupta Defined Benefit Plan and Trust                             $           214,666.61      Investor-Lender      $     175,000.00   10-1311
    10 to 12             CCF1                                          Fund                  Paul N. Wilmesmeier                                                    $           790,185.00      Investor-Lender      $      25,000.00   10-300
    10 to 12             CCF1                                          Fund                  PNW Investments, LLC                                                   $           350,000.00      Investor-Lender      $      10,000.00   10-332
    10 to 12             CCF1                                          Fund                  PSB Investment Trust - Stephen Boynton                                 $            46,398.10       Equity Investor     $      50,000.00   10-280
    10 to 12             CCF1                                          Fund                  QuestIRAFBOFrancisDWebb1437711                                         $           185,819.00      Investor-Lender      $      36,222.00   10-218
    10 to 12             CCF1                                          Fund                  Rajitha Dundigalla                                                     $            50,000.00       Equity Investor     $      50,000.00   10-653
    10 to 12             CCF1                                          Fund                  Randall Sotka                                                          $           255,000.00      Investor-Lender      $     100,000.00   10-1207
    10 to 12             CCF1                                          Fund                  Robert E. Jeter                                                        $           300,000.00      Investor-Lender                         10-1230
    10 to 12             CCF1                                          Fund                  Ronald Tucker and Paula Tucker                                         $            51,583.00      Investor-Lender      $      51,583.00   10-1398
    10 to 12             CCF1                                          Fund                  Sandy Kikerpill, Fresh Advantage                                       $           233,000.00      Investor-Lender      $     100,000.00   10-875
    10 to 12             CCF1                                          Fund                  Schankman, Michael                                                     $           112,557.00       Equity Investor     $      50,000.00   10-2052
    10 to 12             CCF1                                          Fund                  Steve Weera Tonasut and Esther Kon Tonasut                             $           100,000.00       Equity Investor     $     100,000.00   10-303
    10 to 12             CCF1                                          Fund                  Steven Trzaska                                                         $           167,000.00      Investor-Lender      $      67,000.00   10-141
    10 to 12             CCF1                                          Fund                  Stilwell, Heidi                                                        $           125,000.00      Investor-Lender      $     100,000.00   10-2055
    10 to 12             CCF1                                          Fund                  Sunwest Trust FBO Francis Webb 1510692                                 $            27,000.00       Equity Investor     $      27,000.00   10-288
    10 to 12             CCF1                                          Fund                  Teresita M. Shelton                                                    $           426,513.00      Investor-Lender      $      50,000.00   10-330
    10 to 12             CCF1                                          Fund                  TFG Retirement Trust                                                   $           340,886.77      Investor-Lender      $     100,000.00   10-665
    10 to 12             CCF1                                          Fund                  Wanda M. Behling                                                       $            43,719.00       Equity Investor     $      32,500.00   10-1025
    10 to 12             CCF1                                          Fund                  White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina    $            64,634.86       Equity Investor     $      30,000.00   10-537
                                                                                             Goltsev/Goltseva), Trustees
    10 to 12             CCF1                                          Fund                  William H. Akins, Jr.                                                  $          1,100,000.00   Investor-Lender and    $      25,000.00 10-2003
                                                                                                                                                                                                  Equity Investor
    10 to 12             CCF1                                          Fund                  Ying Xu (Brainwave Investments)                                        $           126,625.00       Investor-Lender                        10-134
    10 to 12             CCF1                                          Fund                  Captain Jack, LLC c/o John McDevitt                                    $            95,000.00        Equity Investor    $      20,000.00   10-2091
    13 to 15      2909-19 E 78th Street                                Estate Property       City of Chicago                                                        $            78,479.20            Other          $       5,485.37   13-693
    13 to 15             CCF2                                          Fund                  Adir Hazan                                                             $           150,000.00       Investor-Lender     $      50,000.00   13-143
    13 to 15             CCF2                                          Fund                  Agee Family Trust c/o Scott R. Agee                                    $           130,000.00        Equity Investor    $      55,000.00   13-2001
    13 to 15             CCF2                                          Fund                  Anatoly B. Naritsin                                                    $            56,987.14        Equity Investor    $      55,417.00   13-2078
    13 to 15             CCF2                                          Fund                  Asians Investing In Real Estate LLC                                    $           415,000.00        Equity Investor    $      60,000.00   13-503
    13 to 15             CCF2                                          Fund                  Bancroft, Ed                                                           $           258,060.00     Investor-Lender and                      13-2008
                                                                                                                                                                                                  Equity Investor
    13 to 15             CCF2                                          Fund                  Benjamin J Serebin                                                     $            289,736.11       Equity Investor    $     150,000.00   13-1288
    13 to 15             CCF2                                          Fund                  Bernadette Chen (Eleven St Felix St. Realty)                           $          1,000,000.00       Equity Investor    $      50,000.00   13-2012
    13 to 15             CCF2                                          Fund                  BLT Florida, LLC                                                       $            100,000.00      Investor-Lender     $     100,000.00   13-1384
    13 to 15             CCF2                                          Fund                  Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)                $            115,000.00      Investor-Lender     $      40,000.00   13-137
    13 to 15             CCF2                                          Fund                  Chestnut Capital LLC                                                   $             60,000.00       Equity Investor    $      60,000.00   13-1460
    13 to 15             CCF2                                          Fund                  David Ashley Lawrence Johnson investing under Endurance Capital        $            117,000.04       Equity Investor    $     100,000.00   13-170
                                                                                             Management LLC
    13 to 15             CCF2                                          Fund                  David M Harris                                                         $            534,555.00      Equity Investor     $     150,000.00   13-267
    13 to 15             CCF2                                          Fund                  David Marcus                                                           $          1,370,484.00     Investor-Lender      $     250,000.00   13-801
    13 to 15             CCF2                                          Fund                  Dee Ann Nason                                                          $            303,965.00     Investor-Lender      $      50,000.00   13-453
    13 to 15             CCF2                                          Fund                  Degenhardt, Duane A                                                    $            645,000.00     Investor-Lender      $     150,000.00   13-2015
    13 to 15             CCF2                                          Fund                  DK Phenix Investments LLC                                              $            575,750.00     Investor-Lender      $     100,000.00   13-584
    13 to 15             CCF2                                          Fund                  Doron Reichenberg                                                      $            179,000.00     Investor-Lender      $      75,000.00   13-708
    13 to 15             CCF2                                          Fund                  Douglas Nebel and Narine Nebel                                         $            155,752.25     Investor-Lender      $      15,000.00   13-1080
    13 to 15             CCF2                                          Fund                  Duke E. Heger and Viviana Heger                                        $             60,000.00      Equity Investor     $      60,000.00   13-1408
    13 to 15             CCF2                                          Fund                  Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                $          1,031,324.00     Investor-Lender      $     104,000.00   13-180
    13 to 15             CCF2                                          Fund                  Elizabeth Riley Gerber                                                 $             47,347.23      Equity Investor     $      50,000.00   13-205
    13 to 15             CCF2                                          Fund                  Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)           $            300,000.00     Investor-Lender      $      25,000.00   13-2021
    13 to 15             CCF2                                          Fund                  Francisco Fernandez                                                    $            312,124.98      Equity Investor     $      50,000.00   13-1450
    13 to 15             CCF2                                          Fund                  Fredric R. Gottlieb                                                    $            212,481.00     Investor-Lender      $     100,000.00   13-1177




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Property Number       Property Address               Alternative Address          Type                                Claimant Name                               Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                 Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                 Category as Identified on                           Property
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    13 to 15               CCF2                                            Fund              Fredric R. Gottlieb (South Florida Realty Management &               $           433,306.00      Investor-Lender     $      175,000.00 13-1215
                                                                                             Investments)
    13 to 15               CCF2                                            Fund              Freyja Partners, a California Limited Partnership                    $           179,625.00      Investor-Lender     $       50,000.00   13-1141
    13 to 15               CCF2                                            Fund              Gary Kucera                                                          $           204,357.34       Equity Investor    $      200,000.00   13-98
    13 to 15               CCF2                                            Fund              Gurinder Singh Dhillon                                               $            50,000.00       Equity Investor    $       50,000.00   13-66
    13 to 15               CCF2                                            Fund              IP Holdings, LLC                                                     $            50,000.00      Investor-Lender     $       50,000.00   13-1132
    13 to 15               CCF2                                            Fund              iPlan Group FBO Randall Pong IRA                                     $            60,568.03    Investor-Lender and   $        7,000.00   13-728
                                                                                                                                                                                               Equity Investor
    13 to 15               CCF2                                            Fund              Jane Shafrin                                                         $           110,000.00      Investor-Lender     $       60,000.00   13-188
    13 to 15               CCF2                                            Fund              Jason Ragan - TSA                                                    $           327,324.29       Equity Investor    $      100,000.00   13-797
    13 to 15               CCF2                                            Fund              Jeffery B McMeans                                                    $            53,203.10       Equity Investor    $       50,000.00   13-279
    13 to 15               CCF2                                            Fund              Jerry Adamsky                                                        $            84,000.00      Investor-Lender     $       50,000.00   13-888
    13 to 15               CCF2                                            Fund              Joseph P. McCarthy                                                   $           277,847.33      Investor-Lender     $       50,000.00   13-1367
    13 to 15               CCF2                                            Fund              Kelvin Kon                                                           $            95,000.00       Equity Investor    $       45,000.00   13-492
    13 to 15               CCF2                                            Fund              Kirk Road Investments, LLC                                           $           318,867.20       Equity Investor    $      235,000.00   13-755
    13 to 15               CCF2                                            Fund              Kristien Van Hecke as trustee of DK Phenix Investments LLC 401(k)    $            23,661.80       Equity Investor    $       25,000.00   13-844
                                                                                             FBO Kristien Van Hecke
    13 to 15               CCF2                                            Fund              Krushna M Dundigalla Revocable Living Trust                          $           100,000.00       Equity Investor    $      100,000.00 13-657
    13 to 15               CCF2                                            Fund              Lynn Kupfer                                                          $            99,426.00    Investor-Lender and   $       75,000.00 13-1321
                                                                                                                                                                                               Equity Investor
    13 to 15               CCF2                                            Fund              Mark P. Mouty                                                        $           180,702.77      Investor-Lender     $       25,000.00   13-165
    13 to 15               CCF2                                            Fund              MarTech, Inc.                                                        $           600,000.00       Equity Investor    $      600,000.00   13-1056
    13 to 15               CCF2                                            Fund              Meadows Enterprises Inc, Kenyon Meadows, president                   $            75,000.00      Investor-Lender     $       50,000.00   13-429
    13 to 15               CCF2                                            Fund              Michael F Grant & L. Gretchen Grant (Michael F. Grant & L.           $           695,000.00    Investor-Lender and   $       50,000.00   13-393
                                                                                             Gretchen Grant Revocable Trust dated March 16th 2012)                                             Equity Investor
    13 to 15               CCF2                                            Fund              Michael Warner, Trustee of Warner Chiropractic Care Center, PC       $           203,254.00       Equity Investor    $       35,000.00 13-78
                                                                                             PSP
    13 to 15               CCF2                                            Fund              Mike M. Cocos                                                        $           150,000.00       Equity Investor    $       50,000.00   13-82
    13 to 15               CCF2                                            Fund              Minchow, Donald                                                      $           225,000.00      Investor-Lender     $       75,000.00   13-2041
    13 to 15               CCF2                                            Fund              Moran Blueshtein and Upender Subramanian                             $           146,857.18      Investor-Lender     $       50,000.00   13-95
    13 to 15               CCF2                                            Fund              Nancy Fillmore                                                       $            90,974.27      Investor-Lender     $       25,000.00   13-2022
    13 to 15               CCF2                                            Fund              Narine Nebel                                                         $            62,256.25      Investor-Lender     $       15,000.00   13-351
    13 to 15               CCF2                                            Fund              Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)      $           252,907.00    Investor-Lender and   $       50,000.00   13-1365
                                                                                                                                                                                               Equity Investor
    13 to 15                CCF2                                           Fund              Nisha Gupta 401(K) Profit Sharing Plan & Trust                       $             36,604.64     Investor-Lender     $       29,500.00   13-1317
    13 to 15                CCF2                                           Fund              Nisha Gupta Defined Benefit Plan and Trust                           $             99,887.14     Investor-Lender     $       80,500.00   13-1307
    13 to 15                CCF2                                           Fund              Overhead Solutions Inc (Paul Collins)                                $             50,000.00      Equity Investor    $       50,000.00   13-133
    13 to 15                CCF2                                           Fund              Pat DeSantis                                                         $          2,684,539.00      Equity Investor    $      500,000.00   13-397
    13 to 15                CCF2                                           Fund              Paul N. Wilmesmeier                                                  $            790,185.00     Investor-Lender     $       25,000.00   13-300
    13 to 15                CCF2                                           Fund              Petra Zoeller                                                        $            546,619.00     Investor-Lender     $       35,000.00   13-594
    13 to 15                CCF2                                           Fund              Prakash, Sukumar Samson                                              $            215,875.00                                             13-2047
    13 to 15                CCF2                                           Fund              Rajesh Gupta Roth IRA                                                $             35,984.11     Investor-Lender     $       29,000.00   13-1282
    13 to 15                CCF2                                           Fund              Rajitha Dundigalla                                                   $             50,000.00      Equity Investor    $       50,000.00   13-654
    13 to 15                CCF2                                           Fund              Robert E. Jeter                                                      $            300,000.00     Investor-Lender                         13-1230
    13 to 15                CCF2                                           Fund              Roberta Doucet, Cumen LLC                                            $             25,000.00      Equity Investor    $       25,000.00   13-645
    13 to 15                CCF2                                           Fund              Roswitha M. and John S. Ennema                                       $             59,208.29      Equity Investor    $       50,000.00   13-564
    13 to 15                CCF2                                           Fund              Sandy Kikerpill, Fresh Advantage                                     $            233,000.00     Investor-Lender     $      100,000.00   13-875
    13 to 15                CCF2                                           Fund              Scott Eaton                                                          $             49,200.00      Equity Investor    $       20,000.00   13-1470
    13 to 15                CCF2                                           Fund              Sonoca Corporation                                                   $             47,630.56      Equity Investor    $       50,000.00   13-422
    13 to 15                CCF2                                           Fund              Sri Navalpakkam (AniPri Enterprises LLC)                             $            259,775.00      Equity Investor    $      100,000.00   13-484
    13 to 15                CCF2                                           Fund              STANLEY SCOTT                                                        $             56,845.00     Investor-Lender     $       60,000.00   13-146
    13 to 15                CCF2                                           Fund              Steven K Chennappan                                                  $            100,000.00     Investor-Lender                         13-1266
    13 to 15                CCF2                                           Fund              Timothy S Sharp                                                      $            650,000.00     Investor-Lender     $       50,000.00   13-76
    13 to 15                CCF2                                           Fund              Toramba Trust (ROTH) Matthew Boyd, Trustee                           $            100,000.00      Equity Investor    $      100,000.00   13-2062
    13 to 15                CCF2                                           Fund              Yaron Fisher                                                         $            130,193.00     Investor-Lender     $      108,617.00   13-479
    13 to 15         2909-19 E 78th Street                                 Fund              Bright Venture, LLC                                                  $            231,142.74      Equity Investor    $       50,000.00   13-84
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue
    13 to 15         2909-19 E 78th Street                                 Fund              Cynthia Love                                                         $           104,250.01      Equity Investor     $      100,000.00 13-132
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue




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Property Number       Property Address               Alternative Address          Type                                      Claimant Name                               Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                       Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                       Category as Identified on                           Property
                                                                                                                                                                             Claim Form)

    13 to 15         2909-19 E 78th Street                                 Fund                  Frank and Laura Sohm                                                   $           167,893.65      Equity Investor       $     10,000.00 13-906
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue
    13 to 15         2909-19 E 78th Street                                 Fund                  Frank Sohm IRA                                                         $           148,664.93      Equity Investor       $     40,000.00 13-558
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue
    13 to 15         2909-19 E 78th Street                                 Fund                  James Tutsock                                                          $           169,483.00      Equity Investor       $    100,000.00 13-2057
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue
    13 to 15         2909-19 E 78th Street                                 Fund                  Jason Ragan - TSA                                                      $           473,079.71      Equity Investor       $     54,500.00 13-796
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue
    13 to 15         2909-19 E 78th Street                                 Fund                  JLO Enterprises LLC                                                    $           315,002.49      Equity Investor       $     33,000.00 13-726
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue
    13 to 15         2909-19 E 78th Street                                 Fund                  John Hutchison                                                         $            50,000.00      Investor-Lender       $     50,000.00 13-1376
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue
    13 to 15         2909-19 E 78th Street                                 Fund                  Jossie Romero                                                          $            53,541.66      Equity Investor       $     50,000.00 13-86
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue
    13 to 15         2909-19 E 78th Street                                 Fund                  Karl R. DeKlotz                                                        $          1,586,165.90   Investor-Lender and     $    200,000.00 13-1179
                   7549-59 S Essex Avenue                                                                                                                                                            Equity Investor
                  8047-55 S Manistee Avenue
    13 to 15         2909-19 E 78th Street                                 Fund                  Patricia M. McCorry, Manager McCorry Real Estate LLC                   $            25,708.34      Investor-Lender       $     25,000.00 13-997
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue
    13 to 15         2909-19 E 78th Street                                 Fund                  Quest IRA Inc FBO Larry J Eggenberger IRA                              $            50,000.00      Investor-Lender       $     50,000.00 13-713
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue
    13 to 15         2909-19 E 78th Street                                 Fund                  ROBERT A LAPORTE                                                       $           100,000.00      Investor-Lender       $     50,000.00 13-1038
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue
    13 to 15         2909-19 E 78th Street                                 Fund                  Shreeja LLC                                                            $            55,814.04      Investor-Lender       $     50,000.00 13-1444
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue
    13 to 15         2909-19 E 78th Street                                 Fund                  Steve Weera Tonasut and Esther Kon Tonasut                             $           150,000.00      Equity Investor       $    150,000.00 13-304
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue
    13 to 15         2909-19 E 78th Street                                 Fund                  Steven G. Mouty                                                        $           465,000.00      Equity Investor       $    115,000.00 13-821
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue
    13 to 15         2909-19 E 78th Street                                 Fund                  US Freedom Investments, LLC                                            $           175,500.00      Investor-Lender       $     25,000.00 13-1234
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue
    13 to 15         2909-19 E 78th Street                                 Fund                  Vagmi LLC                                                              $            27,113.23      Investor-Lender       $     25,000.00 13-1467
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue
    13 to 15         2909-19 E 78th Street                                 Fund                  Vagmi LLC                                                              $            54,058.32      Investor-Lender       $     50,000.00 13-1465
                   7549-59 S Essex Avenue
                  8047-55 S Manistee Avenue
    13 to 15                CCF2                                           Fund                  John Asciutto                                                          $             50,000.00      Equity Investor      $     50,000.00 13-1209
    13 to 15                CCF2                                           Fund                  John B. Allred & Glenda K. Allred                                      $          1,421,646.52   Investor-Lender and     $     50,000.00 13-2004
                                                                                                                                                                                                     Equity Investor
      16             1017 W 102nd Street                                   Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,605,189.95    Institutional Lender                  16-972
                                                                                                 Colony American Finance 2015-1, Ltd.
      17              1516 E 85th Place                                    Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,605,189.95   Institutional Lender                   17-972
                                                                                                 Colony American Finance 2015-1, Ltd.
      18             2136 W 83rd Street                                    Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,605,189.95   Institutional Lender                   18-972
                                                                                                 Colony American Finance 2015-1, Ltd.
      19             417 Oglesby Avenue                                    Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,605,189.95   Institutional Lender                   19-972
                                                                                                 Colony American Finance 2015-1, Ltd.
      20            7922 S Luella Avenue                                   Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,605,189.95   Institutional Lender                   20-972
                                                                                                 Colony American Finance 2015-1, Ltd.
      21           7925 S Kingston Avenue                                  Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,605,189.95   Institutional Lender                   21-972
                                                                                                 Colony American Finance 2015-1, Ltd.
      22           7933 S Kingston Avenue                                  Estate Property       Celia Tong Revocable Living Trust Dated December 22, 2011              $            27,565.00      Equity Investor       $     20,000.00 22-287




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Property Number      Property Address              Alternative Address          Type                                    Claimant Name                                 Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                     Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                     Category as Identified on                           Property
                                                                                                                                                                           Claim Form)

      22          7933 S Kingston Avenue                                 Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,605,189.95   Institutional Lender                   22-972
                                                                                               Colony American Finance 2015-1, Ltd.
      23          8030 S Marquette Avenue                                Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,605,189.95   Institutional Lender                   23-972
                                                                                               Colony American Finance 2015-1, Ltd.
      24          8104 S Kingston Avenue                                 Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,605,189.95   Institutional Lender                   24-972
                                                                                               Colony American Finance 2015-1, Ltd.
      25           8403 S Aberdeen Street                                Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,605,189.95   Institutional Lender                   25-972
                                                                                               Colony American Finance 2015-1, Ltd.
      26          8405 S Marquette Avenue                                Estate Property       City of Chicago                                                        $             78,479.20           Other          $         413.84 26-693
      26          8405 S Marquette Avenue                                Estate Property       Manoj Donthineni                                                       $             71,544.30     Investor-Lender      $     141,340.00 26-1357
      26          8405 S Marquette Avenue                                Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,605,189.95   Institutional Lender                    26-972
                                                                                               Colony American Finance 2015-1, Ltd.
      27           8529 S Rhodes Avenue                                  Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,605,189.95   Institutional Lender                   27-972
                                                                                               Colony American Finance 2015-1, Ltd.
      28             8800 S Ada Street                                   Estate Property       Dennis K McCoy                                                         $            312,238.67     Investor-Lender      $      60,000.00 28-569
      28             8800 S Ada Street                                   Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,605,189.95   Institutional Lender                    28-972
                                                                                               Colony American Finance 2015-1, Ltd.
      29           9212 S Parnell Avenue                                 Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,605,189.95   Institutional Lender                   29-972
                                                                                               Colony American Finance 2015-1, Ltd.
      30          10012 S LaSalle Avenue                                 Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,924,211.14   Institutional Lender                   30-1455
                                                                                               Colony American Finance 2015-1, Ltd.
      31           11318 S Church Street                                 Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,924,211.14   Institutional Lender                   31-1455
                                                                                               Colony American Finance 2015-1, Ltd.
      32            3213 S Throop Street                                 Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,924,211.14   Institutional Lender                   32-1455
                                                                                               Colony American Finance 2015-1, Ltd.
      33             3723 W 68th Place                                   Estate Property       Dennis K McCoy                                                         $            312,238.67     Investor-Lender      $      40,000.00 33-569
      33             3723 W 68th Place                                   Estate Property       Kathleen Martin                                                        $            304,605.24      Equity Investor     $     172,423.00 33-246
      33             3723 W 68th Place                                   Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,924,211.14   Institutional Lender                    33-1455
                                                                                               Colony American Finance 2015-1, Ltd.
      34              406 E 87th Place                                   Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,924,211.14   Institutional Lender                   34-1455
                                                                                               Colony American Finance 2015-1, Ltd.
      35              61 E 92nd Street                                   Estate Property       Lorenzo J Jaquias                                                      $             71,635.00     Investor-Lender      $      86,600.00 35-184
      35              61 E 92nd Street                                   Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,924,211.14   Institutional Lender                    35-1455
                                                                                               Colony American Finance 2015-1, Ltd.
      36           6554 S Rhodes Avenue                                  Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,924,211.14   Institutional Lender                   36-1455
                                                                                               Colony American Finance 2015-1, Ltd.
      37           6825 S Indiana Avenue                                 Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,924,211.14   Institutional Lender                   37-1455
                                                                                               Colony American Finance 2015-1, Ltd.
      38           7210 S Vernon Avenue                                  Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,924,211.14   Institutional Lender                   38-1455
                                                                                               Colony American Finance 2015-1, Ltd.
      39            7712 S Euclid Avenue                                 Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,924,211.14   Institutional Lender                   39-1455
                                                                                               Colony American Finance 2015-1, Ltd.
      40          7953 S Woodlawn Avenue                                 Estate Property       Blessing Strategies, LLC                                               $             29,784.00     Investor-Lender      $      12,500.00 40-353
      40          7953 S Woodlawn Avenue                                 Estate Property       Celia Tong Revocable Living Trust Dated December 22, 2011              $             28,741.00     Investor-Lender      $       2,770.00 40-287
      40          7953 S Woodlawn Avenue                                 Estate Property       Jeffrey Lee Blankenship                                                $             89,822.12     Investor-Lender      $      30,629.18 40-1241
      40          7953 S Woodlawn Avenue                                 Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,924,211.14   Institutional Lender                    40-1455
                                                                                               Colony American Finance 2015-1, Ltd.
      40          7953 S Woodlawn Avenue                                 Estate Property       Quantum Growth Holdings LLC                                                                        Investor-Lender      $       8,053.89 40-354
      41           8107 S Kingston Avenue                                Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,924,211.14   Institutional Lender                    41-1455
                                                                                               Colony American Finance 2015-1, Ltd.
      42          8346 S Constance Avenue                                Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,924,211.14   Institutional Lender                   42-1455
                                                                                               Colony American Finance 2015-1, Ltd.
      43           8432 S Essex Avenue                                   Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,924,211.14   Institutional Lender                   43-1455
                                                                                               Colony American Finance 2015-1, Ltd.
      44           8517 S Vernon Avenue                                  Estate Property       City of Chicago                                                        $             78,479.20           Other          $        841.94 44-693
      44           8517 S Vernon Avenue                                  Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,924,211.14   Institutional Lender                   44-1455
                                                                                               Colony American Finance 2015-1, Ltd.
      45             2129 W 71st Street                                  Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,973,393.52   Institutional Lender                   45-1464
                                                                                               Wilmington Trust, N.A., as Trustee for the Benefit of Corevest
                                                                                               American Finance 2017-1 Trust Mortgage Pass-Through Certificates
      46          9610 S Woodlawn Avenue                                 Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,973,393.52   Institutional Lender                   46-1464
                                                                                               Wilmington Trust, N.A., as Trustee for the Benefit of Corevest
                                                                                               American Finance 2017-1 Trust Mortgage Pass-Through Certificates
      47             5437 S Laflin Street                                Estate Property       Michael Borgia                                                         $          1,253,784.00     Investor-Lender      $     250,000.00 47-231
      47             5437 S Laflin Street                                Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,973,393.52   Institutional Lender                    47-1464
                                                                                               Wilmington Trust, N.A., as Trustee for the Benefit of Corevest
                                                                                               American Finance 2017-1 Trust Mortgage Pass-Through Certificates




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                                                                                                             Master Claims List
                                                                                              SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587
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Property Number       Property Address                Alternative Address          Type                                    Claimant Name                                 Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                        Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                        Category as Identified on                           Property
                                                                                                                                                                              Claim Form)

      48            6759 S Indiana Avenue                                   Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,973,393.52     Institutional Lender                    48-1464
                                                                                                  Wilmington Trust, N.A., as Trustee for the Benefit of Corevest
                                                                                                  American Finance 2017-1 Trust Mortgage Pass-Through Certificates
      49          7300-04 St Lawrence Avenue                                Estate Property       Bernadette Chen (Eleven St Felix St. Realty)                           $          1,000,000.00        Equity Investor     $    50,000.00 49-2012
      49          7300-04 St Lawrence Avenue                                Estate Property       City of Chicago                                                        $             78,479.20             Other          $     1,182.83 49-693
      49          7300-04 St Lawrence Avenue                                Estate Property       Helen Boyd                                                             $            105,000.00       Investor-Lender      $    50,000.00 49-2010
      49          7300-04 St Lawrence Avenue                                Estate Property       LaDawn K. Westbrook - Miss Property LLC                                $             71,546.64       Investor-Lender                     49-271
      49          7300-04 St Lawrence Avenue                                Estate Property       Matthew Boyd                                                           $            405,000.00       Investor-Lender      $   259,302.00 49-2060
      49          7300-04 St Lawrence Avenue                                Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,973,393.52     Institutional Lender                  49-1464
                                                                                                  Wilmington Trust, N.A., as Trustee for the Benefit of Corevest
                                                                                                  American Finance 2017-1 Trust Mortgage Pass-Through Certificates
      49          7300-04 St Lawrence Avenue                                Estate Property       Paul N. Wilmesmeier                                                    $            790,185.00       Investor-Lender      $    25,000.00   49-300
      50             7760 S Coles Avenue                                    Estate Property       City of Chicago                                                        $             78,479.20             Other          $       815.33   50-693
      50             7760 S Coles Avenue                                    Estate Property       Helen Boyd                                                             $            105,000.00       Investor-Lender      $    55,000.00   50-2010
      50             7760 S Coles Avenue                                    Estate Property       Huiyi Yang and Hui Wang                                                $             43,150.22       Investor-Lender      $    20,166.67   50-122
      50             7760 S Coles Avenue                                    Estate Property       Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA        $            102,367.34       Investor-Lender      $    76,000.00   50-497
      50             7760 S Coles Avenue                                    Estate Property       LMJ Sales, Inc.                                                        $            559,807.34       Investor-Lender      $   100,000.00   50-1346
      50             7760 S Coles Avenue                                    Estate Property       Marjorie Jean Sexton                                                   $            200,000.00       Investor-Lender      $    50,000.00   50-2065
      50             7760 S Coles Avenue                                    Estate Property       Matthew Boyd                                                           $            405,000.00       Investor-Lender      $    55,000.00   50-2060
      50             7760 S Coles Avenue                                    Estate Property       Metro Rural Real Estate Solutions (Tamara Molenaar-Angelier)           $             18,253.51       Investor-Lender      $    70,000.00   50-743
      50             7760 S Coles Avenue                                    Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          1,973,393.52     Institutional Lender                    50-1464
                                                                                                  Wilmington Trust, N.A., as Trustee for the Benefit of Corevest
                                                                                                  American Finance 2017-1 Trust Mortgage Pass-Through Certificates
      50             7760 S Coles Avenue                                    Estate Property       PNW Investments, LLC                                                   $            350,000.00       Investor-Lender      $    25,000.00   50-332
      50             7760 S Coles Avenue                                    Estate Property       Scott E Pammer                                                         $            243,954.00       Investor-Lender      $    12,070.00   50-827
      51              1401 W 109th Place                                    Estate Property       Hiu Tung Carol                                                         $             62,000.00       Investor-Lender      $   115,487.00   51-1101
      51              1401 W 109th Place                                    Estate Property       Michael and Lyanne Terada                                              $             73,336.53       Investor-Lender      $    33,847.00   51-551
      51              1401 W 109th Place                                    Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          3,003,129.41     Institutional Lender                    51-1466
                                                                                                  Wilmington Trust, N.A., as Trustee for the Registered Holders of
                                                                                                  Corevest American Finance 2017-2 Trust, Mortgage Pass-Through
                                                                                                  Certificates, Series 2017-2
      52               310 E 50th Street                                    Estate Property       Kirk Road Investments, LLC                                             $            434,195.69       Investor-Lender      $   193,750.00 52-755
      52               310 E 50th Street                                    Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          3,003,129.41     Institutional Lender                  52-1466
                                                                                                  Wilmington Trust, N.A., as Trustee for the Registered Holders of
                                                                                                  Corevest American Finance 2017-2 Trust, Mortgage Pass-Through
                                                                                                  Certificates, Series 2017-2
      52              310 E 50th Street                                     Estate Property       Paper Street Realty LLC DBA Rent Ready Apartments                      $            234,139.18        Trade Creditor      $    49,600.68 52-1206
      53            6807 S Indiana Avenue                                   Estate Property       Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                $          1,031,324.00       Investor-Lender      $    45,000.00 53-180
      53            6807 S Indiana Avenue                                   Estate Property       Leroy & Martha Johnson                                                 $             81,066.85       Investor-Lender      $   100,000.00 53-1350
      53            6807 S Indiana Avenue                                   Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          3,003,129.41     Institutional Lender                  53-1466
                                                                                                  Wilmington Trust, N.A., as Trustee for the Registered Holders of
                                                                                                  Corevest American Finance 2017-2 Trust, Mortgage Pass-Through
                                                                                                  Certificates, Series 2017-2
      54            8000-02 S Justine Street           1541 E 80th Street   Estate Property       City of Chicago                                                        $             78,479.20           Other            $     2,783.04 54-693
      54            8000-02 S Justine Street           1541 E 80th Street   Estate Property       John B. Allred & Glenda K. Allred                                      $          1,421,646.52    Investor-Lender and                    54-2004
                                                                                                                                                                                                       Equity Investor
      54            8000-02 S Justine Street           1541 E 80th Street   Estate Property       Michael James Guilford and Nancy Richard-Guilford, Jointly with        $           310,000.00       Investor-Lender       $   110,000.00 54-516
                                                                                                  Right of Survivorship
      54            8000-02 S Justine Street           1541 E 80th Street   Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          3,003,129.41     Institutional Lender                    54-1466
                                                                                                  Wilmington Trust, N.A., as Trustee for the Registered Holders of
                                                                                                  Corevest American Finance 2017-2 Trust, Mortgage Pass-Through
                                                                                                  Certificates, Series 2017-2
      54            8000-02 S Justine Street           1541 E 80th Street   Estate Property       Rene Hribal                                                            $          1,525,473.04       Investor-Lender      $   729,000.00 54-768
      55             8107-09 S Ellis Avenue                                 Estate Property       CLD Construction, Inc. (Doru Unchias)                                  $            434,935.00   Independent Contractor   $    52,300.00 55-1454
      55             8107-09 S Ellis Avenue                                 Estate Property       Hillside Fund, LLC - Janet F. Turco, Owner/ Managing Member            $            505,000.00       Investor-Lender      $    50,000.00 55-101
      55             8107-09 S Ellis Avenue                                 Estate Property       Hyman J. Small                                                         $             75,000.00       Investor-Lender                     55-573
      55             8107-09 S Ellis Avenue                                 Estate Property       John B. Allred & Glenda K. Allred                                      $          1,421,646.52     Investor-Lender and                   55-2004
                                                                                                                                                                                                        Equity Investor
      55            8107-09 S Ellis Avenue                                  Estate Property       Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton,       $            83,813.00        Investor-Lender      $    26,200.00 55-310
                                                                                                  IRA)
      55            8107-09 S Ellis Avenue                                  Estate Property       Kenneth (Ken) and Maria (Tina) Jorgensen                               $            453,233.25       Investor-Lender      $    31,000.00 55-194
      55            8107-09 S Ellis Avenue                                  Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          3,003,129.41     Institutional Lender                  55-1466
                                                                                                  Wilmington Trust, N.A., as Trustee for the Registered Holders of
                                                                                                  Corevest American Finance 2017-2 Trust, Mortgage Pass-Through
                                                                                                  Certificates, Series 2017-2




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Property Number        Property Address                Alternative Address           Type                                    Claimant Name                                 Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                          Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                          Category as Identified on                           Property
                                                                                                                                                                                Claim Form)

      55             8107-09 S Ellis Avenue                                   Estate Property       R.D.Meredith General Contractors LLC 401K                              $           373,617.16     Investor-Lender       $      91,672.00   55-528
      55             8107-09 S Ellis Avenue                                   Estate Property       SLB Ventures, LLC                                                      $           215,215.48     Investor-Lender       $      95,000.00   55-565
      55             8107-09 S Ellis Avenue                                   Estate Property       Steven and Linda Lipschultz                                            $           350,360.00     Investor-Lender       $      73,360.00   55-1442
      56              8209 S Ellis Avenue                                     Estate Property       ARBOR VENTURES OVERSEAS LIMITED, LLC                                   $           176,122.67     Investor-Lender       $     115,000.00   56-446
      56              8209 S Ellis Avenue                                     Estate Property       Ashwin D Patel                                                         $           100,000.00     Investor-Lender       $     100,000.00   56-1170
      56              8209 S Ellis Avenue                                     Estate Property       Claude M West , Linda S Gray, Desert Storm Properties Group, LLC       $           100,000.00     Investor-Lender       $     100,000.00   56-1281

      56              8209 S Ellis Avenue                                     Estate Property       Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                $          1,031,324.00     Investor-Lender      $     100,000.00 56-180
      56              8209 S Ellis Avenue                                     Estate Property       Hyman J. Small                                                         $             75,000.00     Investor-Lender                       56-573
      56              8209 S Ellis Avenue                                     Estate Property       JKG Investments, LLC                                                   $             25,000.00     Investor-Lender      $      25,000.00 56-1181
      56              8209 S Ellis Avenue                                     Estate Property       Marilyn B. Ackerman                                                    $            165,913.00      Equity Investor     $     200,000.00 56-395
      56              8209 S Ellis Avenue                                     Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          3,003,129.41   Institutional Lender                    56-1466
                                                                                                    Wilmington Trust, N.A., as Trustee for the Registered Holders of
                                                                                                    Corevest American Finance 2017-2 Trust, Mortgage Pass-Through
                                                                                                    Certificates, Series 2017-2
      56              8209 S Ellis Avenue                                     Estate Property       Paper Street Realty LLC DBA Rent Ready Apartments                      $            234,139.18      Trade Creditor      $       2,740.00 56-1206
      56              8209 S Ellis Avenue                                     Estate Property       SLB Ventures, LLC                                                      $            215,215.48     Investor-Lender      $      24,960.00 56-565
      56              8209 S Ellis Avenue                                     Estate Property       Wesley Pittman                                                         $            180,048.45     Investor-Lender      $      70,000.00 56-469
      57           8214-16 S Ingleside Avenue                                 Estate Property       James Tutsock                                                          $            900,000.00     Investor-Lender                       57-2057
      57           8214-16 S Ingleside Avenue                                 Estate Property       Joral Schmalle                                                         $          1,735,782.00     Investor-Lender      $     759,000.00 57-730
      57           8214-16 S Ingleside Avenue                                 Estate Property       Midland Loan Services, a Division of PNC Bank, N.A. as servicer for    $          3,003,129.41   Institutional Lender                    57-1466
                                                                                                    Wilmington Trust, N.A., as Trustee for the Registered Holders of
                                                                                                    Corevest American Finance 2017-2 Trust, Mortgage Pass-Through
                                                                                                    Certificates, Series 2017-2
      57           8214-16 S Ingleside Avenue                                 Estate Property       Paper Street Realty LLC DBA Rent Ready Apartments                      $           234,139.18      Trade Creditor       $      18,986.00 57-1206
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       1839 Fund I LLC                                                        $            49,937.00     Investor-Lender       $      42,330.00 58-367
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       Alcalli Sabat                                                          $           109,396.68     Investor-Lender                        58-786
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       Arthur Bertrand                                                        $            78,079.82     Investor-Lender       $       4,825.00 58-892
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       Capital Investors, LLC                                                 $           930,376.31     Investor-Lender       $      50,000.00 58-1490
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       Dennis & Mary Ann Hennefer                                             $           679,378.00     Investor-Lender       $     332,334.00 58-355
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       Diana Johan                                                            $            25,000.00     Investor-Lender       $      25,000.00 58-499
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       Fredric R. Gottlieb                                                    $           212,481.00     Investor-Lender       $      37,481.00 58-1177
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       Harvey Singer                                                          $           854,387.63     Investor-Lender       $     198,500.00 58-2054
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       John McDevitt                                                          $           220,000.00      Equity Investor      $      20,000.00 58-2090
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       Liberty Quest Investment Group LLC                                     $           210,000.00      Equity Investor      $     210,000.00 58-587
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       Madison Trust Company Agent for Custodian FBO The Jacqueline           $           623,489.57      Equity Investor                       58-163
                                                                                                    C Rowe Living Trust IRA
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       Matthew Boyd                                                           $            405,000.00    Investor-Lender       $      40,698.00   58-2060
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       Robert A Demick DDS PA 401K                                            $            177,678.65    Investor-Lender       $      29,000.00   58-680
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       Steven R. Bald                                                         $            586,378.00    Investor-Lender       $      40,000.00   58-399
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       Teresita M. Shelton                                                    $            426,513.00    Investor-Lender       $      25,000.00   58-330
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       The Moore/Ferrer Family 2004 Trust                                     $            208,341.66    Investor-Lender       $      50,000.00   58-107
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       Timothy S Sharp                                                        $            650,000.00    Investor-Lender       $      50,000.00   58-76
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       Vartan Tarakchyan                                                      $            415,000.00     Equity Investor            $50,000.00   58-1118
      58           5955 S Sacramento Avenue           2948-56 W 60th Street   Estate Property       Wisemove Properties LLC, (Anthony and Linda Reid, members)             $            668,979.00    Investor-Lender                          58-168
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       Alcalli Sabat                                                          $            109,396.68    Investor-Lender                          59-786
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       Aluvelu Homes LLC                                                      $            169,271.00    Investor-Lender       $      54,271.00   59-879
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       Arthur and Dinah Bertrand                                              $          1,000,000.00    Investor-Lender       $       7,552.00   59-890
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       Asians Investing In Real Estate LLC                                    $          1,278,402.00    Investor-Lender       $      60,000.00   59-503
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       Brad and Linda Lutz                                                    $            813,582.00    Investor-Lender       $      67,876.00   59-962
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       Chuck Denton | Denton Real Estate Company Inc. 401k                    $            200,000.00    Investor-Lender       $      25,000.00   59-379
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       CZE Holdings LLC (Carl Johnson IRA)                                               $299,700.00     Investor-Lender       $      50,000.00   59-1117
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       Duke E. Heger and Viviana Heger                                        $            117,000.00    Investor-Lender       $      12,000.00   59-1408
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       Equity Capital Resources, LLC                                          $             77,166.66    Investor-Lender       $      50,000.00   59-671
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       Ganpat and FEREEDA Seunath                                             $            216,194.22    Investor-Lender       $     109,844.00   59-77
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       Gary R. Burnham Jr. Solo 401K Trust                                    $            205,608.00    Investor-Lender       $       7,971.00   59-1174
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       iPlanGroup Agent for Custodian FBO Charles Powell IRA                  $            260,000.00    Investor-Lender                          59-413
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       James Clements                                                         $            185,910.00    Investor-Lender       $      70,000.00   59-1402
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       Leonard Grosso                                                         $            177,499.95    Investor-Lender       $      50,000.00   59-2024
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       LMJ Sales, Inc.                                                        $            559,807.34    Investor-Lender       $      50,000.00   59-1346
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       Marjorie Jean Sexton                                                   $            200,000.00    Investor-Lender       $      40,564.00   59-2065
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       New Direction IRA, Inc. FBO Joel Beyer, Roth IRA                       $            103,990.94    Investor-Lender       $      16,000.00   59-969




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                                                                                                               Master Claims List
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Property Number        Property Address                Alternative Address           Type                                    Claimant Name                                 Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                          Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                          Category as Identified on                           Property
                                                                                                                                                                                Claim Form)

      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       PFFR TRUST (Garrett Miller)                                            $              5,299.00     Investor-Lender     $        5,299.00   59-1284
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       Phillip G. Vander Kraats                                               $             80,186.82     Investor-Lender     $          312.00   59-628
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       TMAKINDE, LLC                                                          $            247,000.00     Investor-Lender     $      108,000.00   59-372
      59          6001-05 S Sacramento Avenue         2945-51 W 60th Street   Estate Property       Towpath Investments LLC - Robert Kessing (manager)                     $            135,000.00     Investor-Lender     $       30,000.00   59-338
      60            7026-42 S Cornell Avenue                                  Estate Property       Alex Breslav                                                           $            247,000.00     Investor-Lender     $       50,000.00   60-262
      60            7026-42 S Cornell Avenue                                  Estate Property       Annie Chang                                                            $            246,935.34     Investor-Lender     $        3,500.00   60-475
      60            7026-42 S Cornell Avenue                                  Estate Property       Asians Investing In Real Estate LLC                                    $          1,278,402.00     Investor-Lender     $       69,402.00   60-503
      60            7026-42 S Cornell Avenue                                  Estate Property       Bancroft, Ed                                                           $            258,060.00   Investor-Lender and                       60-2008
                                                                                                                                                                                                        Equity Investor
      60            7026-42 S Cornell Avenue                                  Estate Property       Brett Burnham (                                                        $           215,335.54      Investor-Lender     $       30,000.00 60-314
                                                                                                    iPlanGroup Agent for Custodian FBO Brett Burnham)
      60            7026-42 S Cornell Avenue                                  Estate Property       Capital Investors, LLC                                                 $           930,376.31      Investor-Lender     $      379,479.00   60-1490
      60            7026-42 S Cornell Avenue                                  Estate Property       Christine Hethcock                                                     $            41,500.00      Investor-Lender     $       40,000.00   60-1300
      60            7026-42 S Cornell Avenue                                  Estate Property       Chuck Denton | Denton Real Estate Company Inc. 401k                    $           200,000.00      Investor-Lender     $       50,000.00   60-379
      60            7026-42 S Cornell Avenue                                  Estate Property       CZE Holdings LLC (Carl Johnson IRA)                                    $           299,700.00      Investor-Lender     $       55,000.00   60-1117
      60            7026-42 S Cornell Avenue                                  Estate Property       Dana Speed                                                             $           249,710.00      Investor-Lender     $       31,000.00   60-684
      60            7026-42 S Cornell Avenue                                  Estate Property       Daniel Matthews, Leah Matthews                                         $           185,922.54      Investor-Lender     $       22,812.00   60-117
      60            7026-42 S Cornell Avenue                                  Estate Property       David Ashley Lawrence Johnson investing under Endurance Capital        $            50,000.00      Investor-Lender     $       50,000.00   60-170
                                                                                                    Management LLC
      60            7026-42 S Cornell Avenue                                  Estate Property       Dennis & Mary Ann Hennefer                                             $           679,378.00      Investor-Lender     $      110,000.00   60-355
      60            7026-42 S Cornell Avenue                                  Estate Property       DVH Investment Trust                                                   $            20,000.00      Investor-Lender     $       80,000.00   60-1410
      60            7026-42 S Cornell Avenue                                  Estate Property       Elizabeth Zeng                                                         $           148,422.77      Investor-Lender     $        9,000.00   60-872
      60            7026-42 S Cornell Avenue                                  Estate Property       Equity Trust Company Custodian FBO Linda A. Smith IRA                  $            50,000.00      Investor-Lender     $       50,000.00   60-550
      60            7026-42 S Cornell Avenue                                  Estate Property       Fredric R. Gottlieb (South Florida Realty Management &                 $           433,306.00      Investor-Lender     $       58,306.00   60-1215
                                                                                                    Investments)
      60            7026-42 S Cornell Avenue                                  Estate Property       Gallowglass LLC c/o Patrick Bournes                                    $            100,000.00     Investor-Lender                       60-316
      60            7026-42 S Cornell Avenue                                  Estate Property       Harvey Singer                                                          $            854,387.63     Investor-Lender     $       51,500.00 60-2054
      60            7026-42 S Cornell Avenue                                  Estate Property       iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA         $             44,433.00     Investor-Lender     $          817.00 60-445
      60            7026-42 S Cornell Avenue                                  Estate Property       Ivan A. Campbell                                                       $             52,000.00     Investor-Lender                       60-466
      60            7026-42 S Cornell Avenue                                  Estate Property       Jason Ragan - TSA                                                      $            327,324.29      Equity Investor    $        1,241.00 60-797
      60            7026-42 S Cornell Avenue                                  Estate Property       John B. Allred & Glenda K. Allred                                      $          1,421,646.52   Investor-Lender and                     60-2004
                                                                                                                                                                                                        Equity Investor
      60            7026-42 S Cornell Avenue                                  Estate Property       Joseph E. Kennedy                                                      $            60,412.54      Investor-Lender     $       45,141.00 60-435
      60            7026-42 S Cornell Avenue                                  Estate Property       Joseph E. Kennedy                                                      $           298,138.29      Investor-Lender     $       40,979.00 60-106
      60            7026-42 S Cornell Avenue                                  Estate Property       KAMEDA INVESTMENTS, LLC (Sole Owner/Manager - Arnold                   $           220,000.00      Investor-Lender     $       40,000.00 60-121
                                                                                                    Kunio Kameda)
      60            7026-42 S Cornell Avenue                                  Estate Property       Linda Lipschultz                                                       $            53,405.00      Investor-Lender     $       22,477.00   60-1374
      60            7026-42 S Cornell Avenue                                  Estate Property       MaryAnn Zimmerman                                                      $            50,000.00      Investor-Lender     $       18,104.00   60-937
      60            7026-42 S Cornell Avenue                                  Estate Property       Michael E. Thomas                                                      $            19,000.00      Investor-Lender     $       50,000.00   60-2092
      60            7026-42 S Cornell Avenue                                  Estate Property       Next Generation Trust Company FBO Irene B. Kapsky FFBO Mark S          $            23,000.00      Investor-Lender     $       13,000.00   60-1166
                                                                                                    Kapsky IRA 3207
      60            7026-42 S Cornell Avenue                                  Estate Property       Next Generation Trust Company FBO Mark Kapsky IRA 2396                 $            42,000.00      Investor-Lender     $        2,000.00 60-1157
      60            7026-42 S Cornell Avenue                                  Estate Property       Next Generation Trust Company FBO Mark Steven Kapsky Roth IRA          $            35,000.00      Investor-Lender     $       25,000.00 60-1169
                                                                                                    2702
      60            7026-42 S Cornell Avenue                                  Estate Property       Optima Property Solutions, LLC                                         $           487,209.71      Investor-Lender     $      165,000.00 60-1023
      60            7026-42 S Cornell Avenue                                  Estate Property       Paul N. Wilmesmeier                                                    $           790,185.00      Investor-Lender     $       25,000.00 60-300
      60            7026-42 S Cornell Avenue                                  Estate Property       Randall Sotka                                                          $           255,000.00      Investor-Lender     $        4,225.00 60-1207
      60            7026-42 S Cornell Avenue                                  Estate Property       Rita Aken                                                              $            75,000.00      Investor-Lender                       60-770
      60            7026-42 S Cornell Avenue                                  Estate Property       Robert Potter                                                          $           282,999.00      Investor-Lender     $       12,549.00 60-1389
      60            7026-42 S Cornell Avenue                                  Estate Property       Sherri Agnifili                                                        $            30,962.50      Investor-Lender     $       30,000.00 60-348
      60            7026-42 S Cornell Avenue                                  Estate Property       Steven Lipschultz                                                      $            71,126.00       Equity Investor    $       31,635.00 60-1391
      60            7026-42 S Cornell Avenue                                  Estate Property       Teresita M. Shelton                                                    $           426,513.00      Investor-Lender     $       50,000.00 60-330
      60            7026-42 S Cornell Avenue                                  Estate Property       Terry L. Merrill, Sheryl R. Merrill                                    $           299,500.00      Investor-Lender     $       50,000.00 60-602
      60            7026-42 S Cornell Avenue                                  Estate Property       White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina    $           127,152.37      Investor-Lender     $       83,000.00 60-537
                                                                                                    Goltsev/Goltseva), Trustees
      60           7026-42 S Cornell Avenue                                   Estate Property       Yaron Fisher                                                           $           130,193.00      Investor-Lender     $       11,263.00 60-479
      61           7237-43 S Bennett Avenue                                   Estate Property       Alton Motes and Vicki Elaine Washburn JTWROS                           $           245,841.62      Investor-Lender     $       35,000.00 61-2042
      61           7237-43 S Bennett Avenue                                   Estate Property       Annie Chang                                                            $           246,935.34      Investor-Lender     $        7,921.00 61-475
      61           7237-43 S Bennett Avenue                                   Estate Property       Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft           $           258,060.00    Investor-Lender and                     61-2008
                                                                                                    Roth)                                                                                               Equity Investor
      61           7237-43 S Bennett Avenue                                   Estate Property       BCL Associates, LLC                                                    $            10,266.66      Investor-Lender     $       50,000.00 61-477
      61           7237-43 S Bennett Avenue                                   Estate Property       BTRUE LLC Barry J. Oates                                               $            93,600.00       Equity Investor    $        5,200.00 61-669
      61           7237-43 S Bennett Avenue                                   Estate Property       City of Chicago                                                        $            78,479.20           Other          $        5,906.05 61-693




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Property Number      Property Address               Alternative Address          Type                                     Claimant Name                                 Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                       Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                       Category as Identified on                           Property
                                                                                                                                                                             Claim Form)

      61          7237-43 S Bennett Avenue                                Estate Property       Clark, Wilma                                                            $            20,266.67     Investor-Lender     $        20,000.00   61-2013
      61          7237-43 S Bennett Avenue                                Estate Property       David R. Trengove                                                       $           705,123.88     Investor-Lender     $        43,784.00   61-481
      61          7237-43 S Bennett Avenue                                Estate Property       DAVID WEEKS                                                             $            53,750.00     Investor-Lender     $        50,000.00   61-127
      61          7237-43 S Bennett Avenue                                Estate Property       Degenhardt, Duane A                                                     $           645,000.00     Investor-Lender     $         9,139.00   61-2015
      61          7237-43 S Bennett Avenue                                Estate Property       Hang Zhou and Lu Dong                                                   $           157,821.57     Investor-Lender     $        50,000.00   61-1335
      61          7237-43 S Bennett Avenue                                Estate Property       Henry C. Scheuller                                                      $           246,440.00     Investor-Lender                          61-868
      61          7237-43 S Bennett Avenue                                Estate Property       Influx Investments LLC                                                  $           100,000.00     Investor-Lender     $        50,000.00   61-744
      61          7237-43 S Bennett Avenue                                Estate Property       James Patrick Sullivan                                                  $            20,000.00     Investor-Lender     $        20,000.00   61-627
      61          7237-43 S Bennett Avenue                                Estate Property       James Patrick Sullivan                                                  $            80,750.00     Investor-Lender     $        30,000.00   61-125
      61          7237-43 S Bennett Avenue                                Estate Property       Jason Ragan - TSA                                                       $           473,079.71      Equity Investor    $        25,500.00   61-796
      61          7237-43 S Bennett Avenue                                Estate Property       JDSKPS LLC, Jeffrey Steybe Mgr                                          $           156,000.00     Investor-Lender     $       150,000.00   61-826
      61          7237-43 S Bennett Avenue                                Estate Property       John Bloxham                                                            $           103,375.00     Investor-Lender     $       100,000.00   61-1014
      61          7237-43 S Bennett Avenue                                Estate Property       John Braden and Cynthia Braden                                          $            42,000.64     Investor-Lender     $        50,000.00   61-1051
      61          7237-43 S Bennett Avenue                                Estate Property       Koates LLC                                                              $            85,000.00      Equity Investor    $        19,800.00   61-228
      61          7237-43 S Bennett Avenue                                Estate Property       Larry James Eggenberger                                                 $            50,000.00     Investor-Lender     $        50,000.00   61-402
      61          7237-43 S Bennett Avenue                                Estate Property       Madison Trust Company Agent for Custodian FBO The Jacqueline            $           623,489.57      Equity Investor                         61-163
                                                                                                C Rowe Living Trust IRA
      61          7237-43 S Bennett Avenue                                Estate Property       Mona M. Leonard SD ROTH - 2692021                                       $            190,609.00     Equity Investor    $       200,000.00 61-123
      61          7237-43 S Bennett Avenue                                Estate Property       Optima Property Solutions, LLC                                          $            487,209.71    Investor-Lender     $        65,000.00 61-1023
      61          7237-43 S Bennett Avenue                                Estate Property       Paper Street Realty LLC DBA Rent Ready Apartments                       $            234,139.18     Trade Creditor     $       162,812.50 61-1206
      61          7237-43 S Bennett Avenue                                Estate Property       Pat DeSantis                                                            $          2,684,539.00    Investor-Lender     $       100,000.00 61-397
      61          7237-43 S Bennett Avenue                                Estate Property       Paul Scribner                                                           $            200,000.00    Investor-Lender     $        50,000.00 61-1135
      61          7237-43 S Bennett Avenue                                Estate Property       QuestIRAFBOFrancisDWebb1437711                                          $            185,819.00    Investor-Lender     $        12,064.00 61-218
      61          7237-43 S Bennett Avenue                                Estate Property       Rita Aken                                                               $             75,000.00    Investor-Lender                        61-770
      61          7237-43 S Bennett Avenue                                Estate Property       Scott Eaton                                                             $            549,101.33    Investor-Lender     $        50,000.00 61-1470
      61          7237-43 S Bennett Avenue                                Estate Property       Scott Tyler Williams as Custodian of New Idea Properties, Inc Profit    $             20,000.00    Investor-Lender     $        20,000.00 61-1468
                                                                                                Sharing Plan
      61          7237-43 S Bennett Avenue                                Estate Property       Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)         $            148,278.93    Investor-Lender     $        35,000.00   61-1439
      61          7237-43 S Bennett Avenue                                Estate Property       Steven R. Bald                                                          $            586,378.00    Investor-Lender     $        60,000.00   61-399
      61          7237-43 S Bennett Avenue                                Estate Property       Teresita M. Shelton                                                     $            426,513.00    Investor-Lender     $        15,000.00   61-330
      61          7237-43 S Bennett Avenue                                Estate Property       Teton Equity Group LLC                                                  $            208,439.99    Investor-Lender     $       100,000.00   61-1205
      61          7237-43 S Bennett Avenue                                Estate Property       Vartan Tarakchyan                                                       $            415,000.00     Equity Investor            $20,000.00   61-1118
      61          7237-43 S Bennett Avenue                                Estate Property       Vladimir Matviishin, dba Network Expert                                 $            165,000.00    Investor-Lender     $        50,000.00   61-1382
      61          7237-43 S Bennett Avenue                                Estate Property       Wealth Builders 1, LLC                                                  $             50,000.00    Investor-Lender     $        50,000.00   61-1275
      61          7237-43 S Bennett Avenue                                Estate Property       William H. Akins, Jr.                                                   $          1,100,000.00     Equity Investor    $        35,000.00   61-2003
      61          7237-43 S Bennett Avenue                                Estate Property       William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)               $          1,100,000.00    Investor-Lender     $       100,000.00   61-2003
      61          7237-43 S Bennett Avenue                                Estate Property       William Needham                                                         $            355,428.00    Investor-Lender     $        35,000.00   61-80
      61          7237-43 S Bennett Avenue                                Estate Property       Wisemove Properties LLC, (Anthony and Linda Reid, members)              $            668,979.00    Investor-Lender                          61-168
      61          7237-43 S Bennett Avenue                                Estate Property       Young Family Trust                                                      $            115,000.00    Investor-Lender     $        30,000.00   61-1452
      61          7237-43 S Bennett Avenue                                Estate Property       Yvette Sahai                                                            $             47,048.08    Investor-Lender                          61-2049
      62           7834-44 S Ellis Avenue                                 Estate Property       Aaron Beauclair                                                         $             40,000.00    Investor-Lender     $        10,000.00   62-408
      62           7834-44 S Ellis Avenue                                 Estate Property       Alan Rubin                                                              $             50,000.00    Investor-Lender     $        50,000.00   62-118
      62           7834-44 S Ellis Avenue                                 Estate Property       Asians Investing In Real Estate LLC                                     $          1,278,402.00    Investor-Lender     $        65,000.00   62-503
      62           7834-44 S Ellis Avenue                                 Estate Property       Braden Galloway                                                         $            227,800.02    Investor-Lender                          62-1463
      62           7834-44 S Ellis Avenue                                 Estate Property       Daniel Lewis & Deborah Lewis                                            $             50,000.00    Investor-Lender     $        50,000.00   62-257
      62           7834-44 S Ellis Avenue                                 Estate Property       David R. Trengove                                                       $            705,123.88    Investor-Lender     $       300,000.00   62-481
      62           7834-44 S Ellis Avenue                                 Estate Property       Dennis & Mary Ann Hennefer                                              $            679,378.00    Investor-Lender     $        55,098.00   62-355
      62           7834-44 S Ellis Avenue                                 Estate Property       Emile P. Dufrene, III                                                   $             50,422.00    Investor-Lender     $        50,000.00   62-1248
      62           7834-44 S Ellis Avenue                                 Estate Property       Fredric R. Gottlieb                                                     $            391,776.10    Investor-Lender     $        58,617.00   62-1212
      62           7834-44 S Ellis Avenue                                 Estate Property       Gregory C. Snyder                                                       $             50,000.00    Investor-Lender     $        50,000.00   62-998
      62           7834-44 S Ellis Avenue                                 Estate Property       HARENDRA PAL                                                            $            125,000.00    Investor-Lender     $       100,000.00   62-1126
      62           7834-44 S Ellis Avenue                                 Estate Property       Hutchings, Matt                                                         $            362,766.68    Investor-Lender     $       150,000.00   62-2030
      62           7834-44 S Ellis Avenue                                 Estate Property       iPlanGroup Agent for Custodian FBO Charles Powell IRA                   $            260,000.00    Investor-Lender                          62-413
      62           7834-44 S Ellis Avenue                                 Estate Property       Jason Park                                                              $             38,000.00    Investor-Lender     $        25,000.00   62-814
      62           7834-44 S Ellis Avenue                                 Estate Property       Jerome B. Shaffer                                                       $            250,000.00    Investor-Lender     $        14,736.00   62-992
      62           7834-44 S Ellis Avenue                                 Estate Property       Joel Feingold JFKN Investment Trust                                     $             95,000.00    Investor-Lender     $        30,000.00   62-527
      62           7834-44 S Ellis Avenue                                 Estate Property       John Bloxham                                                            $             51,762.92    Investor-Lender     $        50,396.00   62-1016
      62           7834-44 S Ellis Avenue                                 Estate Property       Joseph P. McCarthy                                                      $            277,847.33    Investor-Lender     $        27,884.00   62-1367
      62           7834-44 S Ellis Avenue                                 Estate Property       Kelly E Welton, and Mary M Andrews, deceased                            $             83,813.00    Investor-Lender     $         7,000.00   62-310
      62           7834-44 S Ellis Avenue                                 Estate Property       Kenneth (Ken) and Maria (Tina) Jorgensen                                $            453,233.25    Investor-Lender     $         4,246.00   62-194
      62           7834-44 S Ellis Avenue                                 Estate Property       Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA         $            102,367.34    Investor-Lender     $        48,000.00   62-497




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Property Number       Property Address                Alternative Address          Type                                     Claimant Name                                 Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                         Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                         Category as Identified on                           Property
                                                                                                                                                                               Claim Form)

      62            7834-44 S Ellis Avenue                                  Estate Property       Kevin Chang                                                             $            65,000.00     Investor-Lender       $      65,000.00   62-305
      62            7834-44 S Ellis Avenue                                  Estate Property       Laura J. Sohm IRA                                                       $           104,593.29     Investor-Lender       $      15,000.00   62-970
      62            7834-44 S Ellis Avenue                                  Estate Property       Leonard Grosso                                                          $           177,499.95     Investor-Lender       $      50,000.00   62-2024
      62            7834-44 S Ellis Avenue                                  Estate Property       Madison Trust Company Custodian FBO Brent Jacobs                        $            12,119.00     Investor-Lender       $      12,119.00   62-431
                                                                                                  M1609105
      62            7834-44 S Ellis Avenue                                  Estate Property       Michael F Grant & L. Gretchen Grant (Michael F. Grant & L.              $           695,000.00     Investor-Lender       $      50,000.00 62-393
                                                                                                  Gretchen Grant Revocable Trust dated March 16th 2012)
      62           7834-44 S Ellis Avenue                                   Estate Property       Optima Property Solutions, LLC                                          $            487,209.71    Investor-Lender       $     250,000.00   62-1023
      62           7834-44 S Ellis Avenue                                   Estate Property       Pat DeSantis                                                            $          2,684,539.00    Investor-Lender       $     250,000.00   62-397
      62           7834-44 S Ellis Avenue                                   Estate Property       Patricia J Theil and Samuel D Theil                                     $             26,429.55    Investor-Lender       $      25,211.00   62-1045
      62           7834-44 S Ellis Avenue                                   Estate Property       Patricia J Theil C/F Jacqueline M Theil                                 $             62,062.58    Investor-Lender       $      49,165.00   62-923
      62           7834-44 S Ellis Avenue                                   Estate Property       Paul Franklin                                                           $             25,000.00    Investor-Lender       $      24,420.00   62-1231
      62           7834-44 S Ellis Avenue                                   Estate Property       PNW Investments, LLC                                                    $            350,000.00    Investor-Lender       $     125,000.00   62-332
      62           7834-44 S Ellis Avenue                                   Estate Property       Quantum Growth Holdings LLC                                                                        Investor-Lender       $       6,056.44   62-354
      62           7834-44 S Ellis Avenue                                   Estate Property       REBECCA D BLUST                                                         $            10,000.00      Equity Investor      $      10,000.00   62-1189
      62           7834-44 S Ellis Avenue                                   Estate Property       Richard L. Braddock                                                     $           104,161.08     Investor-Lender       $      50,000.00   62-509
      62           7834-44 S Ellis Avenue                                   Estate Property       SAMUEL HOME SOLUTIONS LLC, GEORGE SAMUEL,                               $           235,519.28     Investor-Lender       $      50,000.00   62-347
      62           7834-44 S Ellis Avenue                                   Estate Property       Steven R. Bald                                                          $           586,378.00     Investor-Lender       $     181,378.00   62-399
      62           7834-44 S Ellis Avenue                                   Estate Property       Thaddeus Gala (Grand Mountain)                                          $           100,000.00     Investor-Lender                          62-2070
      62           7834-44 S Ellis Avenue                                   Estate Property       Vladimir Matviishin                                                     $           199,075.00     Investor-Lender       $      50,000.00   62-233
      62           7834-44 S Ellis Avenue                                   Estate Property       Vladimir Matviishin, dba Network Expert                                 $           165,000.00     Investor-Lender       $      50,000.00   62-1382
      62           7834-44 S Ellis Avenue                                   Estate Property       William Needham                                                         $           355,428.00     Investor-Lender       $     200,000.00   62-80
      62           7834-44 S Ellis Avenue                                   Estate Property       Zahra (Nina) Mofrad                                                     $            75,000.00     Investor-Lender       $      75,000.00   62-1024
      63          4520-26 Drexel Boulevard                                  Estate Property       White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina     $            64,634.86      Equity Investor      $      50,000.00   63-537
                                                                                                  Goltsev/Goltseva), Trustees
      63          4520-26 S Drexel Boulevard                                Estate Property       Adir Hazan                                                              $            151,333.00     Equity Investor      $     100,000.00 63-143
      63          4520-26 S Drexel Boulevard                                Estate Property       Asbury R. Lockett                                                       $            100,000.00     Equity Investor      $     100,000.00 63-210
      63          4520-26 S Drexel Boulevard                                Estate Property       Asians Investing In Real Estate LLC                                     $            415,000.00     Equity Investor      $     160,000.00 63-503
      63          4520-26 S Drexel Boulevard                                Estate Property       Cindy L. Chambers                                                       $             33,337.00    Investor-Lender       $      33,337.00 63-85
      63          4520-26 S Drexel Boulevard                                Estate Property       Frank and Laura Sohm                                                    $            167,893.65     Equity Investor      $      65,000.00 63-906
      63          4520-26 S Drexel Boulevard                                Estate Property       Grathia Corp                                                            $          1,184,081.00    Investor-Lender       $     100,000.00 63-1445
      63          4520-26 S Drexel Boulevard                                Estate Property       Greg S. Wirth                                                           $              7,300.00     Equity Investor      $       7,300.00 63-593
      63          4520-26 S Drexel Boulevard                                Estate Property       Greg S. Wirth                                                           $             12,600.00     Equity Investor      $      12,600.00 63-563
      63          4520-26 S Drexel Boulevard                                Estate Property       Henry S. Scheuller                                                      $             85,400.00     Equity Investor      $      85,000.00 63-357
      63          4520-26 S Drexel Boulevard                                Estate Property       James Anthony Ande                                                      $             75,000.00     Equity Investor      $      75,000.00 63-591
      63          4520-26 S Drexel Boulevard                                Estate Property       James Tutsock                                                           $            169,483.00     Equity Investor      $     319,483.00 63-2057
      63          4520-26 S Drexel Boulevard                                Estate Property       Jeffrey Lee Blankenship                                                 $            103,698.00     Equity Investor                       63-1241
      63          4520-26 S Drexel Boulevard                                Estate Property       Joseph P. McCarthy                                                      $            277,847.33    Investor-Lender       $      45,000.00 63-1367
      63          4520-26 S Drexel Boulevard                                Estate Property       Joshua Lapin                                                            $             25,000.00     Equity Investor      $      25,000.00 63-1243
      63          4520-26 S Drexel Boulevard                                Estate Property       KAMEDA INVESTMENTS, LLC (Sole Owner/Manager - Arnold                    $            185,000.00     Equity Investor      $     125,000.00 63-121
                                                                                                  Kunio Kameda)
      63          4520-26 S Drexel Boulevard                                Estate Property       Keith Randall                                                           $            370,000.00      Equity Investor     $     100,000.00   63-1086
      63          4520-26 S Drexel Boulevard                                Estate Property       Mark P. Mouty                                                           $            130,703.00      Equity Investor     $      10,000.00   63-165
      63          4520-26 S Drexel Boulevard                                Estate Property       Natalie T. Scheuller                                                    $             85,400.00      Equity Investor     $      85,000.00   63-358
      63          4520-26 S Drexel Boulevard                                Estate Property       Sunwest Trust-FBO Mark P. Mouty                                         $            100,000.00      Equity Investor     $     100,000.00   63-334
      63          4520-26 S Drexel Boulevard                                Estate Property       The Entrust Group FBO Dee Ann Nason 7230011277                          $            150,000.00     Investor-Lender      $      50,000.00   63-790
      63          4520-26 S Drexel Boulevard                                Estate Property       U.S. Bank National Association, as Trustee for the Registered           $          4,830,977.15   Institutional Lender                      63-1448
                                                                                                  Holders of J.P. Morgan Chase Commercial Mortgage Securities
                                                                                                  Corp., Multifamily Mortgage Pass-Through Certificates, Series 2017-
                                                                                                  SB41
      63          4520-26 S Drexel Boulevard                                Estate Property       Walter T Akita and Margaret M Akita                                     $            50,000.00      Equity Investor      $      50,000.00 63-950
      64          4611-17 S Drexel Boulevard                                Estate Property       Alton Motes (Alton P. Motes Revocable Trust Agreement dated 12-         $           245,841.62     Investor-Lender       $      15,417.00 64-2042
                                                                                                  15-11)
      64          4611-17 S Drexel Boulevard                                Estate Property       Annie Chang                                                             $           246,935.34      Investor-Lender      $      35,459.00 64-475
      64          4611-17 S Drexel Boulevard                                Estate Property       Bancroft, Ed                                                            $           258,060.00    Investor-Lender and                     64-2008
                                                                                                                                                                                                       Equity Investor
      64          4611-17 S Drexel Boulevard                                Estate Property       Bernadette Chen (Eleven St Felix St. Realty)                            $          1,000,000.00      Equity Investor     $      50,000.00 64-2012
      64          4611-17 S Drexel Boulevard                                Estate Property       Bluebridge Partners Limited                                             $            791,620.17     Investor-Lender      $     150,000.00 64-727
      64          4611-17 S Drexel Boulevard                                Estate Property       Braden Galloway                                                         $            227,800.02     Investor-Lender                       64-1463
      64          4611-17 S Drexel Boulevard                                Estate Property       Citibank, N.A., as Trustee for the registered Holders of Wells Fargo    $          3,697,340.98   Institutional Lender                    64-1325
                                                                                                  Commercial Mortgage Securities, Inc., Multifamily Mortgage Pass-
                                                                                                  Through Certificates, Series 2018-SB48
      64          4611-17 S Drexel Boulevard                                Estate Property       Clarice Recamara                                                        $            20,000.00     Investor-Lender       $      20,000.00 64-643




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Property Number       Property Address                Alternative Address              Type                                    Claimant Name                                 Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                            Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                            Category as Identified on                           Property
                                                                                                                                                                                  Claim Form)

      64          4611-17 S Drexel Boulevard                                    Estate Property       David Ashley Lawrence Johnson investing under Endurance Capital        $           172,583.29     Investor-Lender       $      50,000.00 64-170
                                                                                                      Management LLC
      64          4611-17 S Drexel Boulevard                                    Estate Property       David M Harris                                                         $            831,700.00    Investor-Lender       $     100,000.00   64-267
      64          4611-17 S Drexel Boulevard                                    Estate Property       David R. Trengove                                                      $            705,123.88    Investor-Lender       $     150,000.00   64-481
      64          4611-17 S Drexel Boulevard                                    Estate Property       Dee Ann Nason                                                          $            303,965.00    Investor-Lender       $       3,965.00   64-453
      64          4611-17 S Drexel Boulevard                                    Estate Property       Eco2 Capital Inc. 401k                                                 $             43,933.81    Investor-Lender       $      50,000.00   64-1048
      64          4611-17 S Drexel Boulevard                                    Estate Property       Genevieve Giuliana Heger                                               $             20,058.00    Investor-Lender       $      10,000.00   64-1403
      64          4611-17 S Drexel Boulevard                                    Estate Property       Grathia Corp                                                           $          1,184,081.00    Investor-Lender       $     150,000.00   64-1445
      64          4611-17 S Drexel Boulevard                                    Estate Property       Greg S. Wirth                                                          $              7,300.00    Investor-Lender       $       7,300.00   64-593
      64          4611-17 S Drexel Boulevard                                    Estate Property       Greg S. Wirth                                                          $             12,600.00    Investor-Lender       $      12,600.00   64-563
      64          4611-17 S Drexel Boulevard                                    Estate Property       iPlan Group Agent for Custodian FBO Jyotsna Sharma                     $             50,000.00    Investor-Lender       $      25,000.00   63-341
      64          4611-17 S Drexel Boulevard                                    Estate Property       James Anthony Ande                                                     $             75,000.00    Investor-Lender       $      50,000.00   64-591
      64          4611-17 S Drexel Boulevard                                    Estate Property       James Walsh                                                            $            200,000.00    Investor-Lender       $      50,000.00   64-2058
      64          4611-17 S Drexel Boulevard                                    Estate Property       Jeffrey Lee Blankenship                                                $            103,698.00     Equity Investor                         64-1241
      64          4611-17 S Drexel Boulevard                                    Estate Property       John Bloxham                                                           $             51,762.92    Investor-Lender       $      50,000.00   64-1016
      64          4611-17 S Drexel Boulevard                                    Estate Property       John Witzigreuter                                                      $            200,000.00    Investor-Lender       $      50,000.00   64-729
      64          4611-17 S Drexel Boulevard                                    Estate Property       Karl R. DeKlotz                                                        $          1,586,165.90    Investor-Lender       $     300,000.00   64-1179
      64          4611-17 S Drexel Boulevard                                    Estate Property       Kenneth (Ken) and Maria (Tina) Jorgensen                               $            453,233.25    Investor-Lender       $     150,000.00   64-194
      64          4611-17 S Drexel Boulevard                                    Estate Property       Kirk Road Investments, LLC                                             $            434,195.69    Investor-Lender       $     121,855.00   64-755
      64          4611-17 S Drexel Boulevard                                    Estate Property       Law Office of V.L. Heger, A Professional Corporation                   $             50,369.00    Investor-Lender       $      50,000.00   64-1409
      64          4611-17 S Drexel Boulevard                                    Estate Property       Lorenzo Jaquias                                                        $             71,635.00    Investor-Lender       $      21,635.00   64-184
      64          4611-17 S Drexel Boulevard                                    Estate Property       Lori Moreland                                                          $             21,574.00    Investor-Lender       $      10,000.00   64-805
      64          4611-17 S Drexel Boulevard                                    Estate Property       Lori Moreland                                                          $             52,233.00    Investor-Lender       $      47,000.00   64-822
      64          4611-17 S Drexel Boulevard                                    Estate Property       Lori Moreland                                                          $             52,233.00    Investor-Lender       $      45,000.00   64-823
      64          4611-17 S Drexel Boulevard                                    Estate Property       MADISON TRUST COMPANY CUSTODIAN FBO JANET EILEEN                       $            107,946.27    Investor-Lender       $      30,225.00   64-2056
                                                                                                      TAYLOR M1608009
      64          4611-17 S Drexel Boulevard                                    Estate Property       Michael Arthur Goldman (also know as Mike Goldman, Michael A.          $            80,377.98     Investor-Lender       $       7,728.00 64-775
                                                                                                      Goldman, Michael Goldman)
      64          4611-17 S Drexel Boulevard                                    Estate Property       Michael Kessock                                                        $              3,333.33    Investor-Lender       $     100,000.00   64-977
      64          4611-17 S Drexel Boulevard                                    Estate Property       Minchow, Donald                                                        $            225,000.00    Investor-Lender       $      40,000.00   64-2041
      64          4611-17 S Drexel Boulevard                                    Estate Property       Optima Property Solutions, LLC                                         $            487,209.71    Investor-Lender       $     105,831.00   64-1023
      64          4611-17 S Drexel Boulevard                                    Estate Property       Pat DeSantis                                                           $          2,684,539.00    Investor-Lender       $     250,000.00   64-397
      64          4611-17 S Drexel Boulevard                                    Estate Property       Patrick Connely                                                        $             30,000.00    Investor-Lender       $      30,000.00   64-577
      64          4611-17 S Drexel Boulevard                                    Estate Property       Paul N. Wilmesmeier                                                    $            790,185.00    Investor-Lender       $      25,000.00   64-300
      64          4611-17 S Drexel Boulevard                                    Estate Property       Paula Tucker                                                           $             40,000.00    Investor-Lender       $      40,000.00   64-1427
      64          4611-17 S Drexel Boulevard                                    Estate Property       Provident Trust Group, LLC FBO Stephan Tang IRA                        $             71,815.00    Investor-Lender       $      71,815.00   64-172
      64          4611-17 S Drexel Boulevard                                    Estate Property       Quest IRA Inc. FBO Rebeca E. Savory-Romero IRA Account #15528-         $            184,785.31    Investor-Lender       $      50,000.00   64-804
                                                                                                      11 and #15528-21
      64          4611-17 S Drexel Boulevard                                    Estate Property       Rene Hribal                                                            $          1,525,473.04    Investor-Lender       $     300,000.00 64-768
      64          4611-17 S Drexel Boulevard                                    Estate Property       Steven R. Bald                                                         $            586,378.00    Investor-Lender       $     180,000.00 64-399
      64          4611-17 S Drexel Boulevard                                    Estate Property       Teresita M. Shelton                                                    $            426,513.00    Investor-Lender                        64-330
      64          4611-17 S Drexel Boulevard                                    Estate Property       Terry M McDonald - Horizon Trust Custodian FBO Terry M                 $            137,333.33    Investor-Lender       $      50,000.00 64-571
                                                                                                      McDonald IRA
      64          4611-17 S Drexel Boulevard                                    Estate Property       Timothy S Sharp                                                        $            650,000.00     Investor-Lender      $      50,000.00   64-76
      64          4611-17 S Drexel Boulevard                                    Estate Property       Vartan Tarakchyan                                                      $            415,000.00      Equity Investor           $50,000.00   64-1118
      64          4611-17 S Drexel Boulevard                 SSDF1              Estate Property       Vladimir Matviishin                                                    $            290,200.00     Investor-Lender      $       8,000.00   64-1294
      64          4611-17 S Drexel Boulevard                                    Estate Property       Vladimir Matviishin, dba Network Expert                                $            165,000.00     Investor-Lender      $      50,000.00   64-1382
      64          4611-17 S Drexel Boulevard                                    Estate Property       Wisemove Properties LLC, (Anthony and Linda Reid, members)             $            668,979.00     Investor-Lender                         64-168
      65           6751-59 S Merrill Avenue          2136-40 East 68th Street   Estate Property       U.S. Bank National Association, as Trustee for the Registered          $          1,604,962.42   Institutional Lender                      65-1328
                                                                                                      Holders of J.P. Morgan Chase Commercial Mortgage Securities
                                                                                                      Corp., Multifamily Mortgage Pass-Through Certificates, Series 2018-
                                                                                                      SB50*
      66            7110 S Cornell Avenue                                       Estate Property       U.S. Bank National Association, as Trustee for the Registered          $          1,400,491.73   Institutional Lender                      66-1327
                                                                                                      Holders of J.P. Morgan Chase Commercial Mortgage Securities
                                                                                                      Corp., Multifamily Mortgage Pass-Through Certificates, Series 2018-
                                                                                                      SB50*
      67             1131-41 E 79th Place                                       Estate Property       Alan & Sheree Gravely                                                  $            75,000.00     Investor-Lender       $      75,000.00   67-298
      67             1131-41 E 79th Place                                       Estate Property       Christopher Pong                                                       $            17,287.05      Equity Investor      $      17,251.00   67-760
      67             1131-41 E 79th Place                                       Estate Property       Danyel Tiefenbacher and Jamie Lai                                      $           103,875.01      Equity Investor      $      50,000.00   67-646
      67             1131-41 E 79th Place                                       Estate Property       Donald Freers aka Meadows Advisors LLC                                 $           198,000.00     Investor-Lender       $      48,000.00   67-72
      67             1131-41 E 79th Place                                       Estate Property       Douglas Nebel and Narine Nebel                                         $           155,752.25     Investor-Lender       $      50,000.00   67-1080
      67             1131-41 E 79th Place                                       Estate Property       Elizabeth Zeng                                                         $             8,914.75      Equity Investor      $       8,450.00   67-872




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                                                                                                              Master Claims List
                                                                                               SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587
                                                Case: 1:18-cv-05587 Document #: 985 Filed: 04/30/21 Page 62 of 88 PageID #:32208


Property Number        Property Address                Alternative Address          Type                                    Claimant Name                                  Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                          Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                          Category as Identified on                           Property
                                                                                                                                                                                Claim Form)

      67             1131-41 E 79th Place                                    Estate Property       Federal National Mortgage Association                                   $          1,319,255.08   Institutional Lender                      67-1333
      67             1131-41 E 79th Place                                    Estate Property       Ganpat and FEREEDA Seunath                                              $            216,194.22     Investor-Lender       $     19,714.00   67-77
      67             1131-41 E 79th Place                                    Estate Property       James M McKnight and Silma L McKnight                                   $            140,325.13     Investor-Lender       $     11,000.00   67-582
      67             1131-41 E 79th Place                                    Estate Property       John Love                                                               $            207,500.00      Equity Investor      $    200,000.00   67-698
      67             1131-41 E 79th Place                                    Estate Property       John McDevitt                                                           $            220,000.00      Equity Investor      $     50,000.00   67-2090
      67             1131-41 E 79th Place                                    Estate Property       Julia Pong                                                              $             18,418.05      Equity Investor      $     18,382.00   67-1022
      67             1131-41 E 79th Place                                    Estate Property       Justin Tubbs                                                            $             15,000.00     Investor-Lender       $     15,000.00   67-242
      67             1131-41 E 79th Place                                    Estate Property       Kevin & Laura Allred                                                    $             61,000.00     Investor-Lender       $     11,000.00   67-452
      67             1131-41 E 79th Place                                    Estate Property       Lewis Thomas                                                            $             25,000.00     Investor-Lender       $     25,000.00   67-321
      67             1131-41 E 79th Place                                    Estate Property       MADISON TRUST COMPANY CUSTODIAN FBO JAMES R                             $             21,833.00      Equity Investor      $     21,092.00   67-1417
                                                                                                   ROBINSON SELF-DIRECTED ROTH IRA 1704092
      67             1131-41 E 79th Place                                    Estate Property       Madison Trust Company FBO Rick Newton SEP IRA                           $            50,000.00       Investor-Lender      $     50,000.00 67-532
      67             1131-41 E 79th Place                                    Estate Property       May M. Akamine for Aurora Investments, LLC (assets formerly under       $           631,739.82    Investor-Lender and     $     50,000.00 67-1412
                                                                                                   MayREI, LLC)                                                                                          Equity Investor
      67             1131-41 E 79th Place                                    Estate Property       Michael C. Jacobs                                                       $           178,833.00        Equity Investor     $     70,000.00 67-2031
      67             1131-41 E 79th Place                                    Estate Property       Michael Grow                                                            $           223,996.00    Investor-Lender and                     67-375
                                                                                                                                                                                                         Equity Investor
      67             1131-41 E 79th Place                                    Estate Property       Nancy Fillmore                                                          $            90,974.27       Investor-Lender                      67-2022
      67             1131-41 E 79th Place                                    Estate Property       Narine Nebel                                                            $            62,256.25       Investor-Lender      $     50,000.00 67-351
      67             1131-41 E 79th Place                                    Estate Property       Patricia M. McCorry, Manager McCorry Real Estate LLC                    $            51,250.00        Equity Investor     $     50,000.00 67-997
      67             1131-41 E 79th Place                                    Estate Property       Priscilla Wallace                                                       $            25,000.00        Equity Investor     $     25,000.00 67-1036
      67             1131-41 E 79th Place                                    Estate Property       Rachael B Curcio                                                        $           121,092.00       Investor-Lender      $     71,092.00 67-292
      67             1131-41 E 79th Place                                    Estate Property       S and P Investment Properties EPSP401k, Pat Thomasson, Trustee          $            22,705.83       Investor-Lender      $     22,000.00 67-293
      67             1131-41 E 79th Place                                    Estate Property       SeaDog Properties LLC / Darrell Odum                                    $           134,000.00       Investor-Lender      $     50,000.00 67-381
      67             1131-41 E 79th Place                                    Estate Property       Sri Navalpakkam (AniPri Enterprises LLC)                                $           259,775.00       Investor-Lender      $    159,775.00 67-484
      67             1131-41 E 79th Place                                    Estate Property       Stilwell, Heidi                                                         $           125,000.00       Investor-Lender      $     25,000.00 67-2055
      67             1131-41 E 79th Place                                    Estate Property       Stuart Edelman                                                          $           167,250.00       Investor-Lender      $     90,000.00 67-1201
      67             1131-41 E 79th Place                                    Estate Property       Thomas A Connely and Laurie A Connely                                   $            55,000.00        Equity Investor     $     55,000.00 67-899
      67             1131-41 E 79th Place                                    Estate Property       Ying Xu (Brainwave Investments)                                         $           126,625.00       Investor-Lender                      67-134
      68          6217-27 S Dorchester Avenue                                Estate Property       Annmarie Shuster                                                        $            47,000.00       Investor-Lender      $     47,000.00 68-387
      68          6217-27 S Dorchester Avenue                                Estate Property       Arman Kale Heaton, Natoshia Lamborn Heaton                              $            52,416.68       Investor-Lender      $     50,000.00 68-1171
      68          6217-27 S Dorchester Avenue                                Estate Property       Bancroft, Ed                                                            $           258,060.00     Investor-Lender and                    68-2008
                                                                                                                                                                                                         Equity Investor
      68          6217-27 S Dorchester Avenue                                Estate Property       BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                          $            463,999.95      Investor-Lender      $     84,255.00 68-491
      68          6217-27 S Dorchester Avenue                                Estate Property       Charles P McEvoy                                                        $            438,733.33      Investor-Lender      $    150,000.00 68-232
      68          6217-27 S Dorchester Avenue                                Estate Property       Citibank, N.A., as Trustee for the registered Holders of Wells Fargo    $          1,954,113.57    Institutional Lender                   68-1278
                                                                                                   Commercial Mortgage Securities, Inc., Multifamily Mortgage Pass-
                                                                                                   Through Certificates, Series 2018-SB48
      68          6217-27 S Dorchester Avenue                                Estate Property       Conor Benson King                                                       $            15,000.00      Investor-Lender       $     15,000.00   68-1392
      68          6217-27 S Dorchester Avenue                                Estate Property       David M Harris                                                          $           831,700.00      Investor-Lender       $     48,145.00   68-267
      68          6217-27 S Dorchester Avenue                                Estate Property       Degenhardt, Duane A                                                     $           645,000.00      Investor-Lender       $     20,792.29   68-2015
      68          6217-27 S Dorchester Avenue                                Estate Property       Duke E. Heger and Viviana Heger                                         $           117,000.00      Investor-Lender       $     50,000.00   68-1408
      68          6217-27 S Dorchester Avenue                                Estate Property       Elizabeth Zeng                                                          $           148,422.77      Investor-Lender       $     94,000.00   68-872
      68          6217-27 S Dorchester Avenue                                Estate Property       Erwin J Page Trust, Jeffrey Steybe, Trustee                             $            52,666.68      Investor-Lender       $     50,000.00   68-1162
      68          6217-27 S Dorchester Avenue                                Estate Property       Fredric R. Gottlieb                                                     $           391,776.10      Investor-Lender       $     15,740.00   68-1212
      68          6217-27 S Dorchester Avenue                                Estate Property       Girl Cat Capital West LLC, Valentina Salge, President                   $           212,145.00      Investor-Lender       $     12,145.00   68-350
      68          6217-27 S Dorchester Avenue                                Estate Property       Hillside Fund, LLC - Janet F. Turco, Owner/ Managing Member             $           505,000.00      Investor-Lender       $     65,000.00   68-101
      68          6217-27 S Dorchester Avenue                                Estate Property       Hutchings, Matt                                                         $           362,766.68      Investor-Lender       $     50,000.00   68-2030
      68          6217-27 S Dorchester Avenue                                Estate Property       iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA            $            71,321.00      Investor-Lender       $      7,800.00   68-448
      68          6217-27 S Dorchester Avenue                                Estate Property       iPlanGroup Agent for Custodian FBO Lyle J Swiney IRA                    $           100,000.00      Investor-Lender       $    100,000.00   68-366
      68          6217-27 S Dorchester Avenue                                Estate Property       iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA          $            44,433.00      Investor-Lender       $      7,200.00   68-445
      68          6217-27 S Dorchester Avenue                                Estate Property       iPlanGroup Agent for Custodian FBO Michelle Grimes IRA #3301097         $            56,636.17      Investor-Lender       $     50,000.00   68-884

      68          6217-27 S Dorchester Avenue                                Estate Property       Jeffrey Lee Blankenship                                                 $             89,822.12     Investor-Lender       $     75,855.00   68-1241
      68          6217-27 S Dorchester Avenue                                Estate Property       Jerome B. Shaffer, Trustee                                              $            100,000.00     Investor-Lender       $    100,000.00   68-538
      68          6217-27 S Dorchester Avenue                                Estate Property       JN Investment Trust, Trustee Janice Nelson                              $            160,000.00     Investor-Lender       $     50,000.00   68-556
      68          6217-27 S Dorchester Avenue                                Estate Property       Joe F Siracusa                                                          $             60,000.00     Investor-Lender       $     60,000.00   68-177
      68          6217-27 S Dorchester Avenue                                Estate Property       John Taxeras                                                            $            105,686.72     Investor-Lender       $      1,830.00   68-994
      68          6217-27 S Dorchester Avenue                                Estate Property       Karl R. DeKlotz                                                         $          1,586,165.90     Investor-Lender       $    150,000.00   68-1179
      68          6217-27 S Dorchester Avenue                                Estate Property       Kevin Randall                                                           $            200,000.00     Investor-Lender       $     70,000.00   68-811
      68          6217-27 S Dorchester Avenue                                Estate Property       KKW Investments, LLC                                                    $            100,033.40     Investor-Lender       $      2,627.40   68-336
      68          6217-27 S Dorchester Avenue                                Estate Property       Kuldeep Jain                                                            $            156,000.00     Investor-Lender       $    100,000.00   68-652




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Property Number        Property Address                Alternative Address             Type                                    Claimant Name                                  Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                             Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                             Category as Identified on                           Property
                                                                                                                                                                                   Claim Form)

      68          6217-27 S Dorchester Avenue                                   Estate Property       Linda Lipschultz                                                        $            53,405.00     Investor-Lender       $      18,500.00   68-1374
      68          6217-27 S Dorchester Avenue                                   Estate Property       Marcus, Ernest                                                          $            50,000.00     Investor-Lender       $      50,000.00   68-2037
      68          6217-27 S Dorchester Avenue                                   Estate Property       Moran Blueshtein and Upender Subramanian                                $           146,857.18     Investor-Lender       $      30,188.00   68-95
      68          6217-27 S Dorchester Avenue                                   Estate Property       Nancy Cree (Cree Capital Ventures)                                      $           725,000.00     Investor-Lender       $     225,000.00   68-2014
      68          6217-27 S Dorchester Avenue                                   Estate Property       Nathan and Brandi Hennefer                                              $            25,000.00     Investor-Lender       $      25,000.00   68-742
      68          6217-27 S Dorchester Avenue                                   Estate Property       Next Generation Trust Company FBO Irene B. Kapsky FFBO Mark S           $            23,000.00     Investor-Lender       $      10,000.00   68-1166
                                                                                                      Kapsky IRA 3207
      68          6217-27 S Dorchester Avenue                                   Estate Property       Next Generation Trust Company FBO Mark Kapsky IRA 2396                  $             42,000.00    Investor-Lender                          68-1157
      68          6217-27 S Dorchester Avenue                                   Estate Property       Optima Property Solutions, LLC                                          $            487,209.71    Investor-Lender       $      20,000.00   68-1023
      68          6217-27 S Dorchester Avenue                                   Estate Property       Pacific Ocean Services Inc                                              $            175,000.00    Investor-Lender       $     150,000.00   68-1256
      68          6217-27 S Dorchester Avenue                                   Estate Property       Pat DeSantis                                                            $          2,684,539.00    Investor-Lender       $     250,000.00   68-397
      68          6217-27 S Dorchester Avenue                                   Estate Property       Paul N. Wilmesmeier                                                     $            790,185.00    Investor-Lender       $      50,000.00   68-300
      68          6217-27 S Dorchester Avenue                                   Estate Property       Peter Jordan                                                            $            153,456.56    Investor-Lender       $      76,728.28   68-282
      68          6217-27 S Dorchester Avenue                                   Estate Property       Petra Zoeller                                                           $            546,619.00    Investor-Lender       $     100,000.00   68-594
      68          6217-27 S Dorchester Avenue                                   Estate Property       PNW Investments, LLC                                                    $            350,000.00    Investor-Lender       $      50,000.00   68-332
      68          6217-27 S Dorchester Avenue                                   Estate Property       Quest IRA Inc. FBO Rebeca E. Savory-Romero IRA Account #15528-          $            184,785.31    Investor-Lender       $      19,500.00   68-804
                                                                                                      11 and #15528-21
      68          6217-27 S Dorchester Avenue                                   Estate Property       R.D.Meredith General Contractors LLC 401K                               $            373,617.16    Investor-Lender       $     150,750.00   68-528
      68          6217-27 S Dorchester Avenue                                   Estate Property       R2V2 Investments LLC                                                    $             88,590.47    Investor-Lender       $      30,188.00   68-842
      68          6217-27 S Dorchester Avenue                                   Estate Property       Reymone Randall                                                         $             64,076.00    Investor-Lender       $      50,500.00   68-1258
      68          6217-27 S Dorchester Avenue                                   Estate Property       Russell Waite                                                           $            155,176.75    Investor-Lender       $      85,425.00   68-1120
      68          6217-27 S Dorchester Avenue                                   Estate Property       Scott Eaton                                                             $            549,101.33    Investor-Lender       $      25,000.00   68-1470
      68          6217-27 S Dorchester Avenue                                   Estate Property       SHANKAR THIRUPPATHI                                                     $            100,000.00    Investor-Lender       $      84,190.00   68-718
      68          6217-27 S Dorchester Avenue                                   Estate Property       Shengjie Li and Yuye Xu                                                 $            165,441.12    Investor-Lender       $      35,000.00   68-1340
      68          6217-27 S Dorchester Avenue                                   Estate Property       Steven Lipschultz                                                       $             71,126.00     Equity Investor      $      22,000.00   68-1391
      68          6217-27 S Dorchester Avenue                                   Estate Property       Steven Lipschultz                                                       $             85,000.00     Equity Investor      $      85,000.00   68-1399
      68          6217-27 S Dorchester Avenue                                   Estate Property       Steven Roche                                                            $            127,821.13    Investor-Lender       $      10,000.00   68-329
      68          6217-27 S Dorchester Avenue                                   Estate Property       Strata Trust Company FBO Gary Wayne Williams                            $             50,000.00     Equity Investor      $      50,000.00   68-193
      68          6217-27 S Dorchester Avenue                                   Estate Property       TFG Retirement Trust                                                    $            340,886.77    Investor-Lender       $      50,000.00   68-665
      68          6217-27 S Dorchester Avenue                                   Estate Property       Timothy S Sharp                                                         $            650,000.00    Investor-Lender       $     100,000.00   68-76
      68          6217-27 S Dorchester Avenue                                   Estate Property       Top Mark Home Solutions                                                 $             30,800.00    Investor-Lender       $      30,000.00   68-1416
      68          6217-27 S Dorchester Avenue                                   Estate Property       Wisemove Properties LLC, (Anthony and Linda Reid, members)              $            668,979.00    Investor-Lender                          68-168
      68          6217-27 S Dorchester Avenue                                   Estate Property       Xiaoqing Chen                                                           $             11,408.33    Investor-Lender       $      10,000.00   68-1238
      68          6217-27 S Dorchester Avenue                                   Estate Property       Young Family Trust                                                      $            115,000.00    Investor-Lender       $      40,000.00   68-1452
      69             6250 S Mozart Avenue             2832-36 W 63rd Street     Estate Property       Amit Hammer                                                             $            295,980.00    Investor-Lender       $      10,000.00   69-225
      69             6250 S Mozart Avenue             2832-36 W 63rd Street     Estate Property       Annie Chang                                                             $            246,935.34    Investor-Lender       $      50,000.00   69-475
      69             6250 S Mozart Avenue             2832-36 W 63rd Street     Estate Property       Asians Investing In Real Estate LLC                                     $          1,278,402.00    Investor-Lender       $      50,000.00   69-503
      69             6250 S Mozart Avenue             2832-36 W 63rd Street     Estate Property       Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian               $            406,000.00    Investor-Lender       $     106,000.00   69-1347
                                                                                                      ELShahawi, members
      69             6250 S Mozart Avenue             2832-36 W 63rd Street     Estate Property       Bernadette Chen (Eleven St Felix St. Realty)                            $          1,000,000.00     Equity Investor      $      50,000.00 69-2012
      69             6250 S Mozart Avenue             2832-36 W 63rd Street     Estate Property       Citibank, N.A., as Trustee for the registered Holders of Wells Fargo    $          1,461,176.83   Institutional Lender                    69-1324
                                                                                                      Commercial Mortgage Securities, Inc., Multifamily Mortgage Pass-
                                                                                                      Through Certificates, Series 2018-SB48*
      69             6250 S Mozart Avenue             2832-36 W 63rd Street     Estate Property       DK Phenix Investments LLC                                               $           575,750.00     Investor-Lender       $     100,000.00   69-584
      69             6250 S Mozart Avenue             2832-36 W 63rd Street     Estate Property       Edward J. Netzel                                                        $            20,000.00     Investor-Lender       $      20,000.00   69-1059
      69             6250 S Mozart Avenue             2832-36 W 63rd Street     Estate Property       Eric Schwartz                                                           $           144,153.72     Investor-Lender       $      60,082.00   69-157
      69             6250 S Mozart Avenue             2832-36 W 63rd Street     Estate Property       Evelyn Stratton (iPlanGroup Agent for Custodial FBO Evelyn              $           100,000.00     Investor-Lender       $     100,000.00   69-1028
                                                                                                      Stratton IRA)
      69             6250 S Mozart Avenue             2832-36 W   63rd Street   Estate Property       IPlanGroup Agent for Custodian FBO Mark Young                           $           380,000.00     Investor-Lender       $      55,000.00   69-1446
      69             6250 S Mozart Avenue             2832-36 W   63rd Street   Estate Property       Jason Park                                                              $            38,000.00     Investor-Lender       $      10,000.00   69-814
      69             6250 S Mozart Avenue             2832-36 W   63rd Street   Estate Property       John Bloxham                                                            $           110,000.00     Investor-Lender       $       7,009.00   69-1196
      69             6250 S Mozart Avenue             2832-36 W   63rd Street   Estate Property       John Braden and Cynthia Braden                                          $             6,716.67     Investor-Lender       $      10,000.00   69-1050
      69             6250 S Mozart Avenue             2832-36 W   63rd Street   Estate Property       Kevin Lyons                                                             $            98,899.84      Equity Investor      $      25,000.00   69-610
      69             6250 S Mozart Avenue             2832-36 W   63rd Street   Estate Property       KKW Investments, LLC                                                    $           100,033.40     Investor-Lender       $       3,500.00   69-336
      69             6250 S Mozart Avenue             2832-36 W   63rd Street   Estate Property       Kuldeep Jain                                                            $           156,000.00     Investor-Lender       $      50,000.00   69-652
      69             6250 S Mozart Avenue             2832-36 W   63rd Street   Estate Property       Laura J. Sohm IRA                                                       $           104,593.29     Investor-Lender       $      63,315.00   69-970
      69             6250 S Mozart Avenue             2832-36 W   63rd Street   Estate Property       Madison Trust Company Custodian FBO Robert W. Jennings                  $           309,318.75     Investor-Lender       $     225,461.00   69-241
                                                                                                      Account# M1605053
      69             6250 S Mozart Avenue             2832-36 W 63rd Street     Estate Property       Mahesh Koli                                                             $            25,125.00     Investor-Lender       $      25,125.00 69-68
      69             6250 S Mozart Avenue             2832-36 W 63rd Street     Estate Property       Manuel Camacho                                                          $           104,434.59     Investor-Lender       $      33,250.00 69-748
      69             6250 S Mozart Avenue             2832-36 W 63rd Street     Estate Property       Michael James Guilford and Nancy Richard-Guilford, Jointly with         $           310,000.00     Investor-Lender       $      50,000.00 69-516
                                                                                                      Right of Survivorship




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Property Number     Property Address             Alternative Address           Type                                    Claimant Name                            Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                               Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                               Category as Identified on                           Property
                                                                                                                                                                     Claim Form)

      69          6250 S Mozart Avenue          2832-36 W 63rd Street   Estate Property       Pat DeSantis                                                      $          2,684,539.00    Investor-Lender       $     110,000.00 69-397
      69          6250 S Mozart Avenue          2832-36 W 63rd Street   Estate Property       Phyllis Harte                                                     $             36,069.53    Investor-Lender       $       7,330.00 69-2028
      69          6250 S Mozart Avenue          2832-36 W 63rd Street   Estate Property       Robert Mennella (Madison Trust Company Custodian FBO Robert       $             18,150.00    Investor-Lender       $      18,150.00 69-1302
                                                                                              Mennella Roth IRA M1604064)
      69          6250 S Mozart Avenue          2832-36 W 63rd Street   Estate Property       Samir Totah                                                       $           178,437.50     Investor-Lender       $     150,000.00 69-862
      69          6250 S Mozart Avenue          2832-36 W 63rd Street   Estate Property       SHANKAR THIRUPPATHI                                               $           100,000.00     Investor-Lender       $      16,310.00 69-718
      69          6250 S Mozart Avenue          2832-36 W 63rd Street   Estate Property       Sheryl F. Mennella (Madison Trust Company Custodian FBO Sheryl    $            18,150.00     Investor-Lender       $      18,150.00 69-731
                                                                                              F. Mennella Roth IRA M1604088)
      69          6250 S Mozart Avenue          2832-36 W 63rd Street   Estate Property       Steven R. Bald                                                    $           586,378.00     Investor-Lender       $      40,000.00 69-399
      69          6250 S Mozart Avenue          2832-36 W 63rd Street   Estate Property       The Mennco Properties, LLC. Solo 401k Plan (Robert Mennella       $            14,200.00     Investor-Lender       $      14,200.00 69-905
                                                                                              Managing Partner)
      69          6250 S Mozart Avenue          2832-36 W 63rd Street   Estate Property       Vladimir Matviishin                                               $            290,200.00     Investor-Lender      $     150,000.00 69-1294
      70          638-40 N Avers Avenue                                 Estate Property       Bernadette Chen (Eleven St Felix St. Realty)                      $          1,000,000.00      Equity Investor     $     100,000.00 70-2012
      70          638-40 N Avers Avenue                                 Estate Property       CAMA SDIRA LLC FBO Robert Guiney IRA                              $            104,314.46     Investor-Lender      $      40,579.00 70-1116
      70          638-40 N Avers Avenue                                 Estate Property       David R. Trengove                                                 $            705,123.88     Investor-Lender      $     103,098.00 70-481
      70          638-40 N Avers Avenue                                 Estate Property       Dean & Mare Atanasoski                                            $            100,000.00     Investor-Lender      $     100,000.00 70-394
      70          638-40 N Avers Avenue                                 Estate Property       Federal Home Loan Mortgage Corporation [Freddie Mac]              $          1,273,346.96   Institutional Lender                    70-2084
      70          638-40 N Avers Avenue                                 Estate Property       John Bloxham                                                      $             63,999.92     Investor-Lender      $      50,000.00 70-1017
      70          638-40 N Avers Avenue                                 Estate Property       Kenneth (Ken) and Maria (Tina) Jorgensen                          $            453,233.25     Investor-Lender      $     146,902.00 70-194
      70          638-40 N Avers Avenue                                 Estate Property       MADISON TRUST COMPANY CUSTODIAN FBO JANET EILEEN                  $            107,946.27     Investor-Lender      $      30,775.00 70-2056
                                                                                              TAYLOR M1608009
      70          638-40 N Avers Avenue                                 Estate Property       Mark P. Mouty                                                     $            180,702.77     Investor-Lender      $      25,000.00   70-165
      70          638-40 N Avers Avenue                                 Estate Property       Minchow, Rochelle                                                 $            190,000.00     Investor-Lender      $      30,000.00   70-2061
      70          638-40 N Avers Avenue                                 Estate Property       New Direction IRA, Inc. FBO Joel Beyer, Roth IRA                  $            103,990.94     Investor-Lender      $      85,000.00   70-969
      70          638-40 N Avers Avenue                                 Estate Property       Nicolas and Joyce Jenks                                           $            155,249.47     Investor-Lender      $      50,000.00   70-2032
      70          638-40 N Avers Avenue                                 Estate Property       Optima Property Solutions, LLC                                    $            487,209.71     Investor-Lender      $     250,000.00   70-1023
      70          638-40 N Avers Avenue                                 Estate Property       Pat DeSantis                                                      $          2,684,539.00     Investor-Lender      $     250,000.00   70-397
      70          638-40 N Avers Avenue                                 Estate Property       Paul N. Wilmesmeier                                               $            790,185.00     Investor-Lender      $      50,000.00   70-300
      70          638-40 N Avers Avenue                                 Estate Property       Paul Scribner                                                     $            200,000.00     Investor-Lender      $      16,826.00   70-1135
      70          638-40 N Avers Avenue                                 Estate Property       Phillip G. Vander Kraats                                          $             80,186.82     Investor-Lender      $       2,000.00   70-628
      70          638-40 N Avers Avenue                                 Estate Property       Randall Sotka                                                     $            255,000.00     Investor-Lender      $      11,949.00   70-1207
      70          638-40 N Avers Avenue                                 Estate Property       Richard L. Braddock                                               $            104,161.08     Investor-Lender      $      50,000.00   70-509
      70          638-40 N Avers Avenue                                 Estate Property       Teresita M. Shelton                                               $            426,513.00     Investor-Lender      $       2,000.00   70-330
      70          638-40 N Avers Avenue                                 Estate Property       Thomas Walsh                                                      $             51,749.99     Investor-Lender      $      50,000.00   70-738
      70          638-40 N Avers Avenue                                 Estate Property       TMAKINDE, LLC                                                     $            247,000.00     Investor-Lender      $     114,000.00   70-372
      70          638-40 N Avers Avenue                                 Estate Property       Tolu Makinde                                                      $             90,000.00     Investor-Lender      $      15,000.00   70-370
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       Alex Breslav                                                      $            247,000.00     Investor-Lender      $      40,000.00   71-262
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       Aluvelu Homes LLC                                                 $            169,271.00     Investor-Lender      $      20,000.00   71-879
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       Andrew Matviishin                                                 $             64,600.00     Investor-Lender      $      55,000.00   71-1261
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       Annie Chang                                                       $            246,935.34     Investor-Lender      $      50,000.00   71-475
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft      $            258,060.00   Investor-Lender and                       71-2008
                                                                                              Roth)                                                                                          Equity Investor
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       Bluebridge Partners Limited                                       $           791,620.17      Investor-Lender      $      77,177.00 71-727
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       Charles P McEvoy                                                  $           438,733.33      Investor-Lender      $      20,000.00 71-232
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       Charlotte A Hofer                                                 $           370,000.00      Investor-Lender      $     110,000.00 71-603
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       CLOVE, LLC                                                        $            21,750.74      Investor-Lender      $      15,900.00 71-723
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       Deborah Buffamanti                                                $            34,723.00       Equity Investor                      71-1349
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       Frank Sohm IRA                                                    $           148,604.93      Investor-Lender      $      40,000.00 71-558
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       GIRISH JUNEJA SELF DIRECTED ROTH IRA, CUSTODIAN:                  $            57,800.00       Equity Investor     $      50,000.00 71-1341
                                                                                              KINGDOM TRUST ACCOUNT# 3567954194
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       James Patrick Sullivan                                            $             80,750.00    Investor-Lender       $      50,000.00   71-125
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       Jeffrey Lee Blankenship                                           $             89,822.12    Investor-Lender       $      93,698.00   71-1241
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       Jerome B. Shaffer                                                 $            250,000.00    Investor-Lender       $      85,264.00   71-992
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       JLO Enterprises LLC                                               $             54,714.37    Investor-Lender       $      15,750.00   71-726
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       John Love                                                         $             31,275.00    Investor-Lender       $      30,000.00   71-719
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       Karl R. DeKlotz                                                   $          1,586,165.90    Investor-Lender       $     300,000.00   71-1179
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       Kester Brothers Farm, LLC, C/O James R. Kester                    $            152,911.82    Investor-Lender       $      68,000.00   71-944
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       LEVENT KESEN                                                      $            150,000.00    Investor-Lender       $      50,000.00   71-1078
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       Madison Trust Company Custodian FBO Brian Shaffer IRA Account#    $            155,625.00    Investor-Lender                          71-411
                                                                                              M1608073 and M1703059
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       Madison Trust Company Custodian FBO Kathy B. Talman IRA           $            75,000.00     Investor-Lender       $      50,000.00 71-1109
      71           701-13 S 5th Avenue               414 Walnut         Estate Property       Mary Alexander-Brum                                               $            52,124.99     Investor-Lender       $      50,000.00 71-227




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Property Number      Property Address              Alternative Address            Type                                     Claimant Name                                 Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                        Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                        Category as Identified on                           Property
                                                                                                                                                                              Claim Form)

      71            701-13 S 5th Avenue                 414 Walnut         Estate Property       Naveen Kwatra                                                           $            75,000.00      Investor-Lender       $     50,000.00   71-356
      71            701-13 S 5th Avenue                 414 Walnut         Estate Property       Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)         $           252,907.00      Investor-Lender       $     50,000.00   71-1365
      71            701-13 S 5th Avenue                 414 Walnut         Estate Property       PNW Investments, LLC                                                    $           350,000.00      Investor-Lender       $     75,000.00   71-332
      71            701-13 S 5th Avenue                 414 Walnut         Estate Property       Ramsey Stephan                                                          $            50,000.00      Investor-Lender       $     20,519.00   71-162
      71            701-13 S 5th Avenue                 414 Walnut         Estate Property       Rashmi Juneja Self Directed Roth IRA, Custodian: Kingdom Trust,         $            57,800.00       Equity Investor      $     50,000.00   71-1342
                                                                                                 account # 907667763
      71            701-13 S 5th Avenue                 414 Walnut         Estate Property       Robert A Demick DDS PA 401K                                             $            177,678.65      Investor-Lender      $     50,000.00   71-680
      71            701-13 S 5th Avenue                 414 Walnut         Estate Property       SAMUEL HOME SOLUTIONS LLC, GEORGE SAMUEL,                               $            235,519.28      Investor-Lender      $    107,869.00   71-347
      71            701-13 S 5th Avenue                 414 Walnut         Estate Property       Teresita M. Shelton                                                     $            426,513.00      Investor-Lender      $     50,000.00   71-330
      71            701-13 S 5th Avenue                 414 Walnut         Estate Property       Teton Equity Group LLC                                                  $            208,439.99      Investor-Lender      $    100,000.00   71-1205
      71            701-13 S 5th Avenue                 414 Walnut         Estate Property       The Entrust Group FBO Dee Ann Nason 7230011277                          $            150,000.00      Investor-Lender      $     50,000.00   71-790
      71            701-13 S 5th Avenue                 414 Walnut         Estate Property       The Jacqueline C Rowe Living Trust                                      $            372,417.74      Investor-Lender                        71-139
      71            701-13 S 5th Avenue                 414 Walnut         Estate Property       The Peter Paul Nuspl Living Trust                                       $          1,123,278.00      Investor-Lender      $    100,000.00   71-2044
      71            701-13 S 5th Avenue                 414 Walnut         Estate Property       Toramba Trust (ROTH) Matthew Boyd, Trustee                              $            158,000.00      Investor-Lender      $     58,000.00   71-2062
      71            701-13 S 5th Avenue                 414 Walnut         Estate Property       TruStar Real Estate Solutions, LLC                                      $            385,000.00      Investor-Lender      $     75,000.00   71-337
      71            701-13 S 5th Avenue                 414 Walnut         Estate Property       Vladimir Matviishin                                                     $            199,075.00      Investor-Lender      $     55,000.00   71-233
      71            701-13 S 5th Avenue                 414 Walnut         Estate Property       William Needham                                                         $            355,428.00      Investor-Lender      $     50,000.00   71-80
      71            701-13 S 5th Avenue                 414 Walnut         Estate Property       XUWEN LIN                                                               $             58,700.00      Investor-Lender      $     16,521.00   71-648
      72          7024-32 S Paxton Avenue                                  Estate Property       Aaron Beauclair                                                         $             40,000.00      Investor-Lender      $     10,000.00   72-408
      72          7024-32 S Paxton Avenue                                  Estate Property       Bright Venture, LLC                                                     $             41,928.77      Investor-Lender      $     25,000.00   72-84
      72          7024-32 S Paxton Avenue                                  Estate Property       David M Harris                                                          $            831,700.00      Investor-Lender      $    100,000.00   72-267
      72          7024-32 S Paxton Avenue                                  Estate Property       Dennis & Mary Ann Hennefer                                              $            679,378.00      Investor-Lender      $    350,000.00   72-355
      72          7024-32 S Paxton Avenue                                  Estate Property       Emile P. Dufrene, III                                                   $             50,422.00      Investor-Lender      $     50,000.00   72-1248
      72          7024-32 S Paxton Avenue                                  Estate Property       Federal Home Loan Mortgage Corporation [Freddie Mac]                    $          1,825,895.85    Institutional Lender                     72-2085
      72          7024-32 S Paxton Avenue                                  Estate Property       Gary R. Burnham Jr. Solo 401K Trust                                     $            205,608.00      Investor-Lender      $    106,000.00   72-1174
      72          7024-32 S Paxton Avenue                                  Estate Property       Girl Cat Capital West LLC, Valentina Salge, President                   $            212,145.00      Investor-Lender      $     50,000.00   72-350
      72          7024-32 S Paxton Avenue                                  Estate Property       iPlan Group FBO Randall Pong IRA                                        $             60,568.03   Investor-Lender and                       72-728
                                                                                                                                                                                                       Equity Investor
      72          7024-32 S Paxton Avenue                                  Estate Property       Juliette Farr-Barksdale & Thomas Farr                                   $            323,900.00       Equity Investor     $     23,900.00 72-2074
      72          7024-32 S Paxton Avenue                                  Estate Property       Karl R. DeKlotz                                                         $          1,586,165.90      Investor-Lender      $    150,000.00 72-1179
      72          7024-32 S Paxton Avenue                                  Estate Property       KKW Investments, LLC                                                    $            100,033.40      Investor-Lender      $      3,900.00 72-336
      72          7024-32 S Paxton Avenue                                  Estate Property       Maricris M. Lee                                                         $              8,426.68      Investor-Lender                      72-320
      72          7024-32 S Paxton Avenue                                  Estate Property       Michael F Grant & L. Gretchen Grant (Michael F. Grant & L.              $            695,000.00      Investor-Lender      $     40,000.00 72-393
                                                                                                 Gretchen Grant Revocable Trust dated March 16th 2012)
      72          7024-32 S Paxton Avenue                                  Estate Property       Pat DeSantis                                                            $          2,684,539.00     Investor-Lender       $    250,000.00   72-397
      72          7024-32 S Paxton Avenue                                  Estate Property       Peters, David (The Dominquez-Peters Living Turst)                       $             50,000.00     Investor-Lender       $     50,000.00   72-2045
      72          7024-32 S Paxton Avenue                                  Estate Property       Phillip G. Vander Kraats                                                $             80,186.82     Investor-Lender       $     50,000.00   72-628
      72          7024-32 S Paxton Avenue                                  Estate Property       Randall Sotka                                                           $            255,000.00     Investor-Lender       $     55,000.00   72-1207
      72          7024-32 S Paxton Avenue                                  Estate Property       Robert A Demick DDS PA 401K                                             $            177,678.65     Investor-Lender       $     50,000.00   72-680
      72          7024-32 S Paxton Avenue                                  Estate Property       Steven Roche                                                            $            127,821.13     Investor-Lender       $      9,500.00   72-329
      72          7024-32 S Paxton Avenue                                  Estate Property       US Freedom Investments, LLC                                             $            175,500.00     Investor-Lender       $     50,000.00   72-1234
      72          7024-32 S Paxton Avenue                                  Estate Property       White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina     $            127,152.37     Investor-Lender       $     83,000.00   72-537
                                                                                                 Goltsev/Goltseva), Trustees
      73          7255-57 S Euclid Avenue          1940-44 E 73rd Street   Estate Property       Alton Motes and Vicki Elaine Washburn JTWROS                            $            245,841.62     Investor-Lender       $     60,000.00 73-2042
      73          7255-57 S Euclid Avenue          1940-44 E 73rd Street   Estate Property       Asians Investing In Real Estate LLC                                     $          1,278,402.00     Investor-Lender       $     60,000.00 73-503
      73          7255-57 S Euclid Avenue          1940-44 E 73rd Street   Estate Property       Bolanle Addo (Madison Trust Company Custodian FBO Bolanle               $             50,000.00     Investor-Lender       $     50,000.00 73-181
                                                                                                 Addo)
      73          7255-57 S Euclid Avenue          1940-44 E 73rd Street   Estate Property       Citibank, N.A., as Trustee for the registered Holders of Wells Fargo    $          1,151,462.06   Institutional Lender                      73-1326
                                                                                                 Commercial Mortgage Securities, Inc., Multifamily Mortgage Pass-
                                                                                                 Through Certificates, Series 2018-SB48*
      73          7255-57 S Euclid Avenue          1940-44 E 73rd Street   Estate Property       City of Chicago                                                         $            78,479.20           Other            $      1,647.65   73-693
      73          7255-57 S Euclid Avenue          1940-44 E 73rd Street   Estate Property       Conrad Hanns                                                            $            50,000.00      Investor-Lender       $     50,000.00   73-504
      73          7255-57 S Euclid Avenue          1940-44 E 73rd Street   Estate Property       Eco2 Capital Inc.                                                       $            36,308.25      Investor-Lender       $     50,000.00   73-1332
      73          7255-57 S Euclid Avenue          1940-44 E 73rd Street   Estate Property       Frances D Cook       Sunwest Trust Custodian FBO Frances D Cook         $             6,000.00      Investor-Lender       $      6,000.00   73-539
                                                                                                 IRA #1713343
      73          7255-57 S Euclid Avenue          1940-44 E 73rd Street   Estate Property       Frank and Laura Sohm                                                    $           167,893.65      Investor-Lender       $     35,300.00   73-906
      73          7255-57 S Euclid Avenue          1940-44 E 73rd Street   Estate Property       Fredric R. Gottlieb                                                     $           391,776.10      Investor-Lender       $     60,000.00   73-1212
      73          7255-57 S Euclid Avenue          1940-44 E 73rd Street   Estate Property       John Witzigreuter                                                       $           200,000.00      Investor-Lender       $     50,000.00   73-729
      73          7255-57 S Euclid Avenue          1940-44 E 73rd Street   Estate Property       Johnny Colson                                                           $            35,952.85      Investor-Lender       $     50,000.00   73-108
      73          7255-57 S Euclid Avenue          1940-44 E 73rd Street   Estate Property       Joseph P. McCarthy                                                      $           277,847.33      Investor-Lender       $     40,000.00   73-1367
      73          7255-57 S Euclid Avenue                                  Estate Property       Katie Whitlock                                                          $            61,651.00       Equity Investor                        73-942




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                                                                                                            Master Claims List
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Property Number     Property Address               Alternative Address            Type                                    Claimant Name                               Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                     Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                     Category as Identified on                           Property
                                                                                                                                                                           Claim Form)

      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       Kelly E Welton (Equity Trust Company for Custodian FBO Kelly         $            83,813.00      Investor-Lender       $      8,400.00 73-310
                                                                                                 Welton, IRA)
      73          7255-57 S Euclid Avenue          1940-44 E 73rd Street   Estate Property       Kenneth (Ken) and Maria (Tina) Jorgensen                             $           453,233.25      Investor-Lender       $     51,544.00 73-194
      73          7255-57 S Euclid Avenue          1940-44 E 73rd Street   Estate Property       Madison Trust Company Custodian FBO James R Robinson                 $            88,099.00      Investor-Lender       $     60,000.00 73-1406
                                                                                                 Traditional IRA Acct# 1705044
      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       Mark Young                                                           $            366,131.08      Investor-Lender      $     40,000.00   73-1154
      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       Michael Borgia IRA                                                   $            975,416.00      Investor-Lender      $    125,000.00   73-705
      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       Michael C. Jacobs                                                    $            178,833.00       Equity Investor     $     25,000.00   73-2031
      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       Paul N. Wilmesmeier                                                  $            790,185.00      Investor-Lender      $     25,000.00   73-300
      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       Rita Deierlein                                                       $             32,000.00       Equity Investor     $     32,000.00   73-260
      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       Robert Houston                                                       $             51,749.99      Investor-Lender      $     50,000.00   73-213
      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       Robert R. Cook        Principle Assets LLC                           $              9,000.00      Investor-Lender      $      9,000.00   73-659
      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       Sidney Glenn Willeford II                                            $             75,000.00      Investor-Lender      $     75,000.00   73-1083
      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)      $            148,278.93      Investor-Lender      $     60,000.00   73-1439
      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       Teresita M. Shelton                                                  $            426,513.00      Investor-Lender                        73-330
      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       Terry M McDonald and Rhonda R McDonald                               $             50,000.00      Investor-Lender      $     50,000.00   73-124
      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       Tolu Makinde                                                         $             90,000.00      Investor-Lender      $     25,000.00   73-370
      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       US Freedom Investments, LLC                                          $            175,500.00      Investor-Lender      $     25,000.00   73-1234
      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       Vladimir Matviishin                                                  $            199,075.00      Investor-Lender      $     50,000.00   73-233
      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       Vladimir Matviishin, dba Network Expert                              $            138,075.00      Investor-Lender      $     50,000.00   73-1387
      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       Wesley Pittman (Pittman Gold LLC)                                    $            180,048.45      Investor-Lender                        73-469
      73          7255-57 S Euclid Avenue         1940-44 E 73rd Street    Estate Property       William H. Akins, Jr.                                                $          1,100,000.00      Investor-Lender      $     50,000.00   73-2003
      74           3074 Cheltenham Place           7836 S Shore Drive      Estate Property       1839 Fund I LLC                                                      $             90,075.00      Investor-Lender      $     50,000.00   74-367
      74           3074 Cheltenham Place           7836 S Shore Drive      Estate Property       Adir Hazan                                                           $            150,000.00      Investor-Lender      $     50,000.00   74-143
      74           3074 Cheltenham Place           7836 S Shore Drive      Estate Property       Alton Motes and Vicki Elaine Washburn JTWROS                         $            245,841.62      Investor-Lender      $     80,000.00   74-2042
      74           3074 Cheltenham Place           7836 S Shore Drive      Estate Property       BC57, LLC                                                            $          6,439,502.67    Institutional Lender                     74-557
      74           3074 Cheltenham Place           7836 S Shore Drive      Estate Property       BTRUE LLC Barry J. Oates                                             $             93,600.00       Equity Investor     $     38,400.00   74-669
      74           3074 Cheltenham Place           7836 S Shore Drive      Estate Property       Christopher Pong                                                     $             30,140.90      Investor-Lender      $     29,280.00   74-760
      74           3074 Cheltenham Place           7836 S Shore Drive      Estate Property       City of Chicago                                                      $             78,479.20            Other          $     10,812.42   74-693
      74           3074 Cheltenham Place           7836 S Shore Drive      Estate Property       Daniel Matthews, Leah Matthews                                       $            185,922.54      Investor-Lender      $     20,000.00   74-117
      74           3074 Cheltenham Place           7836 S Shore Drive      Estate Property       Danyel Tiefenbacher and Jamie Lai                                    $             51,750.99      Investor-Lender      $     50,000.00   74-510
      74           3074 Cheltenham Place           7836 S Shore Drive      Estate Property       Degenhardt, Duane A                                                  $            645,000.00      Investor-Lender      $     66,684.00   74-2015
      74           3074 Cheltenham Place           7836 S Shore Drive      Estate Property       Erika Dietz                                                          $             20,000.00      Investor-Lender      $     50,000.00   74-1283
      74           3074 Cheltenham Place           7836 S Shore Drive      Estate Property       G&M You-Nique Properties, LLC                                        $             62,325.00      Investor-Lender      $     60,000.00   74-722
      74           3074 Cheltenham Place           7836 S Shore Drive      Estate Property       Grathia Corp                                                         $          1,184,081.00      Investor-Lender      $    100,000.00   74-1445
      74           3074 Cheltenham Place           7836 S Shore Drive      Estate Property       iPlan Group Agent for Custodian FBO Jyotsna Sharma IRA               $             50,000.00      Investor-Lender      $     25,000.00   74-341
      74           3074 Cheltenham Place           7836 S Shore Drive      Estate Property       IPlanGroup Agent for Custodian FBO Mark Young                        $            380,000.00      Investor-Lender      $    100,000.00   74-1446
      74           3074 Cheltenham Place           7836 S Shore Drive      Estate Property       Ira J. Fields Living Trust, Glynis Sheppard, Trustee                 $             65,750.00   Investor-Lender and     $     50,000.00   74-1240
                                                                                                                                                                                                    Equity Investor
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       James Hoven                                                          $            50,000.00       Investor-Lender      $     50,000.00   74-2029
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       Jill Meekcoms (Halverson)                                            $           113,999.92       Investor-Lender      $     50,000.00   74-548
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       John Taxeras                                                         $           105,686.72       Investor-Lender      $     18,552.85   74-994
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       Joshua Morrow                                                        $            51,749.99       Investor-Lender      $     50,000.00   74-734
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       Julia Pong                                                           $            34,947.00       Investor-Lender      $     34,572.00   74-1022
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       Kenneth (Ken) and Maria (Tina) Jorgensen                             $           453,233.25       Investor-Lender      $     42,000.00   74-194
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       Kester Brothers Farm, LLC, C/O James R. Kester                       $           152,911.82       Investor-Lender      $     50,000.00   74-944
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       Kevin Randall                                                        $           200,000.00       Investor-Lender      $     50,000.00   74-811
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       KKW Investments, LLC                                                 $           100,033.40       Investor-Lender      $      1,600.00   74-336
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       Madison Trust Company Agent for Custodian FBO The Jacqueline         $           623,489.57        Equity Investor                       74-163
                                                                                                 C Rowe Living Trust IRA
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       Madison Trust Company Custodian FBO Robert W. Jennings               $           309,318.75      Investor-Lender       $     74,539.00 74-241
                                                                                                 Account# M1605053
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       May M. Akamine for Aurora Investments, LLC (assets formerly under    $           631,739.82      Investor-Lender       $     86,515.00 74-1412
                                                                                                 MayREI, LLC)
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       Michael F Grant & L. Gretchen Grant (Michael F. Grant & L.           $           695,000.00      Investor-Lender       $     50,000.00 74-393
                                                                                                 Gretchen Grant Revocable Trust dated March 16th 2012)
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       New Move Ventures Inc. (Steven Fecko)                                $            120,000.00     Investor-Lender       $     50,000.00   74-115
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       Optima Property Solutions, LLC                                       $            487,209.71     Investor-Lender       $     60,000.00   74-1023
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       Pat DeSantis                                                         $          2,684,539.00     Investor-Lender       $    110,000.00   74-397
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       Paul N. Wilmesmeier                                                  $            790,185.00     Investor-Lender       $     25,000.00   74-300
      74          3074 Cheltenham Place             7836 S Shore Drive     Estate Property       PNW Investments, LLC                                                 $            350,000.00     Investor-Lender       $     10,000.00   74-332




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                                                                                                            Master Claims List
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Property Number       Property Address               Alternative Address          Type                                    Claimant Name                             Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                   Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                   Category as Identified on                           Property
                                                                                                                                                                         Claim Form)

      74           3074 Cheltenham Place             7836 S Shore Drive    Estate Property       QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282-11 and      $            89,482.53     Investor-Lender       $      56,000.00 74-1352
                                                                                                 Acct# 25282-21
      74           3074 Cheltenham Place             7836 S Shore Drive    Estate Property       QuestIRAFBOFrancisDWebb1437711                                     $           185,819.00     Investor-Lender       $      22,035.00   74-218
      74           3074 Cheltenham Place             7836 S Shore Drive    Estate Property       Sam Gerber, CEO, Gerber and Associates, REI, LLC                   $           139,985.85     Investor-Lender       $      80,000.00   74-562
      74           3074 Cheltenham Place             7836 S Shore Drive    Estate Property       SAMUEL HOME SOLUTIONS LLC, GEORGE SAMUEL,                          $           235,519.28     Investor-Lender       $      41,131.00   74-347
      74           3074 Cheltenham Place             7836 S Shore Drive    Estate Property       Scott E Pammer                                                     $           243,954.00     Investor-Lender       $      70,000.00   74-827
      74           3074 Cheltenham Place             7836 S Shore Drive    Estate Property       Sidney Haggins                                                     $            85,000.00     Investor-Lender       $      30,000.00   74-1434
      74           3074 Cheltenham Place             7836 S Shore Drive    Estate Property       Susan Kalisiak-Tingle                                              $           469,921.00     Investor-Lender       $      50,000.00   74-1438
      74           3074 Cheltenham Place             7836 S Shore Drive    Estate Property       Terry L. Merrill, Sheryl R. Merrill                                $           299,500.00     Investor-Lender       $      50,000.00   74-602
      74           3074 Cheltenham Place             7836 S Shore Drive    Estate Property       TruStar Real Estate Solutions, LLC                                 $           385,000.00     Investor-Lender       $      75,000.00   74-337
      74           3074 Cheltenham Place             7836 S Shore Drive    Estate Property       Vladimir Matviishin                                                $           199,075.00     Investor-Lender       $      28,075.00   74-233
      74           3074 Cheltenham Place             7836 S Shore Drive    Estate Property       Vladimir Matviishin, dba Network Expert                            $           138,075.00     Investor-Lender       $      28,075.00   74-1387
      74           3074 Cheltenham Place             7836 S Shore Drive    Estate Property       Walter T Akita and Margaret M Akita                                $           100,000.00     Investor-Lender       $      50,000.00   74-950
      74           3074 Cheltenham Place             7836 S Shore Drive    Estate Property       Young Family Trust                                                 $           115,000.00     Investor-Lender       $      45,000.00   74-1452
      74           3074 Cheltenham Place             7836 S Shore Drive    Estate Property       Yvette Nazaire Camacho (iPlanGroup Agent for Custodian FBO         $            30,000.00     Investor-Lender       $      30,000.00   74-487
                                                                                                 Yvette Nazaire Camacho IRA)
      75          7625-33 S East End Avenue                                Estate Property       Alcalli Sabat                                                      $            109,396.68     Investor-Lender      $      22,993.00 75-786
      75          7625-33 S East End Avenue                                Estate Property       Asians Investing In Real Estate LLC                                $          1,278,402.00     Investor-Lender      $      50,000.00 75-503
      75          7625-33 S East End Avenue                                Estate Property       BC57, LLC                                                          $          6,439,502.67   Institutional Lender                    75-557
      75          7625-33 S East End Avenue                                Estate Property       Brad and Linda Lutz                                                $            813,582.00     Investor-Lender      $     325,962.00 75-962
      75          7625-33 S East End Avenue                                Estate Property       Capital Investors, LLC                                             $            930,376.31     Investor-Lender      $      36,207.00 75-1490
      75          7625-33 S East End Avenue                                Estate Property       City of Chicago                                                    $             78,479.20           Other          $       1,895.90 75-693
      75          7625-33 S East End Avenue                                Estate Property       Edge Investments, LLC, Janet F. Turco, Owner/Member IRA            $          1,031,324.00     Investor-Lender      $     176,226.00 75-180
      75          7625-33 S East End Avenue                                Estate Property       Geronimo Usuga Carmona                                             $              8,937.50     Investor-Lender      $      35,667.00 75-543
      75          7625-33 S East End Avenue                                Estate Property       KKW Investments, LLC                                               $            100,033.40     Investor-Lender      $      75,000.00 75-336
      75          7625-33 S East End Avenue                                Estate Property       Knickerbocker LLC                                                  $            102,505.16     Investor-Lender      $      39,664.00 75-2035
      75          7625-33 S East End Avenue                                Estate Property       Lorenzo Jaquias                                                    $             71,635.00     Investor-Lender      $      50,000.00 75-184
      75          7625-33 S East End Avenue                                Estate Property       Madison Trust Company Agent for Custodian FBO The Jacqueline       $            623,489.57      Equity Investor                      75-163
                                                                                                 C Rowe Living Trust IRA
      75          7625-33 S East End Avenue                                Estate Property       Michael James Guilford and Nancy Richard-Guilford, Jointly with    $           310,000.00     Investor-Lender       $      92,561.00 75-516
                                                                                                 Right of Survivorship
      75          7625-33 S East End Avenue                                Estate Property       Randall Sotka                                                      $            255,000.00     Investor-Lender      $      38,826.00 75-1207
      75          7625-33 S East End Avenue                                Estate Property       Robert Potter                                                      $            282,999.00     Investor-Lender      $         786.00 75-1389
      75          7625-33 S East End Avenue                                Estate Property       Stephan Tang                                                       $            123,256.97     Investor-Lender      $      25,185.00 75-1111
      75          7625-33 S East End Avenue                                Estate Property       Steven R. Bald                                                     $            586,378.00     Investor-Lender                       75-399
      75          7625-33 S East End Avenue                                Estate Property       Strata Trust Company FBO David J Geldart                           $            230,621.00     Investor-Lender                       75-1010
      75          7625-33 S East End Avenue                                Estate Property       The Peter Paul Nuspl Living Trust                                  $          1,123,278.00     Investor-Lender      $     167,100.00 75-2044
      75          7625-33 S East End Avenue                                Estate Property       United Capital Properties, LLC                                     $            144,999.00     Investor-Lender      $       2,303.00 75-1480
      75          7625-33 S East End Avenue                                Estate Property       Wesley Pittman (Pittman Gold LLC)                                  $            180,048.45     Investor-Lender      $     150,000.00 75-469
      76          7635-43 S East End Avenue                                Estate Property       Arthur and Dinah Bertrand                                          $          1,000,000.00     Investor-Lender      $     217,448.00 76-890
      76          7635-43 S East End Avenue                                Estate Property       Arthur Bertrand                                                    $             78,079.82     Investor-Lender      $       2,875.00 76-892
      76          7635-43 S East End Avenue                                Estate Property       BC57, LLC                                                          $          6,439,502.67   Institutional Lender                    76-557
      76          7635-43 S East End Avenue                                Estate Property       Carolyn B Ucker                                                    $             50,000.00      Equity Investor     $      25,000.00 76-1099
      76          7635-43 S East End Avenue                                Estate Property       Cecilia Wolff                                                      $             73,887.50     Investor-Lender      $      25,000.00 76-1204
      76          7635-43 S East End Avenue                                Estate Property       City of Chicago                                                    $             78,479.20           Other          $         610.08 76-693
      76          7635-43 S East End Avenue                                Estate Property       Daniel Matthews, Leah Matthews                                     $            185,922.54     Investor-Lender      $      72,029.00 76-117
      76          7635-43 S East End Avenue                                Estate Property       Dennis & Mary Ann Hennefer                                         $            679,378.00     Investor-Lender      $      25,000.00 76-355
      76          7635-43 S East End Avenue                                Estate Property       Equity Trust Custodian FBO Dorothy Marie Baker IRA                 $             15,000.00     Investor-Lender      $      10,000.00 76-2007
      76          7635-43 S East End Avenue                                Estate Property       Frank Starosciak                                                   $             47,407.14     Investor-Lender      $      17,125.00 76-1239
      76          7635-43 S East End Avenue                                Estate Property       Gary R Burnham Jr Solo401K Trust                                   $             42,029.00     Investor-Lender      $      42,029.00 76-1067
      76          7635-43 S East End Avenue                                Estate Property       iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA       $             71,321.00     Investor-Lender      $      10,000.00 76-448
      76          7635-43 S East End Avenue                                Estate Property       James Clements                                                     $            185,910.00     Investor-Lender      $      20,000.00 76-1402
      76          7635-43 S East End Avenue                                Estate Property       Jeffry M. Edwards                                                  $             50,000.00     Investor-Lender      $      50,000.00 76-666
      76          7635-43 S East End Avenue                                Estate Property       JK Electron, Inc., Jan Kobylarczyk                                 $             13,250.00      Trade Creditor      $      13,250.00 76-1297
      76          7635-43 S East End Avenue                                Estate Property       John Bloxham                                                       $             51,500.00     Investor-Lender      $      50,000.00 76-1012
      76          7635-43 S East End Avenue                                Estate Property       Lorenzo Jaquias                                                    $             71,635.00     Investor-Lender      $      50,000.00 76-184
      76          7635-43 S East End Avenue                                Estate Property       Manoj Donthineni                                                   $             71,544.30     Investor-Lender      $      41,007.00 76-1357
      76          7635-43 S East End Avenue                                Estate Property       Michael James Guilford and Nancy Richard-Guilford, Jointly with    $            310,000.00     Investor-Lender      $      57,439.00 76-516
                                                                                                 Right of Survivorship
      76          7635-43 S East End Avenue                                Estate Property       Paul N. Wilmesmeier                                                $           790,185.00     Investor-Lender       $      50,000.00 76-300
      76          7635-43 S East End Avenue                                Estate Property       Penny W Goree                                                      $            36,000.00      Equity Investor      $      50,000.00 76-236
      76          7635-43 S East End Avenue                                Estate Property       QCH Investment Trust                                               $            50,000.00     Investor-Lender       $      50,000.00 76-1436




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Property Number       Property Address                Alternative Address            Type                                    Claimant Name                               Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                        Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                        Category as Identified on                           Property
                                                                                                                                                                              Claim Form)

      76           7635-43 S East End Avenue                                  Estate Property       Robert Guiney                                                        $            112,260.00        Investor-Lender      $    18,250.00 76-798
      76           7635-43 S East End Avenue                                  Estate Property       Steven R. Bald                                                       $            586,378.00        Investor-Lender                     76-399
      76           7635-43 S East End Avenue                                  Estate Property       THE INCOME FUND, LLC Thomas Garlock, Managing Member                 $            771,830.76        Investor-Lender      $    80,000.00 76-1421
      76           7635-43 S East End Avenue                                  Estate Property       The Peter Paul Nuspl Living Trust                                    $          1,123,278.00        Investor-Lender      $    50,000.00 76-2044
      76           7635-43 S East End Avenue                                  Estate Property       Tiger Chang Investments LLC                                          $             49,000.00        Investor-Lender      $    25,000.00 76-164
      76           7635-43 S East End Avenue                                  Estate Property       Total Return Income Fund, LLC Thomas Garlock, Managing Member        $          1,571,886.00        Investor-Lender      $   520,000.00 76-1366
      76           7635-43 S East End Avenue                                  Estate Property       Trey Hopkins                                                         $            100,000.00        Investor-Lender      $   100,000.00 76-714
      76           7635-43 S East End Avenue                                  Estate Property       Umbrella Investment Partners                                         $             72,894.00        Investor-Lender      $    12,833.00 76-1167
      76           7635-43 S East End Avenue                                  Estate Property       Winnie Quick Blackwell (née Winnie Jannett Quick)                    $             11,000.00        Investor-Lender      $    11,000.00 76-102
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Alton Motes (Alton P. Motes Trust UTA 12-15-11)                      $            245,841.62        Investor-Lender      $    43,000.00 77-2042
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Arthur and Dinah Bertrand                                            $          1,000,000.00        Investor-Lender      $   100,000.00 77-890
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft         $            258,060.00      Investor-Lender and                   77-2008
                                                                                                    Roth)                                                                                                Equity Investor
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       BC57, LLC                                                            $          6,439,502.67      Institutional Lender                    77-557
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Celia Tong Revocable Living Trust Dated December 22, 2011                                           Investor-Lender      $    25,000.00   77-287
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Christopher Wilson and Brittny Wilson (Niosi)                        $            52,000.00         Investor-Lender      $    50,000.00   77-807
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       CLD Construction, Inc. (Doru Unchias)                                $           434,935.00    Independent Contractor    $    49,000.00   77-1454
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       DANIEL J MARTINEAU                                                   $           321,016.60         Investor-Lender      $   100,000.00   77-1299
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Danielle DeVarne                                                     $           150,000.00         Investor-Lender      $    50,000.00   77-679
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Derrick, Horace                                                      $           100,000.00         Investor-Lender      $   100,000.00   77-2016
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Fraser Realty Investments, LLC                                       $           120,000.00         Investor-Lender      $   100,000.00   77-1079
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Girl Cat Capital West LLC, Valentina Salge, President                $           212,145.00         Investor-Lender      $    25,000.00   77-350
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Henry D. Gallucci                                                    $            77,000.00         Investor-Lender      $    60,000.00   77-2059
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Hillside Fund, LLC - Janet F. Turco, Owner/ Managing Member          $           505,000.00         Investor-Lender      $   125,000.00   77-101
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       iPlan Group FBO Randall Pong IRA                                     $            60,568.03      Investor-Lender and                      77-728
                                                                                                                                                                                                         Equity Investor
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       iPlanGroup Agent for Custodian FBO Charles Michael Anglin            $           238,889.23         Investor-Lender      $    10,633.00 77-331
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Jason Ragan - TSA                                                    $           327,324.29          Equity Investor     $     2,022.00 77-797
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       John E. Wysocki                                                      $           117,000.00          Equity Investor                    77-740
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       John Taxeras                                                         $           105,686.72          Equity Investor     $    21,400.00 77-994
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Kingdom Trust Company, Custodian, FBO Louis Duane Velez SEP          $           100,000.00         Investor-Lender      $   100,000.00 77-1475
                                                                                                    IRA acct # 7422686172
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Maher, Avery (Christopher Maher CESA)                                $            11,000.00       Investor-Lender        $    11,000.00   77-2080
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Maher, Christopher                                                   $            30,500.00       Investor-Lender        $    14,000.00   77-2036
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Maher, Gavin (Christopher Maher, CESA)                               $            15,000.00       Investor-Lender        $    15,000.00   77-2081
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Maher, Travis (Christopher Maher, CESA)                              $            10,000.00       Investor-Lender        $    10,000.00   77-2082
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Mark P. Mouty                                                        $           180,702.77       Investor-Lender        $    50,000.00   77-165
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Mark Young                                                           $           366,131.08       Investor-Lender        $   100,000.00   77-1154
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Matthew Boyd                                                         $           405,000.00       Investor-Lender        $    50,000.00   77-2060
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       May M. Akamine for Aurora Investments, LLC (assets formerly under    $           631,739.82       Investor-Lender        $    25,000.00   77-1412
                                                                                                    MayREI, LLC)
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       May M. Akamine for Aurora Investments, LLC (assets formerly under    $           631,739.82       Investor-Lender        $     2,005.00 77-1412
                                                                                                    MayREI, LLC)
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Paul N. Wilmesmeier                                                  $           790,185.00       Investor-Lender        $    50,000.00   77-300
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Paul Scribner                                                        $           200,000.00       Investor-Lender        $     6,708.00   77-1135
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       QuestIRAFBOFrancisDWebb1437711                                       $           185,819.00       Investor-Lender        $    50,000.00   77-218
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Scott E Pammer                                                       $           243,954.00       Investor-Lender        $    70,000.00   77-827
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Self Directed IRA Services, Inc., Custodian FBO Ping Liu IRA         $            57,290.32       Investor-Lender        $    50,000.00   77-544
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Spectra Investments LLC/ Deborah L. Mullica                          $           579,288.00       Investor-Lender        $    82,255.00   77-1220
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Steven and Linda Lipschultz                                          $           350,360.00       Investor-Lender        $   100,000.00   77-1442
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       Terry L. Merrill, Sheryl R. Merrill                                  $           299,500.00       Investor-Lender        $    49,500.00   77-602
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       The Anchor Group LLC - Ronald J. Hansen, Managing Partner (c/o       $            25,000.00       Investor-Lender        $    25,000.00   77-949
                                                                                                    Viola Hansen)
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       The Edward Falkowitz Living Trust                                    $           305,584.73       Investor-Lender                       77-575
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       THE INCOME FUND, LLC Thomas Garlock, Managing Member                 $           771,830.76       Investor-Lender        $   150,000.00 77-1421
      77          7750-58 S Muskegon Avenue           2818-36 E 78th Street   Estate Property       The Mennco Properties, LLC. Solo 401K Plan (by Robert Mennella       $            50,000.00       Investor-Lender        $    50,000.00 77-1032
                                                                                                    Managing Partner)
      77          7750-58 S Muskegon Avenue          2818-36 E 78th Street    Estate Property       Thomas F. Gordon                                                     $            200,000.00       Equity Investor       $   100,000.00   77-2023
      77          7750-58 S Muskegon Avenue          2818-36 E 78th Street    Estate Property       Walter Akita                                                         $             50,000.00      Investor-Lender        $    50,000.00   77-1361
      78           7201 S Constance Avenue           1825-31 E 72nd Street    Estate Property       Aaron Beauclair                                                      $             40,000.00      Investor-Lender        $    10,000.00   78-408
      78           7201 S Constance Avenue           1825-31 E 72nd Street    Estate Property       Arthur and Dinah Bertrand                                            $          1,000,000.00      Investor-Lender        $   100,000.00   78-890




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Property Number            Property Address               Alternative Address           Type                                    Claimant Name                               Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                           Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                           Category as Identified on                           Property
                                                                                                                                                                                 Claim Form)

      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft         $           258,060.00      Investor-Lender and                     78-2008
                                                                                                       Roth)                                                                                               Equity Investor
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       BC57, LLC                                                            $          6,439,502.67     Institutional Lender                    78-557
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Cecilia Wolff (iPlan Group Agent for Custodian FBO Cecilia Wolff)    $             73,887.50       Investor-Lender                       78-1204
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       City of Chicago                                                      $             78,479.20             Other          $     8,124.80   78-693
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       CLD Construction, Inc. (Doru Unchias)                                $            434,935.00   Independent Contractor   $   131,000.00   78-1454
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Edge Investments, LLC, Janet F. Turco, Owner/Member IRA              $          1,031,324.00       Investor-Lender      $    17,374.00   78-180
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Girl Cat Capital West LLC, Valentina Salge, President                $            212,145.00       Investor-Lender      $    16,574.00   78-350
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Initium LLC/Harry Saint-Preux                                        $            150,000.00       Investor-Lender      $    50,000.00   78-968
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       James Tutsock                                                        $            900,000.00       Investor-Lender                       78-2057
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Jason Ragan - TSA                                                    $            327,324.29        Equity Investor     $     4,747.00   78-797
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton,     $             83,813.00       Investor-Lender      $    31,233.00   78-310
                                                                                                       IRA)
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Kirk Road Investments, LLC                                           $            434,195.69       Investor-Lender      $    63,000.00   78-755
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Lori Moreland                                                        $             21,574.00       Investor-Lender      $    10,074.00   78-805
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Lori Moreland                                                        $             52,233.00       Investor-Lender      $    48,087.00   78-823
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Lori Moreland                                                        $            102,348.00       Investor-Lender      $    52,348.00   78-822
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Michael Borgia                                                       $          1,253,784.00       Investor-Lender      $   669,327.00   78-231
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Michael C. Jacobs                                                    $            178,833.00        Equity Investor     $    25,000.00   78-2031
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Pat DeSantis                                                         $          2,684,539.00       Investor-Lender      $   171,439.00   78-397
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       PNW Investments, LLC                                                 $            350,000.00       Investor-Lender      $    50,000.00   78-332
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Property Solutions LLC, Kevin Bybee (managing member)                $             60,000.00       Investor-Lender      $    60,000.00   78-268
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Provident Trust Group, LLC FBO Stephan Tang IRA                      $             71,815.00       Investor-Lender      $    35,345.00   78-172
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Rene Hribal                                                          $          1,525,473.04       Investor-Lender      $   439,517.00   78-768
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Reynald Lalonde & Chantal Lemaire                                    $             51,000.00       Investor-Lender      $    50,000.00   78-327
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Robert Potter                                                        $            282,999.00       Investor-Lender      $     2,796.00   78-1389
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Sidney Haggins                                                       $             70,000.00       Investor-Lender      $    50,000.00   78-1431
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Steven J. Talyai                                                     $            175,000.00       Investor-Lender                       78-131
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Steven K. Chennappan IRA # 17293-31                                  $            128,000.00       Investor-Lender      $    10,000.00   78-206
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Towpath Investments LLC - Robert Kessing (manager)                   $            135,000.00       Investor-Lender      $    50,000.00   78-338
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       US Freedom Investments, LLC                                          $            175,500.00       Investor-Lender      $    25,000.00   78-1234
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       Victor Shaw                                                          $            296,025.03       Investor-Lender      $    55,000.00   78-1040
      78               7201 S Constance Avenue           1825-31 E 72nd Street   Estate Property       John P. Sullivan                                                     $            107,000.00       Investor-Lender      $    50,000.00   78-660
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Alcalli Sabat                                                        $            109,396.68       Investor-Lender                       79-786
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Amit Hammer                                                          $            295,980.00       Investor-Lender      $    50,000.00   79-225
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Armoogam, Clifton                                                    $             29,940.00       Investor-Lender      $    21,500.00   79-2006
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Arvind Kinjarapu                                                     $            145,500.00       Investor-Lender      $    35,000.00   79-1161
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Asians Investing In Real Estate LLC                                  $          1,278,402.00       Investor-Lender      $    25,000.00   79-503
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Bauer Latoza Studio, Ltd.                                            $             30,525.00        Trade Creditor      $   274,500.00   79-885
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Bernadette Chen (Eleven St Felix St. Realty)                         $          1,000,000.00        Equity Investor     $   100,000.00   79-2012
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Brett Burnham (Burnham 401k Trust)                                   $            215,335.54       Investor-Lender      $     8,000.00   79-314
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Charles Smith                                                        $            350,000.00       Investor-Lender      $   350,000.00   79-1186
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Daniel Matthews, Leah Matthews                                       $            185,922.54       Investor-Lender      $    40,000.00   79-117
      79          6160-6212 S Martin Luther King Drive                           Estate Property       David M Harris                                                       $            831,700.00       Investor-Lender      $    96,000.00   79-267
      79          6160-6212 S Martin Luther King Drive                           Estate Property       David R. Trengove                                                    $            705,123.88       Investor-Lender      $   150,000.00   79-481
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Dennis & Mary Ann Hennefer                                           $            679,378.00       Investor-Lender      $    23,768.00   79-355
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Direct Lending Partner LLC (successor to Arena DLP Lender LLC        $          3,118,675.50     Institutional Lender                    79-129
                                                                                                       and DLP Lending Fund LLC)
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Distributive Marketing Inc.                                          $            100,000.00      Investor-Lender       $    50,000.00   79-806
      79          6160-6212 S Martin Luther King Drive                           Estate Property       EastWest Funding Trust                                               $             52,000.00      Investor-Lender       $    50,000.00   79-258
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Elaine Sison Ernst                                                   $             95,000.00      Investor-Lender       $    50,000.00   79-1029
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Francisco Fernandez                                                  $            584,237.50      Investor-Lender       $    65,000.00   79-1450
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Gary R. Burnham Jr. Solo 401K Trust                                  $            205,608.00      Investor-Lender       $    10,000.00   79-1174
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Gowrisankar Challagundla                                             $             59,750.00      Investor-Lender       $    50,000.00   79-815
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Grathia Corp                                                         $          1,184,081.00      Investor-Lender       $    50,000.00   79-1445
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Green Light Investments, LLC                                         $             90,000.00      Investor-Lender       $    50,000.00   79-1440
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Guenter Scheel and Karen Scheel                                      $             25,000.00      Investor-Lender       $    25,000.00   79-2072
      79          6160-6212 S Martin Luther King Drive                           Estate Property       Ingrid Beyer and Joel Beyer                                          $             10,346.02      Investor-Lender       $    10,000.00   79-985
      79          6160-6212 S Martin Luther King Drive                           Estate Property       iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account         $             46,000.00      Investor-Lender       $    20,000.00   79-203
                                                                                                       3301018
      79          6160-6212 S Martin Luther King Drive                           Estate Property       iPlanGroup Agent for Custodian FBO Charles Powell IRA                $           260,000.00       Investor-Lender                        79-413




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Property Number            Property Address               Alternative Address          Type                                    Claimant Name                               Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                          Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                          Category as Identified on                           Property
                                                                                                                                                                                Claim Form)

      79          6160-6212 S Martin Luther King Drive                          Estate Property       Irene Gacad                                                          $             26,103.82     Investor-Lender     $       25,000.00   79-647
      79          6160-6212 S Martin Luther King Drive                          Estate Property       James Walsh                                                          $            200,000.00     Investor-Lender     $       50,000.00   79-2058
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Jason Ragan - TSA                                                    $            327,324.29      Equity Investor    $      110,000.00   79-797
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Jeffery B McMeans                                                    $             53,333.35     Investor-Lender     $       50,000.00   79-279
      79          6160-6212 S Martin Luther King Drive                          Estate Property       John A Martino & Carole J Wysocki                                    $             12,171.78     Investor-Lender     $       50,000.00   79-1493
      79          6160-6212 S Martin Luther King Drive                          Estate Property       John B. Allred & Glenda K. Allred                                    $          1,421,646.52   Investor-Lender and                       79-2004
                                                                                                                                                                                                        Equity Investor
      79          6160-6212 S Martin Luther King Drive                          Estate Property       John E Mize                                                          $             50,000.00     Investor-Lender     $       50,000.00 79-649
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Karl R. DeKlotz                                                      $          1,586,165.90     Investor-Lender     $      100,000.00 79-1179
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Knickerbocker LLC                                                    $            102,505.16     Investor-Lender     $       50,000.00 79-2035
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Kyle Jacobs                                                          $             95,000.00     Investor-Lender     $       30,000.00 79-1345
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Larry White                                                          $             53,900.00     Investor-Lender     $       52,500.00 79-794
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Laura J. Sohm IRA                                                    $            104,593.29     Investor-Lender     $       63,000.00 79-970
      79          6160-6212 S Martin Luther King Drive                          Estate Property       LEVENT KESEN                                                         $            150,000.00     Investor-Lender     $       50,000.00 79-1078
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Louis Barrows                                                        $             25,000.00      Equity Investor    $       25,000.00 79-494
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Madison Trust Company Custodian FBO Kathy B. Talman IRA              $             75,000.00     Investor-Lender     $       25,000.00 19-1109
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Madison Trust Custodian FBO Brent Jacobs                             $             37,881.00     Investor-Lender     $       37,881.00 79-854
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Maricris M. Lee                                                      $              8,426.68     Investor-Lender                       79-320
      79          6160-6212 S Martin Luther King Drive                          Estate Property       May M. Akamine for Aurora Investments, LLC (assets formerly under    $            631,739.82     Investor-Lender     $       60,000.00 79-1412
                                                                                                      MayREI, LLC)
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Meadows Enterprises Inc, Kenyon Meadows, president                   $            75,000.00      Investor-Lender     $       25,000.00 79-429
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Michael Arthur Goldman (also know as Mike Goldman, Michael A.        $            80,377.98      Investor-Lender     $       61,860.75 79-775
                                                                                                      Goldman, Michael Goldman)
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Michael Warner, Trustee of Warner Chiropractic Care Center, PC       $           203,254.00      Equity Investor     $       90,000.00 79-78
                                                                                                      PSP
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Moran Blueshtein and Upender Subramanian                             $            146,857.18     Investor-Lender     $       46,000.00   79-95
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679-01           $            159,000.00     Investor-Lender     $        7,000.00   79-315
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Nandini S Chennappan                                                 $             10,000.00     Investor-Lender     $       10,000.00   79-1270
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)      $            252,907.00     Investor-Lender     $       50,000.00   79-1365
      79          6160-6212 S Martin Luther King Drive                          Estate Property       New Direction IRA, Inc. FBO Ingrid Beyer, Roth IRA                   $             25,865.84     Investor-Lender     $       25,000.00   79-437
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Pankaj Patel BDA EZ NJ VENTURES, LLC.                                $            223,000.00     Investor-Lender     $       50,000.00   79-920
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Pat DeSantis                                                         $          2,684,539.00     Investor-Lender     $      250,000.00   79-397
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Patricia J Theil C/F Jacqueline M Theil                              $             62,062.58     Investor-Lender     $       11,257.00   79-923
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Paul N. Wilmesmeier                                                  $            790,185.00     Investor-Lender     $       25,000.00   79-300
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Philip J Lombardo and Dianne E Lombardo                              $             54,666.63     Investor-Lender     $       50,000.00   79-561
      79          6160-6212 S Martin Luther King Drive                          Estate Property       PROFESSIONAL RENTAL LP, GEORGE SAMUEL                                $             58,000.04     Investor-Lender     $       50,000.00   79-482
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Provident Trust Group, LLC FBO Stephan Tang IRA                      $             71,815.00     Investor-Lender     $       36,470.00   79-172
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Real Envisions LLC                                                   $             53,000.00     Investor-Lender     $       50,000.00   79-1021
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Receivables to Cash, LLC d/b/a Berenger Capital                      $            150,000.00     Investor-Lender     $       50,000.00   79-302
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Rene Hribal                                                          $          1,525,473.04     Investor-Lender     $      100,000.00   79-768
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Robert Potter                                                        $            282,999.00     Investor-Lender     $       23,000.00   79-1389
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Sarah Geldart                                                        $             57,200.00     Investor-Lender     $       20,000.00   79-1285
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Steven R. Bald                                                       $            586,378.00     Investor-Lender     $       30,000.00   79-399
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Steven Roche                                                         $            127,821.13     Investor-Lender     $       50,000.00   79-329
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Terri S. Tracy                                                       $            265,000.00     Investor-Lender     $       25,000.00   79-272
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Terry L. Merrill, Sheryl R. Merrill                                  $            299,500.00     Investor-Lender     $       50,000.00   79-602
      79          6160-6212 S Martin Luther King Drive                          Estate Property       The Entrust Group FBO Dee Ann Nason 7230011277                       $            150,000.00     Investor-Lender     $       50,000.00   79-790
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Todd Colucy                                                          $             54,000.02     Investor-Lender     $       50,000.00   79-70
      79          6160-6212 S Martin Luther King Drive                          Estate Property       TSC Trust (Patricia Scully, Trustee)                                 $             50,000.00     Investor-Lender     $       50,000.00   79-2063
      79          6160-6212 S Martin Luther King Drive                          Estate Property       United Capital Properties, LLC                                       $            144,999.00     Investor-Lender     $       30,000.00   79-1480
      79          6160-6212 S Martin Luther King Drive                          Estate Property       US Freedom Investments, LLC                                          $            175,500.00     Investor-Lender     $       25,000.00   79-1234
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Valery Lipenko                                                       $             50,000.00     Investor-Lender     $       50,000.00   79-517
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Victor Shaw                                                          $            296,025.03     Investor-Lender     $       50,000.00   79-1040
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Vistex Properties LLC                                                $            107,000.02     Investor-Lender     $      100,000.00   79-1318
      79          6160-6212 S Martin Luther King Drive                          Estate Property       William (Will) J Cook III                                            $            100,000.00     Investor-Lender                         79-700
      79          6160-6212 S Martin Luther King Drive                          Estate Property       William B. Dreischmeir                                                                           Investor-Lender     $       60,000.00   79-2017
      79          6160-6212 S Martin Luther King Drive                          Estate Property       William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)            $          1,100,000.00     Investor-Lender     $       35,000.00   79-2003
      79          6160-6212 S Martin Luther King Drive                          Estate Property       William Needham                                                      $            355,428.00     Investor-Lender     $       25,000.00   79-80
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Wisemove Properties LLC, (Anthony and Linda Reid, members)           $            668,979.00     Investor-Lender                         79-168
      79          6160-6212 S Martin Luther King Drive                          Estate Property       Yin Liu, Ping Xu                                                     $            300,000.00     Investor-Lender     $      100,000.00   79-1368
      80                2736-44 W 64th Street                                   Estate Property       1839 Fund I LLC                                                      $             29,514.00     Investor-Lender     $       24,500.00   80-367




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                                                                                                               Master Claims List
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Property Number       Property Address               Alternative Address             Type                                    Claimant Name                             Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                      Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                      Category as Identified on                           Property
                                                                                                                                                                            Claim Form)

      80            2736-44 W 64th Street                                     Estate Property       Applefield Family Trust, Paul and Robin Applefield, Trustees       $            155,000.00    Investor-Lender       $      20,000.00   80-2005
      80            2736-44 W 64th Street                                     Estate Property       ARBOR VENTURES OVERSEAS LIMITED, LLC                               $            176,122.67    Investor-Lender       $      10,000.00   80-446
      80            2736-44 W 64th Street                                     Estate Property       Arthur and Dinah Bertrand                                          $          1,000,000.00    Investor-Lender       $     100,000.00   80-890
      80            2736-44 W 64th Street                                     Estate Property       DANIEL J MARTINEAU                                                 $            321,016.60    Investor-Lender       $      50,000.00   80-1299
      80            2736-44 W 64th Street                                     Estate Property       Debbie Lasley                                                      $            104,550.09    Investor-Lender       $      50,000.00   80-456
      80            2736-44 W 64th Street                                     Estate Property       Edge Investments, LLC, Janet F. Turco, Owner/Member IRA            $          1,031,324.00    Investor-Lender       $      30,000.00   80-180
      80            2736-44 W 64th Street                                     Estate Property       EQUITY TRUST COMPANY CUSTODIAN FBO ALBERT RUFFIN                   $             50,000.00    Investor-Lender       $      50,000.00   80-592
                                                                                                    IRA
      80            2736-44 W   64th Street                                   Estate Property       Hongjun Li and Sheyu Zhou                                          $             95,370.00     Investor-Lender      $      93,000.00 80-432
      80            2736-44 W   64th Street                                   Estate Property       iPlanGroup Agent for Custodian Leah Kalish IRA                     $            119,000.00     Investor-Lender      $      70,000.00 80-265
      80            2736-44 W   64th Street                                   Estate Property       John P. Sullivan                                                   $            107,000.00     Investor-Lender      $      57,000.00 80-660
      80            2736-44 W   64th Street                                   Estate Property       Liberty EBCP, LLC                                                  $         10,638,796.40   Institutional Lender                    80-898
      80            2736-44 W   64th Street                                   Estate Property       Mark Young                                                         $            366,131.08     Investor-Lender      $      50,000.00 80-1154
      80            2736-44 W   64th Street                                   Estate Property       Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan    $            106,000.00     Investor-Lender      $      30,000.00 80-2087
      80            2736-44 W   64th Street                                   Estate Property       Robert Guiney                                                      $            112,260.00     Investor-Lender      $      50,000.00 80-798
      80            2736-44 W   64th Street                                   Estate Property       Sunshine Bliss LLC                                                 $             32,800.00     Investor-Lender      $      32,800.00 80-1437
      80            2736-44 W   64th Street                                   Estate Property       The Anchor Group LLC - Ronald J. Hansen, Managing Partner (c/o     $             25,000.00     Investor-Lender      $      30,000.00 80-949
                                                                                                    Viola Hansen)
      81          4317-19 S Michigan Avenue                                   Estate Property       Austin Capital Trust Company on behalf of Summit Trust Company,    $            77,520.06     Investor-Lender       $      19,000.00 81-1178
                                                                                                    custodian FBO David R Theil MD
      81          4317-19 S Michigan Avenue                                   Estate Property       Capital Investors, LLC                                             $            930,376.31     Investor-Lender      $     113,793.00 81-1490
      81          4317-19 S Michigan Avenue                                   Estate Property       Deborah Buffamanti                                                 $             34,723.00      Equity Investor     $      50,000.00 81-1351
      81          4317-19 S Michigan Avenue                                   Estate Property       Gerry / Clarice Recamara                                           $              2,227.80     Investor-Lender                       81-618
      81          4317-19 S Michigan Avenue                                   Estate Property       Hang Zhou and Lu Dong                                              $            157,821.57     Investor-Lender      $      50,000.00 81-1335
      81          4317-19 S Michigan Avenue                                   Estate Property       Harvey Singer                                                      $            854,387.63     Investor-Lender      $     210,000.00 81-2054
      81          4317-19 S Michigan Avenue                                   Estate Property       Hillside Fund, LLC - Janet F. Turco, Owner/ Managing Member        $            505,000.00     Investor-Lender      $      75,000.00 81-101
      81          4317-19 S Michigan Avenue                                   Estate Property       Liberty EBCP, LLC                                                  $         10,638,796.40   Institutional Lender                    81-898
      81          4317-19 S Michigan Avenue                                   Estate Property       Marjorie Jean Sexton                                               $            200,000.00     Investor-Lender      $       9,436.00 81-2065
      81          4317-19 S Michigan Avenue                                   Estate Property       Michael F Grant & L. Gretchen Grant (Michael F. Grant & L.         $            695,000.00     Investor-Lender      $      50,000.00 81-393
                                                                                                    Gretchen Grant Revocable Trust dated March 16th 2012)
      81          4317-19 S Michigan Avenue                                   Estate Property       Paul Harrison                                                      $           420,331.59     Investor-Lender       $     152,771.00 81-2026
      81          4317-19 S Michigan Avenue                                   Estate Property       Paul N. Wilmesmeier                                                $           790,185.00     Investor-Lender       $      25,000.00 81-300
      81          4317-19 S Michigan Avenue                                   Estate Property       PINELLAS FLORIDA FREEDOM REALTY, LLC (GARRETT                      $            10,000.00     Investor-Lender       $      10,000.00 81-1308
                                                                                                    MILLER)
      81          4317-19 S Michigan Avenue                                   Estate Property       Ramsey Stephan                                                     $            50,000.00     Investor-Lender       $      20,000.00   81-162
      81          4317-19 S Michigan Avenue                                   Estate Property       Ronald Mark Beal                                                   $            90,000.00     Investor-Lender       $      90,000.00   81-187
      81          4317-19 S Michigan Avenue                                   Estate Property       Sohm Strategic Investments, LLC                                    $            77,250.00     Investor-Lender       $      25,000.00   81-865
      81          4317-19 S Michigan Avenue                                   Estate Property       SUSAN MARTINEZ                                                     $            51,000.00     Investor-Lender       $      50,000.00   81-701
      81          4317-19 S Michigan Avenue                                   Estate Property       Thaddeus Gala                                                      $           100,000.00     Investor-Lender                          81-2070
      81          4317-19 S Michigan Avenue                                   Estate Property       Verdell Michaux                                                    $            34,000.00      Equity Investor      $       4,000.00   81-2039
      82           6355-59 S Talman Avenue          2616-22 W 64th Street     Estate Property       Adir Hazan                                                         $           150,000.00     Investor-Lender       $      50,000.00   82-143
      82           6355-59 S Talman Avenue          2616-22 W 64th Street     Estate Property       ALICE HAN                                                          $            51,498.62     Investor-Lender       $      50,000.00   82-1353
      82           6355-59 S Talman Avenue          2616-22 W 64th Street     Estate Property       Annie Chang                                                        $           246,935.34     Investor-Lender       $      16,882.00   82-475
      82           6355-59 S Talman Avenue          2616-22 W 64th Street     Estate Property       Brett Burnham (                                                    $           215,335.54     Investor-Lender       $      25,000.00   82-314
                                                                                                    iPlanGroup Agent for Custodian FBO Brett Burnham)
      82          6355-59 S Talman Avenue           2616-22 W   64th Street   Estate Property       Charles P McEvoy                                                   $           438,733.33     Investor-Lender       $      30,000.00   82-232
      82          6355-59 S Talman Avenue           2616-22 W   64th Street   Estate Property       DANIEL J MARTINEAU                                                 $           321,016.60     Investor-Lender       $      25,250.00   82-1299
      82          6355-59 S Talman Avenue           2616-22 W   64th Street   Estate Property       H&W Management Company, Inc.                                       $           200,000.00     Investor-Lender       $     200,000.00   82-946
      82          6355-59 S Talman Avenue           2616-22 W   64th Street   Estate Property       Hopson & Associates LLC                                            $            75,000.00     Investor-Lender       $      75,000.00   82-204
      82          6355-59 S Talman Avenue           2616-22 W   64th Street   Estate Property       Huiyi Yang                                                         $            37,000.00     Investor-Lender       $      37,000.00   82-253
      82          6355-59 S Talman Avenue           2616-22 W   64th Street   Estate Property       Jane Shafrin                                                       $           110,000.00     Investor-Lender       $      50,000.00   82-188
      82          6355-59 S Talman Avenue           2616-22 W   64th Street   Estate Property       Jay Sutherland                                                     $            51,749.99     Investor-Lender       $      50,000.00   82-619
      82          6355-59 S Talman Avenue           2616-22 W   64th Street   Estate Property       John Braden and Cynthia Braden                                     $            37,691.67     Investor-Lender       $      50,000.00   82-1049
      82          6355-59 S Talman Avenue           2616-22 W   64th Street   Estate Property       Kelly E Welton (Equity Trust Company for Custodian FBO Kelly       $            83,813.00     Investor-Lender       $       3,000.00   82-310
                                                                                                    Welton, IRA)
      82          6355-59 S Talman Avenue           2616-22 W 64th Street     Estate Property       Kester Brothers Farm, LLC, C/O James R. Kester                     $            152,911.82     Investor-Lender      $      30,000.00 82-944
      82          6355-59 S Talman Avenue           2616-22 W 64th Street     Estate Property       Liberty EBCP, LLC                                                  $         10,638,796.40   Institutional Lender                    82-898
      82          6355-59 S Talman Avenue           2616-22 W 64th Street     Estate Property       Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679-01         $            159,000.00     Investor-Lender      $      50,000.00 82-315
      82          6355-59 S Talman Avenue           2616-22 W 64th Street     Estate Property       Pat DeSantis                                                       $          2,684,539.00     Investor-Lender      $     110,000.00 82-397
      82          6355-59 S Talman Avenue           2616-22 W 64th Street     Estate Property       Quest IRA Inc. FBO Rebeca E. Savory-Romero IRA Account #15528-     $            184,785.31     Investor-Lender      $      45,000.00 82-804
                                                                                                    11 and #15528-21
      82          6355-59 S Talman Avenue           2616-22 W 64th Street     Estate Property       Robert Potter                                                      $           282,999.00     Investor-Lender       $       4,858.00 82-1389




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Property Number        Property Address                Alternative Address           Type                                    Claimant Name                             Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                      Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                      Category as Identified on                           Property
                                                                                                                                                                            Claim Form)

      82           6355-59 S Talman Avenue            2616-22 W 64th Street   Estate Property       Sidney Cohn                                                        $            87,049.30      Investor-Lender       $     60,000.00 82-720
      82           6355-59 S Talman Avenue            2616-22 W 64th Street   Estate Property       Steven Roche                                                       $           127,821.13      Investor-Lender       $     10,000.00 82-329
      82           6355-59 S Talman Avenue            2616-22 W 64th Street   Estate Property       Terri S. Tracy                                                     $           265,000.00      Investor-Lender       $     70,000.00 82-272
      82           6355-59 S Talman Avenue            2616-22 W 64th Street   Estate Property       The Jacqueline C Rowe Living Trust                                 $           372,417.74      Investor-Lender                       82-139
      82           6355-59 S Talman Avenue            2616-22 W 64th Street   Estate Property       The Moore/Ferrer Family 2004 Trust                                 $           208,341.66      Investor-Lender       $     50,000.00 82-107
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft       $           258,060.00    Investor-Lender and                     83-2008
                                                                                                    Roth)                                                                                           Equity Investor
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       Capital Investors, LLC                                             $            930,376.31     Investor-Lender       $    250,021.00 83-1490
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       Cross 5774 Holdings LLC - Cross Global Funding Group               $             75,000.00     Investor-Lender       $     25,000.00 83-860
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       Francisco Fernandez                                                $            584,237.50     Investor-Lender       $     41,604.00 83-1450
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       Gallowglass LLC c/o Patrick Bournes                                $            100,000.00     Investor-Lender                       83-316
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA       $             71,321.00     Investor-Lender       $      9,321.00 83-448
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA     $             44,433.00     Investor-Lender       $      7,152.00 83-445
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       John E. Wysocki                                                    $            117,000.00      Equity Investor                      83-740
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       Kathleen Martin                                                    $            304,605.24      Equity Investor      $     50,095.00 83-246
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       Liberty EBCP, LLC                                                  $         10,638,796.40   Institutional Lender                    83-898
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       Nicolas and Joyce Jenks                                            $            155,249.47     Investor-Lender       $     25,000.00 83-2032
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       OAK BARREL ONE, LLC (TED GUILLEN)                                  $             20,038.00     Investor-Lender       $     20,038.00 83-488
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       Paul Scribner                                                      $            200,000.00     Investor-Lender       $      7,910.00 83-1135
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       Rochelle Minchow                                                   $            190,000.00     Investor-Lender       $    110,000.00 83-2061
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       Scott E Pammer                                                     $            243,954.00     Investor-Lender       $     50,000.00 83-827
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       Strata Trust Company FBO Vincent Michael Spreuwenberg IRA          $             39,976.38     Investor-Lender       $     35,067.00 83-1160
                                                                                                    201207909
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       The Peter Paul Nuspl Living Trust                                  $          1,123,278.00     Investor-Lender       $    149,212.00   83-2044
      83            6356 S California Avenue           2804 W 64th Street     Estate Property       Virginia Lieblein                                                  $             19,551.16     Investor-Lender       $     16,698.33   83-110
      84             7051 S Bennett Avenue                                    Estate Property       1839 Fund I LLC                                                    $             87,717.00     Investor-Lender       $     70,470.00   84-367
      84             7051 S Bennett Avenue                                    Estate Property       Annie Chang                                                        $            246,935.34     Investor-Lender       $      2,618.00   84-475
      84             7051 S Bennett Avenue                                    Estate Property       Barbara Burton                                                     $             99,000.00     Investor-Lender       $     99,000.00   84-2069
      84             7051 S Bennett Avenue                                    Estate Property       Best Capital Funding Inc                                           $             28,000.00     Investor-Lender       $     25,000.00   84-1257
      84             7051 S Bennett Avenue                                    Estate Property       Donald Freers aka Meadows Advisors LLC                             $            198,000.00     Investor-Lender       $      5,000.00   84-72
      84             7051 S Bennett Avenue                                    Estate Property       Green Light Investments, LLC                                       $             90,000.00                           $     40,000.00   84-1440
      84             7051 S Bennett Avenue                                    Estate Property       Jerry Adamsky                                                      $             84,000.00     Investor-Lender       $     50,000.00   84-888
      84             7051 S Bennett Avenue                                    Estate Property       Julie Patel                                                        $             97,038.00     Investor-Lender       $      1,409.00   84-409
      84             7051 S Bennett Avenue                                    Estate Property       Kimberly W Robinson                                                $             98,000.00     Investor-Lender       $     50,000.00   84-1245
      84             7051 S Bennett Avenue                                    Estate Property       Liberty EBCP, LLC                                                  $         10,638,796.40   Institutional Lender                      84-898
      84             7051 S Bennett Avenue                                    Estate Property       Melanie T. or Gary M. Gonzales                                     $            525,525.01     Investor-Lender       $    155,000.00   84-207
      84             7051 S Bennett Avenue                                    Estate Property       Paul Scribner                                                      $            200,000.00     Investor-Lender       $     50,000.00   84-1135
      84             7051 S Bennett Avenue                                    Estate Property       Steve Weera Tonasut and Esther Kon Tonasut                         $             50,000.00     Investor-Lender       $     50,000.00   84-312
      84             7051 S Bennett Avenue                                    Estate Property       The Jacqueline C Rowe Living Trust                                 $            372,417.74     Investor-Lender       $     75,000.00   84-139
      84             7051 S Bennett Avenue                                    Estate Property       The Peter Paul Nuspl Living Trust                                  $          1,123,278.00     Investor-Lender       $    175,530.00   84-2044
      84             7051 S Bennett Avenue                                    Estate Property       United Capital Properties, LLC                                     $            144,999.00     Investor-Lender       $     36,730.00   84-1480
      84             7051 S Bennett Avenue                                    Estate Property       Wisemove Properties LLC, (Anthony and Linda Reid, members)         $            668,979.00     Investor-Lender                         84-168
      84             7051 S Bennett Avenue                                    Estate Property       XUWEN LIN                                                          $             58,700.00     Investor-Lender       $      8,523.00   84-648
      84             7051 S Bennett Avenue                                    Estate Property       ZIN INVESTMENTS LLC - c/o WILLIAM J. IANNAZZI                      $            402,500.00     Investor-Lender       $    350,000.00   84-234
      85          7201-07 S Dorchester Avenue          1401 E 72nd Street     Estate Property       Aluvelu Homes LLC                                                  $            169,271.00     Investor-Lender       $      5,000.00   85-879
      85          7201-07 S Dorchester Avenue          1401 E 72nd Street     Estate Property       Asians Investing In Real Estate LLC                                $          1,278,402.00     Investor-Lender       $     60,000.00   85-503
      85          7201-07 S Dorchester Avenue          1401 E 72nd Street     Estate Property       Clearwood Funding, LLC                                             $            150,000.00     Investor-Lender       $     50,000.00   85-1276
      85          7201-07 S Dorchester Avenue          1401 E 72nd Street     Estate Property       Francisco Fernandez                                                $            584,237.50     Investor-Lender       $     23,396.00   85-1450
      85          7201-07 S Dorchester Avenue          1401 E 72nd Street     Estate Property       Frank and Laura Sohm                                               $            167,893.65     Investor-Lender       $     14,700.00   85-906
      85          7201-07 S Dorchester Avenue          1401 E 72nd Street     Estate Property       Freda R. Smith (QUEST IRA Inc. FBO Freda R. Smith IRA Account #    $             25,141.58     Investor-Lender       $     20,000.00   85-1356
                                                                                                    16816-11 (Traditional IRA))
      85          7201-07 S Dorchester Avenue          1401 E 72nd Street     Estate Property       Gallowglass LLC c/o Patrick Bournes                                $           100,000.00       Investor-Lender                      85-316
      85          7201-07 S Dorchester Avenue          1401 E 72nd Street     Estate Property       George S Black                                                     $            95,000.00       Investor-Lender      $     27,000.00 85-572
      85          7201-07 S Dorchester Avenue          1401 E 72nd Street     Estate Property       Hillside Fund, LLC - Janet F. Turco, Owner/ Managing Member        $           505,000.00       Investor-Lender      $     50,000.00 85-101
      85          7201-07 S Dorchester Avenue          1401 E 72nd Street     Estate Property       iPlan Group FBO Randall Pong IRA                                   $            60,568.03    Investor-Lender and                     85-728
                                                                                                                                                                                                     Equity Investor
      85          7201-07 S Dorchester Avenue          1401 E 72nd Street     Estate Property       iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA       $             71,321.00      Investor-Lender      $      7,800.00   85-448
      85          7201-07 S Dorchester Avenue          1401 E 72nd Street     Estate Property       IPlanGroup Agent for Custodian FBO Mark Young                      $            380,000.00      Investor-Lender      $     20,000.00   85-1446
      85          7201-07 S Dorchester Avenue          1401 E 72nd Street     Estate Property       iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA       $            110,000.00      Investor-Lender      $     50,000.00   85-829
      85          7201-07 S Dorchester Avenue          1401 E 72nd Street     Estate Property       JN Investment Trust, Trustee Janice Nelson                         $            160,000.00      Investor-Lender      $     60,000.00   85-556
      85          7201-07 S Dorchester Avenue          1401 E 72nd Street     Estate Property       Liberty EBCP, LLC                                                  $         10,638,796.40    Institutional Lender                     85-898




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                                                                                                                Master Claims List
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Property Number        Property Address                Alternative Address            Type                                    Claimant Name                          Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                    Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                    Category as Identified on                           Property
                                                                                                                                                                          Claim Form)

      85          7201-07 S Dorchester Avenue           1401 E 72nd Street     Estate Property       Lori Waring                                                     $            65,063.99      Investor-Lender       $     50,000.00 85-675
      85          7201-07 S Dorchester Avenue           1401 E 72nd Street     Estate Property       MADISON TRUST COMPANY CUSTODIAN FBO JAMES R                     $            51,749.00      Investor-Lender       $     50,000.00 85-1417
                                                                                                     ROBINSON SELF-DIRECTED ROTH IRA 1704092
      85          7201-07 S Dorchester Avenue           1401 E 72nd Street     Estate Property       Michael Hill (Remoni Global Holdings LLC)                       $             85,000.00      Investor-Lender      $     35,000.00   85-179
      85          7201-07 S Dorchester Avenue           1401 E 72nd Street     Estate Property       Nicolas and Joyce Jenks                                         $            155,249.47      Investor-Lender      $     50,000.00   85-2032
      85          7201-07 S Dorchester Avenue           1401 E 72nd Street     Estate Property       Optima Property Solutions, LLC                                  $            487,209.71      Investor-Lender      $     77,500.00   85-1023
      85          7201-07 S Dorchester Avenue           1401 E 72nd Street     Estate Property       Pat DeSantis                                                    $          2,684,539.00      Investor-Lender      $    110,000.00   85-397
      85          7201-07 S Dorchester Avenue           1401 E 72nd Street     Estate Property       Paul N. Wilmesmeier                                             $            790,185.00      Investor-Lender      $     25,000.00   85-300
      85          7201-07 S Dorchester Avenue           1401 E 72nd Street     Estate Property       Ping Liu                                                        $             58,505.33      Investor-Lender      $     50,000.00   85-349
      85          7201-07 S Dorchester Avenue           1401 E 72nd Street     Estate Property       Rachel Beck                                                     $             64,480.66      Investor-Lender      $     50,000.00   85-813
      85          7201-07 S Dorchester Avenue           1401 E 72nd Street     Estate Property       Robert Potter                                                   $            282,999.00      Investor-Lender      $     11,868.00   85-1389
      85          7201-07 S Dorchester Avenue           1401 E 72nd Street     Estate Property       Steven Roche                                                    $            127,821.13      Investor-Lender      $     20,000.00   85-329
      85          7201-07 S Dorchester Avenue           1401 E 72nd Street     Estate Property       Teresita M. Shelton                                             $            426,513.00      Investor-Lender      $     50,000.00   85-330
      85          7201-07 S Dorchester Avenue           1401 E 72nd Street     Estate Property       Timothy S Sharp                                                 $            650,000.00      Investor-Lender      $     50,000.00   85-76
      85          7201-07 S Dorchester Avenue           1401 E 72nd Street     Estate Property       Towpath Investments LLC - Robert Kessing (manager)              $            135,000.00      Investor-Lender      $     30,000.00   85-338
      85          7201-07 S Dorchester Avenue           1401 E 72nd Street     Estate Property       Vartan Tarakchyan                                               $            415,000.00       Equity Investor          $65,000.00   85-1118
      85          7201-07 S Dorchester Avenue           1401 E 72nd Street     Estate Property       William H. Akins, Jr.                                           $          1,100,000.00       Equity Investor     $     50,000.00   85-2003
      86           7442-48 S Calumet Avenue                                    Estate Property       Alex Breslav                                                    $            247,000.00      Investor-Lender      $     50,000.00   86-262
      86           7442-48 S Calumet Avenue                                    Estate Property       Arthur Bertrand                                                 $             78,079.82      Investor-Lender      $     50,000.00   86-892
      86           7442-48 S Calumet Avenue                                    Estate Property       Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft    $            258,060.00    Investor-Lender and                      86-2008
                                                                                                     Roth)                                                                                         Equity Investor
      86           7442-48 S Calumet Avenue                                    Estate Property       Bluebridge Partners Limited                                     $            791,620.17      Investor-Lender      $    290,000.00   86-727
      86           7442-48 S Calumet Avenue                                    Estate Property       Bonaparte Properties LLC                                        $             25,000.00      Investor-Lender      $     25,000.00   86-1148
      86           7442-48 S Calumet Avenue                                    Estate Property       David Marcus                                                    $          1,370,484.00      Investor-Lender      $    105,000.00   86-801
      86           7442-48 S Calumet Avenue                                    Estate Property       Demetres Velendzas                                              $             51,500.00      Investor-Lender      $     50,000.00   86-776
      86           7442-48 S Calumet Avenue                                    Estate Property       Harvey Singer                                                   $            854,387.63      Investor-Lender      $     37,500.00   86-2054
      86           7442-48 S Calumet Avenue                                    Estate Property       iPlanGroup Agent for Custodian FBO Mary Lohrman IRA             $             51,783.33      Investor-Lender      $     50,000.00   86-935
      86           7442-48 S Calumet Avenue                                    Estate Property       Iplangroup agent for custodian FBO Richard Lohrman IRA          $            129,701.60      Investor-Lender      $     35,000.00   86-1363
      86           7442-48 S Calumet Avenue                                    Estate Property       Jerome B. Shaffer                                               $            250,000.00      Investor-Lender      $    150,000.00   86-992
      86           7442-48 S Calumet Avenue                                    Estate Property       Liberty EBCP, LLC                                               $         10,638,796.40    Institutional Lender                     86-898
      86           7442-48 S Calumet Avenue                                    Estate Property       Paul Harrison                                                   $            420,331.59      Investor-Lender      $    124,329.00   86-2026
      86           7442-48 S Calumet Avenue                                    Estate Property       Robert Guiney                                                   $            112,260.00      Investor-Lender      $     25,000.00   86-798
      86           7442-48 S Calumet Avenue                                    Estate Property       Teresita M. Shelton                                             $            426,513.00      Investor-Lender      $     30,000.00   86-330
      86           7442-48 S Calumet Avenue                                    Estate Property       The Peter Paul Nuspl Living Trust                               $          1,123,278.00      Investor-Lender      $     11,121.00   86-2044
      86           7442-48 S Calumet Avenue                                    Estate Property       Timothy S Sharp                                                 $            650,000.00      Investor-Lender      $     50,000.00   86-76
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       Alex Breslav                                                    $            247,000.00      Investor-Lender      $     57,000.00   87-262
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       Anjie Comer                                                     $             25,000.00       Equity Investor                       87-612
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       Asians Investing In Real Estate LLC                             $          1,278,402.00      Investor-Lender      $     55,000.00   87-503
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       Bernadette Chen (Eleven St Felix St. Realty)                    $          1,000,000.00       Equity Investor     $     50,000.00   87-2012
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       BETH DENTON (Elisabeth Denton)                                  $             51,751.49      Investor-Lender      $     50,000.00   87-614
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       BETH DENTON (IRA Services Trust Company CFBO Beth Denton)       $             20,699.99      Investor-Lender      $     20,000.00   87-650
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       Capital Liability Investments, LLC                              $             55,025.00      Investor-Lender      $     55,000.00   87-186
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       Charlotte A Hofer                                               $            370,000.00      Investor-Lender      $     50,000.00   87-603
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       Cosmos Building Maintenance Solo 401K Trust Rolando Lopez       $             50,000.00      Investor-Lender      $     50,000.00   87-185
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       DANIEL J MARTINEAU                                              $            321,016.60      Investor-Lender      $    110,000.00   87-1299
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       David M Harris                                                  $            831,700.00      Investor-Lender      $     53,000.00   87-267
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       Eric Schwartz                                                   $            144,153.72      Investor-Lender      $      7,213.00   87-157
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       Henry C. Scheuller                                              $            246,440.00      Investor-Lender                        87-868
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       Huiyi Yang                                                      $             21,935.00      Investor-Lender      $     21,935.00   87-255
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       iPlan Group FBO Randall Pong IRA                                $             60,568.03   Investor-Lender and                       87-728
                                                                                                                                                                                                   Equity Investor
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       James M McKnight and Silma L McKnight                           $            140,325.13      Investor-Lender      $     11,000.00 87-582
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       James Taber                                                     $            125,000.00      Investor-Lender      $     50,000.00 87-780
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       Jason Ragan - TSA                                               $            473,079.71       Equity Investor     $     16,100.00 87-796
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       Jason Ragan - TSA                                               $            128,050.00       Equity Investor     $     20,600.00 87-1133
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       Joel Feingold JFKN Investment Trust                             $             95,000.00      Investor-Lender      $     40,000.00 87-527
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       LA DONNA WRIGHT ACKLEN                                          $            268,666.74      Investor-Lender      $     50,000.00 87-244
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       Liberty EBCP, LLC                                               $         10,638,796.40    Institutional Lender                   87-898
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       Lori Moreland                                                   $            102,348.00      Investor-Lender      $     50,000.00 87-822
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       Madison Trust Company Custodian FBO David Harris                $             53,487.09      Investor-Lender      $     53,000.00 87-160
      87             7508 S Essex Avenue               2453-59 E 75th Street   Estate Property       Madison Trust Company Custodian FBO Stuart Edelman              $            255,332.70      Investor-Lender      $     50,000.00 87-103




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                                                                                                              Master Claims List
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Property Number       Property Address               Alternative Address            Type                                    Claimant Name                                 Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                         Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                         Category as Identified on                           Property
                                                                                                                                                                               Claim Form)

      87            7508 S Essex Avenue              2453-59 E 75th Street   Estate Property       Phyllis Harte                                                          $             36,069.53    Investor-Lender       $       9,270.00 87-2028
      87            7508 S Essex Avenue              2453-59 E 75th Street   Estate Property       Receivables to Cash, LLC d/b/a Berenger Capital                        $            150,000.00    Investor-Lender       $      50,000.00 87-302
      87            7508 S Essex Avenue              2453-59 E 75th Street   Estate Property       Robert R. Cook       Principle Assets LLC                              $              9,000.00    Investor-Lender                        87-659
      87            7508 S Essex Avenue              2453-59 E 75th Street   Estate Property       Rochelle Minchow                                                       $            190,000.00    Investor-Lender       $      50,000.00 87-2061
      87            7508 S Essex Avenue              2453-59 E 75th Street   Estate Property       Russ Moreland                                                          $              3,000.00    Investor-Lender       $      50,000.00 87-286
      87            7508 S Essex Avenue              2453-59 E 75th Street   Estate Property       Terri S. Tracy                                                         $            265,000.00    Investor-Lender       $     120,000.00 87-272
      87            7508 S Essex Avenue              2453-59 E 75th Street   Estate Property       Umbrella Investment Partners                                           $             72,894.00    Investor-Lender       $      40,000.00 87-1167
      87            7508 S Essex Avenue              2453-59 E 75th Street   Estate Property       Wesley Pittman (Pittman Gold LLC)                                      $            180,048.45    Investor-Lender                        87-469
      87            7508 S Essex Avenue              2453-59 E 75th Street   Estate Property       William H. Akins, Jr.                                                  $          1,100,000.00     Equity Investor      $     110,000.00 87-2003
      87            7508 S Essex Avenue              2453-59 E 75th Street   Estate Property       William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)              $          1,100,000.00    Investor-Lender       $      10,000.00 87-2003
      88          7546-48 S Saginaw Avenue                                   Estate Property       Annie Chang                                                            $            246,935.34    Investor-Lender       $      63,000.00 88-475
      88          7546-48 S Saginaw Avenue                                   Estate Property       Asians Investing In Real Estate LLC                                    $          1,278,402.00    Investor-Lender       $     115,000.00 88-503
      88          7546-48 S Saginaw Avenue                                   Estate Property       Bernadette Chen (Eleven St Felix St. Realty)                           $          1,000,000.00     Equity Investor      $      50,000.00 88-2012
      88          7546-48 S Saginaw Avenue                                   Estate Property       Cecilia Wolff                                                          $             73,887.50    Investor-Lender                        88-1204
      88          7546-48 S Saginaw Avenue                                   Estate Property       Daniel Matthews, Leah Matthews                                         $            185,922.54    Investor-Lender       $      29,000.00 88-117
      88          7546-48 S Saginaw Avenue                                   Estate Property       Elizabeth Zeng                                                         $            148,422.77    Investor-Lender       $      12,000.00 88-872
      88          7546-48 S Saginaw Avenue                                   Estate Property       Equity Trust Company Custodian FBO Marvette Cofield Roth IRA;          $             25,000.00    Investor-Lender       $      25,000.00 88-1091
                                                                                                   Equity Trust Company Custodian FBO Marvette Cofield SEP IRA
      88          7546-48 S Saginaw Avenue                                   Estate Property       Gary R. Burnham Jr. Solo 401K Trust                                    $            205,608.00     Investor-Lender      $      10,000.00   88-1174
      88          7546-48 S Saginaw Avenue                                   Estate Property       Gregory M. Wetz                                                        $             50,000.00     Investor-Lender      $      50,000.00   88-818
      88          7546-48 S Saginaw Avenue                                   Estate Property       HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                              $             26,260.28     Investor-Lender      $      50,000.00   88-1274
      88          7546-48 S Saginaw Avenue                                   Estate Property       Huiyi Yang and Hui Wang                                                $             43,150.22     Investor-Lender      $      16,374.00   88-122
      88          7546-48 S Saginaw Avenue                                   Estate Property       iPlanGroup Agent for Custodian FBO Charles Powell IRA                  $            260,000.00     Investor-Lender                         88-413
      88          7546-48 S Saginaw Avenue                                   Estate Property       Iplangroup agent for custodian FBO Richard Lohrman IRA                 $            129,701.60     Investor-Lender      $     185,000.00   88-1363
      88          7546-48 S Saginaw Avenue                                   Estate Property       Ivan A. Campbell                                                       $             52,000.00     Investor-Lender                         88-466
      88          7546-48 S Saginaw Avenue                                   Estate Property       John Bloxham                                                           $             25,123.83     Investor-Lender      $      24,333.00   88-1019
      88          7546-48 S Saginaw Avenue                                   Estate Property       John Bloxham                                                           $            110,000.00     Investor-Lender      $      52,991.00   88-1196
      88          7546-48 S Saginaw Avenue                                   Estate Property       John E. Wysocki                                                        $            117,000.00      Equity Investor                        88-740
      88          7546-48 S Saginaw Avenue                                   Estate Property       Katie Whitlock                                                         $             61,651.00      Equity Investor                        88-942
      88          7546-48 S Saginaw Avenue                                   Estate Property       Krushna Dundigalla                                                     $             60,000.00     Investor-Lender      $      60,000.00   88-656
      88          7546-48 S Saginaw Avenue                                   Estate Property       Liberty EBCP, LLC                                                      $         10,638,796.40   Institutional Lender                      88-898
      88          7546-48 S Saginaw Avenue                                   Estate Property       Louis Duane Velez, LLC (Louis Duane Velez as manager)                  $             50,000.00     Investor-Lender      $      50,000.00   88-901
      88          7546-48 S Saginaw Avenue                                   Estate Property       Madison Trust Company Agent for Custodian FBO The Jacqueline           $            623,489.57      Equity Investor                        88-163
                                                                                                   C Rowe Living Trust IRA
      88          7546-48 S Saginaw Avenue                                   Estate Property       MaryAnn Zimmerman                                                      $            50,000.00     Investor-Lender       $      31,716.00 88-937
      88          7546-48 S Saginaw Avenue                                   Estate Property       Michael F Grant & L. Gretchen Grant (Michael F. Grant & L.             $           695,000.00     Investor-Lender       $     110,000.00 88-393
                                                                                                   Gretchen Grant Revocable Trust dated March 16th 2012)
      88          7546-48 S Saginaw Avenue                                   Estate Property       Mike Dirnberger                                                        $            15,000.00     Investor-Lender                          88-443
      88          7546-48 S Saginaw Avenue                                   Estate Property       Paul N. Wilmesmeier                                                    $           790,185.00     Investor-Lender       $      75,000.00   88-300
      88          7546-48 S Saginaw Avenue                                   Estate Property       Petra Zoeller                                                          $           546,619.00     Investor-Lender       $      50,000.00   88-594
      88          7546-48 S Saginaw Avenue                                   Estate Property       Phillip G. Vander Kraats                                               $            80,186.82     Investor-Lender       $      28,314.00   88-628
      88          7546-48 S Saginaw Avenue                                   Estate Property       QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282-11 and          $            89,482.53     Investor-Lender       $       5,000.00   88-1352
                                                                                                   Acct# 25282-21
      88          7546-48 S Saginaw Avenue                                   Estate Property       Quest IRA Inc. FBO Rebeca E. Savory-Romero IRA Account #15528-         $           184,785.31     Investor-Lender       $       9,000.00 88-804
                                                                                                   11 and #15528-21
      88          7546-48 S Saginaw Avenue                                   Estate Property       Robert Potter                                                          $           282,999.00     Investor-Lender       $      15,500.00 88-1389
      88          7546-48 S Saginaw Avenue                                   Estate Property       Samir S. Totah and Norma S. Totah, Trustees of the Samir S. Totah      $            24,500.00     Investor-Lender       $      50,000.00 88-915
                                                                                                   and Norma S. Totah Declaration Trust 03/08/200
      88          7546-48 S Saginaw Avenue                                   Estate Property       Sidney Haggins                                                         $            70,000.00     Investor-Lender       $      20,000.00   88-1431
      88          7546-48 S Saginaw Avenue                                   Estate Property       Sohm Strategic Investments, LLC                                        $            77,250.00     Investor-Lender       $      50,000.00   88-865
      88          7546-48 S Saginaw Avenue                                   Estate Property       Stephan Tang                                                           $            50,000.00      Equity Investor      $      50,000.00   88-1111
      88          7546-48 S Saginaw Avenue                                   Estate Property       Terry M McDonald - Horizon Trust Custodian FBO Terry M                 $           137,333.33     Investor-Lender       $      87,333.33   88-571
                                                                                                   McDonald IRA
      88          7546-48 S Saginaw Avenue                                   Estate Property       The Peter Paul Nuspl Living Trust                                      $          1,123,278.00    Investor-Lender       $      85,500.00   88-2044
      88          7546-48 S Saginaw Avenue                                   Estate Property       US Freedom Investments, LLC                                            $            175,500.00    Investor-Lender       $       7,500.00   88-1234
      88          7546-48 S Saginaw Avenue                                   Estate Property       Walter T Akita and Margaret M Akita                                    $            100,000.00    Investor-Lender       $      50,000.00   88-950
      88          7546-48 S Saginaw Avenue                                   Estate Property       White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina    $            127,152.37    Investor-Lender       $      17,000.00   88-537
                                                                                                   Goltsev/Goltseva), Trustees
      88          7546-48 S Saginaw Avenue                                   Estate Property       Wisemove Properties LLC, (Anthony and Linda Reid, members)             $           668,979.00     Investor-Lender                        88-168
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street   Estate Property       Annie Chang                                                            $           246,935.34     Investor-Lender       $       5,000.00 89-475
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street   Estate Property       Arthur Bertrand                                                        $            78,079.82     Investor-Lender       $      17,300.00 89-892
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street   Estate Property       Aryeh (Judah) Smith                                                    $            50,000.00     Investor-Lender       $      50,000.00 89-430




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Property Number       Property Address               Alternative Address               Type                                    Claimant Name                               Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                          Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                          Category as Identified on                           Property
                                                                                                                                                                                Claim Form)

      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Asians Investing In Real Estate LLC                                  $          1,278,402.00     Investor-Lender      $      50,000.00   89-503
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Bernadette Chen (Eleven St Felix St. Realty)                         $          1,000,000.00      Equity Investor     $      68,381.00   89-2012
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       City of Chicago                                                      $             78,479.20          Other           $       1,542.97   89-693
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       David Marcus                                                         $          1,370,484.00     Investor-Lender      $     895,484.00   89-801
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Dennis & Mary Ann Hennefer                                           $            679,378.00     Investor-Lender      $      47,044.00   89-355
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Donald Minchow                                                       $            225,000.00     Investor-Lender      $     110,000.00   89-2041
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Duke E. Heger and Viviana Heger                                      $            117,000.00     Investor-Lender      $      20,000.00   89-1408
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Frank Sohm IRA                                                       $            148,604.93     Investor-Lender      $      15,796.00   89-558
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Frank Starosciak                                                     $             47,407.14     Investor-Lender      $      20,000.00   89-1239
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Fraser Realty Capital, LLC                                           $             20,038.00     Investor-Lender      $      20,038.00   89-1313
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Genevieve Giuliana Heger                                             $             20,058.00     Investor-Lender      $      10,000.00   89-1403
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Geronimo Usuga Carmona                                               $              8,937.50     Investor-Lender      $      39,333.00   89-543
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       iPlan Group Agent for Custodian FBO Paula Levand Roth                $             34,819.65     Investor-Lender      $      18,497.00   89-1334
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       iPlan Group Agent for Custodian FBO Stephen B Apple ROTH IRA         $             43,705.00     Investor-Lender      $      43,705.00   89-559
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA         $             71,321.00     Investor-Lender      $       3,715.00   89-448
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA       $             44,433.00     Investor-Lender      $      14,264.00   89-445
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Jason Ragan - TSA                                                    $            473,079.71      Equity Investor     $      29,562.00   89-796
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       John B. Allred & Glenda K. Allred                                    $          1,421,646.52   Investor-Lender and                       89-2004
                                                                                                                                                                                                        Equity Investor
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       John Bloxham                                                         $            36,826.17      Investor-Lender      $      35,667.00 89-1211
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Julie Patel                                                          $            97,038.00      Investor-Lender      $      10,338.00 89-409
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       KAMEDA INVESTMENTS, LLC (Sole Owner/Manager - Arnold                 $           220,000.00      Investor-Lender      $      80,000.00 89-121
                                                                                                      Kunio Kameda)
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Karen Droste                                                         $            74,000.00      Investor-Lender      $      74,000.00 89-605
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton,     $            83,813.00      Investor-Lender      $       8,000.00 89-310
                                                                                                      IRA)
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Law Office of V.L. Heger, A Professional Corporation                 $             50,369.00     Investor-Lender      $      50,000.00 89-1409
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Liberty EBCP, LLC                                                    $         10,638,796.40   Institutional Lender                    89-898
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Madison Trust Company Custodian FBO James R. Talman IRA              $             20,000.00     Investor-Lender      $      20,000.00 89-702
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Michael F Grant & L. Gretchen Grant (Michael F. Grant & L.           $            695,000.00     Investor-Lender      $      50,000.00 89-393
                                                                                                      Gretchen Grant Revocable Trust dated March 16th 2012)
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Midland IRA, Inc. LLC Custodian FBO, Terry L Merrill, IRA Account    $            60,000.00      Investor-Lender      $      60,000.00 89-1134
                                                                                                      # 6820601
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)      $           252,907.00      Investor-Lender      $      52,907.00   89-1365
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Paul N. Wilmesmeier                                                  $           790,185.00      Investor-Lender      $      25,000.00   89-300
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Private Finance Solutions, LLC                                       $           128,406.34      Investor-Lender      $      23,328.00   89-1478
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Quest IRA Inc. FBO Rebeca E. Savory-Romero IRA Account #15528-       $           184,785.31      Investor-Lender      $      39,953.00   89-804
                                                                                                      11 and #15528-21
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Rita Aken                                                            $            75,000.00      Investor-Lender                       89-770
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Robert Maione                                                        $           110,000.00      Investor-Lender      $     110,000.00 89-254
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Spectra Investments LLC/ Deborah L. Mullica                          $           579,288.00    Investor-Lender and    $     126,126.00 89-1220
                                                                                                                                                                                                        Equity Investor
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Timothy S Sharp                                                      $            650,000.00     Investor-Lender      $      50,000.00   89-76
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Towpath Investments LLC - Robert Kessing (manager)                   $            135,000.00     Investor-Lender      $      25,000.00   89-338
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       TruStar Real Estate Solutions, LLC                                   $            385,000.00     Investor-Lender      $     210,000.00   89-337
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       United Capital Properties, LLC                                       $            144,999.00     Investor-Lender      $      11,257.00   89-1480
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       Uyen Dinh                                                            $             15,793.28     Investor-Lender      $       7,192.81   89-2075
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       William and Janice Halbur                                            $             20,000.00     Investor-Lender                         89-2025
      89          7600-10 S Kingston Avenue          2527-29 E 76th Street      Estate Property       XUWEN LIN                                                            $             58,700.00     Investor-Lender      $      24,956.00   89-648
      90          7656-58 S Kingston Avenue        2514-2520 East 77th Street   Estate Property       Alcalli Sabat                                                        $            109,396.68     Investor-Lender                         90-786
      90          7656-58 S Kingston Avenue        2514-2520 East 77th Street   Estate Property       City of Chicago                                                      $             78,479.20          Other           $       2,000.32   90-693
      90          7656-58 S Kingston Avenue        2514-2520 East 77th Street   Estate Property       Edge Investments, LLC, Janet F. Turco, Owner/Member IRA              $          1,031,324.00     Investor-Lender      $     102,149.00   90-180
      90          7656-58 S Kingston Avenue        2514-2520 East 77th Street   Estate Property       Harvey Singer                                                        $            854,387.63     Investor-Lender      $     100,000.00   90-2054
      90          7656-58 S Kingston Avenue        2514-2520 East 77th Street   Estate Property       iPlanGroup Agent for Custodian FBO Charles Michael Anglin            $            238,889.23   Investor-Lender and    $      50,000.00   90-331
                                                                                                                                                                                                        Equity Investor
      90          7656-58 S Kingston Avenue        2514-2520 East 77th Street   Estate Property       iPlanGroup Agent for Custodian Leah Kalish IRA                       $           119,000.00      Investor-Lender      $      49,000.00 90-265
      90          7656-58 S Kingston Avenue        2514-2520 East 77th Street   Estate Property       John E. Wysocki                                                      $           117,000.00       Equity Investor                      90-740
      90          7656-58 S Kingston Avenue        2514-2520 East 77th Street   Estate Property       Jose Galarza                                                         $            20,107.00      Investor-Lender      $      35,107.00 90-1405
      90          7656-58 S Kingston Avenue        2514-2520 East 77th Street   Estate Property       Kingdom Trust Company, Custodian, FBO Louis Duane Velez SEP          $           100,000.00      Investor-Lender      $     100,000.00 90-1476
                                                                                                      IRA Acc. #7422686172
      90          7656-58 S Kingston Avenue        2514-2520 East 77th Street   Estate Property       Legacy Trading LLC                                                   $            257,000.00     Investor-Lender      $      20,000.00 90-508
      90          7656-58 S Kingston Avenue        2514-2520 East 77th Street   Estate Property       Liberty EBCP, LLC                                                    $         10,638,796.40   Institutional Lender                    90-898
      90          7656-58 S Kingston Avenue        2514-2520 East 77th Street   Estate Property       Mark Young                                                           $            366,131.08     Investor-Lender      $      50,000.00 90-1154




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Property Number       Property Address               Alternative Address               Type                                    Claimant Name                             Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                        Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                        Category as Identified on                           Property
                                                                                                                                                                              Claim Form)

      90          7656-58 S Kingston Avenue        2514-2520 East 77th Street   Estate Property       Michael D More                                                     $            100,000.00     Investor-Lender      $     100,000.00 90-682
      90          7656-58 S Kingston Avenue        2514-2520 East 77th Street   Estate Property       The Edward Falkowitz Living Trust                                  $            305,584.73     Investor-Lender                       90-575
      90          7656-58 S Kingston Avenue        2514-2520 East 77th Street   Estate Property       The Peter Paul Nuspl Living Trust                                  $          1,123,278.00     Investor-Lender      $      27,165.00 90-2044
      91           7701-03 S Essex Avenue                                       Estate Property       1839 Fund I LLC                                                    $            105,200.00     Investor-Lender      $      95,000.00 91-367
      91           7701-03 S Essex Avenue                                       Estate Property       Covenant Funding LLC                                               $            386,250.00     Investor-Lender      $     300,000.00 91-364
      91           7701-03 S Essex Avenue                                       Estate Property       Dennis & Mary Ann Hennefer                                         $            679,378.00     Investor-Lender      $      36,134.00 91-355
      91           7701-03 S Essex Avenue                                       Estate Property       Dennis K McCoy                                                     $            312,238.67     Investor-Lender      $     100,000.00 91-569
      91           7701-03 S Essex Avenue                                       Estate Property       Domenic Simone                                                     $            153,246.58      Equity Investor     $     100,000.00 91-883
      91           7701-03 S Essex Avenue                                       Estate Property       Liberty EBCP, LLC                                                  $         10,638,796.40   Institutional Lender                    91-898
      91           7701-03 S Essex Avenue                                       Estate Property       Louis Duane Velez, LLC (Louis Duane Velez as the manager)          $            150,000.00     Investor-Lender      $     150,000.00 91-1228
      91           7701-03 S Essex Avenue                                       Estate Property       Quest IRA, Inc. FBO Nandini S. Chennappan IRA # 1847611            $             55,500.00     Investor-Lender      $      50,000.00 91-1269
      91           7701-03 S Essex Avenue                                       Estate Property       Shane E Veltri                                                     $            465,000.00      Equity Investor     $     465,000.00 91-733
      91           7701-03 S Essex Avenue                                       Estate Property       Terry L. Merrill, Sheryl R. Merrill                                $            299,500.00     Investor-Lender      $      50,000.00 91-602
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Annie Chang                                                        $            246,935.34     Investor-Lender      $      28,000.00 92-475
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Applefield Family Trust, Paul and Robin Applefield, Trustees       $            155,000.00     Investor-Lender      $      30,000.00 92-2005
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Asians Investing In Real Estate LLC                                $          1,278,402.00     Investor-Lender      $     130,000.00 92-503
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Austin Capital Trust Company on behalf of Summit Trust Company,    $             77,520.06     Investor-Lender      $      31,000.00 92-1178
                                                                                                      custodian FBO David R Theil MD
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Blessing Strategies, LLC                                           $             29,784.00     Investor-Lender      $       7,000.00 92-353
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Cecilia Wolff                                                      $             73,887.50     Investor-Lender                       92-1204
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       City of Chicago                                                    $             78,479.20           Other          $       2,097.70 92-693
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Daniel Matthews, Leah Matthews                                     $            185,922.54     Investor-Lender      $      20,000.00 92-117
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)       $            300,000.00     Investor-Lender      $     250,000.00 92-2021
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Francisco Fernandez                                                $            584,237.50     Investor-Lender      $      50,000.00 92-1450
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Gerry Recamara                                                     $             55,000.00     Investor-Lender      $      55,000.00 92-624
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Heidi H. Liu                                                       $             76,079.07      Equity Investor     $      50,000.00 92-930
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       James Clements                                                     $            185,910.00     Investor-Lender      $      50,000.00 92-1402
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       James Walsh                                                        $            200,000.00     Investor-Lender      $     100,000.00 92-2058
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       JBMacy Solo 401K Trust                                             $             61,950.00     Investor-Lender      $      60,000.00 92-1193
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       John Bloxham for JBMacy Solo 401K Trust                            $             61,950.00     Investor-Lender      $      60,000.00 92-1011
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       John Witzigreuter                                                  $            200,000.00     Investor-Lender      $      50,000.00 92-729
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Julie Elaine Fogle                                                 $             50,000.00     Investor-Lender      $      50,000.00 92-235
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Kenneth (Ken) and Maria (Tina) Jorgensen                           $            453,233.25     Investor-Lender      $     121,506.00 92-194
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Kyle Jacobs                                                        $             95,000.00     Investor-Lender      $      95,000.00 92-1345
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Larry White                                                        $             50,800.00     Investor-Lender      $      50,000.00 92-983
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Liberty EBCP, LLC                                                  $         10,638,796.40   Institutional Lender                    92-898
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Liwen Zhao                                                         $             98,000.00     Investor-Lender      $     156,000.00 92-426
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       LMJ Sales, Inc.                                                    $            559,807.34     Investor-Lender      $      45,000.00 92-1346
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Marjorie Jean Sexton                                               $            200,000.00     Investor-Lender      $       3,000.00 92-2065
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Mark Young                                                         $            366,131.08     Investor-Lender      $      30,000.00 92-1154
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Michael F Grant & L. Gretchen Grant (Michael F. Grant & L.         $            695,000.00     Investor-Lender      $     270,000.00 92-393
                                                                                                      Gretchen Grant Revocable Trust dated March 16th 2012)
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)    $           252,907.00     Investor-Lender       $      25,000.00   92-1365
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Paul N. Wilmesmeier                                                $           790,185.00     Investor-Lender       $      75,000.00   92-300
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan    $           106,000.00     Investor-Lender       $      20,000.00   92-2087
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Paul Scribner                                                      $           200,000.00     Investor-Lender       $       7,000.00   92-1135
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Petra Zoeller                                                      $           546,619.00     Investor-Lender       $      70,000.00   92-594
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Phyllis Harte                                                      $            36,069.53     Investor-Lender       $      20,000.00   92-2028
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282-11 and      $            89,482.53     Investor-Lender       $      10,000.00   92-1352
                                                                                                      Acct# 25282-21
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Quest IRA, Inc. FBO Nandini S. Chennappan IRA # 1847611            $             55,500.00    Investor-Lender       $       5,500.00   92-1269
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Ranell Durgan                                                      $             50,000.00    Investor-Lender       $      50,000.00   92-454
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Ranell Durgan                                                      $             50,000.00    Investor-Lender       $      50,000.00   92-514
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Rene Hribal                                                        $          1,525,473.04    Investor-Lender       $     180,000.00   92-768
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Richard L. Braddock                                                $             92,375.45    Investor-Lender       $      50,000.00   92-396
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Steven K. Chennappan IRA # 17293-31                                $            128,000.00    Investor-Lender       $      18,000.00   92-206
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Teresita M. Shelton                                                $            426,513.00    Investor-Lender       $      30,000.00   92-330
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Timothy S Sharp                                                    $            650,000.00    Investor-Lender       $     100,000.00   92-76
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       United Capital Properties, LLC                                     $            144,999.00    Investor-Lender       $       8,730.00   92-1480
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Wesley Pittman (Pittman Gold LLC)                                  $            180,048.45    Investor-Lender                          92-469
      92           7748-52 S Essex Avenue            2450-52 E 78th Street      Estate Property       Wisemove Properties LLC, (Anthony and Linda Reid, members)         $            668,979.00    Investor-Lender                          92-168




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Property Number      Property Address               Alternative Address            Type                                    Claimant Name                               Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                      Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                      Category as Identified on                           Property
                                                                                                                                                                            Claim Form)

      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       1839 Fund I LLC                                                      $            47,562.00       Investor-Lender       $    39,483.00 93-367
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       Brett Burnham (                                                      $           215,335.54       Investor-Lender       $    25,000.00 93-314
                                                                                                  iPlanGroup Agent for Custodian FBO Brett Burnham)
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       Capital Investors, LLC                                               $            930,376.31       Investor-Lender      $    50,000.00   93-1490
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       Christopher Maher Beneficiary IRA                                    $             16,500.00       Investor-Lender      $    16,500.00   93-2079
      93          7953-59 S Marquette Road                                  Estate Property       CLD Construction, Inc. (Doru Unchias)                                $            434,935.00   Independent Contractor   $     2,800.00   93-1454
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       Daniel Matthews, Leah Matthews                                       $            185,922.54       Investor-Lender      $    32,322.32   93-117
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       Edge Investments, LLC, Janet F. Turco, Owner/Member IRA              $          1,031,324.00       Investor-Lender      $    58,000.00   93-180
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       Gallucci, Henry                                                      $             77,000.00       Investor-Lender      $    17,000.00   93-2059
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       Halbur, William and Janice                                           $             20,000.00       Investor-Lender      $     8,763.00   93-2025
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       Hoang Small Trust c/o Dalano Hoang                                   $            300,000.00       Investor-Lender      $    50,000.00   93-161
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       Howard and Doris Bybee                                               $             65,000.00       Investor-Lender      $    50,000.00   93-1039
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       iPlan Group Agent for Custodian FBO Daniel O'Hare IRA                $             50,000.00       Investor-Lender      $    50,000.00   93-838
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       John Bloxham                                                         $            110,000.00       Investor-Lender      $   110,000.00   93-1196
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       Liberty EBCP, LLC                                                    $         10,638,796.40     Institutional Lender                    93-898
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       Maher, Christopher                                                   $             30,500.00       Investor-Lender      $    16,500.00   93-2036
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       Robert Potter                                                        $            282,999.00       Investor-Lender      $    34,716.00   93-1389
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       Steven and Linda Lipschultz                                          $            350,360.00       Investor-Lender      $   177,000.00   93-1442
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       Steven K. Chennappan IRA # 17293-31                                  $            128,000.00       Investor-Lender      $    50,000.00   93-206
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       The Bonita R. Skurski & Steven E Skurski Trust                       $             98,452.43       Investor-Lender      $    80,000.00   93-2093
      93          7953-59 S Marquette Road          2708-10 E 80th Street   Estate Property       The Jacqueline C Rowe Living Trust                                   $            372,417.74       Investor-Lender                       93-139
      94           816-20 E Marquette Road                                  Estate Property       Bancroft, Ed                                                         $            258,060.00     Investor-Lender and                     94-2008
                                                                                                                                                                                                      Equity Investor
      94          816-20 E Marquette Road                                   Estate Property       Betty Mize (iPlanGroup Agent for Custodian FBO Betty Beal Mize       $            38,000.00        Investor-Lender      $    38,000.00 94-615
                                                                                                  IRA
      94          816-20 E Marquette Road                                   Estate Property       Frank and Laura Sohm                                                 $            167,893.65       Investor-Lender      $    50,000.00   94-906
      94          816-20 E Marquette Road                                   Estate Property       Grathia Corp                                                         $          1,184,081.00       Investor-Lender      $    35,000.00   94-1445
      94          816-20 E Marquette Road                                   Estate Property       Harendra Pal                                                         $            105,400.00       Investor-Lender      $   100,000.00   94-1123
      94          816-20 E Marquette Road                                   Estate Property       Hillside Fund, LLC - Janet F. Turco, Owner/ Managing Member          $            505,000.00       Investor-Lender      $    65,000.00   94-101
      94          816-20 E Marquette Road                                   Estate Property       Huiyi Yang and Hui Wang                                              $             43,150.22       Investor-Lender      $    13,847.00   94-122
      94          816-20 E Marquette Road                                   Estate Property       IPlanGroup Agent for Custodian FBO Mark Young                        $            380,000.00       Investor-Lender      $    50,000.00   94-1446
      94          816-20 E Marquette Road                                   Estate Property       John R Taxeras                                                       $            105,686.72       Investor-Lender      $    50,000.00   94-994
      94          816-20 E Marquette Road                                   Estate Property       LA DONNA WRIGHT ACKLEN                                               $            268,666.74       Investor-Lender      $    40,000.00   94-244
      94          816-20 E Marquette Road                                   Estate Property       Liberty EBCP, LLC                                                    $         10,638,796.40     Institutional Lender                    94-898
      94          816-20 E Marquette Road                                   Estate Property       Pat DeSantis                                                         $          2,684,539.00       Investor-Lender      $   100,000.00   94-397
      94          816-20 E Marquette Road                                   Estate Property       Paul N. Wilmesmeier                                                  $            790,185.00       Investor-Lender      $    25,185.00   94-300
      94          816-20 E Marquette Road                                   Estate Property       Petra Zoeller                                                        $            546,619.00       Investor-Lender      $    30,000.00   94-594
      94          816-20 E Marquette Road                                   Estate Property       Ricardo Acevedo Lopez                                                $             35,000.00       Investor-Lender      $    35,000.00   94-1267
      94          816-20 E Marquette Road                                   Estate Property       Shengjie Li and Yuye Xu                                              $            165,441.12       Investor-Lender      $    25,000.00   94-1340
      94          816-20 E Marquette Road                                   Estate Property       Terri S. Tracy                                                       $            265,000.00       Investor-Lender      $    50,000.00   94-272
      94          816-20 E Marquette Road                                   Estate Property       William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)            $          1,100,000.00       Investor-Lender      $   250,000.00   94-2003
      94          816-20 E Marquette Road                                   Estate Property       William Needham                                                      $            355,428.00       Investor-Lender      $     6,000.00   94-80
      94          816-20 E Marquette Road                                   Estate Property       Wisemove Properties LLC, (Anthony and Linda Reid, members)           $            668,979.00       Investor-Lender                       94-168
      95          8201 S Kingston Avenue                                    Estate Property       Amit Hammer                                                          $            295,980.00       Investor-Lender      $    50,000.00   95-225
      95          8201 S Kingston Avenue                                    Estate Property       Arvind Kinjarapu                                                     $            145,500.00       Investor-Lender      $   100,000.00   95-1161
      95          8201 S Kingston Avenue                                    Estate Property       Fraser Realty Investments, LLC                                       $            120,000.00       Investor-Lender      $    20,000.00   95-1079
      95          8201 S Kingston Avenue                                    Estate Property       Harendra Pal                                                         $            125,000.00       Investor-Lender      $   100,000.00   95-1127
      95          8201 S Kingston Avenue                                    Estate Property       Hutchings, Matt                                                      $            362,766.68       Investor-Lender      $   150,000.00   95-2030
      95          8201 S Kingston Avenue                                    Estate Property       IPlanGroup Agent for Custodian FBO Mark Young                        $            380,000.00       Investor-Lender      $    60,000.00   95-1446
      95          8201 S Kingston Avenue                                    Estate Property       Liberty EBCP, LLC                                                    $         10,638,796.40     Institutional Lender                    95-898
      95          8201 S Kingston Avenue                                    Estate Property       Madison Trust Company Custodian FBO Stuart Edelman                   $            255,332.70       Investor-Lender      $    50,000.00   95-103
      95          8201 S Kingston Avenue                                    Estate Property       Mark Young                                                           $            366,131.08       Investor-Lender      $    50,000.00   95-1154
      95          8201 S Kingston Avenue                                    Estate Property       May M. Akamine for Aurora Investments, LLC (assets formerly under    $            631,739.82       Investor-Lender      $    25,000.00   95-1412
                                                                                                  MayREI, LLC)
      95           8201 S Kingston Avenue                                   Estate Property       SeaDog Properties LLC / Darrell Odum                                 $           134,000.00       Investor-Lender       $    60,000.00   95-381
      95           8201 S Kingston Avenue                                   Estate Property       Shelton Gandy                                                        $            82,360.00        Equity Investor      $    50,000.00   95-630
      95           8201 S Kingston Avenue                                   Estate Property       Stuart Edelman                                                       $           167,250.00       Investor-Lender       $    75,000.00   95-1201
      95           8201 S Kingston Avenue                                   Estate Property       Umbrella Investment Partners                                         $            72,894.00       Investor-Lender       $     5,000.00   95-1167
      95           8201 S Kingston Avenue                                   Estate Property       Vladimir Matviishin                                                  $           290,200.00       Investor-Lender       $    20,000.00   95-1294
     96-99          8326-50 S Ellis Avenue                                  Estate Property       Bluebridge Partners Limited                                          $           791,620.17       Investor-Lender       $    73,971.00   96-727
     96-99          8326-50 S Ellis Avenue                                  Estate Property       Jason Ragan - TSA                                                    $           473,079.71        Equity Investor      $   276,489.58   96-796




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Property Number     Property Address              Alternative Address          Type                                    Claimant Name                               Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                  Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                  Category as Identified on                           Property
                                                                                                                                                                        Claim Form)

     96-99        8326-58 S Ellis Avenue                                Estate Property       Agee Family Trust c/o Scott R. Agee                                  $           130,000.00     Investor-Lender       $      50,000.00   96-2001
     96-99        8326-58 S Ellis Avenue                                Estate Property       Annie Chang                                                          $           246,935.34     Investor-Lender       $       6,620.00   96-475
     96-99        8326-58 S Ellis Avenue                                Estate Property       Applefield Family Trust, Paul and Robin Applefield, Trustees         $           155,000.00     Investor-Lender       $     105,000.00   96-2005
     96-99        8326-58 S Ellis Avenue                                Estate Property       Arvind Kinjarapu                                                     $           145,500.00     Investor-Lender       $      10,500.00   96-1161
     96-99        8326-58 S Ellis Avenue                                Estate Property       Asbury R. Lockett                                                                               Investor-Lender       $     100,000.00   96-210
     96-99        8326-58 S Ellis Avenue                                Estate Property       Bernadette Chen (Eleven St Felix St. Realty)                         $          1,000,000.00     Equity Investor      $      50,000.00   96-2012
     96-99        8326-58 S Ellis Avenue                                Estate Property       BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                       $            463,999.95    Investor-Lender       $      65,745.00   96-491
     96-99        8326-58 S Ellis Avenue                                Estate Property       Brad and Linda Lutz                                                  $            813,582.00    Investor-Lender       $       5,000.00   96-962
     96-99        8326-58 S Ellis Avenue                                Estate Property       Charles Michael Edward Fowler (iPlanGroup Agent for Custodian        $             63,007.00    Investor-Lender       $      63,007.00   96-69
                                                                                              FBO C Michael E Fowler IRA)
     96-99        8326-58 S Ellis Avenue                                Estate Property       City of Chicago                                                      $             78,479.20           Other          $       3,063.68   96-693
     96-99        8326-58 S Ellis Avenue                                Estate Property       Danielle DeVarne                                                     $            150,000.00     Investor-Lender      $      50,000.00   96-679
     96-99        8326-58 S Ellis Avenue                                Estate Property       DAVID G & LEANNE D RUESCH                                            $             52,666.68     Investor-Lender      $      50,000.00   96-384
     96-99        8326-58 S Ellis Avenue                                Estate Property       David Marcus                                                         $          1,370,484.00     Investor-Lender      $     120,000.00   96-801
     96-99        8326-58 S Ellis Avenue                                Estate Property       Dee Ann Nason                                                        $            303,965.00     Investor-Lender      $      50,000.00   96-453
     96-99        8326-58 S Ellis Avenue                                Estate Property       Denny Kon                                                            $             52,000.01     Investor-Lender      $      50,000.00   96-112
     96-99        8326-58 S Ellis Avenue                                Estate Property       Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)         $            300,000.00     Investor-Lender      $      25,000.00   96-2021
     96-99        8326-58 S Ellis Avenue                                Estate Property       Francisco Fernandez                                                  $            584,237.50     Investor-Lender      $      45,000.00   96-1450
     96-99        8326-58 S Ellis Avenue                                Estate Property       Frank Starosciak                                                     $             47,407.14     Investor-Lender      $       5,000.00   96-1239
     96-99        8326-58 S Ellis Avenue                                Estate Property       Fredric R. Gottlieb                                                  $            212,481.00     Investor-Lender      $      75,000.00   96-1177
     96-99        8326-58 S Ellis Avenue                                Estate Property       Fredric R. Gottlieb                                                  $            391,776.10     Investor-Lender      $     184,259.00   96-1212
     96-99        8326-58 S Ellis Avenue                                Estate Property       Freyja Partners, a California Limited Partnership                    $            179,625.00     Investor-Lender      $      50,000.00   96-1141
     96-99        8326-58 S Ellis Avenue                                Estate Property       Ganpat and FEREEDA Seunath                                           $            216,194.22     Investor-Lender      $      51,585.00   96-77
     96-99        8326-58 S Ellis Avenue                                Estate Property       George S Black                                                       $             95,000.00     Investor-Lender      $      68,000.00   96-572
     96-99        8326-58 S Ellis Avenue                                Estate Property       Girl Cat Capital West LLC, Valentina Salge, President                $            212,145.00     Investor-Lender      $     100,000.00   96-350
     96-99        8326-58 S Ellis Avenue                                Estate Property       Halbur, William and Janice                                           $             20,000.00     Investor-Lender      $      20,000.00   96-2025
     96-99        8326-58 S Ellis Avenue                                Estate Property       Harendra Pal                                                         $             51,335.00     Investor-Lender      $      41,068.00   96-1124
     96-99        8326-58 S Ellis Avenue                                Estate Property       Harvey Singer                                                        $            854,387.63     Investor-Lender      $      65,000.00   96-2054
     96-99        8326-58 S Ellis Avenue                                Estate Property       Henry C. Scheuller                                                   $            246,440.00     Investor-Lender                         96-868
     96-99        8326-58 S Ellis Avenue                                Estate Property       Hoang Small Trust c/o Dalano Hoang                                   $            300,000.00     Investor-Lender                         96-161
     96-99        8326-58 S Ellis Avenue                                Estate Property       iPlan Group Agent for Custodian FBO James B Ploeger IRA              $             72,000.00     Investor-Lender      $      17,000.00   96-520
     96-99        8326-58 S Ellis Avenue                                Estate Property       iPlan Group Agent for Custodian FBO Marvette Cofield IRA 3321057     $             10,000.00     Investor-Lender      $      10,000.00   96-1441
     96-99        8326-58 S Ellis Avenue                                Estate Property       iPlanGroup Agent for Custodian FBO Charles Powell IRA                $            260,000.00     Investor-Lender                         96-413
     96-99        8326-58 S Ellis Avenue                                Estate Property       IPlanGroup Agent for Custodian FBO Mark Young                        $            380,000.00     Investor-Lender      $      45,000.00   96-1446
     96-99        8326-58 S Ellis Avenue                                Estate Property       iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA       $             44,433.00     Investor-Lender      $       5,000.00   96-445
     96-99        8326-58 S Ellis Avenue                                Estate Property       iPlanGroup Agent for Custodian FBO Swetha Voddi IRA                  $             14,000.00     Investor-Lender      $      14,000.00   96-1013
     96-99        8326-58 S Ellis Avenue                                Estate Property       IRA Services Trust Custodian FBO Ronald Stephen Klein                $            114,666.74     Investor-Lender      $      50,000.00   96-301
     96-99        8326-58 S Ellis Avenue                                Estate Property       John E. Wysocki                                                      $            117,000.00      Equity Investor                        96-740
     96-99        8326-58 S Ellis Avenue                                Estate Property       Joseph P. McCarthy                                                   $            277,847.33     Investor-Lender      $      15,000.00   96-1367
     96-99        8326-58 S Ellis Avenue                                Estate Property       Keith Randall                                                        $            250,000.00     Investor-Lender      $     100,000.00   96-1086
     96-99        8326-58 S Ellis Avenue                                Estate Property       Kevin Randall                                                        $            200,000.00     Investor-Lender      $      70,000.00   96-811
     96-99        8326-58 S Ellis Avenue                                Estate Property       KKW Investments, LLC                                                 $            100,033.40     Investor-Lender      $       7,306.00   96-336
     96-99        8326-58 S Ellis Avenue                                Estate Property       Leonard Grosso                                                       $            177,499.95     Investor-Lender      $      50,000.00   96-2024
     96-99        8326-58 S Ellis Avenue                                Estate Property       Liberty EBCP, LLC                                                    $         10,638,796.40   Institutional Lender                      96-898
     96-99        8326-58 S Ellis Avenue                                Estate Property       LISA MARIE KENNEDY / BRANDELLA CONSULTING, LLC.                      $             50,000.00     Investor-Lender      $      50,000.00   96-586
     96-99        8326-58 S Ellis Avenue                                Estate Property       Madison Trust Co, Custodian FBO Sonia Silver IRA #M1612049           $             50,000.00     Investor-Lender      $      50,000.00   96-963
     96-99        8326-58 S Ellis Avenue                                Estate Property       Madison Trust Company FBO Judy Newton IRA                            $            102,235.61     Investor-Lender      $      50,000.00   96-533
     96-99        8326-58 S Ellis Avenue                                Estate Property       May M. Akamine for Aurora Investments, LLC (assets formerly under    $            631,739.82     Investor-Lender      $      50,000.00   96-1412
                                                                                              MayREI, LLC)
     96-99        8326-58 S Ellis Avenue                                Estate Property       Melanie T. or Gary M. Gonzales                                       $           525,525.01     Investor-Lender       $     100,000.00 96-207
     96-99        8326-58 S Ellis Avenue                                Estate Property       Michael Burns                                                        $            50,000.00     Investor-Lender       $      50,000.00 96-1219
     96-99        8326-58 S Ellis Avenue                                Estate Property       Michael F Grant & L. Gretchen Grant (Michael F. Grant & L.           $           695,000.00     Investor-Lender       $      35,000.00 96-393
                                                                                              Gretchen Grant Revocable Trust dated March 16th 2012)
     96-99        8326-58 S Ellis Avenue                                Estate Property       Michael Prokop                                                       $                197.01     Equity Investor      $      50,000.00   96-787
     96-99        8326-58 S Ellis Avenue                                Estate Property       Nathan Hennefer                                                      $             44,000.00    Investor-Lender       $      44,000.00   96-754
     96-99        8326-58 S Ellis Avenue                                Estate Property       Nicolas and Joyce Jenks                                              $            155,249.47    Investor-Lender       $      25,000.00   96-2032
     96-99        8326-58 S Ellis Avenue                                Estate Property       Pat DeSantis                                                         $          2,684,539.00    Investor-Lender       $     250,000.00   96-397
     96-99        8326-58 S Ellis Avenue                                Estate Property       Paul Harrison                                                        $            420,331.59    Investor-Lender       $      25,000.00   96-2026
     96-99        8326-58 S Ellis Avenue                                Estate Property       Paul N. Wilmesmeier                                                  $            790,185.00    Investor-Lender       $      50,000.00   96-300
     96-99        8326-58 S Ellis Avenue                                Estate Property       Pensco Trust Company Custodian FBO Kathleen A Robinson               $             15,405.00    Investor-Lender       $      12,500.00   96-1435
     96-99        8326-58 S Ellis Avenue                                Estate Property       Peter (Pierre) Henri Gelinas                                         $             26,499.94    Investor-Lender       $      12,847.46   96-1385




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Property Number        Property Address                 Alternative Address          Type                                    Claimant Name                               Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                        Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                        Category as Identified on                           Property
                                                                                                                                                                              Claim Form)

     96-99            8326-58 S Ellis Avenue                                  Estate Property       Raymond Thompson Investment Trust LLC                                $             80,000.00     Investor-Lender     $       50,000.00   96-251
     96-99            8326-58 S Ellis Avenue                                  Estate Property       Scott Eaton                                                          $            549,101.33     Investor-Lender     $       60,000.00   96-1470
     96-99            8326-58 S Ellis Avenue                                  Estate Property       Sidney Haggins                                                       $             85,000.00     Investor-Lender     $       20,000.00   96-1434
     96-99            8326-58 S Ellis Avenue                                  Estate Property       Simon Usuga                                                          $             95,000.00     Investor-Lender     $       50,000.00   96-681
     96-99            8326-58 S Ellis Avenue                                  Estate Property       Strategic Wealth Ventures, LLC, Brian Kothman Member                 $             70,866.00     Investor-Lender     $       11,585.00   96-595
     96-99            8326-58 S Ellis Avenue                                  Estate Property       Susan Kalisiak-Tingle                                                $            469,921.00     Investor-Lender     $       40,000.00   96-1438
     96-99            8326-58 S Ellis Avenue                                  Estate Property       The Moore/Ferrer Family 2004 Trust                                   $            208,341.66     Investor-Lender     $      100,000.00   96-107
     96-99            8326-58 S Ellis Avenue                                  Estate Property       TruStar Real Estate Solutions, LLC                                   $            385,000.00     Investor-Lender     $       25,000.00   96-337
     96-99            8326-58 S Ellis Avenue                                  Estate Property       Umbrella Investment Partners                                         $             72,894.00     Investor-Lender     $       12,500.00   96-1167
     96-99            8326-58 S Ellis Avenue                                  Estate Property       Victor Shaw                                                          $            296,025.03     Investor-Lender     $       50,000.00   96-1040
     96-99            8326-58 S Ellis Avenue                                  Estate Property       Viren R Patel                                                        $             50,000.00     Investor-Lender     $       50,000.00   96-507
     96-99            8326-58 S Ellis Avenue                                  Estate Property       Virginia S Oton                                                      $              9,710.00     Investor-Lender     $        9,710.00   96-105
     96-99            8326-58 S Ellis Avenue                                  Estate Property       Vladimir Matviishin, dba Network Expert                              $            138,075.00     Investor-Lender     $       50,000.00   96-1387
      100         11117-11119 S Longwood Drive                                Estate Property       88 Legacy LLC                                                        $             56,000.03     Investor-Lender     $       50,000.00   100-126
      100         11117-11119 S Longwood Drive                                Estate Property       Agee Family Trust c/o Scott R. Agee                                  $            130,000.00     Investor-Lender     $       25,000.00   100-2001
      100         11117-11119 S Longwood Drive                                Estate Property       Asians Investing In Real Estate LLC                                  $          1,278,402.00     Investor-Lender     $      150,000.00   100-503
      100         11117-11119 S Longwood Drive                                Estate Property       BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                       $            463,999.95     Investor-Lender     $      100,000.00   100-491
      100         11117-11119 S Longwood Drive                                Estate Property       Braden Galloway                                                      $            227,800.02     Investor-Lender                         100-1463
      100         11117-11119 S Longwood Drive                                Estate Property       Brook & Sarah Swientisky; J&S Investment, LLC                        $            134,400.01      Equity Investor    $       50,000.00   100-568
      100         11117-11119 S Longwood Drive                                Estate Property       Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)              $            115,000.00     Investor-Lender     $       50,000.00   100-137
      100         11117-11119 S Longwood Drive                                Estate Property       BTRUE LLC Barry J. Oates                                             $             93,600.00      Equity Investor    $       50,000.00   100-669
      100         11117-11119 S Longwood Drive                                Estate Property       Chestnut Capital LLC                                                 $            138,047.00     Investor-Lender     $       50,000.00   100-1460
      100         11117-11119 S Longwood Drive                                Estate Property       Danyel Tiefenbacher and Jamie Lai                                    $            103,875.01      Equity Investor    $       50,000.00   100-646
      100         11117-11119 S Longwood Drive                                Estate Property       David M Harris                                                       $            534,555.00      Equity Investor    $       32,700.00   100-267
      100         11117-11119 S Longwood Drive                                Estate Property       David R. Trengove                                                    $            705,123.88     Investor-Lender     $       46,000.00   100-481
      100         11117-11119 S Longwood Drive                                Estate Property       Dee Ann Nason                                                        $            303,965.00     Investor-Lender     $       50,000.00   100-453
      100         11117-11119 S Longwood Drive                                Estate Property       Distributive Marketing Inc.                                          $            155,000.00      Equity Investor    $       55,000.00   100-806
      100         11117-11119 S Longwood Drive                                Estate Property       DK Phenix Investments LLC                                            $            575,750.00     Investor-Lender     $       75,000.00   100-584
      100         11117-11119 S Longwood Drive                                Estate Property       Edge Investments, LLC, Janet F. Turco, Owner/Member IRA              $          1,031,324.00     Investor-Lender     $      100,000.00   100-180
      100         11117-11119 S Longwood Drive                                Estate Property       Ellen Liu                                                            $            400,000.00      Equity Investor    $      150,000.00   100-1354
      100         11117-11119 S Longwood Drive                                Estate Property       Gallowglass LLC c/o Patrick Bournes                                  $            100,000.00     Investor-Lender                         100-316
      100         11117-11119 S Longwood Drive                                Estate Property       Grathia Corp                                                         $          1,184,081.00     Investor-Lender     $       53,000.00   100-1445
      100         11117-11119 S Longwood Drive                                Estate Property       Hillside Fund, LLC - Janet F. Turco, Owner/ Managing Member          $            505,000.00     Investor-Lender     $       75,000.00   100-101
      100         11117-11119 S Longwood Drive                                Estate Property       IRA Services Trust Company CFBO Melbourne Kimsey II                  $            150,000.00      Equity Investor    $       50,000.00   100-661
      100         11117-11119 S Longwood Drive                                Estate Property       James Tutsock                                                        $            169,483.00      Equity Investor    $      250,000.00   100-2057
      100         11117-11119 S Longwood Drive                                Estate Property       Joel Feingold JFKN Investment Trust                                  $             95,000.00     Investor-Lender     $       25,000.00   100-527
      100         11117-11119 S Longwood Drive                                Estate Property       John and Cynthia Braden                                              $             43,888.41     Investor-Lender     $       50,000.00   100-1047
      100         11117-11119 S Longwood Drive                                Estate Property       John B. Allred & Glenda K. Allred                                    $          1,421,646.52   Investor-Lender and                       100-2004
                                                                                                                                                                                                      Equity Investor
     100          11117-11119 S Longwood Drive                                Estate Property       John McDevitt                                                        $           220,000.00       Equity Investor    $      100,000.00   100-2090
     100          11117-11119 S Longwood Drive                                Estate Property       Joseph E. Kennedy                                                    $           298,138.29      Investor-Lender     $       50,000.00   100-106
     100          11117-11119 S Longwood Drive                                Estate Property       Koates LLC                                                           $            85,000.00       Equity Investor    $       50,000.00   100-228
     100          11117-11119 S Longwood Drive                                Estate Property       Kristien Van Hecke as trustee of DK Phenix Investments LLC 401(k)    $            22,434.28      Investor-Lender     $       25,000.00   100-840
                                                                                                    FBO Kristien Van Hecke
     100          11117-11119 S Longwood Drive                                Estate Property       Madison Trust Acc Nr M1707067 fbo Harry L Shaffer                    $           200,000.00      Investor-Lender     $      100,000.00 100-2053
     100          11117-11119 S Longwood Drive                                Estate Property       Madison Trust Company Custodian FBO Patrick Coppinger                $            60,000.00      Investor-Lender     $       60,000.00 100-1430
                                                                                                    M1708149, Patrick Coppinger
     100          11117-11119 S Longwood Drive                                Estate Property       Mike M. Cocos                                                        $           150,000.00       Equity Investor    $       50,000.00 100-82
     100          11117-11119 S Longwood Drive                                Estate Property       Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679-01           $           159,000.00      Investor-Lender     $       92,000.00 100-315
     100          11117-11119 S Longwood Drive                                Estate Property       Nancy Cree (Cree Capital Ventures)                                   $           725,000.00      Investor-Lender     $      250,000.00 100-2014
     100          11117-11119 S Longwood Drive                                Estate Property       Nancy Fillmore                                                       $            90,974.27      Investor-Lender                       100-2022
     100          11117-11119 S Longwood Drive                                Estate Property       Patricia E Gomes (Ravin3 LLC / Longwood11117, LLC)                   $           405,333.28      Investor-Lender     $      400,000.00 100-1400
     100          11117-11119 S Longwood Drive                                Estate Property       Paul N. Wilmesmeier                                                  $           790,185.00      Investor-Lender     $       15,000.00 100-300
     100          11117-11119 S Longwood Drive                                Estate Property       Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan      $           106,000.00      Investor-Lender     $       11,000.00 100-2087
     100          11117-11119 S Longwood Drive                                Estate Property       Petra Zoeller                                                        $           546,619.00      Investor-Lender     $      199,000.00 100-594
     100          11117-11119 S Longwood Drive                                Estate Property       PNW Investments, LLC                                                 $           350,000.00      Investor-Lender     $       18,000.00 100-332
     100          11117-11119 S Longwood Drive                                Estate Property       Quest Trust Company FBO Paul Applefield Roth IRA#16413-21            $            13,500.00      Investor-Lender     $        7,000.00 100-2088
     100          11117-11119 S Longwood Drive                                Estate Property       Quest Trust Company FBO Robin Applefield Roth IRA#25164-21           $            13,500.00      Investor-Lender     $        7,000.00 100-2089
     100          11117-11119 S Longwood Drive                                Estate Property       Rajesh Gupta Roth IRA                                                $           318,674.45      Investor-Lender     $      265,562.00 100-1280
     100          11117-11119 S Longwood Drive                                Estate Property       Rajitha Dundigalla                                                   $            50,000.00      Investor-Lender     $       50,000.00 100-655
     100          11117-11119 S Longwood Drive                                Estate Property       Rinku Uberoi                                                         $           250,000.00      Investor-Lender     $      250,000.00 100-1373




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Property Number        Property Address                 Alternative Address          Type                                    Claimant Name                             Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                      Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                      Category as Identified on                           Property
                                                                                                                                                                            Claim Form)

      100         11117-11119 S Longwood Drive                                Estate Property       Rise Up Real Estate Group, LLC                                     $            352,258.39       Investor-Lender      $     125,000.00   100-1484
      100         11117-11119 S Longwood Drive                                Estate Property       Robert W. Jennings                                                 $            308,632.47       Investor-Lender      $     150,000.00   100-447
      100         11117-11119 S Longwood Drive                                Estate Property       Roswitha M. and John S. Ennema                                     $             58,179.21       Investor-Lender      $       5,000.00   100-564
      100         11117-11119 S Longwood Drive                                Estate Property       Scott Eaton                                                        $            549,101.33       Investor-Lender      $      50,000.00   100-1470
      100         11117-11119 S Longwood Drive                                Estate Property       Serva Fidem, LLC                                                   $             78,510.69       Investor-Lender      $      25,000.00   100-1425
      100         11117-11119 S Longwood Drive                                Estate Property       Stephan Tang                                                       $             50,000.00        Equity Investor     $      50,000.00   100-1111
      100         11117-11119 S Longwood Drive                                Estate Property       Steven G. Mouty                                                    $            465,000.00        Equity Investor     $     150,000.00   100-821
      100         11117-11119 S Longwood Drive                                Estate Property       Steven R. Bald                                                     $             45,000.00        Equity Investor     $      45,000.00   100-399
      100         11117-11119 S Longwood Drive                                Estate Property       Steven Trzaska                                                     $            167,000.00       Investor-Lender      $     100,000.00   100-141
      100         11117-11119 S Longwood Drive                                Estate Property       Timothy S Sharp                                                    $            650,000.00       Investor-Lender      $      50,000.00   100-76
      100         11117-11119 S Longwood Drive                                Estate Property       Victor Shaw                                                        $            296,025.03       Investor-Lender      $      50,000.00   100-1040
      100         11117-11119 S Longwood Drive                                Estate Property       William H. Akins, Jr.                                              $          1,100,000.00       Investor-Lender      $     250,000.00   100-2003
      100         11117-11119 S Longwood Drive                                Estate Property       Wisemove Properties LLC, (Anthony and Linda Reid, members)         $            668,979.00       Investor-Lender      $      50,000.00   100-168
      100         11117-11119 S Longwood Drive                                Estate Property       WT Investment Trust (Wiegert Tierie)                               $             18,043.99       Investor-Lender      $      17,350.00   100-1310
      100         11117-11119 S Longwood Drive                                Estate Property       Yin Liu, Ping Xu                                                   $            150,000.00        Equity Investor     $     100,000.00   100-1368
      100         11117-11119 S Longwood Drive                                Estate Property       Zouhair and Nada Stephan                                           $            300,000.00       Investor-Lender      $     150,000.00   100-283
      101            6949-59 S Merrill Avenue                                 Estate Property       Capital Investors, LLC (6951 S. Merrill Fund I LLC)                $          1,856,942.46        Equity Investor     $   1,550,000.00   101-1490
      101            6949-59 S Merrill Avenue                                 Estate Property       CLC Electric, Inc. (Costel Dumitrescu)                             $            108,000.00   Independent Contractor   $      57,000.00   101-1477
      101            6949-59 S Merrill Avenue                                 Estate Property       CLD Construction, Inc. (Doru Unchias)                              $            434,935.00   Independent Contractor   $      91,000.00   101-1454
      101            6949-59 S Merrill Avenue                                 Estate Property       Doron Reichenberg                                                  $            179,000.00       Investor-Lender      $      54,000.00   101-708
      101            6949-59 S Merrill Avenue                                 Estate Property       Thorofare Asset Based Lending REIT Fund IV, LLC                    $          1,915,706.50     Institutional Lender                      101-1188
    102-106          7927-49 S Essex Avenue                                   Estate Property       Asians Investing In Real Estate LLC                                $          1,278,402.00       Investor-Lender      $    119,000.00    102-503
    102-106          7927-49 S Essex Avenue                                   Estate Property       Bernadette Chen (Eleven St Felix St. Realty)                       $          1,000,000.00        Equity Investor     $     50,000.00    102--2012
    102-106          7927-49 S Essex Avenue                                   Estate Property       Bright Venture, LLC                                                $            231,142.74        Equity Investor     $     70,000.00    102-84
    102-106          7927-49 S Essex Avenue                                   Estate Property       David & Florybeth Stratton                                         $            150,000.00       Investor-Lender      $    150,000.00    102-588
    102-106          7927-49 S Essex Avenue                                   Estate Property       David Ashley Lawrence Johnson investing under Endurance Capital    $            172,583.29       Investor-Lender      $    100,000.00    102-170
                                                                                                    Management LLC
    102-106         7927-49 S Essex Avenue                                    Estate Property       David M Harris                                                     $            534,555.00       Equity Investor      $    100,000.00    102-267
    102-106         7927-49 S Essex Avenue                                    Estate Property       David M Harris                                                     $            831,700.00      Investor-Lender       $     51,855.00    102-267
    102-106         7927-49 S Essex Avenue                                    Estate Property       Degenhardt, Duane A                                                $            645,000.00      Investor-Lender       $    100,000.00    102-2015
    102-106         7927-49 S Essex Avenue                                    Estate Property       Edge Investments, LLC, Janet F. Turco, Owner/Member IRA            $          1,031,324.00      Investor-Lender       $    100,400.00    102-180
    102-106         7927-49 S Essex Avenue                                    Estate Property       Francisco Fernandez                                                $            584,237.50      Investor-Lender       $    165,000.00    102-1450
    102-106         7927-49 S Essex Avenue                                    Estate Property       Fredric R. Gottlieb (South Florida Realty Management &             $            433,306.00      Investor-Lender       $    100,000.00    102-1215
                                                                                                    Investments)
    102-106         7927-49 S Essex Avenue                                    Estate Property       Grathia Corp                                                       $          1,184,081.00      Investor-Lender       $     50,000.00    102-1445
    102-106         7927-49 S Essex Avenue                                    Estate Property       Helen Boyd                                                         $            105,000.00      Investor-Lender       $    105,000.00    102-2010
    102-106         7927-49 S Essex Avenue                                    Estate Property       LMJ Sales, Inc.                                                    $            270,066.18       Equity Investor      $    115,937.00    102-1346
    102-106         7927-49 S Essex Avenue                                    Estate Property       Madison Trust Company Custodian FBO Stuart Edelman                 $            255,332.70      Investor-Lender       $     35,000.00    102-103
    102-106         7927-49 S Essex Avenue                                    Estate Property       Matthew Boyd                                                       $            405,000.00      Investor-Lender       $    314,302.00    102-2060
    102-106         7927-49 S Essex Avenue                                    Estate Property       Michael Prokop                                                     $                197.01       Equity Investor      $    150,000.00    102-787
    102-106         7927-49 S Essex Avenue                                    Estate Property       OE Holdings LLC                                                    $             30,000.00      Investor-Lender       $     30,000.00    102-852
    102-106         7927-49 S Essex Avenue                                    Estate Property       Pacific Ocean Services Inc                                         $            175,000.00      Investor-Lender       $    150,000.00    102-1256
    102-106         7927-49 S Essex Avenue                                    Estate Property       Patricia Guillen                                                   $             50,000.00    Investor-Lender and     $     50,000.00    102-463
                                                                                                                                                                                                     Equity Investor
    102-106         7927-49 S Essex Avenue                                    Estate Property       Paul Harrison                                                      $           420,331.59       Investor-Lender       $     63,694.00 102-2026
    102-106         7927-49 S Essex Avenue                                    Estate Property       Paul N. Wilmesmeier                                                $           790,185.00       Investor-Lender       $     75,000.00 102-300
    102-106         7927-49 S Essex Avenue                                    Estate Property       Peter Schonberger                                                  $            30,000.00        Equity Investor      $     30,000.00 102-703
    102-106         7927-49 S Essex Avenue                                    Estate Property       PNW Investments, LLC                                               $           350,000.00       Investor-Lender       $     25,000.00 102-332
    102-106         7927-49 S Essex Avenue                                    Estate Property       Ranell Durgan                                                      $           200,000.00       Investor-Lender       $    200,000.00 102-515
    102-106         7927-49 S Essex Avenue                                    Estate Property       Ranell Durgan (Polycomp Trust Company_CFBO)                        $           200,000.00       Investor-Lender       $    200,000.00 102-762
    102-106         7927-49 S Essex Avenue                                    Estate Property       ROBERT A LAPORTE                                                   $           100,000.00       Investor-Lender       $     50,000.00 102-1038
    102-106         7927-49 S Essex Avenue                                    Estate Property       Roswitha M. and John S. Ennema                                     $            58,179.21       Investor-Lender       $     45,000.00 102-564
    102-106         7927-49 S Essex Avenue                                    Estate Property       Sidney Haggins                                                     $            85,000.00       Investor-Lender       $     35,000.00 102-1434
    102-106         7927-49 S Essex Avenue                                    Estate Property       Steven G. Mouty                                                    $           465,000.00        Equity Investor      $    100,000.00 102-821
    102-106         7927-49 S Essex Avenue                                    Estate Property       Tiger Chang Investments LLC                                        $            49,000.00       Investor-Lender       $      4,000.00 102-164
    102-106         7927-49 S Essex Avenue                                    Estate Property       Timothy S Sharp                                                    $           650,000.00       Investor-Lender       $     50,000.00 102-76
    102-106         7927-49 S Essex Avenue                                    Estate Property       Umbrella Investment Partners                                       $            41,500.00        Equity Investor      $     40,000.00 102-1167
    102-106         7927-49 S Essex Avenue                                    Estate Property       Victor Shaw                                                        $           296,025.03       Investor-Lender       $     30,000.00 102-1040
    102-106         7927-49 S Essex Avenue                                    Estate Property       Zouhair and Nada Stephan                                           $           300,000.00       Investor-Lender       $    150,000.00 102-283
      107           1422-24 East 68th Street                                  Estate Property       Dan Behm                                                           $            96,373.45       Investor-Lender                       107-816
      107           1422-24 East 68th Street                                  Estate Property       Domenic Simone                                                     $           153,246.58        Equity Investor      $    165,000.00 107-883




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Property Number          Property Address                Alternative Address            Type                                    Claimant Name                              Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                          Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                          Category as Identified on                           Property
                                                                                                                                                                                Claim Form)

     107               1422-24 East 68th Street                                  Estate Property       Fixed Slice LLC                                                     $             64,775.00     Investor-Lender      $     250,642.00 107-176
     107               1422-24 East 68th Street                                  Estate Property       UBS AG                                                              $          4,649,579.63   Institutional Lender                    107-2086
     108                2800-06 E 81st Street                                    Estate Property       Kendall Chenier                                                     $            667,084.15           Other                           108-1144
     108                2800-06 E 81st Street                                    Estate Property       Rende, Nicolas                                                      $            830,000.00     Investor-Lender      $     430,000.00 108-2048
     108                2800-06 E 81st Street                                    Estate Property       UBS AG                                                              $          4,649,579.63   Institutional Lender                    108-2086
     109              4750-52 S Indiana Avenue                                   Estate Property       Jason Ragan - TSA                                                   $            128,050.00      Equity Investor     $      80,000.00 109-1133
     109              4750-52 S Indiana Avenue                                   Estate Property       JLE Investments, LLC c/o James Eng                                  $              8,330.19     Investor-Lender      $      13,204.91 109-501
     109              4750-52 S Indiana Avenue                                   Estate Property       MID LLC by Carolyn Mize                                             $             53,061.25     Investor-Lender      $       5,000.00 109-524
     109              4750-52 S Indiana Avenue                                   Estate Property       Professional Real Estate Solutions, LLC / Edward J. Netzel          $             13,204.91      Equity Investor     $      50,000.00 109-489
     109              4750-52 S Indiana Avenue                                   Estate Property       Sarah Qiuhong Yang                                                  $            100,000.00      Equity Investor     $     100,000.00 109-1272
     109              4750-52 S Indiana Avenue                                   Estate Property       SLB Ventures, LLC                                                   $            215,215.48     Investor-Lender      $      80,040.00 109-565
     109              4750-52 S Indiana Avenue                                   Estate Property       UBS AG                                                              $          4,649,579.63   Institutional Lender                    109-2086
     109              4750-52 S Indiana Avenue                                   Estate Property       Virginia Lieblein                                                   $             19,551.16     Investor-Lender      $       2,852.83 109-110
     109              4750-52 S Indiana Avenue                                   Estate Property       Kathleen Martin                                                     $            304,605.24      Equity Investor     $      50,000.00 109-246

     110          5618-20 S Martin Luther King Drive                             Estate Property       Arthur Bertrand                                                     $             78,079.82     Investor-Lender      $      50,000.00   110-892
     110          5618-20 S Martin Luther King Drive                             Estate Property       Brian Shea                                                          $            122,256.00     Investor-Lender      $      26,500.00   110-1264
     110          5618-20 S Martin Luther King Drive                             Estate Property       City of Chicago                                                     $             78,479.20           Other          $       4,527.80   110-693
     110          5618-20 S Martin Luther King Drive                             Estate Property       Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA     $            102,367.34     Investor-Lender      $     200,000.00   110-497
     110          5618-20 S Martin Luther King Drive                             Estate Property       THE INCOME FUND, LLC Thomas Garlock, Managing Member                $            771,830.76     Investor-Lender      $     429,650.00   110-1421
     110          5618-20 S Martin Luther King Drive                             Estate Property       UBS AG                                                              $          4,649,579.63   Institutional Lender                      110-2086
     111               6558 S Vernon Avenue              416-24 E 66th Street    Estate Property       Chad R Brown                                                        $             42,051.58     Investor-Lender      $     170,000.00   111-294
     111               6558 S Vernon Avenue              416-24 E 66th Street    Estate Property       Halbur, William and Janice                                          $             20,000.00     Investor-Lender      $      20,000.00   111-2025
     111               6558 S Vernon Avenue              416-24 E 66th Street    Estate Property       Kevin Lyons                                                         $             98,899.84      Equity Investor     $      25,000.00   111-610
     111               6558 S Vernon Avenue              416-24 E 66th Street    Estate Property       Pankaj Patel BDA EZ NJ VENTURES, LLC.                               $            223,000.00     Investor-Lender      $      50,000.00   111-920
     111               6558 S Vernon Avenue              416-24 E 66th Street    Estate Property       Paul N. Wilmesmeier                                                 $            790,185.00     Investor-Lender      $      50,000.00   111-300
     111               6558 S Vernon Avenue              416-24 E 66th Street    Estate Property       Robert Guiney                                                       $            112,260.00     Investor-Lender      $      14,058.22   111-798
     111               6558 S Vernon Avenue              416-24 E 66th Street    Estate Property       Russell Waite                                                       $            155,176.75     Investor-Lender      $     220,119.00   111-1120
     111               6558 S Vernon Avenue              416-24 E 66th Street    Estate Property       The Jacqueline C Rowe Living Trust                                  $            372,417.74     Investor-Lender                         111-139
     111               6558 S Vernon Avenue              416-24 E 66th Street    Estate Property       The Peter Paul Nuspl Living Trust                                   $          1,123,278.00     Investor-Lender      $     100,000.00   111-2044
     111               6558 S Vernon Avenue              416-24 E 66th Street    Estate Property       UBS AG                                                              $          4,649,579.63   Institutional Lender                      111-2086
     111               6558 S Vernon Avenue              416-24 E 66th Street    Estate Property       Verdell Michaux                                                     $             34,000.00      Equity Investor     $      25,000.00   111-2039
     112                7450 S Luella Avenue             2220 East 75th Street   Estate Property       Brett Burnham (Burnham 401k Trust)                                  $            215,335.54     Investor-Lender      $       5,000.00   112-314
     112                7450 S Luella Avenue             2220 East 75th Street   Estate Property       Gerry / Clarice Recamara                                            $              2,227.80     Investor-Lender                         112-618
     112                7450 S Luella Avenue             2220 East 75th Street   Estate Property       James Tutsock                                                       $            900,000.00     Investor-Lender      $     180,517.00   112-2057
     112                7450 S Luella Avenue             2220 East 75th Street   Estate Property       Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA     $            102,367.34     Investor-Lender      $      50,000.00   112-497
     112                7450 S Luella Avenue             2220 East 75th Street   Estate Property       UBS AG                                                              $          4,649,579.63   Institutional Lender                      112-2086
     113              7840-42 S Yates Avenue                                     Estate Property       Kendall Chenier                                                     $            667,084.15           Other                             113-1144
     113              7840-42 S Yates Avenue                                     Estate Property       Rende, Nicolas                                                      $            830,000.00     Investor-Lender      $     400,000.00   113-2048
     113              7840-42 S Yates Avenue                                     Estate Property       UBS AG                                                              $          4,649,579.63   Institutional Lender                      113-2086
     115               109 N Laramie Avenue                                      Former Property       Alison Schankman                                                                 $99,365.61     Investor-Lender                         115-2051
     115               109 N Laramie Avenue                                      Former Property       Arthur and Dinah Bertrand                                                     $1,000,000.00     Investor-Lender      $      50,000.00   115-890
     115               109 N Laramie Avenue                                      Former Property       Brad and Linda Lutz                                                            $813,582.00      Investor-Lender      $      39,663.00   115-962
     115               109 N Laramie Avenue                                      Former Property       Brett Burnham (                                                     $            215,335.54     Investor-Lender                         115-314
                                                                                                       iPlanGroup Agent for Custodian FBO Brett Burnham)
     115               109 N Laramie Avenue                                      Former Property       Celia Tong Revocable Living Trust Dated December 22, 2011                                       Investor-Lender      $       2,065.00   115-287
     115               109 N Laramie Avenue                                      Former Property       City of Chicago                                                     $             78,479.20          Other           $      1,715.34    115-693
     115               109 N Laramie Avenue                                      Former Property       Dennis K McCoy                                                                 $312,238.67      Investor-Lender      $      30,155.00   115-569
     115               109 N Laramie Avenue                                      Former Property       FDD Properties LLC                                                             $225,000.00       Equity Investor     $      50,000.00   115-611
     115               109 N Laramie Avenue                                      Former Property       James Taber                                                                    $125,000.00      Investor-Lender      $      50,000.00   115-780
     115               109 N Laramie Avenue                                      Former Property       John B. Allred & Glenda K. Allred                                             $1,421,646.52   Investor-Lender and                       115-2004
                                                                                                                                                                                                        Equity Investor
     115               109 N Laramie Avenue                                      Former Property       Joseph E. Kennedy                                                              $298,138.29      Investor-Lender      $     181,311.00 115-106
     115               109 N Laramie Avenue                                      Former Property       Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton,                $83,813.00      Investor-Lender      $      31,213.00 115-310
                                                                                                       IRA)
     115               109 N Laramie Avenue                                      Former Property       Melvin Shurtz                                                                         $0.00     Investor-Lender      $      25,000.00   115-362
     115               109 N Laramie Avenue                                      Former Property       Michael Borgia                                                                $1,253,784.00     Investor-Lender      $     455,673.00   115-231
     115               109 N Laramie Avenue                                      Former Property       Private Finance Solutions, LLC                                                  $128,406.34     Investor-Lender      $      88,970.00   115-1478
     115               109 N Laramie Avenue                                      Former Property       Robert A Demick DDS PA 401K                                                    $177,678.65      Investor-Lender      $      30,000.00   115-680
     115               109 N Laramie Avenue                                      Former Property       Russell Shurtz (Horizon Trust Company, Custodian FBO Russell                          $0.00     Investor-Lender      $      25,000.00   115-924
                                                                                                       Shurtz IRA Account 599991402)
     115               109 N Laramie Avenue                                      Former Property       Spectra Investments LLC/ Deborah L. Mullica                                    $579,288.00      Investor-Lender      $     105,772.00 115-1220




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Property Number           Property Address                Alternative Address          Type                                     Claimant Name                              Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                          Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                          Category as Identified on                           Property
                                                                                                                                                                                Claim Form)

     115                109 N Laramie Avenue                                    Former Property       Stephan Tang                                                                    $123,256.97      Investor-Lender     $       50,000.00 115-1111
     115                109 N Laramie Avenue                                    Former Property       Strata Trust Company FBO David J Geldart                                        $230,621.00      Investor-Lender                       115-1010
     115                109 N Laramie Avenue                                    Former Property       The Bonita R. Skurski & Steven E Skurski Trust                       $            98,452.43      Investor-Lender     $       20,000.00 115-2093
     116          1102 Bingham St, Houston TX 77007                             Estate Property       Alton Motes                                                          $           245,841.62      Investor-Lender     $       20,000.00 116-2042
     116          1102 Bingham St, Houston TX 77007                             Estate Property       AMark Investment Trust                                               $           699,490.82      Investor-Lender     $      125,000.00 116-710
     116          1102 Bingham St, Houston TX 77007                             Estate Property       American Estate & Trust, LC FBO Bruce Klingman's IRA                 $            72,333.33      Investor-Lender     $       63,033.00 116-199
     116          1102 Bingham St, Houston TX 77007                             Estate Property       Anatoly B. Naritsin                                                  $            55,417.00      Investor-Lender     $       50,000.00 116-2077
     116          1102 Bingham St, Houston TX 77007                             Estate Property       ARBOR VENTURES OVERSEAS LIMITED, LLC                                 $           176,122.67      Investor-Lender     $       50,000.00 116-446
     116          1102 Bingham St, Houston TX 77007                             Estate Property       Debbie Lasley                                                        $           104,550.09      Investor-Lender     $       55,000.00 116-456
     116          1102 Bingham St, Houston TX 77007                             Estate Property       Dennis K McCoy                                                       $           312,238.67      Investor-Lender     $       50,000.00 116-569
     116          1102 Bingham St, Houston TX 77007                             Estate Property       Fireshark Enterprises, LLC, a Texas Series Limited Liability         $           279,898.28      Investor-Lender     $      313,418.93 116-1130
                                                                                                      Company
     116          1102 Bingham St, Houston TX 77007                             Estate Property       iPlanGroup Agent for Custodian FBO Charles Michael Anglin            $           238,889.23    Investor-Lender and   $       52,474.56 116-331
                                                                                                                                                                                                        Equity Investor
     116          1102 Bingham St, Houston TX 77007                             Estate Property       Knickerbocker LLC                                                    $           102,505.16      Investor-Lender     $       50,000.00 116-2035
     116          1102 Bingham St, Houston TX 77007                             Estate Property       Michael Warner, Trustee of Warner Chiropractic Care Center, PC       $           203,254.00      Investor-Lender     $       54,254.00 116-78
                                                                                                      PSP
     116          1102 Bingham St, Houston TX 77007                             Estate Property       RAMANAN RAMADOSS                                                     $                204.96      Equity Investor    $       15,000.00 116-71
     116          1102 Bingham St, Houston TX 77007                             Estate Property       Robert Karlsson for MiLLCreek Holdings LLC                           $            255,035.70     Investor-Lender     $      200,000.00 116-166
     116          1102 Bingham St, Houston TX 77007                             Estate Property       Russell Waite                                                        $            155,176.75     Investor-Lender     $       50,000.00 116-1120
     116          1102 Bingham St, Houston TX 77007                             Estate Property       Spectra Investments LLC/ Deborah L. Mullica                          $            579,288.00     Investor-Lender     $      139,971.00 116-1220
     117                3915 N Kimball Avenue                                   Former Property       1839 Fund I LLC                                                                   $38,081.00     Investor-Lender     $       50,000.00 117-367
     117                3915 N Kimball Avenue                                   Former Property       Alison Schankman                                                                  $99,365.61     Investor-Lender     $       25,000.00 117-2051
     117                3915 N Kimball Avenue                                   Former Property       Daniel Matthews, Leah Matthews                                                  $185,922.54      Investor-Lender     $       47,184.00 117-117
     117                3915 N Kimball Avenue                                   Former Property       Private Finance Solutions, LLC                                                   $128,406.34     Investor-Lender     $       30,311.00 117-1478
     117                3915 N Kimball Avenue                                   Former Property       Robert Guiney                                                                   $112,260.00      Investor-Lender     $       11,097.00 117-798
     118                400 S Kilbourn Avenue                                   Former Property       Brian Shea                                                                      $122,256.00      Investor-Lender     $       63,000.00 118-1264
     118                400 S Kilbourn Avenue                                   Former Property       Carolyn B Ucker                                                                   $50,000.00      Equity Investor    $       25,000.00 118-1099
     118                400 S Kilbourn Avenue                                   Former Property       Cecilia Wolff (iPlan Group Agent for Custodian FBO Cecilia Wolff)                 $73,887.50     Investor-Lender                       118-1204
     118                400 S Kilbourn Avenue                                   Former Property       Chukwuemeka Ezeume                                                               $178,625.00     Investor-Lender     $      150,000.00 118-211
     118                400 S Kilbourn Avenue                                   Former Property       Equity TrustCompany Custodian FBO Karuna Voddi IRA                                $12,777.00     Investor-Lender     $       12,777.00 118-990
     118                400 S Kilbourn Avenue                                   Former Property       Gerry / Clarice Recamara                                                           $2,227.80     Investor-Lender                       118-618
     118                400 S Kilbourn Avenue                                   Former Property       Hillside Fund, LLC - Janet F. Turco, Owner/ Managing Member                     $505,000.00      Investor-Lender     $       50,000.00 118-101
     118                400 S Kilbourn Avenue                                   Former Property       John B. Allred & Glenda K. Allred                                              $1,421,646.52   Investor-Lender and                     118-2004
                                                                                                                                                                                                        Equity Investor
     118                400 S Kilbourn Avenue                                   Former Property       R.D.Meredith General Contractors LLC 401K                                       $373,617.16      Investor-Lender     $        5,875.00 118-528
     118                400 S Kilbourn Avenue                                   Former Property       RE Solutions MD, LLC Employee Profit Sharing/401K by Mary E.                     $50,000.00      Investor-Lender     $       50,000.00 118-245
                                                                                                      Doerr, an unaccredited investor
     118               400 S Kilbourn Avenue                                    Former Property       Teresita M. Shelton                                                              $426,513.00     Investor-Lender     $       50,000.00   118-330
     118               400 S Kilbourn Avenue                                    Former Property       The Jacqueline C Rowe Living Trust                                               $372,417.74     Investor-Lender     $       80,000.00   118-139
     118               400 S Kilbourn Avenue                                    Former Property       The Peter Paul Nuspl Living Trust                                              $1,123,278.00     Investor-Lender     $       95,000.00   118-2044
     119               4019 S Indiana Avenue                                    Former Property       Mark P. Mouty                                                                    $130,703.00      Equity Investor    $      120,703.00   119-165
     119               4019 S Indiana Avenue                                    Former Property       Robert Weech                                                                         $503.31     Investor-Lender     $        6,912.56   119-802
     119               4019 S Indiana Avenue                                    Former Property       Sarah Qiuhong Yang                                                                $60,543.00     Investor-Lender     $       53,420.00   119-1272
     119               4019 S Indiana Avenue                                    Former Property       Schankman, Michael                                                                $57,402.06     Investor-Lender     $       26,000.00   119-2052
     120              7823-27 S Essex Avenue                                    Former Property       Bancroft, Ed A                                                                   $258,060.00     Investor-Lender     $       75,000.00   120-2008
     120              7823-27 S Essex Avenue                                    Former Property       Bedford, Bert and Sadie                                                           $45,477.28     Investor-Lender     $       46,131.00   120-2009
     120              7823-27 S Essex Avenue                                    Former Property       Frank and Laura Sohm                                                             $167,893.65      Equity Investor    $       26,000.00   120-906
     120              7823-27 S Essex Avenue                                    Former Property       Frank Sohm IRA                                                                   $148,604.93     Investor-Lender     $       40,000.00   120-558
     120              7823-27 S Essex Avenue                                    Former Property       iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                      $71,321.00     Investor-Lender     $       31,000.00   120-448
     120              7823-27 S Essex Avenue                                    Former Property       The Edward Falkowitz Living Trust                                                $305,584.73     Investor-Lender                         120-575
     122             7616-7624 S Phillips Avenue                                Former Property       Arthur and Dinah Bertrand                                                      $1,000,000.00     Investor-Lender     $      150,000.00   122-890
     122             7616-7624 S Phillips Avenue                                Former Property       Asians Investing In Real Estate LLC                                            $1,278,402.00     Investor-Lender     $       50,000.00   122-503
     122             7616-7624 S Phillips Avenue                                Former Property       B & H Creative Investments LLC                                       $            428,533.00     Investor-Lender     $      100,000.00   122-414
     122             7616-7624 S Phillips Avenue                                Former Property       CCF2                                                                           $1,000,000.00      Equity Investor    $       50,000.00   122-2012
     122             7616-7624 S Phillips Avenue                                Former Property       Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                        $1,031,324.00      Equity Investor    $       27,000.00   122-180
     122             7616-7624 S Phillips Avenue                                Former Property       Francisco Fernandez                                                              $584,237.50     Investor-Lender     $      175,000.00   122-1450
     122             7616-7624 S Phillips Avenue                                Former Property       iPlan Group Agent for Custodian FBO James B Ploeger IRA                           $72,000.00     Investor-Lender     $       55,000.00   122-520
     122             7616-7624 S Phillips Avenue                                Former Property       Michael Borgia IRA                                                               $975,416.00     Investor-Lender     $      325,000.00   122-705
     122             7616-7624 S Phillips Avenue                                Former Property       Michigan Shore Apartments, LLC                                                  $435,350.00           Other                              122-1485
     122             7616-7624 S Phillips Avenue                                Former Property       Paule M Nagy                                                                      $50,000.00     Investor-Lender     $       50,000.00   122-757
     122             7616-7624 S Phillips Avenue                                Former Property       Scott Naftulin dba N North End, LLC                                               $71,946.23     Investor-Lender     $       50,000.00   122-216




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Property Number       Property Address                 Alternative Address          Type                                Claimant Name                           Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                               Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                               Category as Identified on                           Property
                                                                                                                                                                     Claim Form)

     122          7616-7624 S Phillips Avenue                                Former Property   The Jacqueline C Rowe Living Trust                                           $372,417.74       Investor-Lender      $    25,000.00 122-139
     122          7616-7624 S Phillips Avenue                                Former Property   The Peter Paul Nuspl Living Trust                                          $1,123,278.00       Investor-Lender      $    82,650.00 122-2044
     122          7616-7624 S Phillips Avenue                                Former Property   Total Return Income Fund, LLC Thomas Garlock, Managing Member              $1,571,886.00       Investor-Lender      $   435,350.00 122-1366
     123           7107-29 S Bennett Avenue                                  Former Property   Adam Epstein                                                                  $50,000.00       Investor-Lender      $    50,000.00 123-64
     123           7107-29 S Bennett Avenue                                  Former Property   Bancroft, Ed                                                                $258,060.00        Investor-Lender      $    10,000.00 123-2008
     123           7107-29 S Bennett Avenue                                  Former Property   Bernadette Chen (Eleven St Felix St. Realty                                $1,000,000.00        Equity Investor     $    50,000.00 123-2012
     123           7107-29 S Bennett Avenue                                  Former Property   Blessing Strategies, LLC                                                      $29,784.00       Investor-Lender      $    22,282.00 123-353
     123           7107-29 S Bennett Avenue                                  Former Property   Brad and Linda Lutz                                                          $813,582.00       Investor-Lender      $   339,414.00 123-962
     123           7107-29 S Bennett Avenue                                  Former Property   Brion Conklin                                                                 $65,421.00       Investor-Lender      $   116,531.00 123-601
     123           7107-29 S Bennett Avenue                                  Former Property   CAMA SDIRA LLC FBO Robert Guiney IRA                                         $104,314.46       Investor-Lender      $    51,913.00 123-1116
     123           7107-29 S Bennett Avenue                                  Former Property   Chestnut Capital LLC                                                        $138,047.00        Investor-Lender      $   219,465.00 123-1460
     123           7107-29 S Bennett Avenue                                  Former Property   Christine A. Styczynski                                                       $42,033.00       Investor-Lender      $    42,033.00 123-373
     123           7107-29 S Bennett Avenue                                  Former Property   CLD Construction, Inc. (Doru Unchias)                            $            434,935.00   Independent Contractor   $    10,000.00 123-1454
     123           7107-29 S Bennett Avenue                                  Former Property   Dan Behm                                                                      $96,373.45       Investor-Lender                     123-816
     123           7107-29 S Bennett Avenue                                  Former Property   Edwin BARKER                                                                  $36,773.52       Investor-Lender      $    50,000.00 123-1498
     123           7107-29 S Bennett Avenue                                  Former Property   John B. Allred & Glenda K. Allred                                          $1,421,646.52     Investor-Lender and                   123-2004
                                                                                                                                                                                               Equity Investor
     123          7107-29 S Bennett Avenue                                   Former Property   Joral Schmalle                                                             $1,735,782.00       Investor-Lender      $   630,000.00 123-730
     123          7107-29 S Bennett Avenue                                   Former Property   Kimberly W Robinson                                                           $98,000.00       Investor-Lender      $    30,000.00 123-1245
     123          7107-29 S Bennett Avenue                                   Former Property   Kingdom Trust Company custodian, FBO Louis Duane Velez SEP                    $43,046.58       Investor-Lender      $    50,000.00 123-1221
                                                                                               IRA Acc. #7422686172
     123          7107-29 S Bennett Avenue                                   Former Property   LaDawn K. Westbrook - Miss Property LLC                                       $71,546.64      Investor-Lender       $    50,000.00   123-271
     123          7107-29 S Bennett Avenue                                   Former Property   Lake Erie LLC (Douglas Lichtinger)                                            $21,683.17      Investor-Lender       $    26,948.71   123-629
     123          7107-29 S Bennett Avenue                                   Former Property   Low Altitude, LLC                                                            $100,000.00      Investor-Lender       $   100,000.00   123-273
     123          7107-29 S Bennett Avenue                                   Former Property   Pankaj Patel BDA EZ NJ VENTURES, LLC.                                        $223,000.00      Investor-Lender       $    50,000.00   123-920
     123          7107-29 S Bennett Avenue                                   Former Property   Patricia A Brown                                                              $84,631.88      Investor-Lender       $   100,000.00   123-1237
     123          7107-29 S Bennett Avenue                                   Former Property   Quantum Growth Holdings LLC                                                   $15,321.00       Equity Investor      $     1,971.00   123-354
     123          7107-29 S Bennett Avenue                                   Former Property   R.D.Meredith General Contractors LLC 401K                                    $373,617.16      Investor-Lender       $   103,000.00   123-528
     123          7107-29 S Bennett Avenue                                   Former Property   R2V2 Investments LLC                                                          $88,590.47      Investor-Lender       $    47,004.00   123-842
     123          7107-29 S Bennett Avenue                                   Former Property   Ronald Tucker                                                                 $51,583.00      Investor-Lender       $    51,583.00   123-1398
     123          7107-29 S Bennett Avenue                                   Former Property   Scott Naftulin dba N North End, LLC                                           $71,946.23      Investor-Lender       $    25,000.00   123-216
     123          7107-29 S Bennett Avenue                                   Former Property   Sunwest Trust Custodian FBO Jose G. Galarza IRA                               $44,789.00      Investor-Lender       $    50,000.00   123-1394
     123          7107-29 S Bennett Avenue                                   Former Property   TIMMY RINKJ                                                                   $78,048.23      Investor-Lender                        123-229
     123          7107-29 S Bennett Avenue                                   Former Property   Total Return Income Fund, LLC Thomas Garlock, Managing Member              $1,571,886.00      Investor-Lender       $   400,000.00   123-1366
     123          7107-29 S Bennett Avenue                                   Former Property   Wesley Pittman                                                               $180,048.45      Investor-Lender                        123-469
     123          7107-29 S Bennett Avenue                                   Former Property   ZIN INVESTMENTS LLC - c/o WILLIAM J. IANNAZZI                                 $83,178.85      Investor-Lender       $   108,766.67   123-234
     124           6801 S East End Avenue                                    Former Property   Aaron Beauclair                                                               $40,000.00      Investor-Lender       $    10,000.00   124-408
     124           6801 S East End Avenue                                    Former Property   Anant Topiwala                                                                $52,517.48      Investor-Lender       $    50,000.00   124-1369
     124           6801 S East End Avenue                                    Former Property   Asians Investing In Real Estate LLC                                        $1,278,402.00      Investor-Lender       $    25,000.00   124-503
     124           6801 S East End Avenue                                    Former Property   Bancroft, Ed (iPLanGroup Agent Ed Bancroft Roth)                              $66,007.00      Investor-Lender       $    20,800.00   124-2008
     124           6801 S East End Avenue                                    Former Property   Bernadette Chen (Eleven St Felix St. Realty                                $1,000,000.00       Equity Investor      $    31,619.00   124-2012
     124           6801 S East End Avenue                                    Former Property   Bluebridge Partners Limited                                                  $791,620.17      Investor-Lender       $   100,000.00   124-727
     124           6801 S East End Avenue                                    Former Property   Brett Burnham (                                                             $215,335.54       Investor-Lender       $     5,000.00   124-314
                                                                                               iPlanGroup Agent for Custodian FBO Brett Burnham)
     124           6801 S East End Avenue                                    Former Property   Dennis Ray Hennefer                                                          $34,840.00       Investor-Lender       $    34,840.00 124-1265
     124           6801 S East End Avenue                                    Former Property   EQUITY TRUST COMPANY CUSTODIAN FBO CHRISTOPHER M                              $2,951.00       Investor-Lender       $     2,951.00 124-460
                                                                                               GUILLEN IRA
     124           6801 S East End Avenue                                    Former Property   EQUITY TRUST COMPANY CUSTODIAN FBO JETT C GUILLEN                             $2,608.00       Investor-Lender       $     2,608.00 124-461
                                                                                               CESA
     124           6801 S East End Avenue                                    Former Property   EQUITY TRUST COMPANY CUSTODIAN FBO PATRICIA F                                $14,775.00       Investor-Lender       $    14,775.00 124-424
                                                                                               GUILLEN IRA
     124           6801 S East End Avenue                                    Former Property   Equity Trust Company Custodian FBO Theodore J. Guillen                       $14,775.00       Investor-Lender       $    14,775.00 124-423
     124           6801 S East End Avenue                                    Former Property   EQUITY TRUST COMPANY CUSTODIAN FBO THEODORE P                                 $2,391.00       Investor-Lender       $     2,391.00 124-457
                                                                                               GUILLEN JR. IR
     124           6801 S East End Avenue                                    Former Property   Focus4 Investments, LLC                                                     $104,349.99       Investor-Lender       $   100,000.00 124-830
     124           6801 S East End Avenue                                    Former Property   Ganpat and FEREEDA Seunath                                                  $216,194.22       Investor-Lender       $    19,000.00 124-77
     124           6801 S East End Avenue                                    Former Property   James Clements                                                              $185,910.00       Investor-Lender                      124-1402
     124           6801 S East End Avenue                                    Former Property   JN Investment Trust, Trustee Janice Nelson                                  $160,000.00       Investor-Lender       $    50,000.00 124-556
     124           6801 S East End Avenue                                    Former Property   Joseph P. McCarthy                                                          $277,847.33       Investor-Lender       $    25,000.00 124-1367
     124           6801 S East End Avenue                                    Former Property   Keith Randall                                                               $250,000.00       Investor-Lender       $    80,000.00 124-1086
     124           6801 S East End Avenue                                    Former Property   Lori Moreland                                                               $102,348.00       Investor-Lender       $    11,500.00 124-805
     124           6801 S East End Avenue                                    Former Property   Lori Moreland                                                               $102,348.00       Investor-Lender       $     4,246.00 124-823




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Property Number        Property Address                  Alternative Address          Type                                Claimant Name                               Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                     Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                     Category as Identified on                           Property
                                                                                                                                                                           Claim Form)

     124            6801 S East End Avenue                                     Former Property   Mary Ann Hennefer                                                                $15,160.00       Investor-Lender       $    15,160.00 124-1277
     124            6801 S East End Avenue                                     Former Property   May M. Akamine for Aurora Investments, LLC (assets formerly under               $631,739.82            Other            $    84,500.00 124-1412
                                                                                                 MayREI, LLC)
     124            6801 S East End Avenue                                     Former Property   Michael C. Jacobs                                                               $103,666.68       Investor-Lender       $   100,000.00 124-2031
     124            6801 S East End Avenue                                     Former Property   Michael Hill                                                                     $85,000.00       Investor-Lender       $    50,000.00 124-179
     124            6801 S East End Avenue                                     Former Property   Mudlic Properties LLC                                                           $207,194.24    Other (property owner;   $   674,377.90 124-2076
                                                                                                                                                                                                      mortgagor)
     124            6801 S East End Avenue                                     Former Property   Paper Street Realty LLC d/b/a Rent Ready Apartments                             $135,847.03    Other (Mechanics Lien                     124-1206
                                                                                                                                                                                                       Claimant
     124            6801 S East End Avenue                                     Former Property   Pat DeSantis                                                         $          2,684,539.00      Investor-Lender       $   328,561.00   124-397
     124            6801 S East End Avenue                                     Former Property   Receivables to Cash, LLC d/b/a Berenger Capital                                 $150,000.00       Investor-Lender       $    50,000.00   124-302
     124            6801 S East End Avenue                                     Former Property   Robert Potter                                                                    $282,999.00      Investor-Lender       $    13,454.00   124-1389
     124            6801 S East End Avenue                                     Former Property   Steven C Noss                                                                     $69,388.00      Investor-Lender       $    17,560.00   124-361
     124            6801 S East End Avenue                                     Former Property   Steven J. Talyai                                                                $175,000.00       Investor-Lender                        124-131
     124            6801 S East End Avenue                                     Former Property   Steven R. Bald                                                                   $586,378.00      Investor-Lender       $    20,000.00   124-339
     124            6801 S East End Avenue                                     Former Property   The Peter Paul Nuspl Living Trust                                              $1,123,278.00      Investor-Lender       $    30,000.00   124-2044
     124            6801 S East End Avenue                                     Former Property   Wayne K Larsen                                                                   $110,000.00       Equity Investor      $   110,000.00   124-490
     124            6801 S East End Avenue                                     Former Property   Wayne K Larsen Diane Larsen                                                      $110,000.00       Equity Investor      $   110,000.00   124-853
     125            6548 N Campbell Avenue                                     Former Property   Linda Lipschultz                                                                  $53,405.00      Investor-Lender       $    27,000.00   125-1374
     125            6548 N Campbell Avenue                                     Former Property   Robert Thaete                                                                     $75,358.42      Investor-Lender       $    74,067.00   125-1232
     125            6548 N Campbell Avenue                                     Former Property   Scott Naftulin dba N North End, LLC                                               $71,946.23      Investor-Lender       $    25,000.00   125-216
     125            6548 N Campbell Avenue                                     Former Property   Steven Lipschultz                                                                 $71,126.00      Investor-Lender       $    38,000.00   125-1391
     126          5201-5207 W Washington Blvd                                  Former Property   AMark Investment Trust                                                          $699,490.82       Investor-Lender       $   375,000.00   126-710
     126          5201-5207 W Washington Blvd                                  Former Property   Arthur and Dinah Bertrand                                                      $1,000,000.00      Investor-Lender       $   225,000.00   126-890
     126          5201-5207 W Washington Blvd                                  Former Property   Dennis K McCoy                                                                  $312,238.67       Investor-Lender       $    76,667.00   126-569
     126          5201-5207 W Washington Blvd                                  Former Property   Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian                            $9,523.00      Investor-Lender       $     3,171.00   126-1065
                                                                                                 IPLAN Group LLC)
     126          5201-5207 W   Washington Blvd                                Former Property   Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)                        $30,718.00        Equity Investor      $    14,253.00   126-1066
     126          5201-5207 W   Washington Blvd                                Former Property   Gary R. Burnham Jr. Solo 401K Trust                                             $205,608.00       Investor-Lender       $    30,000.00   126-1174
     126          5201-5207 W   Washington Blvd                                Former Property   Hang Zhou and Lu Dong                                                           $157,821.57       Investor-Lender       $    50,000.00   126-1335
     126          5201-5207 W   Washington Blvd                                Former Property   Initium LLC/Harry Saint-Preux                                                   $150,000.00       Investor-Lender       $    10,000.00   126-968
     126          5201-5207 W   Washington Blvd                                Former Property   Kevin Lyons                                                                      $98,899.84        Equity Investor      $    50,000.00   126-610
     126          5201-5207 W   Washington Blvd                                Former Property   Louis Duane Velez, LLV (Louis Duane Velez as manager)                            $46,131.09       Investor-Lender       $    50,000.00   126-902
     126          5201-5207 W   Washington Blvd                                Former Property   Margaret M Morgan                                                                $50,000.00       Investor-Lender       $    50,000.00   126-197
     126          5201-5207 W   Washington Blvd                                Former Property   Mark Young                                                                      $366,131.08       Investor-Lender       $    50,000.00   126-1154
     126          5201-5207 W   Washington Blvd                                Former Property   May M. Akamine for Aurora Investments, LLC (assets formerly under               $631,739.82       Investor-Lender       $    25,000.00   126-1412
                                                                                                 MayREI, LLC)
     126          5201-5207 W Washington Blvd                                  Former Property   Michael Borgia IRA                                                               $975,416.00      Investor-Lender       $   400,416.00   126-705
     126          5201-5207 W Washington Blvd                                  Former Property   QuestIRAFBOFrancisDWebb1437711                                                   $185,819.00      Investor-Lender       $    50,000.00   126-218
     126          5201-5207 W Washington Blvd                                  Former Property   Rene Hribal                                                                    $1,525,473.04      Investor-Lender       $    95,000.00   126-768
     126          5201-5207 W Washington Blvd                                  Former Property   Robert Demick                                                                     $46,131.88      Investor-Lender       $    49,000.00   126-782
     126          5201-5207 W Washington Blvd                                  Former Property   Scott E Pammer                                                                   $243,954.00      Investor-Lender       $    50,000.00   126-827
     126          5201-5207 W Washington Blvd                                  Former Property   Soujanya Simhadri                                                                 $25,000.00      Investor-Lender       $    25,000.00   126-766
     126          5201-5207 W Washington Blvd                                  Former Property   Steven K. Chennappan IRA # 17293-31                                              $128,000.00      Investor-Lender       $    50,000.00   126-206
     126          5201-5207 W Washington Blvd                                  Former Property   Steven Lipschultz                                                                 $71,126.00       Equity Investor      $    50,000.00   126-1407
     126          5201-5207 W Washington Blvd                                  Former Property   Vivek Pingili                                                                   $150,213.00       Investor-Lender       $   130,213.00   126-522
     126          5201-5207 W Washington Blvd                                  Former Property   William S Burk                                                                    $46,131.08      Investor-Lender       $    50,000.00   126-925
     126          5201-5207 W Washington Blvd                                  Former Property   Yvette Sahai                                                                      $47,048.08      Investor-Lender       $    28,780.00   126-2049
     128             8623-54 S Ellis Avenue                                    Former Property   Optima Property Solutions, LLC                                                  $487,209.71       Investor-Lender       $    50,000.00   126-1023
     128             8623-54 S Ellis Avenue                                    Former Property   Phillip Silver Trust dated 12/11/08                                               $50,000.00      Investor-Lender       $    50,000.00   128-94
     128             8623-54 S Ellis Avenue                                    Former Property   Steven R. Bald                                                                   $586,378.00      Investor-Lender       $    60,000.00   128-339
     128             8623-54 S Ellis Avenue                                    Former Property   Wiegert Tierie                                                                    104,000.00      Investor-Lender       $    10,000.00   128-74
     129            4494 West Roscoe Street                                    Former Property   Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian                            $9,523.00      Investor-Lender       $     2,362.00   129-1065
                                                                                                 IPLAN Group LLC)
     129            4494 West Roscoe Street                                    Former Property   Gary R. Burnham Jr. Solo 401K Trust                                             $205,608.00       Investor-Lender       $     5,637.00 129-1174
     129            4494 West Roscoe Street                                    Former Property   Kathleen Martin                                                                 $304,605.24        Equity Investor      $    35,367.00 129-246
     129            4494 West Roscoe Street                                    Former Property   Katie Whitlock                                                                   $61,651.00        Equity Investor                     129-942
     129            4494 West Roscoe Street                                    Former Property   Manoj Donthineni                                                                 $71,544.30       Investor-Lender       $    12,198.90 129-1357
     130            4511 N Merimac Avenue                                      Former Property   Eric Schwartz                                                                   $144,153.72       Investor-Lender       $    44,178.86 130-157
     130            4511 N Merimac Avenue                                      Former Property   Jason Ragan - TSA                                                               $473,079.71        Equity Investor      $    21,522.04 130-796
     130            4511 N Merimac Avenue                                      Former Property   John Taxeras                                                                    $105,686.72       Investor-Lender       $    25,000.00 130-994
     130            4511 N Merimac Avenue                                      Former Property   Kenneth (Ken) and Maria (Tina) Jorgensen                                        $453,233.25       Investor-Lender       $    60,000.00 130-194




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Property Number       Property Address               Alternative Address          Type                                    Claimant Name                               Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                     Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                     Category as Identified on                           Property
                                                                                                                                                                           Claim Form)

     130            4511 N Merimac Avenue                                  Former Property       LA DONNA WRIGHT ACKLEN                                                          $268,666.74      Investor-Lender     $      120,000.00   130-244
     130            4511 N Merimac Avenue                                  Former Property       LaDawn K. Westbrook - Miss Property LLC                                          $71,546.64      Investor-Lender     $        6,978.00   130-271
     130            4511 N Merimac Avenue                                  Former Property       Wisconsin Real Estate Investment Solutions LLC                                  $101,166.49      Investor-Lender     $       25,000.00   130-1473
     131           4108 N Monticello Avenue                                Former Property       Jeffrey Lee Blankenship                                                          $89,822.12      Investor-Lender     $       48,890.12   131-1241
     131           4108 N Monticello Avenue                                Former Property       Knickerbocker LLC                                                               $102,505.16      Investor-Lender     $       50,000.00   131-2035
     131           4108 N Monticello Avenue                                Former Property       Paul Franklin                                                                    $25,000.00      Investor-Lender     $       25,000.00   131-1231
     131           4108 N Monticello Avenue                                Former Property       Quantum Growth Holdings LLC                                                                      Investor-Lender     $        8,434.38   131-354
     132            9531 S Fairfield Avenue                                Former Property       Michael Arthur Goldman (also know as Mike Goldman, Michael A.                    $80,377.98      Investor-Lender     $        5,405.73   132-775
                                                                                                 Goldman, Michael Goldman)
     132            9531 S Fairfield Avenue                                Former Property       Wisconsin Real Estate Investment Solutions LLC                                  $101,166.49      Investor-Lender     $       50,000.00 132-1473
     133            4109 N Kimball Avenue                                  Former Property       Brett Burnham (                                                                 $215,335.54      Investor-Lender                       133-314
                                                                                                 iPlanGroup Agent for Custodian FBO Brett Burnham)
     133            4109 N Kimball Avenue                                  Former Property       Mario Flores                                                                      $40,697.50     Investor-Lender     $      133,456.15 133-198
     133            4109 N Kimball Avenue                                  Former Property       Yaron Fisher                                                                     $130,193.00     Investor-Lender     $        5,203.00 133-479
     135           4930 W Cornelia Avenue                                  Former Property       Frank and Laura Sohm                                                            $167,893.65       Equity Investor                      135-906
     135           4930 W Cornelia Avenue                                  Former Property       Frank Sohm IRA                                                                   $148,604.93     Investor-Lender     $       25,000.00 135-558
     135           4930 W Cornelia Avenue                                  Former Property       iPlan Group Agent for Custodian FBO Paula Levand Roth                             $34,819.65     Investor-Lender     $       16,322.65 135-1334
     135           4930 W Cornelia Avenue                                  Former Property       Jason Ragan - TSA                                                               $473,079.71       Equity Investor    $        5,525.25 135-796
     135           4930 W Cornelia Avenue                                  Former Property       John B. Allred & Glenda K. Allred                                              $1,421,646.52   Investor-Lender and                     135-2004
                                                                                                                                                                                                   Equity Investor
     135           4930 W Cornelia Avenue                                  Former Property       QUEST IRA INC. FBO REBECA E. SAVORY-ROMERO IRA                                  $184,785.31      Investor-Lender     $       35,256.92 135-804
                                                                                                 ACCOUNT #15528-11 AND #15528-21
     140               4528 S Michigan                                     Former Property       Alton Motes                                                          $            245,841.62     Investor-Lender     $       14,583.00   140-2042
     140           4528 S Michigan Avenue                                  Former Property       Peter (Pierre) Henri Gelinas                                                      $26,499.94     Investor-Lender     $       25,000.00   140-1385
     140           5428 S Michigan Avenue                                  Former Property       Lorenzo Jaquias                                                      $             71,635.00     Investor-Lender     $       42,100.00   140-184
     141               431 E 42nd Place                                    Estate Property       iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA       $             44,433.00     Investor-Lender     $       22,944.44   141-445
     142           5209 W Warwick Avenue                                   Former Property       Alison Schankman                                                                  $99,365.61     Investor-Lender     $       74,000.00   142-2051
     142           5209 W Warwick Avenue                                   Former Property       Private Finance Solutions, LLC                                                   $128,406.34     Investor-Lender     $       88,970.00   142-1478
     143             5434 S Wood Street                                    Former Property       Ryan Lam                                                                        $150,000.00      Investor-Lender     $       67,325.82   143-832
     144            6525 S Evans Avenue                                    Former Property       Ryan Lam                                                                        $150,000.00      Investor-Lender     $      106,000.00   144-832
     145          4755 S St Lawrence Avenue                                Former Property       Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                        $1,031,324.00      Equity Investor    $       50,000.00   145-180
     145          4755 S St Lawrence Avenue                                Former Property       Jannapureddy Brothers                                                             $19,251.27      Equity Investor    $      140,000.00   145-1491
     145          4755 S St Lawrence Avenue                                Former Property       Kendall Chenier                                                                    $9,858.12     Investor-Lender     $        9,858.12   145-1144
     145          4755 S St Lawrence Avenue                                Former Property       May M. Akamine for Aurora Investments, LLC (assets formerly under                 $88,868.41          Other          $       68,360.31   145-1412
                                                                                                 MayREI, LLC)
     145          4755 S St Lawrence Avenue                                Former Property       TFG Retirement Trust                                                             $340,886.77     Investor-Lender     $      261,376.12   145-665
     150              526 W 78th Street                                    Former Property       The Peter Paul Nuspl Living Trust                                              $1,123,278.00     Investor-Lender     $       50,000.00   125-2044
     151             8107 S Coles Avenue                                   Former Property       Kirk Road Investments, LLC                                                       $434,195.69     Investor-Lender     $       87,500.00   151-755
     152             7635 S Coles Avenue                                   Former Property       THE INCOME FUND, LLC Thomas Garlock, Managing Member                             $771,830.76     Investor-Lender     $      105,000.00   152-1421
     152             7635 S Coles Avenue                                   Former Property       Total Return Income Fund, LLC Thomas Garlock, Managing Member                  $1,571,886.00     Investor-Lender     $      105,000.00   152-1366
     155           Campo-Mar, Puerto Rico                                  Former Property       Domenic Simone                                                                   $153,246.58      Equity Investor    $      100,000.00   155-883
     155           Campo-Mar, Puerto Rico                                  Former Property       Pankaj Patel BDA EZ NJ VENTURES, LLC.                                            $223,000.00     Investor-Lender     $       50,000.00   155-920
     155           Campo-Mar, Puerto Rico                                  Former Property       Robert Thaete                                                                     $75,358.42     Investor-Lender     $       26,000.00   155-1232
     156            4351 S Calumet Avenue                                  Former Property       Michael Arthur Goldman (also know as Mike Goldman, Michael A.                     $80,377.98     Investor-Lender     $       20,239.25   156-775
                                                                                                 Goldman, Michael Goldman)
     157            1655 N Humboldt Blvd                                   Former Property       Raghu Pulluru, FBO 1634276 Midland IRA                                          $246,000.00      Investor-Lender     $      153,000.00   157-1214
     158             5104 W Dakin Street                                   Former Property       Daniel Matthews, Leah Matthews                                       $           185,922.54      Investor-Lender     $        7,635.77   158-117
     159              7420 S Colfax Ave                                    Former Property       LMJ Sales, Inc.                                                      $           559,807.34      Investor-Lender     $      123,100.00   159-1346
     901                   SSDF 1                                          Fund                  Adir Hazan                                                           $           151,333.00       Equity Investor    $       10,000.00   901-143
     901                   SSDF1                                           Fund                  Cadaval Investment Trust FBO Dana Cadaval Solo 401k                  $            50,000.00       Equity Investor    $       50,000.00   901-1242
     901                   SSDF1                                           Fund                  Cadaval Investment Trust FBO Manuel Cadaval Solo 401k                $           100,000.00       Equity Investor    $      100,000.00   901-1236
     901                   SSDF1                                           Fund                  Capital Liability Investments, LLC                                   $            55,025.00       Equity Investor    $       55,000.00   901-186
     901                   SSDF1                                           Fund                  DVH Investment Trust                                                 $           315,000.00       Equity Investor    $      315,000.00   901-1410
     901                   SSDF1                                           Fund                  Florybeth & David Stratton                                           $           200,000.00       Equity Investor    $      200,000.00   901-604
     901                   SSDF1                                           Fund                  Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian              $             9,523.00       Equity Investor    $        7,161.00   901-1065
                                                                                                 IPLAN Group LLC)
     901                    SSDF1                                          Fund                  Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)            $            30,718.00      Equity Investor     $       30,718.00   901-1066
     901                    SSDF1                                          Fund                  Gary R. Burnham Jr. Solo 401K Trust                                  $           204,026.00      Equity Investor     $      204,026.00   901-1174
     901                    SSDF1                                          Fund                  IRA Services Trust Company CFBO Melbourne Kimsey II                  $           150,000.00      Equity Investor     $       50,000.00   901-661
     901                    SSDF1                                          Fund                  IRA Services Trust Company IRA220656 for Jean-Marc Cabrol            $           381,650.00      Equity Investor     $      381,650.00   901-120
     901                    SSDF1                                          Fund                  Jeremy Hemphill                                                      $            54,000.00      Equity Investor     $       50,000.00   901-290
     901                    SSDF1                                          Fund                  Jeremy Hemphill for REAP, LLC                                        $           108,000.00      Equity Investor     $      100,000.00   63-1371




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                                                                                    SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587
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Property Number     Property Address            Alternative Address          Type                                 Claimant Name                             Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                           Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                           Category as Identified on                           Property
                                                                                                                                                                 Claim Form)

     901                SSDF1                                         Fund              John Witzigreuter                                                   $           250,000.00       Equity Investor    $      200,000.00   901-729
     901                SSDF1                                         Fund              Joseph P. McCarthy                                                  $           277,847.33      Investor-Lender     $       45,000.00   901-1367
     901                SSDF1                                         Fund              Keith Randall                                                       $           370,000.00       Equity Investor    $      170,000.00   901-1086
     901                SSDF1                                         Fund              Madison Trust Company FBO Laurie Connely, IRA (Madison Trust        $           140,592.00       Equity Investor    $       20,000.00   901-900
                                                                                        Company Cust. Laurie Connely M1711182)
     901                SSDF1                                         Fund              Manuel Cadaval                                                      $            25,000.00      Equity Investor     $       25,000.00   901-1084
     901                SSDF1                                         Fund              Manuel Cadaval custodian for Jacob Cadaval                          $            25,000.00      Equity Investor     $       25,000.00   901-1244
     901                SSDF1                                         Fund              Michael D More                                                      $           100,000.00      Equity Investor     $      100,000.00   901-682
     901                SSDF1                                         Fund              NEXT GENERATION TS FBO ELAINE SISON ERNST IRA 2410                  $           335,000.00      Equity Investor     $      100,000.00   901-1030
     901                SSDF1                                         Fund              Optima Property Solutions, LLC                                      $           856,284.00      Equity Investor     $      856,284.00   901-1023
     901                SSDF1                                         Fund              Patrick Connely                                                     $            50,000.00      Equity Investor     $       50,000.00   901-939
     901                SSDF1                                         Fund              Terry M McDonald - Horizon Trust Custodian FBO Terry M              $           137,333.33      Equity Investor     $      137,333.33   901-571
                                                                                        McDonald IRA
     901                SSDF1                                         Fund              Todd Colucy                                                         $            50,000.00       Equity Investor    $       50,000.00   901-322
     901                SSDF1                                         Fund              US Freedom Investments, LLC                                         $           175,500.00       Equity Investor    $      100,000.00   901-1234
     902          SSDF 2 Holdco 3, LLC                                Fund              Alan & Sheree Gravely                                               $            75,000.00       Equity Investor    $       75,000.00   902-298
     902                SSDF2                                         Fund              IPlan Group Agent for Custodian FBO David Stratton IRA              $            55,700.00       Equity Investor    $       44,000.00   902-607
     902                SSDF2                                         Fund              John Braden and Cynthia Braden                                      $            50,000.00      Investor-Lender     $       50,000.00   902-1054
     902                SSDF2                                         Fund              Victor Esposito T/A 2E-LLC I am the manager member and the sole     $            50,000.00       Equity Investor    $       50,000.00   902-308
                                                                                        member of 2E-LLC
     902           SSDF2 Holdco 3 LLC                                 Fund              David E. Chambers                                                   $            30,000.00      Investor-Lender     $       30,000.00 902-555
     902           SSDF2 Holdco 3 LLC                                 Fund              Duty, Darrell and Frances                                                                       Investor-Lender                       902-2018
     903                SSDF3                                         Fund              Johnstun, Chad                                                      $           190,729.17       Equity Investor    $      190,729.17 903-2071
     904          LEGACY FUND SSDF 4                                  Fund              Adir Hazan                                                          $           151,333.00       Equity Investor    $       51,333.00 904-143
     904          LEGACY FUND SSDF 4                                  Fund              Bancroft, Ed                                                        $           258,060.00    Investor-Lender and                     904-2008
                                                                                                                                                                                         Equity Investor
     904           Legacy Fund SSDF 4                                 Fund              John McDevitt                                                       $            220,000.00      Equity Investor    $       50,000.00 904-2090
     904                 SSDF4                                        Fund              Arnold Kunio Kameda (Roth IRA via iPlan Group)                      $             50,000.00      Equity Investor    $       50,000.00 904-793
     904                 SSDF4                                        Fund              B & H Creative Investments LLC                                      $            428,533.00      Equity Investor                      904-414
     904                 SSDF4                                        Fund              Bernadette Chen (Eleven St Felix St. Realty)                        $          1,000,000.00      Equity Investor    $       50,000.00 904-2012
     904                 SSDF4                                        Fund              Blessing Strategies, LLC                                            $             29,784.00      Equity Investor    $        7,000.00 904-353
     904                 SSDF4                                        Fund              Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)    $            215,334.00     Investor-Lender                       904-314

     904                SSDF4                                         Fund              Brian and Kim Mouty                                                 $             50,000.00      Equity Investor    $       50,000.00   904-299
     904                SSDF4                                         Fund              Brook & Sarah Swientisky; J&S Investment, LLC                       $            134,400.01      Equity Investor    $       80,000.00   904-568
     904                SSDF4                                         Fund              Celia Tong Revocable Living Trust Dated December 22, 2011           $             27,565.00      Equity Investor    $       27,565.00   904-287
     904                SSDF4                                         Fund              CZE Holdings LLC (Carl Johnson IRA)                                            $299,700.00      Investor-Lender     $      194,700.00   904-1117
     904                SSDF4                                         Fund              Douglas Nebel and Narine Nebel                                      $            115,000.00     Investor-Lender     $      115,000.00   904-1080
     904                SSDF4                                         Fund              FDD Properties LLC                                                  $            225,000.00      Equity Investor    $      225,000.00   904-608
     904                SSDF4                                         Fund              Gary R Burnham Jr Solo401K Trust                                    $             60,000.00      Equity Investor    $       60,000.00   904-1067
     904                SSDF4                                         Fund              Grathia Corp                                                        $          1,184,081.00     Investor-Lender     $       50,000.00   904-1445
     904                SSDF4                                         Fund              Greg Oja                                                            $             15,000.00      Equity Investor    $       15,000.00   904-518
     904                SSDF4                                         Fund              Indranie Jodha/Chetram Jodha                                        $             32,000.00      Equity Investor    $       32,000.00   904-116
     904                SSDF4                                         Fund              IPlan Group Agent for Custodian FBO David Stratton IRA              $             55,700.00      Equity Investor    $       11,700.00   904-607
     904                SSDF4                                         Fund              IRA Resources, Inc., FBO Edward Joseph Day, Account # 35-36374      $             55,555.73      Equity Investor    $       48,553.00   904-1486
     904                SSDF4                                         Fund              James Henderson                                                     $             49,200.00   Investor-Lender and   $       49,200.00   904-931
                                                                                                                                                                                         Equity Investor
     904                SSDF4                                         Fund              James M McKnight and Silma L McKnight                               $             5,546.87       Equity Investor    $        6,000.00   904-779
     904                SSDF4                                         Fund              James M McKnight and Silma L McKnight                               $           140,325.13      Investor-Lender     $       48,000.00   904-582
     904                SSDF4                                         Fund              Jason Ragan - TSA                                                   $           327,324.29       Equity Investor    $       50,000.00   904-797
     904                SSDF4                                         Fund              JLO Enterprises LLC                                                 $           315,002.49       Equity Investor    $       20,000.00   904-726
     904                SSDF4                                         Fund              John and Cynthia Love                                               $            84,506.24    Investor-Lender and   $       75,000.00   904-699
                                                                                                                                                                                         Equity Investor
     904                SSDF4                                         Fund              John B. Allred & Glenda K. Allred                                   $          1,421,646.52   Investor-Lender and   $      443,010.24 904-2004
                                                                                                                                                                                         Equity Investor
     904                SSDF4                                         Fund              John Bloxham                                                        $            51,500.00       Equity Investor    $       50,000.00   904-1012
     904                SSDF4                                         Fund              John Braden and Cynthia Braden                                      $            46,508.23      Investor-Lender     $       50,000.00   904-1055
     904                SSDF4                                         Fund              John Love                                                           $            46,350.00       Equity Investor    $       45,000.00   904-719
     904                SSDF4                                         Fund              Joseph P. McCarthy                                                  $           277,847.33      Investor-Lender     $       90,000.00   904-1367
     904                SSDF4                                         Fund              KAMEDA INVESTMENTS, LLC (Sole Owner/Manager - Arnold                $           185,000.00       Equity Investor    $       60,000.00   904-121
                                                                                        Kunio Kameda)
     904                SSDF4                                         Fund              Keith Randall                                                       $           370,000.00      Equity Investor     $      200,700.00 904-1086
     904                SSDF4                                         Fund              Kevin Randall                                                       $           200,000.00      Equity Investor     $      200,000.00 904-811




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Property Number        Property Address                   Alternative Address          Type                                Claimant Name                              Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                     Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                     Category as Identified on                           Property
                                                                                                                                                                           Claim Form)

     904                     SSDF4                                              Fund              Linda Lipschultz                                                    $            53,405.00     Equity Investor     $        53,405.00 904-1374
     904                     SSDF4                                              Fund              Madison Trust Company Agent for Custodian FBO The Jacqueline        $           623,489.57     Equity Investor     $       610,998.00 904-163
                                                                                                  C Rowe Living Trust IRA
     904                     SSDF4                                              Fund              Madison Trust Company custodian FBO Guenter Scheel IRA              $            25,000.00     Equity Investor     $        25,000.00 904-2073
                                                                                                  M1702087
     904                     SSDF4                                              Fund              Madison Trust Company FBO Laurie Connely, IRA (Madison Trust        $           140,592.00     Equity Investor     $       100,592.00 904-900
                                                                                                  Company Cust. Laurie Connely M1711182)
     904                     SSDF4                                              Fund              Michael Kessock                                                     $           103,000.00     Equity Investor     $       100,000.00   904-977
     904                     SSDF4                                              Fund              Michael Schankman                                                   $           112,557.00     Equity Investor     $        50,000.00   904-2052
     904                     SSDF4                                              Fund              Moran Blueshtein and Upender Subramanian                            $           100,000.00     Equity Investor     $       100,000.00   904-95
     904                     SSDF4                                              Fund              MTASS Realty LLC                                                    $           349,521.00     Equity Investor     $       349,521.00   904-363
     904                     SSDF4                                              Fund              Nancy A Markwalter                                                  $            25,000.00     Equity Investor     $        25,000.00   904-1143
     904                     SSDF4                                              Fund              Patrick Connely                                                     $            20,000.00     Equity Investor     $        20,000.00   904-964
     904                     SSDF4                                              Fund              PATRICK SHEEHAN                                                     $            90,125.00     Equity Investor     $        50,000.00   904-783
     904                     SSDF4                                              Fund              Quantum Growth Holdings LLC                                         $            15,321.00     Equity Investor     $        15,321.00   904-354
     904                     SSDF4                                              Fund              Race Mouty                                                          $            20,000.00     Equity Investor     $        20,000.00   904-326
     904                     SSDF4                                              Fund              Robert A Demick DDS PA 401K                                         $            50,422.00     Equity Investor     $        50,422.00   904-680
     904                     SSDF4                                              Fund              Robert Conley III                                                   $             9,750.00     Equity Investor     $       325,000.00   904-277
     904                     SSDF4                                              Fund              Russell Shurtz (Horizon Trust Company, Custodian FBO Russell        $            25,000.00     Equity Investor     $        25,000.00   904-924
                                                                                                  Shurtz IRA Account 599991402)
     904                     SSDF4                                              Fund              Scott Eaton                                                         $            49,200.00      Equity Investor    $        50,000.00 904-1470
     904                     SSDF4                                              Fund              Sohm Strategic Investments, LLC                                     $            77,250.00   Investor-Lender and   $        75,000.00 904-865
                                                                                                                                                                                                  Equity Investor
     904                     SSDF4                                              Fund              Spectra Investments LLC/ Deborah L. Mullica                         $           579,288.00      Equity Investor    $       260,907.00 904-1200
     904                     SSDF4                                              Fund              Stanley J Kessock (Madison Trust Company FBO Stanley J.             $            82,400.00   Investor-Lender and   $        80,000.00 904-866
                                                                                                  Kessock)                                                                                        Equity Investor
     904                   SSDF4                                                Fund              Steven K. Chennappan IRA # 17293-31                                 $           100,000.00      Equity Investor    $       100,000.00 904-206
     904                   SSDF4                                                Fund              Steven Lipschultz                                                   $            71,126.00      Equity Investor    $        71,126.00 904-1391
     904                   SSDF4                                                Fund              The Jacqueline C Rowe Living Trust                                  $           372,417.74      Equity Investor                       904-139
     904                   SSDF4                                                Fund              The Peter Paul Nuspl Living Trust                                   $            91,237.31      Equity Investor    $     1,123,278.00 904-2044
     904                   SSDF4                                                Fund              US Freedom Investments, LLC                                         $           175,500.00      Equity Investor    $        32,500.00 904-1234
     904                   SSDF4                                                Fund              Vartan Tarakchyan                                                   $           415,000.00      Equity Investor    $       130,000.00 904-1118
     904                   SSDF4                                                Fund              Vladimir Matviishin                                                 $            50,000.00      Equity Investor    $        50,000.00 904-1395
     904                   SSDF4                                                Fund              William Hooper                                                      $            93,000.00      Equity Investor    $        93,000.00 904-278
     904                   SSDF4                                                Fund              Yanicque Michaux                                                    $            20,000.00      Equity Investor    $        20,000.00 904-1052
     904          SSDF4 (Legacy Fund SSDF4)                                     Fund              Annie Chang                                                         $           246,935.34   Investor-Lender and   $        50,000.00 904-475
                                                                                                                                                                                                  Equity Investor
     904          SSDF4 (Legacy Fund SSDF4)                                     Fund              Charlotte A Hofer                                                   $           370,000.00      Equity Investor                       904-603
     904          SSDF4 (Legacy Fund SSDF4)                                     Fund              Claude M West , Linda S Gray, Desert Storm Properties Group, LLC    $           100,000.00      Equity Investor    $       100,000.00 904-1281

     904          SSDF4 (Legacy Fund SSDF4)                                     Fund              CM Group, LLC Keith Cooper                                          $            75,000.00     Investor-Lender     $        75,000.00 904-1184
     904             SSDF4 Legacy Fund                                          Fund              Keith Cooper - Concorde Management, LLC                             $           335,000.00     Investor-Lender     $       335,000.00 904-1183
     904             SSDF4 Legacy Fund                                          Fund              Lola S. Cooper                                                      $           210,000.00     Investor-Lender     $       210,000.00 904-1185
     904             SSDF4 Legacy Fund                                          Fund              Melvin Shurtz                                                       $            25,000.00      Equity Investor    $        25,000.00 904-362
     904             SSDF4 Legacy Fund                                          Fund              Nerses Abramyan                                                     $            25,000.00      Equity Investor    $        25,000.00 904-114
     904             SSDF4 Legacy Fund                                          Fund              Wisemove Properties LLC, (Anthony and Linda Reid, members)          $           668,979.00     Investor-Lender                        904-168
     904             SSDF4 Legacy Fund                                          Fund              MADISON TRUST COMPANY CUSTODIAN FBO JANET EILEEN                    $           107,946.27     Investor-Lender     $       130,000.00 904-2056
                                                                                                  TAYLOR M1608009
     904              SSDF4 Legacy Fund                                         Fund              Michael Warner, Trustee of Warner Chiropractic Care Center, PC      $           203,254.00     Equity Investor     $        54,524.00 904-78
                                                                                                  PSP
     904              SSDF4 Legacy Fund                                         Fund              NEXT GENERATION TS FBO ELAINE SISON ERNST IRA 2410                  $           335,000.00     Equity Investor     $       235,000.00 904-1030

     904              SSDF4 Legacy Fund                                         Fund              Randeep S Kapoor                                                    $            50,000.00     Equity Investor     $        50,000.00 904-597

     904              SSDF4 Legacy Fund                                         Fund              Robert Potter                                                       $            15,000.00     Equity Investor     $        15,000.00 904-1389

     904              SSDF4 Legacy Fund                                         Fund              Susan Kalisiak-Tingle                                               $           106,000.00     Equity Investor     $        50,000.00 904-1438

     904              SSDF4 Legacy Fund                                         Fund              United Capital Properties, LLC                                      $           144,999.00     Investor-Lender     $        55,000.00 904-1480

     904                     SSDF4                                              Fund              RLD Denouement Holding Company, LLC                                 $           150,000.00     Equity Investor     $        50,000.00 904-483

     904                     SSDF4                                              Fund              Steven G. Mouty                                                     $           465,000.00     Equity Investor     $       100,000.00 904-821
                  (EB South Chicago 1, 2, 3, &4)




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Property Number        Property Address                  Alternative Address           Type                                Claimant Name                              Claimed Amount (Total     Claim Category as     Amount Claimed to Claim Number
                                                                                                                                                                     Claimed Amount in Claim Identified on Claim Form  be Invested in
                                                                                                                                                                     Category as Identified on                           Property
                                                                                                                                                                           Claim Form)

     906                    SSDF6                                              Fund               1839 Fund I LLC                                                     $            92,879.00       Investor-Lender       $    92,879.00 906-367
     906                    SSDF6                                              Fund               Dana Speed                                                          $           240,000.00        Equity Investor      $   240,000.00 906-684
     906                    SSDF6                                              Fund               Hang Zhou and Lu Dong                                                                             Equity Investor                     906-1335
     906                    SSDF6                                              Fund               iPlan Group Agent for Custodian FBO James B Ploeger IRA             $            72,000.00       Investor-Lender       $    55,000.00 906-520
     906                    SSDF6                                              Fund               iPlanGroup Agent for Custodian FBO Charles Michael Anglin           $           238,889.23       Investor-Lender       $    52,474.56 906-331
     906                    SSDF6                                              Fund               Jason Ragan - TSA                                                   $           327,324.29        Equity Investor      $    60,000.00 906-797
     906                    SSDF6                                              Fund               Mark P. Mouty                                                       $           130,703.00        Equity Investor      $   120,703.00 906-165
     906                    SSDF6                                              Fund               Provident Trust Group, LLC FBO Stephan Tang IRA                     $            71,815.00        Equity Investor      $    71,815.00 906-172
     906                    SSDF6                                              Fund               Wanda M. Behling                                                    $            43,719.00        Equity Investor      $    11,219.00 906-1025
     906                  SSDF6, LLC                                           Fund               Peter Flanagan (IRA Services Trust Co. CFBO: Peter Flanagan         $            50,000.00        Equity Investor      $    50,000.00 906-1020
                                                                                                  IRA176308)
     907                     SSDF7                                             Fund               John Gorske                                                         $             53,087.30       Equity Investor      $    53,087.00   907-1208
     907                     SSDF7                                             Fund               Property Solutions LLC, Kevin Bybee (managing member)               $            144,161.89       Equity Investor      $   144,161.89   907-268
     908                     SSDF 8                                            Fund               Sam Harrison                                                        $             50,000.00      Investor-Lender       $    25,000.00   908-2027
     908                     SSDF8                                             Fund               Eric Schwartz                                                       $              2,787.00       Equity Investor      $     2,787.00   908-157
     908                     SSDF8                                             Fund               Genevieve Heger and Duke Heger, JTWROS                              $             10,000.00       Equity Investor      $    10,000.00   908-1414
     908                     SSDF8                                             Fund               Grathia Corp                                                        $          1,184,081.00      Investor-Lender       $    50,000.00   908-1445
     908                     SSDF8                                             Fund               Jason Ragan - TSA                                                   $            128,050.00       Equity Investor      $    17,450.00   908-1133
     908                     SSDF8                                             Fund               Jason Ragan - TSA                                                   $            327,324.29       Equity Investor      $    54,289.29   908-797
     908                     SSDF8                                             Fund               Knickerbocker LLC                                                   $            105,387.00       Equity Investor      $    50,000.00   908-2035
     908                     SSDF8                                             Fund               Steve Weera Tonasut and Esther Kon Tonasut                          $             16,033.00       Equity Investor      $    16,033.00   908-975
     908                     SSDF8                                             Fund               Tolu Makinde                                                        $             90,000.00      Investor-Lender       $    20,000.00   908-370
     908                     SSDF8                                             Fund               John Bloxham                                                        $             25,123.83       Equity Investor      $    24,333.00   908-1019
                         Mezzazine Fund
     908                     SSDF8                                             Fund               John Bloxham                                                        $            35,667.00        Equity Investor      $    35,667.00 908-1211
                         Mezzazine Fund
     908                     SSDF8                                             Fund               John Bloxham                                                        $           102,991.00        Equity Investor      $   162,991.00 908-1196
                         Mezzazine Fund
     911               Hybrid Capital Fund                                     Fund               Jason Ragan - TSA                                                   $           473,079.71        Equity Investor      $    24,300.00 911-796
     911               Hybrid Capital Fund                                     Fund               Mike M. Cocos                                                       $           150,000.00        Equity Investor      $    50,000.00 911-82
     911               Hybrid Capital Fund                                     Fund               PATRICK SHEEHAN                                                     $            90,125.00        Equity Investor      $    40,125.00 911-783
     911            Hybrid Capital Fund, LLC                                   Fund               Advanta IRA Services FBO Krushna Dundigalla Acct#8004195            $           100,000.00        Equity Investor      $   100,000.00 911-658
     912          South Shore Property Holdings                                Fund               Spectra Investments LLC/ Deborah L. Mullica                         $           579,288.00        Equity Investor      $   110,000.00 912-1220
     912                SSPH Portfolio 1                                       Fund               Ran Barth                                                           $           326,358.35        Equity Investor      $   331,000.00 912-65
     937                 Mezzazine Fund                                        Fund               Hopson & Associates LLC                                             $            75,000.00       Investor-Lender                      937-204
     937                 Mezzazine Fund                                        Fund               Steve Weera Tonasut and Esther Kon Tonasut                          $            33,967.00        Equity Investor      $    33,967.00 937-390
     937                 Mezzazine Fund                                        Fund               Wisemove Properties LLC, (Anthony and Linda Reid, members)          $           668,979.00       Investor-Lender                      937-168
     939            Equity Build SECPN-829                                     Fund               Madison Trust Company FBO Laurie Connely, IRA (Madison Trust        $           140,592.00        Equity Investor      $    20,000.00 939-900
                                                                                                  Company Cust. Laurie Connely M1711182)
     940              Colony 4 Investment                                      Fund               Michael and Lyanne Terada                                           $             66,815.34        Equity Investor     $    60,194.00 54-551
     N/A                      N/A                                              Other              American Express                                                    $             54,472.25            Other                          440
     N/A                      N/A                                              Other              Buildout Inc.                                                       $              1,200.00   Independent Contractor                  240
     N/A                      N/A                                              Other              Cagan Management Group, Inc.                                        $          1,000,000.00            Other                          856
     N/A                      N/A                                              Other              Chicago Real Estate Resources                                       $              5,950.00   Independent Contractor                  1449
     N/A                      N/A                                              Other              Consilio, LLC                                                       $             65,929.74            Other                          841
     N/A                      N/A                                              Other              Corporate Creations International, Inc.                             $             13,018.40            Other                          886
     N/A                      N/A                                              Other              First Western Properties                                            $             21,756.00   Independent Contractor                  891
     N/A                      N/A                                              UPN                Frank Sohm IRA                                                                 $148,604.93        Investor-Lender      $    10,992.19 558
     N/A                      N/A                                              Other              Gomberg Sharfman, PC                                                $                748.00   Independent Contractor                  2083
     N/A                      N/A                                              Other              Jessica Baier                                                       $              1,982.05   Independent Contractor                  933
     N/A                      N/A                                              UPN                Kenneth (Ken) and Maria (Tina) Jorgensen                                       $453,233.25        Investor-Lender      $    37,956.48 194
     N/A                      N/A                                              Other              Return Path                                                         $             22,750.00        Trade Creditor                     1471
     N/A                      N/A                                              Other              Texas Comptroller of Public Accounts                                $             42,261.72            Other                          613
     N/A                      N/A                                              Other              The Kraus Law Firm                                                  $             12,010.00        Trade Creditor                     425
     N/A                      N/A                                              Other              The Law Office of Richard K. Hellerman, PC                          $             10,032.67   Independent Contractor                  142
     N/A                      N/A                                              Other              Whitley Penn LLP                                                    $            161,406.22        Trade Creditor                     536
     N/A          Roth IRA and Traditional IRA                                 Fund               Ganpat and FEREEDA Seunath                                          $            202,515.02        Equity Investor     $   202,515.02 77
     N/A                    SSDF                                               Fund               Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton,    $             83,813.00        Equity Investor                    310
                                                                                                  IRA)




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